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                                                                                        In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                        Case No. 16-12551


                                                                                                                                            Current General                                       Current 503(b)(9)
                                                                                                                                                               Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                                Amount
10K ADVERTISING
473 1/4 S FAIRFAX AVE
LOS ANGELES, CA 90036-3122                     2484    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
1234 Building, LLC
Law Office of Conde Cox
Conde T. Cox
1001 SW 5th Ave., Suite 1100
Portland, OR 97204                             3166    4/25/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $34,162.00                                                                              $34,162.00
1433-39 W Lake Associates, LLC
113 27th Avenue NE
Suite I
Minneapolis, MN 55418                          3049     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $59,586.88                                                                              $59,586.88
1841 Broadway Associates, L.P.
c/o Global Holdings
Attn: Marc Hyman
410 Park Avenue, 20th Floor
New York, NY 10022                             1832    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                              $0.00                               $0.00            $0.00
1841 Broadway Associates, L.P.
c/o Global Holdings
Attn: Marc Hyman
410 Park Avenue, 20th Floor
New York, NY 10022                             1893    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $345,017.07                         $52,368.75                               $0.00      $397,385.82
24 Seven Staffing, Inc.
41 MADISON AVE FL 37
New York, NY 10010-2257                        888     3/20/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $17,052.00             $0.00                                                            $17,052.00
363 Grant Avenue Associates, LLC
David M. McKim
425 So. E Street, Suite B
Santa Rosa, CA 95404                           1705    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
363 Grant Avenue Associates, LLC
Law Offices of David M. McKim
David M. McKim, Esq.
425 So. E Street, Suite B
Santa Rosa, CA 95404                           1700    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                   $0.00
363 Grant Avenue Associates, LLC, et al.
Law Offices of David M. McKim
David McKim, Esq.
425 So. E St., Ste B
Santa Rosa, CA 95404                           3111    4/18/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
363 Grant Avenue Associates, LLC, et al.
Law Offices of David M. McKim
David McKim, Esq.
425 So. E St., Ste B
Santa Rosa, CA 95404                           3438    3/12/2019    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                      $14,077.21       $14,077.21
3S Global Business Solutions
7923 Nita Avenue
Canoga Park, CA 91304                           44     12/5/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $31,080.00             $0.00                               $0.00                        $31,080.00
8th Street Produce Owner LLC
Jeffrey A. Goldberger
450 Park Avenue, 4th Floor
New York, NY 10022                             340      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $9,936.07                                                                               $9,936.07
AAI Litigation Trust
c/o Klehr Harrison Harvey Branzburg LLP
Attn: Richard M. Beck, Esquire
919 Market Street, Suite 1000
Wilmington, DE 19801                           1740    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                       $0.00                                                $0.00
AAI Litigation Trust
c/o Klehr Harrison Harvey Branzburg LLP
Attn: Richard M. Beck, Esquire
919 Market Street, Suite 1000
Wilmington, DE 19801                           1741    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                 $0.00                                                $0.00


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                                                                                                                                                 Current General                                      Current 503(b)(9)
                                                                                                                                                                   Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                       Admin Priority
                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                     Amount                                               Amount
AAI Litigation Trust
c/o Klehr Harrison Harvey Branzburg LLP
Attn: Richard M. Beck, Esquire
919 Market Street, Suite 1000
Wilmington, DE 19801                          1747    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                   $0.00                                                $0.00
AAI Litigation Trust
c/o Klehr Harrison Harvey Branzburg LLP
Attn: Richard M. Beck, Esquire
919 Market Street, Suite 1000
Wilmington, DE 19801                          1756    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                         $0.00                                                $0.00
AAI Litigation Trust
c/o Klehr Harrison Harvey Branzburg LLP
Attn: Richard M. Beck, Esquire
919 Market Street, Suite 1000
Wilmington, DE 19801                          1783    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                             $0.00                                                $0.00
AAI Litigation Trust
c/o Klehr Harrison Harvey Branzburg LLP
Attn: Richard M. Beck, Esquire
919 Market Street, Suite 1000
Wilmington, DE 19801                          1960    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                 $0.00                                                $0.00
AAI Litigation Trust
c/o Klehr Harrison Harvey Branzburg LLP
Attn: Richard M. Beck, Esquire
919 Market Street, Suite 1000
Wilmington, DE 19801                          3052    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                            $0.00                                                $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2103    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2311    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2331    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2413    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2435    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2467    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2558    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00



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                                                                                                                                                 Current General                                        Current 503(b)(9)
                                                                                                                                                                    Current Priority Current Secured                       Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                         Admin Priority
                                                                                                                                                                     Claim Amount     Claim Amount                        Priority Amount   Claim Amount
                                                                                                                                                     Amount                                                 Amount
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2573    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                      $218,727,784.00                               $0.00 $218,727,784.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2601    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2620    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                         $0.00            $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2651    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                               $0.00            $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2681    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                   $0.00            $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2683    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                      $218,727,784.00                               $0.00 $218,727,784.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2838    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                    $0.00            $0.00
Abdali, Selli
1225 Kresson Road
Cherry Hill, NJ 08003                         1242     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $56.00                                                                                    $56.00
Abdali, Selli
1225 Kresson Road
Cherry Hill, NJ 08003                         1246     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $56.00                                                                                    $56.00
Aboytes, Imelda
953 E. 22nd St
Los Angeles, CA 90011                         1775    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                  $0.00
Aboytes, Imelda
953 E. 22nd St
Los Angeles, CA 90011                         1824    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Abrego, Maria Morena
16110 S Menlo Ave Apt. #3
Gardena, CA 90247                             2259    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                  $0.00
Abrego, Maria Morena
16110 S Menlo Ave, Apt. #3
Gardena, CA 90247                             2441    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Accountemps
Attn:Karen Lima
Robert Half
PO Box 5024
San Ramon, CA 94583                           431     2/15/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $27,591.91                                                                               $27,591.91




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                                                                                                                                                                      Current Priority Current Secured                      Current Admin    Total Current
               Creditor Name and Address      Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                        Admin Priority
                                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                       Amount                                                Amount
ACE American Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1493     4/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                          $25,000.00                              $0.00                               $0.00       $25,000.00
ACE American Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1600     4/7/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                               $0.00                               $0.00            $0.00
ACE American Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1617     4/7/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                               $0.00                               $0.00            $0.00
ACE American Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1622     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                               $0.00                               $0.00            $0.00
ACE American Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1625     4/7/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                               $0.00                               $0.00            $0.00
ACE American Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1632     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                               $0.00                               $0.00            $0.00
ACE Property and Casualty Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1571     4/7/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                               $0.00                               $0.00            $0.00
ACE Property and Casualty Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1616     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                               $0.00                               $0.00            $0.00
ACE Property and Casualty Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1620     4/7/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                               $0.00                               $0.00            $0.00
ACE Property and Casualty Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1624     4/7/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                               $0.00                               $0.00            $0.00
ACE Property and Casualty Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1627     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                               $0.00                               $0.00            $0.00
ACE Property and Casualty Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1637     4/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                               $0.00                               $0.00            $0.00



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                                                                                                                                         Current General                                         Current 503(b)(9)
                                                                                                                                                              Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                            Debtor                                       Unsecured Claim                                          Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                                  Amount
ACEVEDO VALDOVINOS, MARIA D
2414 E. 3RD ST.
LOS ANGELES, CA 90033                         3152    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Acevedo, Maria
2414 E 3rd St
Los Angeles, CA 90033                         3144    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Acosta, Gloria M.
2881 Camulos Pl # 3
Los Angeles, CA 90023                         1817    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Acosta, Gloria Mena
2881 Camulos Pl. #3
Los Angeles, CA 90023                         1777    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Adams & Sons Transportation, Inc.
P.O. Box 1057
La Mirada, CA 90637                            1      11/17/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $43,961.25                                                                               $43,961.25
Adeli, Cyrus
1540 Picardae Ct
Powell, OH 43065                              1166    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $100.00                                                                $100.00
Adobe Systems, Inc
3900 Adobe Way #2149
Lehi, UT 84043                                455     2/21/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $112,333.20                                                                              $112,333.20
ADP LLC
1851 N. Resler
El Paso, TX 79912                             821     3/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $35,133.69                                                                               $35,133.69
ADT Security Services Inc.
3190 South Vaughn Way
Aurora, CO 80014                              1721    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $2,344.99                                                                               $2,344.99
Advokatfirman Delphi KB
FAO: Nina Persson
Mäster Samuelsgatan 17
PO Box 1432
Stockholm SE-111 84
Sweden                                        837     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $4,196.18                                                                               $4,196.18
Aguilera, Maria J.
2131 W. Court St. Apt. 2
Los Angeles, CA 90026                         2655    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Aguilera, Maria J.
2131 W. Court St. Apt. 2
Los Angeles, CA 90026                         2772    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Aguiriano, Noemi
670 E 37th St
Los Angeles, CA 90011                         2993    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Aguiriano, Noemi
670 E 37th St
Los Angeles, CA 90011                         2996    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Agustin, Mateo
1114 W 18th St #3
Los Angeles, CA 90015                         671      3/9/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $1,098.16                                                                               $1,098.16
Ahmadi, Brian
PO Box 11611
Costa Mesa, CA 92627                          328      2/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $51.84                                                                                   $51.84
Aiello-Sugiyama, Marlene
2414 1st Ave #413
Seattle, WA 98121                             549     2/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $44.90                                                                                   $44.90
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                            1749    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                      $27,000,000.00                              $0.00                                       $27,000,000.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                            1761    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                               $0.00                                                $0.00

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                                                                                                                                                Current General                                        Current 503(b)(9)
                                                                                                                                                                    Current Priority Current Secured                      Current Admin    Total Current
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                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                    Amount                                                 Amount
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                           1774    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                               $0.00                                                $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                           1778    4/10/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)             $27,000,000.00                              $0.00                                       $27,000,000.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                           1786    4/10/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                           $0.00                               $0.00                                                $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                           1788    4/10/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                       $0.00                               $0.00                                                $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                           1792    4/10/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                               $0.00            $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                           1795    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                       $0.00            $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                           1798    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                              $0.00                               $0.00            $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                           1823    4/10/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                             $0.00            $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                           1838    4/10/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                   $0.00            $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                           1874    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                         $0.00            $0.00
Ajtun Chua, Edgar Benjamin
826 Ditman Ave.
Los Angeles, CA 90023                        3059    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Ajtun Chun, Edgar Benjamin
826 Ditman Ave
Los Angeles, CA 90023                        3061    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
AJTUN, FABELITO
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                   1402     4/6/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                    $0.00
Ajtun, Gloria
937 S. Vancouver Ave.
Los Angeles, CA 90022                        1623     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Ajtun, Gloria
937 S. Vancouver Ave.
Los Angeles, CA 90022                        1651     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Ake, Jose C
1365 Dacotah St Apt#4
Los Angeles, CA 90023                        1717    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
AKTER, MAKSUDA
C/O KEITH A. FINK & ASSOCIATES
11500 OLYMPIC BLVD., SUITE 316
LOS ANGELES, CA 90064                        1419     4/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                                    $0.00

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                                                                                                                                                       Current General                                        Current 503(b)(9)
                                                                                                                                                                           Current Priority Current Secured                      Current Admin    Total Current
              Creditor Name and Address                 Claim No. Claim Date                              Debtor                                       Unsecured Claim                                         Admin Priority
                                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                           Amount                                                 Amount
AKTER, MAKSUDA
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                                1430     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                    $0.00
AKTER, MAKSUDA
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                                1435     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                    $0.00
ALAMEDA COUNTY TAX COLLECTOR
1221 OAK STREET
OAKLAND, CA 94612                                         275     1/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                    $570.26                                                                $570.26
Alameda Square Owner LLC (as successor in interest to
Alameda Produce Market LLC)
Jeffrey A. Goldberger
450 Park Avenue, 4th Floor
New York, NY 10022                                        3327    6/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                       $2,464,132.06                                                                           $2,464,132.06
ALBANY INTERNATIONAL ITALIA SRL
C/O ALBANY INTERNATIONAL CORP
ATTN JOSEPH M GAUG
PO BOX 1907
ALBANY, NY 12201-1907                                     976     3/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $5,859.00                                                                                $5,859.00
Albiani, Matthew
106 Bedford St 3A
New York, NY 10014                                        302      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $46.00                                                                                   $46.00
Alexander, Lauren Ashley
604 San Julio Rd
Solana Beach, CA 92075                                    3060    4/18/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $100.00                                                                                  $100.00
Alfaro, Maria
1167 3/4 E. 42nd St.
Los Angeles, CA 90011                                     668      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
Alfonso, Christian
c/o Cummings & Franck PC
Attn: Lee Franck
1025 West 190th Street, Suite 200
Gardena, CA 90248                                         488     2/22/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                    $0.00
Alfonso, Christian
c/o Cummings & Franck PC
Attn: Lee Franck
1025 West 190th Street, Suite 200
Gardena, CA 90248                                         491     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
Alford, LaQuita
16821 Gilchrist St
Detroit, MI 48235                                         998     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                                   $50.00
Ali, Rose
13961 Oxnard St #31
Van Nuys, CA 91401                                        629      3/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $45.47                                                                                   $45.47
Ali, Sara
1820B 11th Ave.
Seattle, WA 98122                                         782     3/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $27.68                                                                                   $27.68
All American Waste LLC
15 Mullen Rd
Enfield, CT 06082                                          22     11/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $837.54                                                                                  $837.54
ALLAN SEBANC AND 363 GRANT AVENUE ASSOCIATES, LLC, ET
AL.
C/O DAVID M MCKIM
425 SOUTH E ST STE B
SANTA ROSA, CA 95404                                      3089    4/18/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $354,458.90                                                                              $354,458.90
Allen-Tummon, Laura
9219 NUGENT TRL
WEST PALM BCH, FL 33411-6325                              574      3/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $233.20                                                                $233.20



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                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Allison, Lillian
3724 N. Lawndale Ave.
Chicago, IL 60618                             1183     4/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $39.48                                                                                   $39.48
Ally Financial
PO Box 130424
Roseville, MN 55113-0004                      3219     5/2/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                    $0.00
Almi, Sarah
1423 E 46TH ST
BROOKLYN, NY 11234                            3181    4/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $42.17                                                                                   $42.17
Aloisi Jr., Joseph
27567 Pamplico Dr.
Valencia, CA 91354                            187     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
ALONSO, MIGUEL
2315 S. FLOWER ST.
#304
LOS ANGELES, CA 90007                         1052    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
ALONSO, MIGUEL
2315 S. FLOWER ST.
#304
LOS ANGELES, CA 90007                         1086    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Alonzo, Marcos
1411 E Vernon Ave
Los Angeles, CA 90011                         3019    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Alonzo, Marcos
1411 E Vernon Ave
Los Angeles, CA 90011                         3021    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Alsaeed, Hussain
5226 S Priest Rd, Room 324
Tempe, AZ 85283                               2406    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.00                                                                                   $40.00
Alspaugh, John F.
11678 Picturesque Dr
Studio City, CA 91604                         1291     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $97.43                                                                                   $97.43
ALTA OFFICE SERVICES
20425 S SUSANA RD
LONG BEACH, CA 90810-1136                     1096    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,644.82                                                                  $0.00        $2,644.82
Altman, Perry
1347 Stanley Blvd
Birmingham, MI 48009                          406     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $12.00                                                                                   $12.00
Altomare, Claudia
1101 Walnut St. Unit 1701
Kansas City, MO 64106                         959     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $150.27                                                                $150.27
Alton, Penny
439 Chestnut Street
San Francisco, CA 94133                       3122    4/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $104.40                                                                                  $104.40
Alvarez, Helen
6848 1/2 Laurel Canyon Blvd.
North Hollywood, CA 91605                     1333     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Alvarez, Helen
6848 1/2 Laurel Canyon Blvd.
North Hollywood, CA 91605                     1352     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Alvarez, Juana
5121 E 60th St Apt C
Maywood, CA 90270                             1387     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Alvarez, Juana
5121 E 60th St. Apt C
Maywood, CA 90270                             1438     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
ALVAREZ, JUANA
6021 PROSPECT AVE
MAYWOOD, CA 90270                             1609     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Alvarez, Juana
6021 Prospect Ave.
Maywood, CA 90270                             1525     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                 $0.00                                                $0.00

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                                                                                                                                                                              Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address                 Claim No. Claim Date                              Debtor                                       Unsecured Claim                                          Admin Priority
                                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                             Amount                                                  Amount
Alvidrez, Julia
553 Grand St. Apt 1R
Brooklyn, NY 11211                                          483     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $38.50                                                                                   $38.50
Amador, Maria
4415 S Gramercy Pl
Los Angeles, CA 90062                                       1730    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                   $0.00            $0.00
Amador, Maria
4415 S Gramercy Pl
Los Angeles, CA 90062                                       1866    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                              $0.00                                                                 $0.00
America Modern, Inc.
16316 Downey Ave
Paramount, CA 90723                                         661      3/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $45,699.98                                              $4,679.69            $0.00       $50,379.67
America Modern, Inc.
16316 Downey Ave
Paramount, CA 90723-5500                                    659      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                                    $0.00
American Airlines, Inc.
Donald E Broadfield, Jr., Director & Sr. Attorney
P.O. Box 619616
MD 5675
DFW Airport, TX 75261                                       798     3/15/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $240.02                                                                                  $240.02
American Alternative Insurance Corporation
Roanoke
1475 E Woodfield Rd # 500
Schaumburg, IL 60173                                         97     12/19/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                                    $0.00
American Apparel (Carnaby) Limited (in Liquidation)
c/o KPMG LLP
Attn: Luke Wiseman and Richard Beard
15 Canada Square
London E14 5GL
United Kingdom                                              912     3/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                                    $0.00
American Apparel Australia Pty Limited (In Liquidation)
Attn: Matthew Abraham
GPO Box 9986
Sydney, NSW 2001
Australia                                                   1921    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $679,431.73                                                                              $679,431.73
American Apparel Canada Retail Inc.
c/o KPMG Inc. as Interim Receiver
Attn: Carl Adjami
Suite 1500, 600 de Maisonneuve Blvd. West
Montréal, QC H3A 0A3
Canada                                                      1555     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $10,565,982.29                                                                          $10,565,982.29
American Apparel Deuschland GMBH (Dr. von der Fecht as
German Insolvency Administrator)
von der Fecht LLP
Rechtsanwalte Steuerberater
Kaiserswerther Strasse 253
Dusseldorf 40474
Germany                                                     1416     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $8,203,081.15                                                                           $8,203,081.15
American Apparel Ireland Limited (in liquidation)
c/o KPMG
1 Stokes Place
St. Stephen's Green
Dublin 2
Ireland                                                     3421    11/19/2018         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $837,575.88                                                                              $837,575.88
American Apparel Japan Yugen Kaisha Bankruptcy Trustee:
Shinnosuke Fukuoka
c/o LPC Nishimura & Asahi Law Firm
Otemon Tower, 1-1-2 Otemachi
Chiyoda-ku, Tokyo 100-8124
Japan                                                       1860    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00                                                                                    $0.00



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                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
American Commercial Equities, LLC
Levy, Small & Lallas
Tom Lallas and Mark D. Hurwitz
815 Moraga Drive
Los Angeles, CA 90049                         3293    5/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
American Commercial Equities, LLC
Levy, Small & Lallas
Tom Lallas and Mark D. Hurwitz
815 Moraga Drive
Los Angeles, CA 90049                         3294    5/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $19,800.00                                                                $500.00       $20,300.00
American Electric Power
Attn: Bankruptcy
1 AEP Way
Hurricane, WV 25526                            84     12/20/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $1,220.82                                                                               $1,220.82
AMERICAN LIGHTING
6861 NANCY RIDGE DR STE C
SAN DIEGO, CA 92121-3214                      694      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $36,316.92                                                                              $36,316.92
AMERICAN SUPPLY COMPANY
1621 E 27TH STREET
LOS ANGELES, CA 90011                         117      1/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $33,823.52                                            $18,788.16                        $52,611.68
Amirkiai, Farah
1215 Arthur Ct.
Los Aitos, CA 94024                           598      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                $65.00                                               $65.00
Anaya's Cutting LLC
Jeff Katofsky, Esq.
4558 Sherman Oaks Ave
Sherman Oaks, CA 91403                        139     1/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $87,794.00                                                                              $87,794.00
Andari Fashion, Inc.
Steven T. Gubner
Brutzkus Gubner
21650 Oxnard St Ste 500
Woodland Hills, CA 91367                      1843    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $230,404.60                                                                             $230,404.60
Anderson, Barbara Crockett
134 POWERS STREET
APT 1C
BROOKLYN, NY 11211                            1868    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $43.51                                                                                   $43.51
Anderson, Iyana
1844 Springfield Ave
Maplewood, NJ 07040                           1184     4/1/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $26.00                                                                                   $26.00
Anderson, Whitney
11812 San Vicente Blvd, Floor 4
Los Angeles, CA 90049                         3382    11/24/2017   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $50.00                                                                                   $50.00
Andrade, Micelena
409 1/2 E 62 St.
Los Angeles, CA 90003                         2006    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Andrade, Micelena
409 1/2 End 62 St
Los Angeles, CA 90003                         2005    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Andrade, Perfecta
918 W. 52nd St
Los Angeles, CA 90037                         2803    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Andrade, Perfecta
918 W. 52nd St
Los Angeles, CA 90037                         2877    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Andres, Angelica
1670 W. 2nd St.
Los Angeles, CA 90026                         1827    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Andres, Maria
233 S. Union Pl. #1
Los Angeles, CA 90026                         1902    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00



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                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                                Amount
Andres, Maria
233 S. Union Pl. #1
Los Angeles, CA 90026                          2070    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Andres, Mercedes
233 Union Pl # 13
Los Angeles, CA 90026                          2026    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Andres, Mercedes
233 Union Pl. # 13
Los Angeles, CA 90026                          1863    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Angioletti, Mike
1075 Dyer Place
Laguna Beach, CA 92651                         246     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $147.70                                                                                  $147.70
ANNAPOLIS MALL OWNER LLC
C/O LECLAIRRYAN, PC
ATTN: NICLAS A. FERLAND, ESQ
545 LONG WHARF DRIVE, 9TH FLOOR
NEW HAVEN, CT 06511                            1535     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $138,117.84                                                                             $138,117.84
Anne Arundel County, Maryland
Anne Arundel County Finance Office
PO Box 2700, MS 1103
Annapolis, MD 21404                            2905    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                             $7,235.04                                            $7,235.04
Another Publishing Ltd
3rd Floor, 2 Arundel Street
London WC2R 3DA
United Kingdom                                 531     2/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $5,979.88                                                 $0.00                         $5,979.88
Antar, Anniessa
4428 Garrison Lane
Edina, MN 55424                                3340    7/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Anyakwo, Joebundus
706 E GREEN ACRES DR
Hobbs, NM 88240-4518                           3078    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                    $0.00                             $0.00
Anyakwo, Joebundus
706 E GREEN ACRES DR
Hobbs, NM 88240-4518                           3110    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Apikian, Abraham
1470 Atchison St
Pasadena, CA 91104                             412     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $28.34                                                                                   $28.34
APISource, Inc.
4471 Nicole Dr
Lanham, MD 20706                                53     12/6/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $19,703.89                                                                              $19,703.89
Aportela, Micaela
13920 1/2 S. Vermont. Ave
Gardena, CA 90247                              1790    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Aportela, Micaela
13920 1/2 S. Vermont. Ave
Gardena, CA 90247                              1853    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Aquilina, Gianna
3815 N Wilton Ave apt #3
Chicago, IL 60613                              866     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $50.00           $50.00
Araniva, Rosa Emilia
646 N. Westmoreland Ave #4
Los Angeles, CA 90004                          2424    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Araniva, Rosa Emilia
646 N. Westmoreland Ave #4
Los Angeles, CA 90004                          2613    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Aravind, Shruthi
964 S 48th St
Omaha, NE 68106                                204     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,000.00                                                                               $1,000.00
Arch Indemnity Insurance Company
Attn: Francine Petrosino, Legal Assistant
Harborside 3, 210 Hudson Street, Suite 300
Jersey City, NJ 07311                          810     3/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                         $4,700,000.00                               $0.00    $4,700,000.00

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                                                                                                                                                         Current General                                       Current 503(b)(9)
                                                                                                                                                                            Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address                Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                             Amount                                                Amount
Arch Insurance Company
Attn: Francine Petrosino, Legal Assistant
Harborside 3, 210 Hudson Street Suite 300
Jersey City, NJ 07311-1107                                  809     3/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                         $4,700,000.00                               $0.00    $4,700,000.00
Arcos Ballina, Guadalupe
510 E 23rd St # 7
Los Angeles, CA 90011                                       2904    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Arevalo, Marina Esperanza
1522 W. 60th St.
Los Angeles, CA 90047                                       2855    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Argueta, Reina
928 South Burlington Ave Apt # 102
Los Angeles, CA 90006                                       1816    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Argueta, Reina
928 Sur Burlington Ave
Apt # 102
Los Angeles, CA 90006                                       1757    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
ARIAS, AURELIO
213 W. 56TH ST.
LOS ANGELES, CA 90037                                       1036    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
ARIAS, AURELIO
213 W. 56TH ST.
LOS ANGELES, CA 90037                                       1040    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00             $0.00                                                                 $0.00
Armengol, Sonia
Wharehouse Distribution Picking
Americal Apparel
16400 Trojan Way
La Mirada, CA 90638                                         1720     4/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Asada, Elaine
3149 Roberts Ave #b
Culver City, CA 90232                                       1266     4/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $50.00                                                                                   $50.00
Ashena, Afrooz
16838 Magnolia Blvd
Encino, CA 91436                                            2319    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $50.00           $50.00
Aston Models, Inc.
332 S. Beverly Dr. # 100
Beverly Hills, CA 90212                                     200     1/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $3,600.00         $1,800.00                                                             $5,400.00
AT&T Corp
c/o Karen A. Cavagnaro; Lead Paralegal
AT&T Services, Inc.
One AT&T Way, Room 3A104
Bedminster, NJ 07921                                        842     3/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $88,879.08                                                                              $88,879.08
ATJUN, FABELITO
C/O KEITH A. FINK & ASSOCIATES
11500 OLYMPIC BLVD., SUITE 316
LOS ANGELES, CA 90064                                       1374     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
ATJUN, FABELITO
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                                  1432     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $150,000.00                                                                             $150,000.00
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      169     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                              $0.00                                                $0.00
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      172     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                              $0.00                                                $0.00
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      173     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      174     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                              $0.00                                                $0.00

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                                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                             Amount                                                Amount
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      181     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                               $0.00                                                $0.00
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      182     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                               $0.00                                                $0.00
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      347      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $7,710.99                            $150.38                                            $7,861.37
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      350      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $8,495.71                            $120.30                                            $8,616.01
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      351      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $3,321.61                            $120.30                                            $3,441.91
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      352      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $9,540.67                            $120.30                                            $9,660.97
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      355      2/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $25,822.43                          $1,052.63                                           $26,875.06
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      356      2/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $30,535.55                            $436.09                                           $30,971.64
Ayala, Maria E
5534 SUPER BOWL DR
LAS VEGAS, NV 89110-5634                                    1855    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Ayala, Maria E
5534 SUPER BOWL DR
LAS VEGAS, NV 89110-5634                                    2098    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Ayala, Maria Ercilia
200 W. 101 St
Los Angeles, CA 90003                                       1992    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Ayala, Maria Ercilia
200 W. 101st St
Los Angeles, CA 90003                                       2191    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Ayala, Rosalva Ramirez
469 Ezra St.
Los Angeles, CA 90063                                       2957    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Aylward, Kimberly
1060 Maria Lane
Louisville, CO 80027                                        3373    11/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $39.50                                                                                   $39.50
Azboy, Hanna Melissa
2111 Westheimer Rd #2305
Houston, TX 77098                                           1579    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $84.83                                                                                   $84.83
Badgley, Corinne
2250 Bay Street #315
San Francisco, CA 94123                                     627      3/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $16.53                                                                                   $16.53
Badri, Seyedeh
12000 Goshen Ave
Apt. # 102
Los Angeles, CA 90049                                       3015    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
Bae, Jinyoung
4333 Gilbert Ave #211
Dallas, TX 75219                                            1107    3/29/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $45.00                                                                                   $45.00
Bahrami, Kavan
6917 N Greenwich Ave
Portland, OR 97217                                          427     2/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $28.00                                                                                   $28.00
Bair, Brooke
2516 Poinsettia Avenue
Manhattan Beach, CA 90266                                   508     2/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $6.56                                                                                    $6.56


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                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
BAKER & MCKENZIE LLP
ATTN: ERIN E. BRODERICK
300 E RANDOLPH ST STE 5000
CHICAGO, IL 60601-5015                       2171    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $3,982.30                                                                               $3,982.30
Baker, Lauren
133 E 15th St, Apt 3D
New York, NY 10003                           3417     8/6/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $44.10                                                                $44.10
BALBOA BLDG., LLC
C/O GRIFFITH & THORNBURGH , LLP
ATTN JOHN C. ECK
8 E FIGUEROA ST STE 300
SANTA BARBARA, CA 93101-2762                 989     3/23/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                    $0.00
Balestrieri, Katherine
1530 Locust St, 4B
Philadelphia, PA 19102                       3376    11/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $90.00                                                                                   $90.00
Ballardo, Maria
8214 Howe St
Paramount , CA 90723                         3008    4/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Ballardo, Maria
8214 Howe St
Paramount, CA 90723                          3009    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Ballina, Guadalupe Arcos
510 E 23rd St #7
Los Angeles, CA 90011                        2919    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Baltimore Gas and Electric Co
PO Box 1475
Baltimore, MD 21201                           57     12/8/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,650.59                                                                               $1,650.59
Baltimore Gas and Electric Co
PO Box 1475
Baltimore, MD 21201                           58     12/6/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $779.83                                                                                  $779.83
Baltimore Gas and Electric Co
PO Box 1475
Baltimore, MD 21201                           59     12/6/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $849.72                                                                                  $849.72
Banos, Maria Lidia
7024 Bonsallo Ave
Los Angeles, CA 90044                        3022    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Banos, Maria Lidia
7024 Bonsallo Ave.
Los Angeles, CA 90044                        3040    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Banuelos, Alma
2129 Vallejo St
Los Angeles, CA 90031                        2184    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
Banuelos, Alma
2129 Vallejo St
Los Angeles, CA 90031                        2503    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Banuelos, Celeste
2701 Randolph st #438
Huntington Park, CA 90255                    3054    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $89.00                                                                $89.00
Barahona, Adela
7982 Clearfield Ave.
Panorama City, CA 91402                      2279    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Barandiaran, Ashley
1834 Clove St
San Diego, CA 92106                          506     2/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $46.44                                                                                   $46.44
Barbuti, Mariella
103 W 77th St.
Apt. 3C
New York, NY 10024                           1068    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $42.00           $42.00
Barcenas, Cirenia
7314 Whitsett Ave
Los Angeles, CA 90001                        2353    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00


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                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Barcenas, Cirenia
7314 Whitsett Ave
Los Angeles, CA 90001                         2355    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Barczak, Mary
2423 Lake Place
Minneapolis, MN 55405                         593      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $42.00                                                                                   $42.00
Barker, Dina
4025 Enfield
Skokie, IL 60076                              239     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $27.47                                                                                   $27.47
Barker, Kristin
50 Lefferts Ave, 4H
Brooklyn, NY 11225                            304      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $45.00                                                                                   $45.00
Barnett, Devon
1634 S 21St Street
Philadelphia, PA 19145                        942     3/23/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                          $35.00           $35.00
Barnhorst, Nicholas
1991 BROADWAY APT 15A
NEW YORK, NY 10023-5827                       569      3/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.00                                                                                  $100.00
Baron, Alexandra
1758 N. Humboldt Blvd, Unit 2
Chicago, IL 60647                             3160    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Baross, Emily
7847 Canyon Lake Circle
Orlando, FL 32835                             1059    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $88.40                                                                                   $88.40
Barragan Rojas, Jesus Roberto
1606 New Jersey St
Los Angeles, CA 90033                         1380     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $5,200.00                                                                               $5,200.00
Barrera, Juventina
25865 ViaTejon Ave
Moreno Valley, CA 92551                       1978    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Barreto, Norma
447 East 27th St
Los Angeles, CA 90011                         2438    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Barreto, Norma
447 East 27th St
Los Angeles, CA 90011                         2635    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Barrett, Randi
515 West End Ave
Apt 12C
New York, NY 10024                            658      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $116.00                                                                                  $116.00
Barron, Ramon
8214 Howe St
Paramount, CA 90723                           3000    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Barron, Ramon
8214 Howe Street
Paramount, CA 90723                           3010    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Barry, Shawn
3011 4th St. #A
Santa Monica, CA 90405                        527     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $55.96                                                                                   $55.96
Bartolotta, Nicole
7 Vik Drive
Warwick, NY 10990                             1058    3/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $30.00           $30.00
BARTOLOTTA, NICOLE
7 VIK DRIVE
WARWICK , NY 10990                            1034    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $30.00                                                                                   $30.00
Barzell, Dustin
436 Union Ave. 2R
Brooklyn, NY 11211                            579      3/2/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $90.00                                                                                   $90.00
Bashi, Denise
4819 Elmhurst Ave.
Royal Oak, MI 48073                           3287    5/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $61.48                                                                                   $61.48


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                                                                                                                                                              Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Bassey, Inyang
921 Washington Avenue
Apt. 3 L
Brooklyn, NY 11225                            824     3/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $8.95                                                                                   $8.95
Baychester Shopping Center, Inc.
Mark J. Romeo
Law Offices of Mark J. Romeo
235 Montgomery Street, Suite 400
San Francisco, CA 94104                       3145    4/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $236,688.66                         $18,583.66                                          $255,272.32
Bayer, Jonah
354 Onderdonk Ave, Apt 2B
Ridgewood, NY 11385                           767     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $97.00                                                                                   $97.00
Belenkov, Stephanie
1158 Fifth Avenue, 16C
New York, NY 10029                            1956    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $70.00                                                                                   $70.00
BellSouth Telecommunications, Inc
c/o AT&T Services, Inc Karen A. Cavagnaro
One AT&T Way, Room 3A104
Bedminster, NJ 07921                          664      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,988.52                                                                               $2,988.52
Beltran, Blanca
1365 Dacotah St Apt. # 4
Los Angeles, CA 90023                         1591    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Beltran, Blanca
1365 Dacotah St Apt. # 4
Los Angeles, CA 90023                         2774    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Beltran, Blanca L.
1365 Dacotah St # 4
Los Angeles, CA 90023                         2767    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Beltran, Maria
569 S Hillview Ave
Los Angeles, CA 90022                         3028    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00            $0.00                                                $0.00
Beltran, Maria
569 S Hillview Ave
Los Angeles, CA 90022                         3038    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Benau, Tessa
179 Park Pl. Apt. 8
Brooklyn, NY 11238                            270     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.22                                                                                   $50.22
Benitez, Maria
17609 E Newburgh St
Azusa, CA 91702-5636                          2334    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Benitez, Maria
17609 E Newburgh St
Azusa, CA 91702-5636                          2336    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Benjamin, Jazmyn
1420 Madison Ave
Columbus, OH 43205                            3397    12/20/2017   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $78.00                                                                                   $78.00
Bennhoff, Brian
25 Whiffle Tree Lane
New Canaan, CT 06840                          3161    4/25/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $70.00                                                                                   $70.00
BENNY'S PALLETS
ATTN: BENJAMIN MARTINEZ
1611 E 23RD ST
LOS ANGELES, CA 90011                         160     1/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $15,487.50                                                                              $15,487.50
Bent, Kimberly
150 South Ocean Ave Apt. 1K
Freeport, NY 11520                            393     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $88.93                                                                $88.93
Bernal, Norma
8132 Commercial Pl
South Gate, CA 90280                          3073    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Bernal, Norma
8132 Commercial Pl
South Gate, CA 90280                          3077    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00

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                                                                                                                                                            Current Priority Current Secured                       Current Admin    Total Current
              Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                         Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                        Priority Amount   Claim Amount
                                                                                                                                             Amount                                                 Amount
Bernal, Richard R
5776 Rostrata Ave Apt 4
Buena Park, CA 90621-1856                   1260     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                     $0.00
BEXAR COUNTY
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
711 NAVARRO STREET, STE 300
SAN ANTONIO, TX 78205                        19     11/23/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                       $0.00                                                 $0.00
Bexar County
Linebarger Goggan Blair & Sampson, LLP
Don Stecker
711 Navarro, Suite 300
San Antonio, TX 78205                       392     2/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                            $0.00            $0.00
Bexar County
Linebarger Goggan Blair & Sampson, LLP
Don Stecker
711 Navarro, Suite 300
San Antonio, TX 78205                       3375    11/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                            $0.00            $0.00
Bexar Transportation
Ronald J. Johnson
111 Soledad, Suite 1350
San Antonio, TX 78205                       1372     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $7,890.00                                                                                $7,890.00
Bianchi, Janina
7668 SW 160 Ave
Miami, FL 33193                             1099    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $193.50                                                                                   $193.50
Biesack, John
3018 N. Hackett Ave.
Milwaukee, WI 53211                         730     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $196.47                                                                                   $196.47
Bik, Cho
420 W. Riggin St.
Monterey Park, CA 91754                     1527     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Billet, Moshe
752 W END AVE APT 14C
NEW YORK, NY 10025-6234                     1284     4/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                     $20.00                                                                 $20.00
Billet, Moshe
752 West End Ave, 21D
New York, NY 10025                          1262     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $20.00                                                                 $20.00
Billet, Moshe
752 West End Ave, 21D
New York, NY 10025                          1269     4/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $20.00                                                                 $20.00
Bilokur, Lida
916 East Aloha, Unit B
Seattle, WA 98102                           787     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $158.78                                                                                   $158.78
Bischoff, Ashlee
114 Dardanelli Ln. #40
Los Gatos, CA 95032                         1250     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $44.83                                                                                    $44.83
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                          2282    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                      $218,727,784.00                               $0.00 $218,727,784.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                          2293    4/11/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                         $0.00                      $218,727,784.00                               $0.00 $218,727,784.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                          2307    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                      $218,727,784.00                               $0.00 $218,727,784.00



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                                                                                                                                                                   Current Priority Current Secured                       Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                        Admin Priority
                                                                                                                                                                    Claim Amount     Claim Amount                        Priority Amount   Claim Amount
                                                                                                                                                     Amount                                                Amount
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2370    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                   $0.00            $0.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2393    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2402    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2456    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2524    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2574    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2576    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                  $0.00            $0.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2590    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                            $0.00            $0.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2668    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                              $0.00            $0.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2671    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2697    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                        $0.00            $0.00
Blaine, Jennifer
709 S. 17th Street
Philadelphia, PA 19146                        2856    4/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $32.00                                                                                   $32.00
Blanca Quintana, Maria
1301 W Court St. #108
Los Angeles, CA 90026                         2950    4/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                  $0.00


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                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                                Amount
Blanco, Dinora
6363 Middleton St.
Huntington Park, CA 90255                      1364     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Blanco, Dinora
6363 Middleton St.
Huntington Park, CA 90255                      1396     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
BNB TRIM
1511 West 36th Place
Los Angeles, CA 90018                          259     1/30/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $5,937.75                                                                               $5,937.75
Boakye, Lorraine
5609 Elmer St
Unit 303
Pittsburgh, PA 15232                           1138    3/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Bogert, Laura
104 Vicksburg St.
San Francisco, CA 94114                        446     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $76.13                                                                                   $76.13
BOLSTER, LINDSAY SHEA
2138 S INDIANA AVE #2109
CHICAGO, IL 60616                              339      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $87.00                                                                                   $87.00
BOLSTER, LINDSAY SHEA
2138 S INDIANA AVE #2109
CHICAGO, IL 60616                              968     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $87.00                                                                                   $87.00
Bolster, Lindsay Shea
2138 S. Indiana Ave #2109
Chicago, IL 60616                              1000    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $87.00           $87.00
Bonilla, Blanca L
1131 West 110 St
Los Angeles, CA 90044                          2199    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Bonilla, Blanca L
1131 West 110 St
Los Angeles, CA 90044                          2705    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Boquin, Reynalda
1350 West 4th St Apt #201
Los Angeles, CA 90017                          1971    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Boquin, Reynalda
1350 West 4th St Apt #201
Los Angeles, CA 90017                          2022    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Borrayo, Maria
1333 2nd Ave Apt 8
Los Angeles, CA 90019                          2749    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Bosak, Ed
Edward Bosak
8600 Boulevard East
Apartment 4H
North Bergen, NJ 07047                         3076    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.00                                                                                  $100.00
Boulder County Treasurer's Office
c/o Paul Weissmann, Treasurer
PO Box 471
Boulder, CO 80306                              2707    4/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                  $9,175.26                                                             $9,175.26
Boulouque, Clemence
31 Jane Street
Apartment 10C
New York, NY 10014                             1803    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $28.00                                                                                   $28.00
Bradfield, Yarisbeth
4201 Massachusetts Ave. NW
Apt. #4074
Washington, DC 20016                           667      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $33.92                                                                                   $33.92
Brailsford, Brooke
10989 Bluffside Dr. Apt # 3203
Studio City, CA 91604                          428     2/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                   $32.00                            $32.00



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                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                                Amount
Brauntuch, Lauren
185 E. 85th St.
Apt 32B
New York, NY 10028                             245     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $7.43                                                                                   $7.43
Bravo de Cortez, Irene
8154 Cypress Ave
South Gate, CA 90280                           2200    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Bravo de Cortez, Irene
8154 Cypress Ave
South Gate, CA 90280                           2730    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Bravo, Jose G.
236 S Bonnie Brae Ap. #214
Los Angeles, CA 90057                          2054    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Bravo, Jose G.
236 S Bonnie Brae Ap. #214
Los Angeles, CA 90057                          2119    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Bremus, E.
199 Michigan Avenue
Paterson, NJ 07503                             543     2/27/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $1.00                                                                                   $1.00
Brenes, Grisvia
23841 SW 108 Ave
Homestead, FL 33032                            2321    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $74.90                                                                                   $74.90
Bretan, Raina
200 E. 71st St Apt 8L
New York, NY 10021                             679      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $43.00                                                                                   $43.00
Briceno, Maria
16209 Cornuta Ave
Bellflower, CA 90706                           2111    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Briceno, Maria
16209 Cornuta Ave
Bellflower, CA 90706                           2144    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
BRINK'S INCORPORATED
FILE NO 52005
LOS ANGELES, CA 90074-2005                     1898    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $9,514.49                                                                               $9,514.49
Brito, Maria
2 Seaman Ave. Apt. 1H
New York, NY 10034                             709      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $78.00                                                                                   $78.00
Brizuela Romero, Nuria Elizabeth
721 1/2 S DOWNEY RD
Los Angeles, CA 90023-1908                     2320    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Brizuela Romero, Nuria Elizabeth
721 1/2 S DOWNEY RD
Los Angeles, CA 90023-1908                     2431    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Broder Bros., Co dba alpabroder
ATTN: General Counsel
6 Neshaminy Interplex, 6th Floor
Trevose, PA 19053                              1646    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $220,000.00                                                                  $0.00      $220,000.00
Brooks Industries
PO Box 9111
Calabasas, CA 91372-9111                       775     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,880.00                                                                               $2,880.00
Brown, Justin
4416 Navin Field Lane
Troy, MI 48085                                 3225     5/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $108.12                                                                                  $108.12
Brown, Justin
4416 Navin Field Lane
Troy, MI 48085                                 3237     5/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $108.12                                                                                  $108.12
Brown, Justin
4416 Navin Field Lane
Troy, MI 48085                                 3316    6/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $108.12                                                                                  $108.12




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              Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                                Amount
BRUZZESE, LARA
1201 ADAMS STREET
APT. 302
HOBOKEN, NJ 07030                           3336    7/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $30.00                                                                                   $30.00
Budget Truck
Avis Budget Group, Inc
300 Centre Pointe Drive
Virginia Beach, VA 23462                    3271    5/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Buishas, Brianne
412 Verbena Ct.
Naperville, IL 60565                        404     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $63.95                                                                                   $63.95
Bumbaugh, Meghan
105 Leonard Steet, 5E
Brooklyn, NY 11206                          738     3/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $32.00                                                                                   $32.00
Burger, Susan
16276 Deer Trail Court
San Diego, CA 92127                         3383    11/26/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
BURLINGTON POLICE DEPARTMENT
1 NORTH AVE
BURLINGTON, VT 05401-2946                   693      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,306.00             $0.00                                                             $2,306.00
Burns, Katherine
2700 Canton St. Apt 304
Dallas, TX 75226                            655      3/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $83.35                                                                                   $83.35
Burton, Saba
PO Box 14721
Oakland, CA 94614                           563      3/1/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $157.15                                                                                  $157.15
Bushnell, Gena
685 E 43RD ST APT C
Los Angeles, CA 90011-6076                  3328    6/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $39.01                                                                                   $39.01
Byrd-Locey, Haley Kristin
240 W Auburn Rd
Rochester Hills, MI 48307                   1171     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $100.00                                                                                  $100.00
C.H. Robinson Worldwide, Inc.
14701 Charlson Road
Eden Prairie, MN 55347                      870     3/20/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $43,987.95                                                                              $43,987.95
CA INP
13404 La Jolla Cir. #201H
La Mirada, CA 90638                          28     11/28/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $74,750.28                                                                              $74,750.28
CA INP
13404 La Jolla Cir. #201H
La Mirada, CA 90638                          30     11/28/2016        APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                      $7,665.84                                                                               $7,665.84
Caballero, Teresa
170 North Ave. 25
Los Angeles, CA 90031                       1865    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Cabezas, Digna
858 E 51st St
Los Angeles, CA 90011                       1390     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Cabezas, Digna
858 E 51st St
Los Angeles, CA 90011                       1394     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
CABRERA-RIOS, CLAUDIO
963 1/2 S. SOTO ST
LOS ANGELES, CA 90023                       952     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Cabrera-Rios, Claudio
963 1/2 S. Soto St.
Los Angeles, CA 90023                       944     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Caen Rfid Srl
Via Vetraia 11
Viareggio (LU) 55049
Italy                                       1111    3/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $895.00                                                                                  $895.00



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                                                                                                                                                                              Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address             Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                        Admin Priority
                                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                               Amount                                                Amount
Califame of Los Angeles
20934 S. Santa Fe Ave
Carson, CA 90810                                        2209    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                          $17,107.20                                                                              $17,107.20
California Department of Tax and Fee Administration
(functional successor to Board of Equalization 7
Special Ops, MIC:55
PO Box 942879
Sacramento, CA 94279-0055                               3363    10/6/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                       $0.00                                                                 $0.00
California Department of Tax and Fee Administration
(functional successor to Board of Equalization 7
Special Ops, MIC:55
PO Box 942879
Sacramento, CA 94279-0055                               3364    10/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                            $31,209.52                                                            $31,209.52

CALIFORNIA MANUFACTURING TECHNOLOGY CONSULTING
690 KNOX ST STE 200
TORRANCE, CA 90502-1323                                 949     3/21/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                                                                                    $0.00
Calles, Jose Arnulfo
6656 Rosecrans Ave
SPC-S46
Paramount, CA 90723                                     1825    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Calles, Jose Arnulfo
6656 Rosecrans Ave
SPC-S46
Paramount, CA 90723                                     1871    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Camara, Amber
136 TRACE DR
Pittsboro, NC 27312-9504                                3301     6/2/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $36.33                                                                                   $36.33
Campos, Amalia
5293 S. Broadway Ave
Apt # 4
Los Angeles, CA 90037                                   2998    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Campos, Amalia
5293 S. Broadway Ave
Apt # 4
Los Angeles, CA 90037                                   3065    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Campos, Maria E
6051 Miles Ave
Huntington Park, CA 90255                               2622    4/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Campos, Maria E
6051 Miles Ave
Huntington Park, CA 90255                               2637    4/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Canastuj, Samuel D.
222 E 88 PL
Los Angeles, CA 90003                                   2131    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Canastuj, Samuel D.
222 E 88 PL
Los Angeles, CA 90003                                   2213    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Caniz, Rodolfo
1180 W. 29th St. # 305
Los Angeles, CA 90007                                   1962    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Caniz, Rodolfo
1180 W. 29th St. # 305
Los Angeles, CA 90007                                   1964    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Cano, Guadalupe
136 N. Maple Ave.
Montebello, CA 90640                                    1454     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Cano, Guadalupe
136 N. Maple Ave.
Montebello, CA 90640                                    1508     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00              $0.00                                                                 $0.00



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              Creditor Name and Address   Claim No. Claim Date                            Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                           Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                           Amount                                                Amount
Cano, Maria
1010 W 23 St
San Pedro, CA 90731                         2931    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Cano, Maria
1010 W 23 St
San Pedro, CA 90731                         2948    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Canon, Lian
13138 Magnolia Blvd
Sherman Oaks, CA 91423                      378     2/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $31.00                                                                                   $31.00
Cantiello, Laura
23 Arden Road
East Rockaway, NY 11518                     753     3/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $39.21                                                                                   $39.21
Cantiello, Laura
23 Arden Road
East Rockaway, NY 11518                     835     3/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $39.21                                                                                   $39.21
Cardona, Reina E.
1408 W 11th St #13
Los Angeles, CA 90015                       2995    4/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Cardona, Reina E.
1408 W 11th St #13
Los Angeles, CA 90015                       3062    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                                                                                    $0.00
Cardona, Reina E.
1408 W 11th St #13
Los Angeles, CA 90015                       3210     5/1/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Cardona, Reina E.
1408 W 11th St #13
Los Angeles, CA 90015                       3217     5/1/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Career Group, Inc.
Harry Levenson
10100 Santa Monica Blvd.
Ste. 900
Los Angeles, CA 90067                       727     3/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $67,337.63                                                                              $67,337.63
Career Group, Inc.
Harry Levenson
10100 Santa Monica Blvd.
Ste. 900
Los Angeles, CA 90067                       3439    7/24/2019    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $67,337.63                                                                              $67,337.63
Carey, Jacqueline H.
141 Nevins St. #11
Brooklyn, NY 11217                          191     1/26/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $200.00                                                                                  $200.00
Carlotti, Nicole
415 Argyle Road, 2V
Brooklyn, NY 11218                          1150    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $34.00                                                                                   $34.00
CARRANZA, IRMA
2309 VALLEY ST #101
LOS ANGELES, CA 90057                       1793    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
CARRANZA, IRMA
2309 VALLEY ST #101
LOS ANGELES, CA 90057                       1822    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
CARRANZA, NORMA
LAW OFFICES OD RAMIN R. YOUNESSI
A PROFFESSIONAL LAW CORPORATION
3435 WILSHIRE BLVD., STE. 2200
LOS ANGELES, CA 90010                       1304     4/5/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Carrasco, Anya
647 W 207 St Apt 1A
New York, NY 10034                          3393    12/14/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                           $60.00                                                                                   $60.00
Carter, Ben
1759 Filbert Street
San Francisco, CA 94123                     3251    5/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $36.98                                                                                   $36.98



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                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                               Amount
Carter, Bryn
1121 Mohawki St
Los Angeles, CA 90026                         205     1/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $77.39                                                                                  $77.39
Carter, Catherine
1030 Don Diego Ave
Santa Fe, NM 87505                            763     3/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $27.07                                                                                  $27.07
Casas de Garcia, Anita
1349 E 43rd PL
Los Angeles, CA 90011                         2685    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Casas de Garcia, Anita
1349 E 43rd PL
Los Angeles, CA 90011                         2787    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
CASELLA WASTE SERVICES
PO BOX 1372
WILLISTON, VT 05495-1372                      960     3/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $52.59                                                                                  $52.59
Casey, Julie
2435 Oak Street
Santa Monica, CA 90405                        298      2/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $35.04                                                                                  $35.04
Casillas, Graciela
523 Eastmont Ave. #14
Los Angeles, CA 90022                         2755    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Casillas, Graciela
523 Eastmont Ave. #14
Los Angeles, CA 90022                         2801    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Casillas, Luisa O.
919 Hollins St
Los Angeles, CA 90023                         3074    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Casillas, Luisa O.
919 Hollins St
Los Angeles, CA 90023                         3084    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Casper, Shari
311 West 24th Street, Apt 20F
New York, NY 10011                            2014    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $85.00             $85.00                           $170.00
Castaneda, Ana Maria
2261 E. 108th St
Los Angeles, CA 90059                         2322    4/12/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Castaneda, Ana Maria
2261 E. 108th St
Los Angeles, CA 90059                         2388    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Castaneda, Sandra J.
1312 W. 61st
Los Angeles, CA 90044                         2992    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Castaneda, Sandra J.
1312 W. 61st
Los Angeles, CA 90044                         2997    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Castillo, Blanca
4265 S. Main St.
Los Angeles, CA 90037                         1602    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Castillo, Blanca
4265 S. Main St.
Los Angeles, CA 90037                         1604    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Castillo, Blanca Delia
2001 Berkeley Ave
Los Angeles, CA 90026                         2910    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Castillo, Blanca Delia
2001 Berkeley Ave
Los Angeles, CA 90026                         2922    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                                                                                   $0.00
Castillo, Desiree L.
23 Waverly Place, Apt 2W
New York, NY 10003                            560     2/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $77.00                                                                                  $77.00



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                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                               Amount
Castillo, Jamileth
1346 E. 41st Place
Los Angeles, CA 90011                         1770    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Castillo, Jamileth
1346 E. 41st Place
Los Angeles, CA 90011                         2117    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Castillo, Jose V.
429 Sur Loma Dr.
Los Angeles, CA 90017                         2695    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Castillo, Jose V.
429 Sur Loma Dr.
Los Angeles, CA 90017                         2559    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Castillo, Maria
5845 Cecilia St., #A
Bell Gardens, CA 90201                        2504    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Castillo, Maria
5845 Cecilia St., #A
Bell Gardens, CA 90201                        2578    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Castillo, Maria
429 Sur Loma Dr.
Los Angeles, CA 90017                         2591    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Castillo, Maria
429 Sur Loma DR.
Los Angeles, CA 90017                         2723    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Castillo, Maria Eleazar
415 S. Loma Dr #1
Los Angeles, CA 90017                         1814    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Castillo, Maria Eleazar
415 S. Loma Dr #1
Los Angeles, CA 90017                         1917    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Castro, Amalia
6019 Middleton St.
Huntington Park, CA 90255                     2480    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Castro, Amalia
6019 Middleton St.
Huntington Park, CA 90255                     2612    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00             $0.00                                                                 $0.00
Castro, Gustavo
4039 1/2 Morgan Ave
Los Angeles, CA 90011                         2086    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Castro, Gustavo
4039 1/2 Morgan Ave.
Los Angeles, CA 90011                         2105    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Castro, Jerry
4039 1/2 Morgan Ave
Los Angeles, CA 90011                         2255    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Castro, Jerry
4039 1/2 Morgan Ave.
Los Angeles, CA 90011                         2238    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Castro, Maria D
10621 Lou Dillon Ave
Los Angeles, CA 90002                         2516    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Castro, Maria D.
10621 Lou Dillon Ave.
Los Angeles, CA 90002                         2660    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Catarino, Maria Esperanza Juan
1138 E 40 Pl
Los Angeles, CA 90011                         3142    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Catarino, Maria Esperanza Juan
1138 E. 40 Pl.
Los Angeles, CA 90011                         3141    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00



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                                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                      Amount                                                Amount
Catarino, Paula J
1200 E 45th St
Los Angeles, CA 90011                                  2095    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Cativo, Lourdes
9708 S. Central Ave #B
Los Angeles, CA 90002                                  1161     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Cativo, Lourdes
9708 S. Central Ave #B
Los Angeles, CA 90002                                  1367     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Cativo, Lourdes
9708 S. Central Ave #B
Los Angeles, CA 90002                                  1409     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Cayetano, Irene
1652 S. Hobart Blvd
Los Angeles, CA 90006                                  2715    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                                                                                    $0.00
Cayetano, Irene
1652 S. Hobart Blvd
Los Angeles, CA 90006                                  2857    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Cayre, Daniel
534 Hudson Street, 3D
New York, NY 10014                                     420     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $263.09                                                                                  $263.09
Cazares, Ocotlan
680 1/2 E 53rd St
Los Angeles, CA 90011                                  1348     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Cazares, Ocotlan
680 1/2 E 53rd St
Los Angeles, CA 90011                                  1349     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
CDW, LLC
ATTN: RONELLE ERICKSON
200 N. MILWAUKEE AVE
VERNON HILLS, IL 60061                                 113     12/22/2016        APP Winddown, LLC (f/k/a American Apparel, LLC)                         $2,361.77                                                                               $2,361.77
Cebreros, Francisco J.
9151 Chapman Ave. Apt. 27
Garden Grove, CA 92841                                 751     3/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Celestin, Kelli
148 Villere Dr.
Destrehan, LA 70047                                    585      3/2/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $74.12                                                                                   $74.12
Cen, Winnie
520 Solano Ave.
Los Angeles, CA 90012                                  1694     4/9/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Centeno, Reina
703 W 79th St #2
Los Angeles, CA 90044                                  2815    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Centeno, Reina
703 W 79th St #2
Los Angeles, CA 90044                                  2829    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Central Occupational Medicine Providers-Ontario
P.O. Box 2948
Riverside, CA 92516                                    2488    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Central Telephone Company - Nevada dba CenturyLink
Centurylink Communications, LLC. - Bankruptcy
931 14th St
Denver, CO 80202-2994                                  3366    10/17/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Central Telephone Company-Nevada dba CenturyLink
Centurylink Communications, LLC. - Bankruptcy
1801 California ST RM 900
Denver, CO 80202                                       109     12/28/2016        APP Winddown, LLC (f/k/a American Apparel, LLC)                           $45.53                                                                                   $45.53
CenturyLink Communications, LLC (f/k/a Qwest
Communications Company, LLC)
Bankruptcy
931 14th Street Suite 900
Denver, CO 80202                                       3368    10/17/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00

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                Creditor Name and Address      Claim No. Claim Date                            Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                                Amount
CenturyLink Communications, LLC (f/k/a Qwest
Communications Company, LLC)
CenturyLink Communications, LLC -Bankruptcy
931 14th St
Denver, CO 80202-2994                            108     12/28/2016        APP Winddown, LLC (f/k/a American Apparel, LLC)                         $2,463.48                                                                               $2,463.48
Cerna, Estelfina G.
818 S. Berendo St. Apt 207
Los Angeles, CA 90005                            1830    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                                                                   $0.00            $0.00
Cerna, Estelfina G.
818 S. Berendo St. Apt 207
Los Angeles, CA 90005                            1836    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Ceva Logistics
Attn: Katherine Moore-Devoe
15350 Vickery Drive
Houston, TX 77032                                484     2/22/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $4,259.93                         $50,000.00                                           $54,259.93
Cha, Serena
1549 San Carlos Ave Apt #26
San Carlos, CA 94070                             460     2/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $94.61                                                                                   $94.61
Chacon, Gloria B
1375 W. 20th St Apt #3
Los Angeles, CA 90007                            2122    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Chacon, Gloria Betty
1375 W. 20th St. #3
Los Angeles, CA 90007                            2015    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
CHAMPET, JUANA
749 1/2 S. WOODS AV
LOS ANGELES, CA 90022                            2760    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
CHAMPET, JUANA
749 1/2 S. WOODS AV
LOS ANGELES, CA 90022                            2770    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Chan, Ellen
Ellen Chan
72-23 Juno Street
Forest Hills, NY 11375                           265     1/30/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $36.00                                                                                   $36.00
Chan, Jessica
682 28th Ave
San Francisco, CA 94121                          996     3/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $40.00                                                                                   $40.00
Chan, Kevin
609 Abbot Ave.
San Gabriel, CA 91776                            242     1/30/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $47.96                                                                                   $47.96
CHANDLER, WILLIAM DAVID
212 SOMERSET DR
RAEFORD, NC 28376                                772     3/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Chandler, William David
212 Somerset Dr.
Raeford, NC 28376                                777     3/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
CHANG, QI PING
3216 N EASTERN AVE
LOS ANGELES, CA 90032                            1117    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
CHANG, QI PING
3216 N EASTERN AVE
LOS ANGELES, CA 90032                            1120    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
CHANG, QI PING
3216 N EASTERN AVE
LOS ANGELES, CA 90032                            1456     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                                                                                    $0.00
Chang, Qi Ping
3216 N Eastern Ave
Los Angeles, CA 90032                            1554     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00




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                                                                                                                                                            Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                            Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                                Amount
ChannelAdvisor Corporation
Maria Flanagan
3025 Carrington Mill Boulevard
Suite 500
Morrisville, NC 27560                         2251    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $11,903.52                                                                              $11,903.52
Charleston County Revenue Collections
4045 Bridgeview Drive
North Charleston, SC 29405                    353      2/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $558.31                                              $558.31
CHARLESTON WATER SYSTEM
Commissioners of Public Works
PO BOX B
CHARLESTON, SC 29403                          140      1/5/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $122.59                                                                                  $122.59
Chau, Tina Cu V
7544 Garvalia Ave
Rosemead, CA 91770                            1035    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Chau, Tina Cu V
7544 Garvalia Ave
Rosemead, CA 91770                            2965    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Chau, Tina Cu V
7544 Garvalia Ave
Rosemead, CA 91770                            2982    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Chavez, Maximo T
417 S Bonnie Brae
Apt #218 3ts
Los Angeles, CA 90057                         1102    3/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Chavez, Maximo T
417 S Bonnie Brae
Apt #218 3ts
Los Angeles, CA 90057                         1103    3/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Chavez, Maximo T
417 S Bonnie Brae
Apt #218 3ts
Los Angeles, CA 90057                         2897    4/12/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Chavez, Maximo T
417 S Bonnie Brae
Apt #218 3ts
Los Angeles, CA 90057                         2898    4/12/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Chen, Al Juan
238 South Avenue 18 Apt. B
Los Angeles, CA 90031                         1025    3/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Chen, Al Juan
238 South Avenue 18 Apt. B
Los Angeles, CA 90031                         1074    3/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Chen, Jenny
3211 Darwin Ave
Los Angeles, CA 90031                         1581    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Chen, Jian Ai
1511 S 2nd St
Alhambra, CA 91801                            3117    4/20/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Chen, Jian Al
1511 S 2nd St.
Alhambra, CA 91801                            867     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Chen, Jian Al
1511 S 2nd St.
Alhambra, CA 91801                            3124    4/20/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Chen, Jinzhu
1805 S. Stoneman Ave
Alhambra, CA 91801                            1520     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Chen, Jinzhu
1805 S. Stoneman Ave
Alhambra, CA 91801                            1784     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00


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                                                                                                                                                             Current Priority Current Secured                      Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
Chen, Peitong
1000 Memorial Drive
Cambridge, MA 02138                          281     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.00                                                                                  $100.00
Chen, Tina
1010 N Curson Ave #107
West Hollywood, CA 90046                     1164    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $26.73                                                                                   $26.73
Chen, Yanping
7300 Dartford Drive Apt 6
Mc Lean, VA 22102                            734     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.88                                                                                   $50.88
Chen, Yue Xing
716 Yale St # 106
Los Angeles, CA 90012                        2116    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Chen, Yue Xing
716 Yale St., # 106
Los Angeles, CA 90012                        2121    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Chen, Yun Xiao
8374 Sierra Bonita Ave.
Rosemead, CA 91770                           858     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Cherry Hill Center, LLC
Jeffrey Kurtzman, Esquire
401 S. 2nd Street, Suite 200
Philadelphia, PA 19147                        11     11/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Cherry Hill Center, LLC
Jeffrey Kurtzman, Esquire
401 S. 2nd Street, Suite 200
Philadelphia, PA 19147                       2958    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $356,094.87             $0.00                                                           $356,094.87
Cheung, Wan
927 S. Charlotte Ave
Apt A
San Gabriel, CA 91776                        1274     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Cheung, Wan
927 S. Charlotte Ave
Apt A
San Gabriel, CA 91776                        1294     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
CHICAS, JOSE
4300 Raynol St.
Los Angeles, CA 90032                        742     3/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Chicas, Jose
4300 Raynol Street
Los Angeles, CA 90032                        731     3/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
CHICTOPIA LLC
5 3RD ST STE 422
SAN FRANCISCO, CA 94103-3225                 1013    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Chmait, Diana
26595 Maside
Mission Viejo, CA 92692                      1443     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $49.68           $49.68
Cho, Bik
420 W. Riggin St.
Monterey Park, CA 91754                      1580     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Choi, Eunsuk
1275 15th Street Apt 5F
Fort Lee, NJ 07024                           448     2/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $73.00                                                                                   $73.00
Choong, Brandon
53-17 202nd St.
Oakland Gardens, NY 11364                    370     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $46.00                                                                                   $46.00
Choong, Brandon
53-17 202nd St.
Oakland Gardens, NY 11364                    1159    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $46.00                                                                                   $46.00
Choong, Brandon
53-17 202nd St.
Oakland Gardens, NY 11364                    1178    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $46.00           $46.00


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                                                                                                                                                                   Current Priority Current Secured                      Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                        Admin Priority
                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                    Amount                                                Amount
Choong, Yilih
217-12 47th Ave
Bayside, NY 11361                            1704    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $38.00                                                                                   $38.00
Chopra, Rishi
4405 Prairie Willow Ct.
Concord, CA 94521                            380     2/13/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
Chopra, Rishi
4405 Prairie Willow Ct.
Concord, CA 94521                            1172     4/1/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $791.99                                                                                  $791.99
Chopra, Rishi
4405 Prairie Willow Ct.
Concord, CA 94521                            1548     4/1/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
Chou, Emily
1306 Armacost Ave. #7
Los Angeles, CA 90025                        934     3/23/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                                   $50.00
Chou, Shih-an
1926 W Burnside st. #1115
Portland, OR 97209                           846     3/20/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $8.00                                                                                    $8.00
Chow, Janet
409 Hibben Magie Rd.
Princeton, NJ 08540                          897     3/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $8.50                                                                                    $8.50
Chow, Joanna
625 West 57th Street
Apt. 2502
New York, NY 10002                           3308     6/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $104.16          $104.16
Chrome River Technologies, Inc.
5757 Wilshire Blvd. Suite 270
Los Angeles, CA 90036                         71     12/15/2016         APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $3,225.00                                                                               $3,225.00
Chu, Hai
717 W Mission Rd.
Alhambra, CA 91801                           965     3/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
Chu, Hai
717 W Mission Rd.
Alhambra, CA 91801                           967     3/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Chu, Jackson
230 Ashland Pl. 7d
Brooklyn, NY 11217                           900     3/21/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $100.00                                                                                  $100.00
Chu, Sally
5638 Golden West Ave
Temple City, CA 91780                        502     2/24/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $63.60                                                                                   $63.60
Chubb Custom Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                       1611     4/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                               $0.00                               $0.00            $0.00
Chubb Custom Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                       1649     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                               $0.00                               $0.00            $0.00
Chubb Custom Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                       1681     4/7/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                               $0.00                               $0.00            $0.00
Chubb Custom Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                       1683     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                               $0.00                               $0.00            $0.00



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                                                                                                                                                                 Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address      Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                  Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                  Amount                                                Amount
Chubb Custom Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1685     4/7/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                         $0.00                               $0.00                               $0.00            $0.00
Chubb Custom Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1716     4/7/2017      APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                     $0.00                               $0.00                               $0.00            $0.00
Chun Li Ng, Moon
11255 Frankmont Ct
El Monte, CA 91732                               2162    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Chun, Juan
1262 S. Kern Ave
Los Angeles, CA 90022                            3139    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Chun, Juan
1262 S. Kern Ave
Los Angeles, CA 90022                            3157    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Chun, Juana
1262 S. Kern Ave
Los Angeles, CA 90022                            3155    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Chun, Juana
1262 S. Kern Ave
Los Angeles, CA 90022                            3159    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Cicalese, Denise
5 Green Ct
Cranford, NJ 07016                               930     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Cinco, Marta
1299 E Green St Apt 205
Pasadena, CA 91106                               1848    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Cinco, Marta A.
1559 1/2 S. Harvard Blvd
Los Angeles, CA 90006                            1750    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Cioffi, Leslie
21 Stearns St
Cambridge, MA 02138                              3151    4/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $34.00                                                                                   $34.00
Cirillo, Elena
2 Shady Tree Lane
Colts Neck, NJ 07722                             1160     4/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $35.00                                                                                   $35.00
Cirminiello, Janet
2050 Alta Meadows Lane #2112
Delray Beach, FL 33444                           1153    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $28.00                                                                                   $28.00
City & County of San Francisco Tax Collector
P.O. Box 7027
San Francisco, CA 94120                          3230     5/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $7,210.15        $26,063.36            $0.00                                           $33,273.51
City & County of San Francisco Tax Collector
P.O. Box 7027
San Francisco, CA 94120                          3235     5/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                           $11,176.44                                                            $11,176.44
City and County of Denver/Treasury
Attn: Jennifer Maldonado, Bankruptcy Analyst
201 W. Colfax Ave., Department 1001
Denver, CO 80202                                 1226     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                            $4,695.00        $4,695.00                                            $9,390.00
City of Austin
PO Box 2267
Austin, TX 78768-2267                            1263     4/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $1,947.30                                                                               $1,947.30
City of Boston
Treasury Dept., Bankruptcy Unit
1 CITY HALL SQUARE, SUITE 500
Boston, MA 02201                                 272     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00



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                                                                                                                                                                   Current Priority Current Secured                      Current Admin    Total Current
              Creditor Name and Address    Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                        Admin Priority
                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                    Amount                                                Amount
CITY OF BOSTON
TREASURY DEPT., BANKRUPTCY UNIT
CITY HALL ROOM M-5
ONE CITY HALL SQUARE
BOSTON, MA 02201                             249     1/31/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $2,397.47                                                             $2,397.47
CITY OF BOSTON
TREASURY DEPT., BANKRUPTCY UNIT
CITY HALL ROOM M-5
ONE CITY HALL SQUARE
BOSTON, MA 02201                             273     1/31/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                           $2,691.93                                                                               $2,691.93
CITY OF BOSTON
TREASURY DEPT., BANKRUPTCY UNIT
CITY HALL ROOM M-5, ONE CITY HALL SQUARE
BOSTON, MA 02201                             283     1/31/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $3,153.79                                                             $3,153.79
City of Garden Grove
11222 Acacia Pkwy
Garden Grove, CA 92840                       1664    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)           $109,950.85                                                                             $109,950.85
City of Garden Grove
11222 Acacia Pkwy
Garden Grove, CA 92840                       1676    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)              $326.67                                                                                  $326.67
City of Garden Grove
11222 Acacia Pkwy
Garden Grove, CA 92840                       1679    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)              $802.10                                                                                  $802.10
City of Garden Grove
11222 Acacia Pkwy
Garden Grove, CA 92840                       1689    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)              $259.99                                                                                  $259.99
City of Garden Grove
11222 Acacia Pkwy
Garden Grove, CA 92840                       1706    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)              $112.21                                                                                  $112.21
City of Garden Grove
11222 Acacia Pkwy
Garden Grove, CA 92840                       1708    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $4.11                                                                                   $4.11
City of Garden Grove
11222 Acacia Pkwy
Garden Grove, CA 92840                       1854    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)               $75.08                                                                                   $75.08
City of Los Angeles, Office of Finance
Attorney's Office
Attn: Wendy Loo
200 N Main Street
Ste 920
Los Angeles, CA 90012                        3254     5/4/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00             $0.00                                                                 $0.00
City of Los Angeles, Office of Finance
Attorney's Office
Attn: Wendy Loo
200 N Main Street
Ste 920
Los Angeles, CA 90012                        3369    10/13/2017         APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $13,510.27        $50,125.11                                                            $63,635.38
CITY OF MADISON TREASURER
PO BOX 2999
MADISON, WI 53701                            3218     5/1/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                   $7,304.50        $7,304.50                                           $14,609.00
City of Manhattan Beach
Steve Charelian
1400 Highland Avenue
Manhattan Beach, CA 90266                    973     3/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                           $5,320.03                                                                  $0.00        $5,320.03
City of Milwaukee
Office of the City Treasurer
200 East Wells Street, Room 103
Milwaukee, WI 53202                           90     12/20/2016        APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                        $0.00                                                $0.00
City of New Haven Collector of Taxes
165 Church St
New Haven, CT 06510                          1134    3/27/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                           $3,269.11                                                                               $3,269.11


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                                                                                                                                                      Current General                                       Current 503(b)(9)
                                                                                                                                                                         Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address             Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                          Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                          Amount                                                Amount
CITY OF NORWALK
TAX COLLECTOR
PO BOX 5530
SOUTH NORWALK, CT 06856                                  3032    4/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                  $1,547.02                                                             $1,547.02
CITY OF NORWALK
TAX COLLECTOR
PO BOX 5530
SOUTH NORWALK, CT 06856                                  3118    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
City of Philadelphia/School District of Philadelphia
Megan N. Harper
1401 JFK Blvd, 5th Floor
Philadelphia, PA 19102                                   112     12/30/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00              $0.00                                                                 $0.00
City of Portland
City Attorney's Office
1221 SW Fourth Ave., Rm. 430
Portland, OR 97204                                       1453     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $10.00           $200.00                                                                $210.00
CITY OF RANCHO CUCAMONGA - MUNICIPAL UTILITY
PO BOX 4499
RANCHO CUCAMONGA, CA 91729-4499                          901     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,452.69                                                                               $1,452.69
City of Seattle
Attn: Carmela Paul
FAS/License & Tax Administration
PO Box 34214
Seattle, WA 98124-4214                                   811     3/15/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                  $2,455.88                                                             $2,455.88
CLAIM DOCKETED IN ERROR
                                                         114     12/27/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         152     1/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         282     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         481     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         678      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         986      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         1421     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         2099    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         2520    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         2522    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         2529    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         2530    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         2538    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         2579    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         2648    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         2863    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
CLAIM DOCKETED IN ERROR
                                                         3207     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                      $0.00
Clark, Ann
PO Box 20787
Oklahoma City, OK 73156                                  1265     4/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $41.33                                                                                   $41.33


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                                                                                                                                                               Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                                Amount
Clark, Brian
516 W. 47th St 54G
New York, NY 10036                             556     2/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $65.00                                                                                   $65.00
Cleveland Heights Water Department
40 Severance Circle
Cleveland Hts, OH 44118                        1042    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $77.80                                                                   $0.00           $77.80
CLEVELAND HTS. WATER DEPT.
PO Box 630291
Cincinnati, OH 45263-0291                      1054    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Cleveland Hts. Water Department
Attn: President or General Counsel
40 Severance Cir
Cleveland Heights, OH 44118                    1033    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Cleveland Hts. Water Department
Attn: President or General Counsel
40 Severance Cir
Cleveland Heights, OH 44118                    1046    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,175.87                                                                  $0.00        $1,175.87
Cleveland Hts. Water Dept.
40 Severance Circle
Cleveland, OH 44118                            3325    6/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $21.18                                                                                   $21.18
Clinton, Alexa Chu
618 Walnut Street #406
San Carlos, CA 94070                           487     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $164.81                                                                                  $164.81
Clover Visual Communications, LLC
Horwitz + Armstrong, APC
14 Orchard, Suite 200
Lake Forest, CA 92630                          159     1/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $12,664.59                                                                              $12,664.59
CLS Facilities Management Services, Inc.
8061 Tyler Blvd.
Mentor, OH 44060                               1707    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $38,481.67                                                                              $38,481.67
CMC DIGITAL MEDIA INC
SUCCESSOR IN INTEREST TO
CALIFORNIA MARKER COPIES, INC
3170 SLAUSON AVENUE
VERNON, CA 90058                               882     3/20/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
Coffina, Cara
375 Lincoln Pl #3i
Brooklyn, NY 11238                             512     2/27/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $13.14                                                                                   $13.14
Cohen, Sandra
29 Southern Slope Drive
Millburn, NJ 07041                             1090    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $46.76                                                                                   $46.76
Cohen, Sharon
2347 Kerwood Avenue #203
Los Angeles, CA 90064                          2260    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                   $50.00                            $50.00
Cohen, Simcha
15910 71st Ave Apt. 6J
Fresh Meadows, NY 11365                        226     1/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $53.96                                                                                   $53.96
Colaizzi, Beatrice
1185 Hardscrabble Road
Chappaqua, NY 10514                            1566    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $26.44                                                                                   $26.44
Colchado, Yolanda
6616 Gifford Ave A
Bell, CA 90201                                 1476     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Colchado, Yolanda
6616 Gifford Ave A
Bell, CA 90201                                 1597     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Colindres, Maria
144 South Bonnie Brae St Apt# 2
Los Angeles, CA 90057                          2699    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Colindres, Maria
144 South Bonnie Brae St Apt# 2
Los Angeles, CA 90057                          2892    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00

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                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                     Amount                                               Amount
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2266    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                  $0.00            $0.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2430    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2447    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2448    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2449    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2466    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2537    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2545    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2583    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2584    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                 $0.00            $0.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2589    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2598    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                       $0.00            $0.00



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                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                     Amount                                               Amount
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2670    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2680    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                             $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2284    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2352    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2442    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2451    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                       $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2459    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                  $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2498    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2539    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                             $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2628    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2632    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2645    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                    $218,727,784.00                               $0.00 $218,727,784.00



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                                                                                                                                                                Claim Amount     Claim Amount                        Priority Amount   Claim Amount
                                                                                                                                                Amount                                                 Amount
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                             2653    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                             2664    4/11/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                  $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                             2669    4/11/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                         $0.00                      $218,727,784.00                               $0.00 $218,727,784.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                             2674    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                            $0.00            $0.00
Collins, Deborah
176 E. 77th St.
New York, NY 10075                             220     1/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $44.00                                                                                    $44.00
Collins, Deborah
176 E. 77th St.
New York, NY 10075                             1050    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $44.00                                                                                    $44.00
COLLINS, ERIN
31 LONG ISLAND VIEW RD
MILFORD, CT 06460                              1495     4/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $1,250.00                                                                   $0.00        $1,250.00
Colvin, Mason Leirer
5817 Rockhill Road
Kansas City, MO 64110                          997     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $12.26                                                                                    $12.26
Commonwealth Edison Co
1919 Swift Dr.
Oakbrook Terrace, IL 60523                     1289     4/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                            $0.00            $0.00
Commonwealth Edison Company
ComEd Bankruptcy Department
3 Lincoln Centre
Oakbrook Terrace, IL 60181                      98     12/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,581.77                                                                                $1,581.77
Con, Yolanda
1242 1/2 West Manchester Ave.
Los Angeles, CA 90044                          2942    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Con, Yolanda
1242 1/2 West Manchester Ave.
Los Angeles, CA 90044                          2959    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                  $0.00
Connecticut Department of Revenue Services
Collections Unit - Bankruptcy Team
450 Columbus Blvd., Ste. 1
Hartford, CT 06103-1837                        2718    4/12/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $17,353.94             $0.00                                                             $17,353.94
Consumer Energy Company
Attn: Legal Dept.
One Energy Plaza
Jackson, MI 49201                               26     11/28/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $400.04                                                                                   $400.04
Consumers Energy Company
One Energy Plaza
Jackson, MI 49201                              3311    6/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Continental Business Credit
Angie Lee
Levinson Arshonsky & Kurtz LLP
15303 Ventura Blvd Suite 1650
Sherman Oaks, CA 91403                         1955    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00


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                                                                                                                                                                  Current Priority Current Secured                      Current Admin    Total Current
              Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                        Admin Priority
                                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                   Amount                                                Amount
Continental Business Credit
Angie Lee
Levinson Arshonsky & Kurtz LLP
15303 Venture Blvd. Suite 1650
Sherman Oaks, CA 91403                      1989    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $324,227.27                                                                             $324,227.27
Continental Chemical
1000 E South St.
Anaheim, CA 92805                           2150    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)             $6,410.30                                                                  $0.00        $6,410.30
CONTINENTAL CHEMICAL & SANITAR
1000 E SOUTH ST
ANAHEIM, CA 92805-5348                      2037    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                                   $0.00
Contreras, Juan C.
1623 E 23 St.
Los Angeles, CA 90011                       1831    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Contreras, Juan C.
1623 E. 23 St
Los Angeles, CA 90011                       1813    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Contreras, Maria Eugenia
1507 W. 66th St.
Los Angeles, CA 90047                       2216    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Contreras, Maria Eugenia
1507 W. 66th St.
Los Angeles, CA 90047                       2226    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Cook, Kelly
972 N. Madison St.
Arlington, VA 22205                         323      2/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $48.04                                                                                   $48.04
Corado, Dominga
3911 S. Budlong Ave
Los Angeles, CA 90037                       1375     4/6/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Corado, Dominga
3911 S. Budlong Ave
Los Angeles, CA 90037                       1417     4/6/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Cordenas, Consuelo Silva
7625 Maie Ave
Los Angeles, CA 90001                       2900    4/14/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Cordenas, Consuelo Silva
7625 Maie Ave
Los Angeles, CA 90001                       3037    4/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Cordon, Edwin A.
14811 Friar St. Apt # 1
Van Nuys, CA 91411                          2080    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Cordon, Edwin A.
14811 Friar St. Apt #1
Van Nuys, CA 91411                          1951    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Cordova, Vilma
1723 James M Wood Blvd
Apt # 309
Los Angeles, CA 90015                       1672     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Cordova, Vilma
1723 James M Wood Blvd
Apt # 309
Los Angeles, CA 90015                       1782     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Core Supply
1816 Railroad St.
Corona, CA 92880                            1144    3/29/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $15,794.12                                                                  $0.00       $15,794.12
Cornejo, Lorena
1622 Mohawk St
Los Angeles, CA 90026                       3245     5/9/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Cornejo, Lorena
1622 Mohawk St
Los Angeles, CA 90026                       3248     5/9/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00


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                                                                                                                                        Current General                                      Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                      Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                            Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                           Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                            Amount                                               Amount
Corning, Luke
Pentwater Capital Management LP
614 Davis St.
Evanston, IL 60201                           2329    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                  $0.00            $0.00
Corning, Luke
Pentwater Capital Management LP
614 Davis St.
Evanston, IL 60201                           2381    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Corpeño Vasquez, Yecenia G.
6351 Ranchito Ave # 204
Van Nuys, CA 91401                           1669    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Corpeño Vasquez, Yecenia Guadalupe
6351 Ranchito Ave # 204
Van Nuys, CA 91401                           1828    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Corporation Service Company
251 Little Falls
Wilmington, DE 19808                         279     1/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00
Corporation Service Company
251 Little Falls
Wilmington, DE 19808                         3380    11/16/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00
Corral, Erika
12726 Magnolia Ave
Chino, CA 91710                              853     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $62.64                                                                                  $62.64
Cortes, Faviola
717 E. 48 St
Los Angeles, CA 90011                        1985    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Cortes, Faviola
717 E. 48 St
Los Angeles, CA 90011                        2160    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Cortes, Francisca
839 E. 32nd St.
Los Angeles, CA 90011                        1764    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Cortes, Francisca
839 E. 32nd St.
Los Angeles, CA 90011                        2114    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Cortes, Janet Kristy
1731 SW 74th Avenue Road
Miami, FL 33155                              177     1/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $50.00                                                                                  $50.00
Cortes, Julieta
674 E 52nd Pl
Los Angeles, CA 90011                        2250    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Cortes, Julieta
674 E 52nd Pl
Los Angeles, CA 90011                        2495    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Cortes, Raquel G
1274 E. 49th St.
Los Angeles, CA 90011                        2178    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Cortes, Raquel G
1274 E 49th St
Los Angeles, CA 90011                        2176    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Cortez, Christie
2211 Buttonwood Avenue
Pembroke Pines, FL 33026                     286      2/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                 $25.00                            $25.00
Cortez, Reina
139 3/4 N. Reno Sreet
Los Angeles, CA 90026                        3107    4/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Cortez, Reina M
139 3/4 N. Reno St.
Los Angeles, CA 90026                        3112    4/19/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Cortez, Sulma Liseth
4252 Dalton Ave
Los Angeles, CA 90062                        1599    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00

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                                                                                                                                                                       Current General                                       Current 503(b)(9)
                                                                                                                                                                                          Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address                        Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                        Admin Priority
                                                                                                                                                                                           Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                           Amount                                                Amount
Cortez, Sulma Liseth
4252 Dalton Ave
Los Angeles, CA 90062                                               1639    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
CorVel Enterprise Comp. Inc.
Morgan, Lewis & Bockius LLP
Richard W. Esterkin
300 South Grand Avenue, 22nd Floor
Suite 2200
Los Angeles, CA 90071                                               3338    7/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                         $260,406.25                                                                             $260,406.25
Corvino, Meghan
2354 N ELSTON CT # 3F
Chicago, IL 60614-7107                                              316      2/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $213.04                                                                                  $213.04
Coudray, Andrea Lynette
306 San Carlos Ave.
Redwood City, CA 94061                                              313      2/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $94.00                                                                                   $94.00
Coughlin, Hillary
240 E 82nd St Apt 16F
New York, NY 10028                                                  1256     4/4/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $55.00                                                                                   $55.00
Country Club Plaza JV LLC
Andrew S. Conway, Attorney for Claimant
200 East Long Lake Road, Suite 300
Bloomfield Hills, MI 48304                                          1248     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00

Country Club Plaza JV LLC, a Delaware limited liability company
Andrew S. Conway
200 East Long Lake Road
Suite 300
Bloomfield Hills, MI 48304                                          1247     4/3/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $142,207.69                                                                             $142,207.69
County of Orange Treasurer-Tax Collector
Shari L. Freidenrich
P.O. Box 4515
Santa Ana, CA 92702-4515                                            2735    4/12/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
County of San Bernardino
Office of the Tax Collector
268 West Hospitality Lane, 1st Floor
San Bernardino, CA 92415                                            166     1/19/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $4,474.30            $0.00                                            $4,474.30
County of Santa Clara Dept of Tax and Collections
70 W Hedding St
6th Floor, East Wing
San Jose , CA 95110                                                 3437    2/14/2019               APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $5,000.00                                                             $5,000.00
County Sanitation District No. 2 of Los Angeles County
Anni Safarloo, Esq.
Lewis Brisbois Bisgaard & Smith, LLP
633 West 5th Street, #4000
Los Angeles, CA 90071                                               3261    5/15/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)            $64,016.63                                                                              $64,016.63
Coutroulis, Niko
24 Hoffman Street
Maplewood, NJ 07040                                                 3395    12/19/2017              APP Winddown, LLC (f/k/a American Apparel, LLC)                             $38.00                                                                                   $38.00
COX, VICTORIA R
5735 SW 187 PL
ALOHA, OR 97078                                                     1280     4/4/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                                   $0.00
COX, VICTORIA R
5735 SW 187 PL
ALOHA, OR 97078                                                     1286     4/4/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Coxaj, Maria
140 E. 89th St.
Los Angeles, CA 90003                                               2257    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Coxaj, Maria
140 E. 89th St.
Los Angeles, CA 90003                                               2261    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00



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                                                                                                                                                                                   Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address                       Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                    Amount                                                Amount
Coxaj, Ricardo
140 E. 89th St.
Los Angeles, CA 90003                                              2301    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Coxaj, Ricardo
140 E. 89th St.
Los Angeles, CA 90003                                              2339    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Coyote, Bernardina
4209 Eugene St
Los Angeles, CA 90063                                              2031    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Coyote, Bernardina
4209 Eugene St
Los Angeles, CA 90063                                              2148    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
CPI CARD GROUP - CANADA
460 APPLEWOOD CRESCENT
CONCORD, ON L4K 4Z3
CANADA                                                             1464     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $8,943.67                                                                               $8,943.67
CPS Energy
Bankruptcy Section
145 Navarro, Mail Drop 110909
San Antonio, TX 78205                                              1214     4/3/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $786.74                                                                                  $786.74
CPT GROUP INC.
50 CORPORATE PARK
IRVINE, CA 92606-5105                                              3282    5/23/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                         $0.00                                                                                    $0.00
Crawley, Antionette
3749 4th Ave
San Diego, CA 92103                                                2075    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $128.80          $128.80
CRG Financial (As Assignee of Premiere Packaging Industries
Inc)
CRG Financial LLC
100 Union Avenue
Cresskill, NJ 07626                                                1903    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                            $3,063.04                         $3,063.04

CRG Financial LLC (As Assignee of Great White Printing, Inc.)
100 Union Avenue
Cresskill, NJ 07626                                                2232    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                            $2,572.53                         $2,572.53

CRG Financial LLC (As Assignee of Marina Graphic Center, Inc.)
100 Union Avenue
Cresskill, NJ 07626                                                2239    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $1,322.19                                            $29,129.65                        $30,451.84
CRG Financial LLC (As Assignee of Neva Nude, LLC)
100 Union Avenue
Cresskill, NJ 07626                                                1996    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                           $29,675.00                        $29,675.00

CRG Financial LLC (As Assignee of Orange County Industrial)
100 Union Avenue
Cresskill, NJ 07626                                                1945    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                           $11,521.24                        $11,521.24
CRG Financial LLC (As Assignee of Tageos Sasu)
100 Union Avenue
Cresskill, NJ 07626                                                1972    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
CRG Financial LLC (As Assignee of Tageos Sasu)
100 Union Avenue
Cresskill, NJ 07626                                                1974    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                     $33,746.59                        $33,746.59
CRG Financial LLC (As Assignee of Tagtime, Inc.)
100 Union Avenue
Cresskill, NJ 07626                                                1958    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                            $2,481.28                         $2,481.28

CRG Financial LLC (As Assignee of United Fabricare Supply Inc)
100 Union Avenue
Cresskill, NJ 07626                                                2818    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                           $12,320.00                        $12,320.00
CRG Financial LLC (As Assignee of YK Textile Inc.)
100 Union Avenue
Cresskill, NJ 07626                                                1940    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                          $129,360.00                       $129,360.00

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                                                                                                                                                             Current General                                       Current 503(b)(9)
                                                                                                                                                                                Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address                      Claim No. Claim Date                            Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                                 Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                 Amount                                                Amount

CRG Financial LLC as Transferee of Marina Graphic Center, Inc
Attn: Robert Axenrod
100 Union Ave
Cresskill, NJ 07626                                                4      11/18/2016        APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                  $0.00                             $0.00
CRG Financial LLC as Transferee of Neva Nude, LLC
Attn: Robert Axenrod
100 Union Avenue
Cresskill, NJ 07626                                                23     11/25/2016        APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                   $0.00                             $0.00
CRG Financial LLC as Transferee of RL US Group Inc
Attn: Robert Axenrod
100 Union Ave
Cresskill, NJ 07626                                                8      11/21/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00              $0.00            $0.00         $37,800.00            $0.00       $37,800.00
Crotty, Anne Marie
457 31st Street
Hermosa Beach, CA 90254                                           1462     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $24.53                                                                                   $24.53
CROWE SR, GARY V
2603 HOLLYWOOD BLVD
CLARKSVILLE, IN 47129                                             652      3/8/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                  $0.00                             $0.00
Cruz, Andres
511 S. Union Ave # 105
Los Angeles, CA 90017                                             1576     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Cruz, Andres
511 S. Union Ave # 105
Los Angeles, CA 90017                                             1644     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Cruz, Angela
7121 Newell St Apt. #2
Huntington Park, CA 90255                                         2572    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Cruz, Angela
7121 Newell St Apt. #2
Huntington Park, CA 90255                                         2778    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00              $0.00                                                                 $0.00
Cruz, Enrique Olmedo
1133 Mohawk St. Apt. #4
Los Angeles, CA 90026                                             1885    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Cruz, Enrique Olmedo
1133 Mohawk St. Apt. #4
Los Angeles, CA 90026                                             2110     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Cruz, Irma Florita
5001 McKinley Ave
Los Angeles, CA 90011                                             2911    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
CRUZ, IRMA FLORITA
5001 MCKINLEY AVE
LOS ANGELES, CA 90011                                             2913    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
CRUZ, JAMIE
400 SEAHORSE DR
VALLEJO, CA 94591-7131                                            962     3/21/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                                                                                    $0.00
Cruz, Roberta
1133 Mohawk Street Apt. #4
Los Angeles, CA 90026                                             1835    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Cruz, Roberta
1133 Mohawk Street Apt. #4
Los Angeles, CA 90026                                             1840    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Cruz, Rosa
329 E. 97th St
Los Angeles, CA 90003                                             2357    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Cruz, Rosa
329 E. 97th St
Los Angeles, CA 90003                                             2359    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
CT Corporation
CT Corporation System
PO Box 4349
Carol Stream, IL 60197                                            955     3/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $1,281.00                                                                               $1,281.00

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                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Cu V Chau, Tina
7544 Garvalia Ave
Rosemead, CA 91770                            1029    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Cuevas, Maria
8633 State St.
Apt. D
South Gate, CA 90280                          3079    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Cuevas, Maria Eugenia
1647 1/2 E 92 St.
Los Angeles, CA 90002                         1936    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Cuevas, Maria Eugenia
1647 1/2 E. 92 St.
Los Angeles, CA 90002                         1920    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Cuevas, Maria T.
8633 State St
Apt D
South Gate, CA 90280                          3085    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Cummins, Kathleen
5 Studer Rd
Clinton, NJ 08809                             327      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                   $75.00                            $75.00
Cunningham, Eleanor
11 Linden Place #3
Brookline, MA 02445                           610      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $128.00                                                                                  $128.00
Curalate, Inc.
Attn: AR
2401 Walnut St. Suite 502
Philadelphia, PA 19103                        553     2/28/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $11,831.45                                                                              $11,831.45
Custom Tint Solutions by Custom Sounds
7320 N. Mopac, Suite #404
Austin, TX 78727                              132      1/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $249.43                                              $3,023.40                         $3,272.83
Cuttaia, Alexandra
5031 Fair Ave #449
North Hollywood, CA 91601                     3267    5/16/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $50.00                                                                                   $50.00
CyberSurance, Inc.
Attn: Richard Petersen, Esq.
2015 Montrose Ave
Montrose, CA 91020                            1067    3/28/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $8,750.00                                                                               $8,750.00
Dae Shin U.S.A. Inc
610 N. Gilbert St.
Fullerton, CA 92833                           704      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $163,399.77                                                                  $0.00      $163,399.77
Daeshin U.S.A.
610 N. Gilbert Street
Fullerton, CA 92833                           681      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Dahl, Teresa
6535 Commodore Sloat Dr
Los Angeles, CA 90048                         417     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $80.48                                                                                   $80.48
Dahl, Teresa
6535 Commodore Sloat Dr
Los Angeles, CA 90048                         1305     4/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $80.48                                                                                   $80.48
DALEZMAN, ARIANA
706 STELTON ST
TEANECK, NJ 07666                             262     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $30.00                                                                                   $30.00
Dallas County
Elizabeth Weller
Laurie A Spindler
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Frwy Ste 1000
Dallas, TX 75207                               32     11/28/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                 $0.00                                                $0.00




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                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                     Amount                                                Amount
Dallas County
Elizabeth Weller
Laurie A Spindler
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Frwy Ste 1000
Dallas, TX 75207                                       37     11/29/2016        APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                $0.00                                                $0.00
Dallas County
Elizabeth Weller
Laurie A Spindler
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Frwy Ste 1000
Dallas, TX 75207                                      118      1/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Dallas County
Elizabeth Weller
Laurie A Spindler
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Frwy Ste 1000
Dallas, TX 75207                                      421     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
DALLAS COUNTY
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
ELIZABETH WELLER
LAURIE A SPINDLER
2777 N. STEMMONS FRWY STE 1000
DALLAS, TX 75207                                      3377    11/10/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Dalton, Tracey
8289 Golden Ave
Lemon Grove, CA 91945                                 232     1/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $84.05                                                                                   $84.05
Daniel Bobbe
Cut Pak Co., LLC
365 Cloverleaf Dr., Ste. C
Baldwin Park, CA 91706                                150     1/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Daniel Bobbe
Cut Pak Co., LLC
365 Cloverleaf Dr., Ste. C
Baldwin Park, CA 91706                                632      3/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $14,668.26                                                                              $14,668.26
Danielle Alves De Moraes - Vendor Account: 109233
Rua Dr Cezario Motta Jr, 476
San Paulo, SP 01221-020
Brazil                                                179     1/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $400.00                                                                                  $400.00
Daniels, Geneva
P.O. Box 788
Bronx, NY 10453                                       222     1/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $87.00                                                                                   $87.00
Daniels, Geneva
P.O. Box 788
Bronx, NY 10453                                       3204     5/1/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $87.00                                                                                   $87.00
Dank, Justin
894 Melvin Drive
North Bellmore, NY 11710                              3132    4/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $42.00                                                                                   $42.00
DARA INC.
3216 S. Broadway
Los Angeles, CA 90007                                 121      1/5/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                        $25,497.36                                                                              $25,497.36
Darting, April
209 Manor Drive Unit A
New Lenox, IL 60451                                   3283    5/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $60.00           $60.00
Dave, Bhairav
4919 Paseo Padre Pkwy
Fremont, CA 94555                                     3390    12/1/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $120.00                                                                                  $120.00
Davis, Donna
731 Bay Tree Lane
El Cerrito, CA 94530                                  299      2/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $26.16                                                                                   $26.16



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               Creditor Name and Address   Claim No. Claim Date                            Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                           Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                            Amount                                               Amount
Davis, Rachel
1506 S Sherbourne Drive
Los Angeles, CA 90035                        2139    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $20.00                                                                                  $20.00
de Borbon, Alejandro
8052 1/2 Rosecrans Ave
Paramount, CA 90723                          2923    4/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00
De Borbon, Alejandro
8052 1/2 Rosecrans Ave
Paramount, CA 90723                          2955    4/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
de Bord, Elizabeth
328 Frederick Street
San Francisco, CA 94117                      3266    5/19/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                  $28.28           $28.28
de Gonzalez, Micaela M.
7641 Saint Clair Ave.
N. Hollywood, CA 91605                       2081    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
De J Mora, Maria
2719 Saturn Av. #7
Huntington Park, CA 90255                    3136    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
De La Luz Ibarra, Maria
8920 Cypress Ave., Apt L
South Gate, CA 90280                         2142    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
De Leon Alonzo, Miguel
431 S. Berendo St. # 204
Los Angeles, CA 90020                        3341    7/26/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
De Leon Alonzo, Miguel
431 S. Berendo St. #204
Los Angeles, CA 90020                        3342    7/26/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
De Oca, Dalila Montes
4815 1/2 South Vermont Avenue Apt #3
Los Angeles, CA 90037                        2592    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
De Oca, Dalila Montes
4815 1/2 South Vermont Avenue Apt #3
Los Angeles, CA 90037                        3086    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
De Puente, Bertha
6234 Woodward Ave.
Bell, CA 90201                               1494     4/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
De Puente, Bertha
6234 Woodward Ave.
Bell, CA 90201                               1496     4/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
De Ruiz, Vilma Salguero
2888 Francis Ave.
Los Angeles, CA 90005                        2835    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
de Sousa, Jaime
207 Winn Street
Woburn, MA 01801                             3386    11/27/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00
DE TOMAS ROJAS, MARIA
1210 S GUNLOCK AVE
COMPTON, CA 90220-4432                       1239     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00            $0.00                                                $0.00
Dea, Sui Bing
6559 N. Muscatel Ave.
San Gabriel, CA 91775                        2039    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Dea, Sui Bing
6559 N. Muscatel Ave.
San Gabriel, CA 91775                        2205    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Deans, Maisy
5607 Lincoln Street
Bethesda, MD 20817                           969     3/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $29.68                                                                                  $29.68
Deasy, Brendan
534 W 7th Ave
West Homestead, PA 15120                     906     3/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $150.00                                                                                 $150.00



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                                                                                                                                                                          Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                           Amount                                               Amount
DeCesare, Danielle
205 Bedell Street
West Babylon, NY 11704                                    1193     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $64.87                                                                                  $64.87
Dee, Carol
805 Aalapapa Drive
Kailua, HI 96734                                          885     3/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $113.09                                                                                 $113.09
Deeboonchai, Waratchaya
13019 NW 28th Court
Vancouver, WA 98685                                       251      2/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $90.00                                                                                  $90.00
DeHority, Emily
4 Whipple Road
South Hamilton, MA 01982                                  1729    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $32.00                                                                                  $32.00
Deighton, Jody
5434 Mt. Helena Ave.
Los Angeles, CA 90041                                     337      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $41.42                                                                                  $41.42
Dej Mora, Maria
2719 Saturn Ave #7
Huntington Park, CA 90255                                 3146    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Del Socorro Reyes, Martha
3480 Cudahy St., #N
Huntington Park, CA 90255                                 2899    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Del Socorro Reyes, Martha
3480 Cudahy St., #N
Huntington Park, CA 90255                                 2954    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Delgado, Graciela
1038 W. 21st St.
Los Angeles, CA 90007                                     2754    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Delgado, Graciela
1038 W. 21st St.
Los Angeles, CA 90007                                     2757    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
DelleCare, Kerilynn
40 Koch Blvd.
Staten Island, NY 10312                                   334      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $109.00                                                                                 $109.00
DeLorenzo, Stacey
50 E Ridgewood Ave STE A
Ridgewood, NJ 07450-3881                                  807     3/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $32.00           $32.00
Denik LLC
696 West 1725 North
Logan, UT 84321                                            5      11/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Denik LLC
696 West 1725 North
Logan, UT 84321                                           3318    6/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Denny, Julia
88 Leonard St #204
New York, NY 10013                                        1732    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $38.00                                                                                  $38.00
Department of Taxation
Department of Taxation State of Hawaii
Attn: Bankruptcy Unit
P O Box 259
Honolulu, HI 96809                                        271     1/30/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                     $0.00                                                                 $0.00
Department of Taxation State of Hawaii
Attn: Bankruptcy Unit
PO Box 259
Honolulu, HI 96809                                        3387    11/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $81.32                                                                $81.32
Department of the Treasury - Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346                                63     12/13/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00             $0.00                                                                 $0.00
Department of the Treasury - Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346                               3280    5/22/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                   $0.00



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                                                                                                                                                       Current General                                       Current 503(b)(9)
                                                                                                                                                                          Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address               Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                           Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                           Amount                                                Amount
Department of the Treasury - Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346                               3310    6/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00              $0.00                                                                 $0.00
Department of the Treasury - Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346                               3335    7/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,633.47         $5,499.28                                                             $7,132.75
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                                65     12/13/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                      $0.00                                                                 $0.00
Der Sarkissian, Alina
2111 Allegre Cir
Apt 208
Naperville, IL 60563-2660                                 2474    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $200.00          $200.00
Derazey, Florence
4200 Scotland St # 534
Houston, TX 77007                                         3272    5/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $40.92           $40.92
Develasquez, Ana C
1515 Wilshire Blvd #522
Los Angeles, CA 90017                                     1393     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Develasquez, Ana C
1515 Wilshire Blvd. #522
Los Angeles, CA 90017                                     1366     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Diaz Luna, Marta Lilian
2580 N. Soto St. #205
Los Angeles, CA 90032                                     1900    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Diaz Luna, Marta Lilian
2580 N. Soto St. #205
Los Angeles, CA 90032                                     2011    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Diaz, Maximina Cruz
1049 S. Ditman Ave
Los Angeles, CA 90023                                     2990    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Diaz, Maximina Cruz
1049 S. Ditman Ave
Los Angeles, CA 90023                                     2994    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Diaz, Rosa
881 E 41St App 3
Los Angeles, CA 90011                                     2410    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Diaz, Rosa E.
881 E 41th St
Los Angeles, CA 90011                                     2731    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Diederich, Kathleen
3088 N Windsor Ct
Westlake, OH 44145                                        896     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                    $0.00                             $0.00
Diego, Maria
8915 Avalon Blvd
Los Angeles, CA 90003                                     1734    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Diego, Maria
8915 Avalon Blvd
Los Angeles, CA 90003                                     1796    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Diez, Claudia P
200 W 57th St Suite 1310
New York, NY 10019                                        503     2/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $120.00          $120.00
Diggs, Renee
6729 Darkwood Court
District Heights, MD 20747                                935     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $554.00          $554.00
Diggs, Renee
6729 Darkwood Court
District Heights, MD 20747                                447     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $5.54                                                                                    $5.54
Dimuel, Jasmine
1204 Hardford Town Drive
Abingdon, MD 21009                                        276      2/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $86.92                                                                                   $86.92


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              Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                                Amount
DiSalvo, Daniela
24-33 160th St
Whitestone, NY 11357                        230     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $33.48                                                                                   $33.48
Distler, Kristen
184 Christopher Columbus Drive
Apt. 2
Jersey City, NJ 07302                       3167    4/26/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $48.00                                                                                   $48.00
DiVincenzo, David
6 Parsonage Hill Rd
Haverhill, MA 01832                         2165    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $46.75                                                                                   $46.75
DJ Laundering, Inc.
710 W. 58th St
Los Angeles, CA 90037                       1043    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $140.00                                                                                  $140.00
DJG Properties, LLC
5508 E. Britton Drive
Long Beach, CA 90815                         13     11/22/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $23,910.15                                                                              $23,910.15
Dolinar-Hikawa, Courtney
437 New York Ave NW Apt Y28
Washington, DC 20001                        229     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $89.89                                                                                   $89.89
Dominguez, Laura
22603 Coriander Dr.
Katy, TX 77450                              863     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $85.41           $85.41
Dominguez, Laura
22603 Coriander Dr.
Katy, TX 77450                              218     1/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $85.41                                                                                   $85.41
Dominguez, Laura
22603 Coriander Dr.
Katy, TX 77450                              862     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $85.41                                                                                   $85.41
Dominguez, Mireya
115 Woodland Circle
North Aurora, IL 60542                      3149    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $35.00                                                                                   $35.00
Dondiego, Brenda
1120 E. 60th St.
Los Angeles, CA 90001                       2921    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Dondiego, Brenda
1120 E. 60th St.
Los Angeles, CA 90001                       2953    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Doonan, Elizabeth
5415 Maple Canyon Ave
Columbus, OH 43229                          557     2/28/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $25.00                                                                                   $25.00
Doyle, Erica
16 Applewood Court
Metuchen, NJ 08840                          300      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $63.37                                                                $63.37
Dray, Erika
675 Bard Ave
Staten Island, NY 10310                     212     1/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $30.00                                                                                   $30.00
DT MODEL MANAGEMENT
883 WESTBOURNE DR
WEST HOLLYWOOD, CA 90069-4601               2949    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $300.00              $0.00                               $0.00                           $300.00
DTA Agency LLC
883 Westbourne Dr.
West Hollywood, CA 90069                    2929    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $300.00                                                                   $0.00          $300.00
DTE Energy
One Energy Plaza, 735 WCB
Detroit, MI 48226                            36     11/28/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,850.71                                                                               $1,850.71
DUES SABATES S.L
DEUX SOULIERS
C. SANT SALVADOR 114
BARCELONA 08024
SPAIN                                       830     3/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00



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                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                        Admin Priority
                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                     Amount                                                Amount
Duesenberg Investment Company, LLC
c/o McGarrigle, Kenney & Zampiello, APC
9600 Topanga Canyon Blvd., Suite 200
Chatsworth, CA 91311                          1858    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $9,474.05                                                                  $0.00        $9,474.05
Duffy, Darleen
2631 Catherine Rd.
Altadena, CA 91001                            933     3/23/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $47.42                                                                                   $47.42
Dugopolski, Jacob
191 Ashland Place, Apt 2
Brooklyn, NY 11217                            938     3/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                                   $50.00
Duke Energy Carolinas
Lynn Colombo
550 S Tryon Street, DEC45A
Charlotte, NC 28202                           2137    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $492.87                                                                                  $492.87
Duke Energy Ohio
Lynn M Colombo
550 S Tryon Street, DEC45A
Charlotte, NC 28202                           2118    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $736.47                                                                                  $736.47
Dumas, Piedad A
807 E 101st St
Los Angeles, CA 90002                         1545     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Dumas, Piedad A
807 E 101st St
Los Angeles, CA 90002                         1648     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Duong, Victoria
14884 Stonehedge Lane
Westminster, CA 92683                         396     2/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $93.43                                                                                   $93.43
Duong, Victoria
14884 Stonehedge Lane
Westminster, CA 92683                         2078    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $93.43           $93.43
Duong, Victoria
14884 Stonehedge Lane
Westminster, CA 92683                         2283    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $93.43                                                                                   $93.43
DURABLE SUPPLY COMPANY
240 GREAT CIRCLE RD, STE 334
NASHVILLE, TN 37228                           1540     4/7/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                                                                                    $0.00
Duran, Rosa Pineda
739 Garland Ave. Apt # 112
Los Angeles, CA 90017                         3179    4/26/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Duran, Rosa Pineda
739 Garland Ave. Apt # 112
Los Angeles, CA 90017                         3180    4/26/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
DYECHEM SUPPLIES
14733 1/2 GARFIELD AVE
PARAMOUNT, CA 90723-3412                      880     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
DYECHEM SUPPLIES
14733 1/3 GARFIELD AVE
PARAMOUNT, CA 90723                           879     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                          $66,009.56                                                                              $66,009.56
Dyechem Supplies
14733-1/2 Garfield Avenue
Paramount, CA 90723                           891     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
DYEWORLD, INC
5801 S 2ND ST
VERNON, CA 90058-3403                         843     3/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                          $32,746.03                                                                              $32,746.03
E & C Fashion, Inc.
Joon M. Khang, Esq.
4000 Barranca Parkway, Suite 250
Irvine, CA 92604                               49     12/5/2016               APP Winddown, LLC (f/k/a American Apparel, LLC)                       $1,338,569.52                                            $45,000.00                     $1,383,569.52
E & M MECHANICAL, INC
41 COMMERCE AVE STE 1
SOUTH BURLINGTON, VT 05403-5833               2991    4/17/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                    $0.00


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                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                     Amount                                                Amount
East 13th Avenue Partners, LLC
Bradley S. Copeland
Arnold Gallagher P.C.
800 Willamette Street, Suite 800
Eugene, OR 97401                              3185    4/27/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $88,331.16                                                                              $88,331.16
Easton, Gina
874 Oak St
Costa Mesa, CA 92627                          1301     4/5/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                 $20.00             $20.00                            $40.00
Eastwood, Theresa A.
8014 Masefield Ct.
West Hills, CA 91304                          190     1/25/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $52.32                                                                                   $52.32
Echavarria, Guillermo
4203 San Vincente St
Compton, CA 90221                             1965    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Echavarria, Guillermo
4203 San Vincente St
Compton, CA 90221                             2077    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Edicom, Corp.
1 Whitehall St., 14th Floor
New York, NY 10004                             88     12/20/2016              APP Winddown, LLC (f/k/a American Apparel, LLC)                            $485.84                                                                                  $485.84
Edouard, Eileen
388 Bridge Street
Apartment 15B
Brooklyn, NY 11201                            1427     4/6/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $50.00           $50.00
EHK Printing Solutions
2020 - B Huntington Ln.
Redondo Beach, CA 90278                       161     1/18/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $1,724.76                                                                               $1,724.76
Ehrlich, Avi
1057 Valencia St
San Francisco, CA 94110                       497     2/23/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $35.34                                                                                   $35.34
Empire Pipe Cleaning & Equipment, Inc.
1788 N. Neville Street
Orange, CA 92865                              729     3/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)              $780.00                                                                                  $780.00
Epner, Margaret
606 Leonard Street, Apt #2
Brooklyn, NY 11222                            376     2/13/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $43.00                                                                                   $43.00
Epner, Margaret
606 Leonard Street
Apt. #2
Brooklyn, NY 11222                            614      3/5/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $43.00                                                                                   $43.00
ESCOBEDO LUGO, MARIA G.
338 N. SAVANNAH ST
LOS ANGELES, CA 90033                         2870    4/12/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                              $0.00            $0.00
ESCOBEDO LUGO, MARIA G.
338 N. SAVANNAH ST
LOS ANGELES, CA 90033                         2988    4/17/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                              $0.00            $0.00
ESCOBEDO, MARIA
338 N. SAVANNAH ST
LOS ANGELES, CA 90033                         2869    4/12/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                         $0.00                                                                 $0.00
ESCOBEDO, MARIA
338 N. SAVANNAH ST
LOS ANGELES, CA 90033                         2980    4/17/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                         $0.00                                                                 $0.00
Esperanza Arevalo, Marina
1522 W. 60th St.
Los Angeles, CA 90047                         2853    4/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Espinoza, Rosaura
1918 1/2 W 35th St
Los Angeles, CA 90018                         1759    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Espinoza, Rosaura
1918 1/2 W 35th St
Los Angeles, CA 90018                         2067    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00


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                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Esposito, Ilaria
1 Harborside Pl #451
Jersey City, NJ 07311                         3372    10/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Estevez, Veronica
3828 Maple Ave.
Los Angeles, CA 90011                         2978    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Estevez, Veronica
3828 Maple Ave.
Los Angeles, CA 90011                         2987    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
EUSTAQUIO, REINA
5753 W OHIO AVE
LAKEWOOD, CO 80226-4769                       869     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Eustaquio, Ruben
5753 West Ohio Ave
Lakewood, CO 80226                            875     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Express Employment
600 Hampshire Road Suite #201
Thousand Oaks, CA 91361                        27     11/28/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $15,000.00                                                                              $15,000.00
FABIAN, MARIBEL
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1386     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
FABIAN, MARIBEL
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1434     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                   $0.00
FABIAN, MARIBEL
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1439     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                   $0.00
Fabianski, Katherine
6321 Overlook Dr
Kunkletown, PA 18058                          2935    4/14/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                         $100.00          $100.00
Fabianski, Katherine
6321 Overlook Dr
Kunkletown, PA 18058                          2936    4/14/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $100.00                                                                                  $100.00
Fabritex, Inc.
Derrick Talerico
Bosley Till Neue & Talerico LLP
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025                         1877    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $208,139.96                                            $21,623.54                       $229,763.50
Facility Nexus, Inc.
222 S. Main Street, Suite 1910
SALT LAKE CITY, UT 84101                       52     12/6/2016    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $14,151.38                                                 $0.00                        $14,151.38
Fairbrother, James Robert
34 Harness Lane
Levittown, NY 11756                           472     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $48.00                                                                                   $48.00
Fairfield, Mary
3108 Linwood
Unit #18
Royal Oak, MI 48073                           314      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $75.00                              $75.00                           $150.00
Fairfield, Mary
3108 Linwood
Unit #18
Royal Oak, MI 48073                           2941    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $75.00           $75.00
Fairfield, Mary
3108 Linwood
Unit #18
Royal Oak, MI 48073                           2944    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $75.00                                                                                   $75.00
FAIRPOINT COMMUNICATIONS
521 EAST MOREHEAD ST
CHARLOTTE, NC 28202                           3148    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00

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                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Falconer, Shanice
601 Park Place APT 3B
Brooklyn, NY 11238                            1168     4/1/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $20.00                                                                                   $20.00
Fang, Li Hua
2206 N. Eastern Ave
Los Angeles, CA 90032                         2741    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Fang, Li Hua
2206 N. Eastern Ave
Los Angeles, CA 90032                         2834    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Fang, Wan
8541 Shea Pl
Rosemead, CA 91770                            2092    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Fang, Wan Juan
8541 Shea Pl
Rosemead, CA 91770                            2309    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Fang, Zhu Yue
P.O. Box. 1093
Monterey Park, CA 91754                       1808    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Fang, Zhu Yue
P.O. Box 1093
Monterey Park, CA 91754                       1857    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Farag, Yasmine
2501 W. Cortland
Chicago, IL 60647                             995     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $76.00           $76.00
Farmer, Taylor
2051 Wittington Pl. #2161
Farmers Branch, TX 75234                      3351    8/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $50.00           $50.00
Farnsworth, Marci
6320 E. Montecito Ave.
Scottsdale, AZ 85251                          419     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $45.30                                                                                   $45.30
Fasnap Corporation
Attn: Jason Grooms
3500 Reedy Drive
Elkhart, IN 46514                             2865    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
FAULKNER, CHRISTINE
5314 FRANKLIN AVENUE
UNIT 12
LOS ANGELES, CA 90027                         1804    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,380.95                                                                               $2,380.95
FDB Acquisition LLC
c/o Salon Realty
316 East 89th Street
New York , NY 10128                           209     1/25/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $38,875.00                                                                              $38,875.00
Federal Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                        1538     4/7/2017      APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                     $0.00                               $0.00                               $0.00            $0.00
Federal Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                        1621     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                               $0.00                               $0.00            $0.00
Federal Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                        1654     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                               $0.00                               $0.00            $0.00
Federal Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                        1656     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                               $0.00                               $0.00            $0.00

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                                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                              Amount                                                Amount
Federal Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                 1657     4/7/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                               $0.00                               $0.00            $0.00
Federal Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                 1680     4/7/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                               $0.00                               $0.00            $0.00
FedEx Corporate Services Inc.
as Assignee of FedEx Express/Ground/Freight/Office
3965 Airways Blvd, Module G, 3rd Floor
Memphis, TN 38116-5017                                 3184    4/26/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
FedEx Trade Networks Transport & Brokerage Inc.
Mike Mambretti
170 Cooper Ave.
Suite 110
Tonawanda, NY 14150                                     92     12/23/2016              APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
FedEx Trade Networks Transport & Brokerage Inc.
Mike Mambretti
170 Cooper Ave.
Suite 110
Tonawanda, NY 14150                                    381     2/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $59,951.67                                                                              $59,951.67
Fellman, Brynne
1 W CENTURY DR UNIT 22A
LOS ANGELES, CA 90067-3409                             1327     4/5/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $128.12                                                                                  $128.12
FENG, LAN
4350 SHELTER CREEK LN
SAN BRUNO, CA 94066-3819                               1077    3/28/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                                                                                    $0.00
FENG, LAN
4350 SHELTER CREEK LN
SAN BRUNO, CA 94066-3819                               1100    3/28/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                  $0.00            $0.00
Feng, Yanji
2301 Humbolt St. #222
Los Angeles, CA 90031                                  817     3/16/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
FENKER, DEBORAH
221 WEST 22nd ST. APT A4
NEW YORK, NY 10011                                     210     1/25/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $67.00                                                                                   $67.00
Ferrara, Laura
52 White Street Apartment 2
New York, NY 10013                                     760     3/13/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $545.50                                                                                  $545.50
Ferreira, Aline Botelho Fonseca
R Avanhandava, 103 AP12B
Bela Vista, Sao Paulo, SP 01306-001
Brazil                                                 175     1/23/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $400.00                                                                                  $400.00
Ferrufino, Rosa Elida
1243 W. 24th St. Apt. 101
Los Angeles, CA 90007                                  2164    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Ferrufino, Rosa Elida
1243 W. 24th St. Apt. 101
Los Angeles, CA 90007                                  2211    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Fimiani, Cristy
1501 Cocoanut Rd
Boca Raton, FL 33432                                   401     2/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $44.52                                                                                   $44.52
Fincher, Nancy
7136 Helsem Bend Cir
Dallas, TX 75230                                       157     1/18/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $20.00                                                                                   $20.00
Finkel, Revital
938 French Street NW
Washington, DC 20001                                   3354    8/15/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $70.00           $70.00


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                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Fisher, Allyson
701 W. Red Bank Ave, #M8
W. Deptford, NJ 08096                         367     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $80.00                                                                                   $80.00
Fisher, Anne E.
24209 Friar Street
Woodland Hills, CA 91367                      2506    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                   $0.00
Fisher, Anne Elizabeth
24209 Friar Street
Woodland Hills, CA 91367                      2479    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Fisher, Rachel L
5746 N KENMORE AVE APT 414
CHICAGO, IL 60660-4536                        612      3/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Fishkin, Jamie
49 Arleigh Road
Great Neck, NY 11021                          1020    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $20.86                                                                                   $20.86
FITI USA, INC.
3470 WILSHIRE BLVD
STE 915
LOS ANGELES, CA 90010-3909                    1768    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $7,620.25                                                                               $7,620.25
Fitzpatrick, Stephen
355 8th Avenue, Apt 14D
New York, NY 10001                            1128    3/30/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $30.99                                                                                   $30.99
Flesch, Donna
937 Schroll Dr
Forsyth, IL 62535                             3227     5/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Flesch, Donna
937 Schroll Dr
Forsyth, IL 62535                             3253     5/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $188.11          $188.11
Fletes, Sofia P
8635 Juniper St #8635
Los Angeles, CA 90002                         1805    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Fletes, Sofia P
8635 Juniper St #8635
Los Angeles, CA 90002                         1834    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Flintfox Consulting Group Inc
Attn: Jeffrey Hayward
5 Omega Street, Rosedale
Auckland 0632
New Zealand                                   591      3/2/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $438,182.22                                                                             $438,182.22
Floradale Mfg, Inc.
10880 Thienes Avenue
South El Monte, CA 91733                       86     12/20/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $418,509.05                                                                             $418,509.05
Flores, Dora
2256 E 107th St
Los Angeles, CA 90002                         961     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Flores, Jose S.
535 N. Alexandria Ave #102
Los Angeles, CA 90004                         2065    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                               $0.00                             $0.00
Flores, Jose S.
535 N. Alexandria Ave #102
Los Angeles, CA 90004                         2149    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Flores, Librada
2228 Eastlake Ave
Los Angeles, CA 90031                         2382    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Flores, Librada
2228 Eastlake Ave
Los Angeles, CA 90031                         2450    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Flores, Simon
6140 Marbrisa Ave
Huntington Park, CA 90255                     2360    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00



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                                                                                                                                                            Current Priority Current Secured                      Current Admin    Total Current
              Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                                Amount
Flores, Simon
6140 Marbrisa Ave
Huntington Park, CA 90255                   2362    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Flug, Cana
1407 NE Brazee St.
Portland, OR 97212                          3306     6/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Focus Investments Ltd
1605 BELLAIRE ST
STE 585
DENVER, CO 80222-4383                       1201     4/3/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                    $0.00
FOCUS INVESTMENTS LTD
C/O THE LAW OFFICES OF THEODORE W. BRIN
1805 BELLAIRE ST
STE 585
DENVER, CO 80222-4383                       1084    3/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                    $0.00
Foelske, Sarah
8599 Wonderland
Los Angeles, CA 90046                       170     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $137.34                                                                                  $137.34
Ford, Petra
3804 N Damen Ave, Apt 1
Chicago, IL 60618                           3189     5/2/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $47.00                                                                                   $47.00
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                   119      1/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
FRANCISCO, JUAN
1200 E 45TH ST
LOS ANGELES, CA 90011                       2083    4/11/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                            $0.00                                                                 $0.00
Francisco, Julio A.
PO Box 32588
Los Angeles, CA 90032                       3004    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Francisco, Julio A.
PO Box 32588
Los Angeles, CA 90032                       3012    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Francisco, Miriam
858 E. 87th St
Los Angeles, CA 90002                       2487    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Francisco, Miriam
858 E. 87th St
Los Angeles, CA 90002                       2500    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Franco American Textiles
1051 Monterey Pass Rd.
Monterey Park, CA 91754                      87     12/21/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $3,360.00                                                                               $3,360.00
Franco, Ana
1911 W 2nd St Apt # 28
Los Angeles, CA 90057                       2033    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Franco, Ana
1911 W 2nd St Apt # 28
Los Angeles, CA 90057                       2113    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Frayre, Gloria
11817 Duncan Ave
Lynwood, CA 90262                           2392    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Frayre, Gloria
11817 Duncan Ave
Lynwood, CA 90262                           2784    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Freightsaver
7755 Center Ave #1050
Huntington Beach, CA 92647                  105     12/28/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $2,103.27                                                                               $2,103.27
Freire, Diana
216 Summit Road
Mount Laurel, NJ 08054                      921     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $28.00                                                                                   $28.00


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                                                                                                                                                         Current Priority Current Secured                      Current Admin    Total Current
             Creditor Name and Address   Claim No. Claim Date                            Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                          Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                          Amount                                                Amount
Fricke, Claire
226 E 6th St #4D
New York, NY 10003                         1733    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $41.00                                               $41.00
Friedlander, Helene
174 Stephensburg Rd
Port Murray, NJ 07865                      578      3/2/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $25.00                                                                                   $25.00
Friedman, Diane
6677 Paseo Del Norte
Unit D
Carlsbad, CA 92011                         1060    3/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $58.39                                                                                   $58.39
Frizzell, Stacey
3266 Mandeville Canyon Rd
Los Angeles, CA 90049                      1271     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $109.50                                                                                  $109.50
Frontier Communications
19 John St
Middletown, NY 10940                       1129    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $4,480.67                                                                               $4,480.67
Fu, Gui Ying
822 New Depot St. #306
Los Angeles, CA 90012                      1337     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Fudge, William
6104 Little Joe Ct NW
Albuquerque, NM 87120                      292      2/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $43.13                                                                                   $43.13
Fuentes, Alvaro
6420 Hood Ave Apt C
Huntington Park, CA 90255                  1207     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Fuentes, Alvaro
6420 Hood Ave Apt C
Huntington Park, CA 90255                  1228     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Fuentes, Ana M
1365 W 38th St
Los Angeles, CA 90062                      3277    5/22/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Fuentes, Ana M.
1365 W 38th St
Los Angeles, CA 90062                      3276    5/22/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Fuentes, Delmis
2011 W 41 Dr.
Los Angeles, CA 90062                      2914    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Fuentes, Delmis
2011 W 41 Dr.
Los Angeles, CA 90062                      2916    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Fuentes, Elvira
2225 S Harvard Bld # G
Los Angeles, CA 90018                      2507    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Fuentes, Elvira M
2225 S Harvard Blvd Apt G.
Los Angeles, CA 90018                      2512    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Fuentes, Milagro
2011 W 41st. Dr.
Los Angeles, CA 90062                      2908    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Fuentes, Milagro
2011 W 41st. Dr.
Los Angeles, CA 90062                      2918    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
FULTON COUNTY TAX COMMISSIONER
141 PRYOR ST STE 1113
ATLANTA, GA 30303                          630      3/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                          $16,792.85                                                            $16,792.85
Fung, Lai Fan
124 S. Marengo Ave. #1
Alhambra, CA 91801                         1658    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Fung, Lai Fan
124 S. Marengo Ave. #1
Alhambra, CA 91801                         1879    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00


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                 Creditor Name and Address       Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                    Amount                                                Amount
Furie, Lori
9151 Hazen Dr.
Beverly Hills, CA 90210                            1663    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $776.16          $776.16
Furumizo, Julie
13443 Carnaby Street
Cerritos, CA 90703                                 660      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $4.62            $50.00                                                                $54.62
G&H Textiles
1988 Camfield Avenue
Commerce, CA 90040                                  60     12/9/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $284,405.97                                                                             $284,405.97
G.H.,A Minor Child (Michelle Horwitch, Parent)
Michelle Horwitch
233 South Carmelina Ave
Los Angeles, CA 90049                              207     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $77.20                                                                                   $77.20
Gala, Anish
24525 Paseo de Toronto
Yorba Linda, CA 92887                              408     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $16.31                                                                                   $16.31
Galapo, Grace
1069 East 9th street
Brooklyn, NY 11230                                 581      3/2/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $37.02                                                                                   $37.02
Galdamez Portillo, Alba
1000 S. Central Av
Compton, CA 90220                                  1618     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Galdamez Portillo, Alba
1000 S. Central Av
Compton, CA 90220                                  1653     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
GALEANA, JESUS
1179 1/2 E 51 ST.
LOS ANGELES, CA 90011                              1449     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Galeas, Karla
6649 Darwell Ave
Bell Garden, CA 96201                              2133    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Galeas, Karla
6649 Darwell Ave
Bell Gardens, CA 90201                             2112    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Galeno, Maricela
1315 James M Wood
Apt #301
Los Angeles, CA 90015                              1906    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Galeno, Maricela
1315 James M Wood
Apt #301
Los Angeles, CA 90015                              2208    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Galka, Katrina
Arizona Opera
Artistic Department
1636 N. Central Ave.
Phoenix, AZ 85004                                  1209     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $58.00                                                                                   $58.00
Gallagher, Kristen
4701 Greenpoint Ave. #111
Sunnyside, NY 11104                                534     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $156.00                                                                                  $156.00
Gallegos, Elizabeth
PO Box 49364
Los Angeles, CA 90049                              1057    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $72.54                                                                                   $72.54
Gallehewage, Geethanjalee
10416 Oxnard St
North Hollywood, CA 91606                          2553    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Gallehewage, Geethanjalee
8040 Chimineas Avenue
Reseda, CA 91335                                   2528    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
GAMERO, DORA
1601 E 47TH ST APT 1
LOS ANGELES, CA 90011-4347                         3268    5/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00

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                                                                                                                                                            Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                               Amount
GAMERO, DORA
1601 E 47TH ST APT 1
LOS ANGELES, CA 90011-4347                     3269    5/19/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Gammage, Claudia
150 E 93 St #2C
New York, NY 10128                             176     1/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $97.50                                                                                  $97.50
Gammage, Edward
1404 E. 87Pl
Los Angeles, CA 90002                          925     3/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Garcia Violeta, Maria Elena
930 S. Bonnie Brae # 232
Los Angeles, CA 90006                          1478     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Garcia, Celia
7011 Bear Ave.
Bell, CA 90201                                 1539     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Garcia, Celia
7011 Bear Ave.
Bell, CA 90201                                 1541     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
GARCIA, FRANCISCA L
1723 JAMES M. WOOD BL
APT 216
LOS ANGELES, CA 90015                          1850    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
GARCIA, FRANCISCA L
1723 JAMES M. WOOD BL
APT 216
LOS ANGELES, CA 90015                          1927    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Garcia, Gonzalo
5419 Buchanan St
Los Angeles, CA 90042-2445                     914     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Garcia, Jose R
4503 Clara St
SP #6
Cudahy, CA 90201                               1529     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00            $0.00                                                $0.00
Garcia, Jose Roberto
4503 Clara St. SP. #6
Cudahy, CA 90201                               1544     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Garcia, Maria Luisa
5204 King Ave
Maywood, CA 90270                              3234     5/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Garcia, Maria Luisa
5204 King Ave
Maywood, CA 90270                              3242     5/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Garcia, Obdulia Juarez
7439 Ciro St
Downey, CA 90240                               1800    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Garcia, Obdulia Juarez
7439 Ciro St
Downey, CA 90240                               1806    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Garcia, Petra
1140 E. 68th St
Los Angeles, CA 90001                          1975    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Garcia, Petra
1140 E. 68th St
Los Angeles, CA 90001                          2035    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Garcia, Petra
3714 1/2 E. Cesar E. Chavez Av
Los Angeles, CA 90063                          2055    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Garcia, Petra
3714 1/2 E. Cesar E. Chavez Av
Los Angeles, CA 90063                          2102    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00



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                                                                                                                                                                            Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address                 Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                             Amount                                                Amount
GARCIA, ROSA
539 ESTUDILLO AVE
LOS ANGELES, CA 90063                                       1886    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
GARCIA, ROSA
539 ESTUDILLO AVE
LOS ANGELES, CA 90063                                       2063    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Garcia, Rosa
906 W. 60th Street
Los Angeles, CA 90044                                       1606    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Garcia, Rosa
906 W. 60th Street
Los Angeles, CA 90044                                       1726    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Garcia, Sandra
1030 1/2 E Martin Luther King Blvd
Los Angeles, CA 90011                                       2405    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Garcia, Sandra
1030 1/2 E Martin Luther King Blvd
Los Angeles, CA 90011                                       2769    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Garcia, Santos Gladys
1933 Mozart Street
Los Angeles, CA 90031                                       2287    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Garcia, Santos Gladys
1933 Mozart Street
Los Angeles, CA 90031                                       2289    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                   $0.00
GARCIA, ZOILA
706 W 50TH ST
LOS ANGELES, CA 90037                                       3017    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
GARCIA, ZOILA
706 W 50TH ST
LOS ANGELES, CA 90037                                       3042    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
GARDEN CITY GROUP, LLC
ATTN: ANGELA FERRANTE
1985 MARCUS AVENUE, SUITE 200
LAKE SUCCESS, NY 11042-2029                                 740     3/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $483,676.09                                                                             $483,676.09
Garuccio, Meaghan
820 N. Raymond Ave, Apt 25
Pasadena, CA 91103                                          1139    3/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                         $32.70                            $32.70
Gary Wong, Trustee and Sabina Wong, Trustee and Richard
Wong, Trustee
Gary Wong, Trustee
10450 Rock Creek Drive
San Diego, CA 92131                                          35     11/28/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $7,868.00                                                                               $7,868.00
Garza Industries Inc.
1870 N Glassell St
Orange, CA 92865                                             85     12/20/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $1,501.50                                                                               $1,501.50
Gaspar, Anita
716 S. Harvard Blvd # 124
Los Angeles, CA 90005                                       2636    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Gaspar, Anita
716 S. Harvard Blvd # 124
Los Angeles, CA 90005                                       2710    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Gaspar, Candelaria
2219 1/2 S. Central Ave
Los Angeles, CA 90011                                       1586    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Gaspar, Candelaria
2219 1/2 S. Central Ave
Los Angeles, CA 90011                                       1811    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Gee, Lydia
300 Crockett St.
Apt 105
Austin, TX 78704                                            636      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $67.12                                                                                   $67.12


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                                                                                                                                                               Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                                Amount
Gee, Yem F
837 1/4 Cleveland St.
Los Angeles, CA 90012                          1610    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Gee, Yem F
837 1/4 Cleveland St.
Los Angeles, CA 90012                          1665    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
GEE, YEM F.
837 1/4 Cleveland St.
Los Angeles, CA 90012                          856     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Geissinger, Laura
2086 NW Kearney St. Apt 3
Portland, OR 97209                             426     2/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $58.00                                                                                   $58.00
George Wyner Realty Brattle Street, LLC
Joseph S.U. Bodoff
Rubin and Rudman LLP
53 State St Lbby 1
Boston, MA 02109-3208                          3183    4/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $4,481.37                                                                  $0.00        $4,481.37
George Wyner Realty Brattle Street, LLC
Rubin and Rudman LLP,
Joseph S.U. Bodoff, Esq.
53 State St Lbby 1
Boston, MA 02109-3208                          3171    4/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $466,288.94                                                                             $466,288.94
Georgia Natural Gas
P.O. Box 105445
Atlanta, GA 30348                              1258     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $190.30                                                                                  $190.30
Getty, Alexander P.
2125 Broderick St
San Francisco, CA 94115                        510     2/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $118.01                                                                                  $118.01
GGFB, LLC (DBA: Golden Green)
900 E 29th St
Los Angeles, CA 90011                          804     3/15/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $158,984.54                                               $663.00                       $159,647.54
GGP ALA MOANA L.L.C.
C/O GGP LIMITED PARTNERSHIP
110 NORTH WACKER DRIVE
CHICAGO, IL 60606                              1157    3/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
GGP ALA MOANA L.L.C.
C/O GGP LIMITED PARTNERSHIP
110 NORTH WACKER DRIVE
CHICAGO, IL 60606                              1192    3/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $433,362.74                                                                             $433,362.74
GGP ALA MOANA L.L.C.
C/O GGP LIMITED PARTNERSHIP
110 NORTH WACKER DRIVE
CHICAGO, IL 60606                              1196    3/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $1,319.44                                                                               $1,319.44
Gianino, Laura
155 Newel St.
APT 3A
Brooklyn, NY 11222                             1131    3/30/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $71.00                                                                                   $71.00
Gibson, Steffanie
8317 Slate Harbor Circle
Las Vegas, NV 89128                            263     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $96.13                                                                                   $96.13
Gieske, Ronit
12246 Montana Ave.
#104
Los Angeles, CA 90049                          872     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                    $0.00                             $0.00
Gieske, Ronit
12046 Montana Ave. #104
Los Angeles, CA 90049                          189     1/25/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                  $200.00                           $200.00
Gieske, Ronit
12046 Montana Ave. #104
Los Angeles, CA 90049                          876     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $200.00          $200.00



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                Creditor Name and Address        Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                        Admin Priority
                                                                                                                                                                          Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                          Amount                                                Amount
Gildan Activewear SRL
c/o Gildan Activewear Inc.
Attn: Lindsay Matthews
600 de Maisonnelive Boulevard West, 33rd Floor
Montreal, Quebec H3A 3J2                           2364    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                              $0.00            $0.00
Gildan Activewear SRL
c/o Gildan Activewear Inc.
Attn: Lindsay Matthews
600 de Maisonneuve Boulevard West, 33 Floor
Montreal, QC H3A 3I2
Canada                                             2366    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                            $0.00            $0.00
Gildan Activewear SRL
c/o Gildan Activewear Inc.
Attn: Lindsay Matthews
600 de Maisonneuve Boulevard West, 33rd Floor
Montreal , QC H3A 3J2
Canada                                             2361    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Gildan Activewear SRL
c/o Gildan Activewear Inc.
Attn: Lindsay Matthews
600 de Maisonneuve Boulevard West, 33rd Floor
Montreal, QC H3A 3J2
Canada                                             2276    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Gildan Activewear SRL
C/O Gildan Activewear Inc.
Attn: Lindsay Matthews
600 de Maisonneuvre Boulevard West
33rd Floor
Montreal, QC H3A 3J2
Canada                                             2513    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                  $0.00            $0.00
Gildan Activewear SRL
c/o Gilden Activewear Inc.
Attn: Lindsay Matthews
600 de Maisonneuve Boulevard West, 33rd Floor
Montreal, QC H3A 312
Canada                                             2351    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                        $0.00            $0.00
Girard, Adrienne
25 Ave at Port Imperial #1015
West New York, NJ 07093                            449     2/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $20.00                                                                                   $20.00
Gisis, Jacob
4601 Saloma Ave.
Sherman Oaks, CA 91403                             3153    4/24/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $41.42                                                                                   $41.42
Glascott 929 W Belmont FLP
Keil Larson attorney
35 East Wacker Drive Suite 650
Chicago, IL 60601                                  980     3/22/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $13,901.22       $13,901.22
Glascott 929 W Belmont FLP
Keil M Larson, attorney
35 East Wacker Drive Suite 650
Chicago, IL 60601                                  919     3/22/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $31,449.82                                                                              $31,449.82
Glascott 929 W. Belmont FLP
d/b/a North River Properties
Glascott & Associates
2156 N. Halstead
Chicago, IL 60614                                   74     12/15/2016              APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
Glasser, Kristen
147 Manhattan Ave
Jersey City, NJ 07307                              741     3/10/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                          $100.00          $100.00
GLAZEK, DAVID
767 FIFTH AVENUE, 12TH FLOOR
NEW YORK, NY 10153                                 2771    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                               $0.00                                                $0.00


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               Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                       Admin Priority
                                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                    Amount                                               Amount
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2156    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2332    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                             $0.00            $0.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2380    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2427    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2458    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2549    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2556    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                       $0.00            $0.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2561    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                 $0.00            $0.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2562    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2577    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2595    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2615    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00



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                                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                    Amount                                               Amount
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2656    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2678    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2789    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                  $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                           2051    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                       $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                           2138    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                           2291    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                           2372    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                           2454    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                           2489    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                           2517    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                             $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                           2521    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                           2534    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                    $218,727,784.00                               $0.00 $218,727,784.00



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                                                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                    Amount                                               Amount
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                                           2548    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                 $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                                           2617    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                  $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                                           2647    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                                           2661    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                                           2666    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Goettl, Jennifer
550 E Weddell Drive #4205
Sunnyvale, CA 94089                                          3385    11/24/2017         APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $21.85                                                                                  $21.85
Goldberg, Ellyn
586 Oder Avenue
Staten Island, NY 10304                                      3302     6/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $28.43                                                                                  $28.43
Goldberg, Ellyn
586 Oder Avenue
Staten Island, NY 10304                                      3303     6/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $28.43           $28.43
Goldberg, Robert
348 West 11th St., Apt. 4B
New York, NY 10014                                           1760    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $84.63                                                                                  $84.63
Golden, Jacqueline
2 Ridgeview Circle
Armonk, NY 10504                                             1071    3/29/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $56.36                                                                                  $56.36

Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2193    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                    $218,727,784.00                               $0.00 $218,727,784.00

Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2280    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                    $218,727,784.00                               $0.00 $218,727,784.00

Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2300    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                       $0.00            $0.00




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                                                                                                                                                                    Amount                                               Amount

Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2313    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                    $218,727,784.00                               $0.00 $218,727,784.00

Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2327    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                    $218,727,784.00                               $0.00 $218,727,784.00

Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2470    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                 $0.00            $0.00

Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2471    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00

Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2547    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                    $218,727,784.00                               $0.00 $218,727,784.00

Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2566    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                    $218,727,784.00                               $0.00 $218,727,784.00

Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2588    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                             $0.00            $0.00

Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2611    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00

Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2639    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2141    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                 $0.00            $0.00




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                 Creditor Name and Address               Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                       Admin Priority
                                                                                                                                                                                 Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                  Amount                                               Amount
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2245    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                             $0.00            $0.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2374    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2409    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2455    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                       $0.00            $0.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2541    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2570    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2599    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2600    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2606    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2673    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2675    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2278    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                    $218,727,784.00                               $0.00 $218,727,784.00



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                                                                                                                                                                                 Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                  Amount                                               Amount
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2326    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2368    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2414    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                       $0.00            $0.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2421    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2525    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                             $0.00            $0.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2555    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2568    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                 $0.00            $0.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2571    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2575    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2580    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2642    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Goldman Sachs Lux Investment Funds
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2432    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                  $0.00            $0.00



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                                                                                                                                                           Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                            Amount                                               Amount
Goldman Sachs Lux Investment Funds
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2663    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Goldman Sachs Trust
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2457    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                  $0.00            $0.00
Goldman Sachs Trust
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                           2473    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Golovashkina, Anastasia
2150 Oxford St. #14
Berkeley, CA 94704                           3389    11/30/2017   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $150.00                                                                                 $150.00
Gomez Tuch, Julio E.
1330 W 11th St.
Apt #15
Los Angeles, CA 90015                        2429    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Gomez Tuch, Julio E.
1330 W 11th St.
Apt #15
Los Angeles, CA 90015                        2739    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Gomez, Arely E
C/O Solov and Teitell, APC
1625 W. Olympic Blvd., Suite 802
Los Angeles, CA 90015                        945     3/20/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                                                                                   $0.00
Gomez, Erick F.
1817 W. M.L. King Jr. Blvd Apt. #3
Los Angeles, CA 90062                        1901    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Gomez, Erick F.
1817 W. M.L. King Jr. Blvd Apt. #3
Los Angeles, CA 90062                        1993    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
GOMEZ, GRACIELA
1414 East 48th Place
Los Angeles, CA 90011                        793     3/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Gomez, Juana
1526 E Kettering St
Lancaster, CA 93535                          2159    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Gomez, Juana
1526 E Kettering St
Lancaster, CA 93535                          2408    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Gomez, Lara
4315 Nenana Dr
Houston, TX 77035                            597      3/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $21.65                                                                                  $21.65
Gomez, Maria E
1657 W. 37th Place
Los Angeles, CA 90018                        3081    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Gomez, Maria E.
1657 W. 37th Place
Los Angeles, CA 90018                        3080    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Gomez, Miguel
611 E Jenner St
Lancaster, CA 93535                          2082    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                  $0.00            $0.00
Gomez, Miguel
611 E Jenner St
Lancaster, CA 93535                          3053    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00



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                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Gomez, Nazario
5112 S. Central Ave.
Los Angeles, CA 90011                         1801    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Gomez, Nazario
5112 S. Central Ave.
Los Angeles, CA 90011                         2227    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Gomez, Rafael
6202 Passaic St
Huntington Park, CA 90255                     820     3/16/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00             $0.00                                                                 $0.00
Gonzalez Del Toro, Jorge Mario
5262 S. Los Toros Ave.
Pico Rivera, CA 90660                         1670     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Gonzalez Del Toro, Jorge Mario
5262 S. Los Toros Ave.
Pico Rivera, CA 90660                         1847     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Gonzalez, Aimee
67-10 108th St
Apt. 3G
Forest Hills, NY 11375                        1702    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $180.00                                                                                  $180.00
Gonzalez, Catalina Ventura
10971 S. Main St
Los Angeles, CA 90061                         1483     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Gonzalez, Ignacio Rufino
500 S. Lake St # 207
Los Angeles, CA 90057                         2501    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Gonzalez, Ignacio Rufino
500 S. Lake St #207
Los Angeles, CA 90057                         2820    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Gonzalez, Jorge
4200 BELL AVE
BELL, CA 90201-2428                           1015    3/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Gonzalez, Jorge
5262 Los Toros Avenue
Pico Rivera, CA 90660                         1562     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Gonzalez, Jose F.
7641 Saint Clair Ave.
N. Hollywood, CA 91605                        2220    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Gonzalez, Jose F.
7641 Saint Clair Ave.
N. Hollywood, CA 91605                        2229    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Gonzalez, Maria
1615 W. Adams Blvd
Los Angeles, CA 90007                         3024    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Gonzalez, Maria
1615 W. Adams Blvd
Los Angeles, CA 90007                         3029    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Gonzalez, Miguel
10502 Western Ave
Apt A
Downey, CA 90241                              3134    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Gonzalez, Miguel
10502 Western Ave
Apt A
Downey, CA 90241                              3135    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Gonzalez, Vanessa
4318 Melbourne Ave.
Los Angeles, CA 90027                         605      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $25.56                                                                                   $25.56
Google Inc
c/o White & Williams LLP
7 Times Square Suite 2900
New York, NY 10036-6524                       1145    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $116,913.68                                                                             $116,913.68


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                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
Google Inc.
c/o White and Williams LLP
Attn: Amy E. Vulpio, Esq.
1650 Market St. Fl. 18
Philadelphia, PA 19103                       2253    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Gordon, Sara
607 Garden Street
Hoboken, NJ 07030                            490     2/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $36.00                                                                                   $36.00
Gorsuch, Nicole
1932 Monon St
Los Angeles, CA 90027                        451     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $57.00                                                                                   $57.00
Gracia, Gonzalo
5419 Buchanan St
Los Angeles, CA 90042                        953     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Granados, Ana Miriam
6021 Prospect Ave.
Maywood, CA 90270                            1994    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00             $0.00                                                                 $0.00
Granados, Ana Miriam
6021 Prospect Ave.
Maywood, CA 90270                            2016    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Granik, David
8400 De Longpre Ave.
#313
West Hollywood, CA 90069                     3236     5/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.00                                                                                  $100.00
Gratianne, Carolina
2690 Great Highway Apt.103
San Francisco, CA 94116                      3143    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $150.00                                                                                  $150.00
Gravina, David
4367 Dawes St
San Diego, CA 92109                          786     3/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $25.00                                                                                   $25.00
Gray, Adam
Coliseum Capital Management, LLC
105 Rowayton Ave.
Rowayton, CT 06853                           2330    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,757.32                                                                  $0.00        $2,757.32
Gray, Adam
Coliseum Capital Management, LLC
105 Rowayton Ave.
Rowayton, CT 06853                           2369    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Gray, Camille
PO Box 6376
Metairie, LA 70009                           3445    10/13/2019         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Green Valley - Ross Partnership
William A. Van Roo, Esquire
13863 Quartergorse Drive
Grass Valley, CA 95949                       359      2/9/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $204,357.12                                                                             $204,357.12
Greenberg, Sharon
245 East 58th St
Apt #20 A
New York, NY 10022                           2836    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $25.00           $25.00
Greener, Kristen
222 W. Rittenhouse Sq.
Unit 401
Philadelphia, PA 19103                       3333    7/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                       Unliquidated                                                 $0.00                             $0.00
Grosvenor, Addison
426 W. Briar Pl. Apt 4B
Chicago, IL 60657                            1039    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $74.97           $74.97
Grosvenor, Addison
426 W. Briar Pl. Apt 4B
Chicago, IL 60657                            303      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $74.97                                                                                   $74.97
Grosvenor, Addison
426 W. Briar Pl. Apt 4B
Chicago, IL 60657                            1038    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $74.97                                                                                   $74.97

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                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
GTL ROBERTSON PROPERTIES, LLC
9663 SANTA MONICA BLVD., SUITE 1265
BEVERLY HILLS, CA 90210-4304                 1626     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $520,978.78                                                                             $520,978.78
Guadarrama, Mana
4110 South Wall Street
Los Angeles, CA 90011                        3250     5/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Guan Woo, Mei Ling
412 Elmgate St.
Monterey Park, CA 91754                      902     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Guan, Guiliu
3436 Alice St.
Los Angeles, CA 90065                        1398     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Guan, Guiliu
3436 Alice St.
Los Angeles, CA 90065                        1407     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
GUAN, QINGWEN
1700 W COLEGROVE AVE
MONTEBELLO, CA 90640                         1780     4/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
GUAN, QINGWEN
1700 W COLEGROVE AVE
MONTEBELLO, CA 90640                         1789     4/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Guan, Xiu Li
3716 Gibson Rd.
El Monte, CA 91731                           956     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Guan, Xiu Li
3716 Gibson Rd.
El Monte, CA 91731                           1392     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Guan, Xiu Li
3716 Gibson Rd.
El Monte, CA 91731                           1429     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Gudino, Rosa
748 E 42nd St #4
Los Angeles, CA 90011                        3099    4/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Gudino, Rosa
748 E 42nd St #4
Los Angeles, CA 90011                        3109    4/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Guerrero, Roberto D
11902 Highdale St
Norwalk, CA 90650-6528                       2335    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Guerrero, Roberto D
11902 Highdale St
Norwalk, CA 90650-6528                       2737    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Guevara, Fausto Sandoval
309 E 65th St.
Los Angeles, CA 90003                        2943    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Guevara, Fausto Sandoval
309 E. 65th St.
Los Angeles, CA 90003                        2952    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Guevara, Guadalupe
1454 W. 51 ST. Place
Los Angeles, CA 90062                        2106    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Guevara, Guadalupe
1454 W. 51 ST. Place
Los Angeles, CA 90062                        2215    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Guirguis, Kayla
12505 SW North Dakota St Apt 1313
Tigard, OR 97223                             3378    11/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Gunshor, Emily
273 Berry St.
Brooklyn, NY 11249                           400     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $73.00                                                                                   $73.00



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                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Gunshor, Emily
273 Berry Street
Brooklyn, NY 11249                            994     3/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $73.00                                                                                   $73.00
Gunter, Kenneth Marshall
605 W 141St #43
New York, NY 10031                            805     3/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $108.00                             $108.00                                              $216.00
Gupta, Anshu
523 Broadway E Apt 659
Seattle, WA 98102                             285      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.82                                                                                  $100.82
Gutierrez, Guillermo
672 45th Street
Oakland, CA 94609                             342      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $47.97                                                                                   $47.97
Guy, Kara
31-64 36th st., Apt. 1R
Astoria, NY 11106                             296      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                   $38.00                            $38.00
Guzman, Hilda
478 W. 47th St # 2
Los Angeles, CA 90037                         3006    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Guzman, Hilda
478 W. 47th St # 2
Los Angeles, CA 90037                         3007    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
H & J, Trading
Dale J. Park, Esq.
3333 Wilshire Blvd., # 320
Los Angeles, CA 90010                         158     1/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $61,314.00                                             $2,352.00                        $63,666.00
Ha, Muoi
4501 Peck Rd Apt 57
El Monte, CA 91732-1942                       2717    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Ha, Muoi
4501 Peck Rd., Apt. 57
El Monte, CA 91732-1942                       2884    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Hackett, Joffery
815 E Via Wanda Building 9
Long Beach, CA 90805                          3425     1/1/2019          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Haddad, Manal F
21901 Gresham St
West Hills, CA 91304                          186     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                  $100.00                           $100.00
Hall, Debra
12019 SW Sylvania Ct
Portland, OR 97219                            1941    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $50.00             $50.00                                                               $100.00
Hall, Veronica
1834 Kofman Parkway
Alameda, CA 94502                             387     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Hall, Veronica
1834 Kofman Parkway
Alameda, CA 94502                             1915    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $50.00                                                                $50.00
Haltrecht, Karen
209 Copa de Oro Rd.
Los Angeles, CA 90077                         522     2/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $58.86           $58.86
Ham, Phoi
3435 Arroyo Seco Ave.
Los Angeles, CA 90065                         2093    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Ham, Phoi
3435 Arroyo Seco Ave.
Los Angeles, CA 90065                         2237    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Hamilton, John
261 Evergreen Ave #4F
Brooklyn, NY 11221                            583      3/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $203.10                                                                                  $203.10
Hamsher, Meredith
720 Presidio Avenue Apt 104
San Francisco, CA 94115                       595      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $48.00                                                                                   $48.00


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                                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                       Amount                                                Amount
Han, Amy
4913 Glickman Ave
Temple City, CA 91780                                 1360     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Han, Amy
4913 Glickman Ave
Temple City, CA 91780                                 1426     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Han, Tong
4816 San Pablo Dam Rd Apt 15
El Sobrante, CA 94803                                 341      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.12                                                                                   $40.12
Han, Tong
4816 San Pablo Dam Rd Apt 15
El Sobrante, CA 94803                                 732     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.12                                                                                   $40.12
HAN, TONG
4816 SAN PABLO DAM RD
APT 15
EL SOBRANTE, CA 94803                                 749     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $40.12           $40.12
Handegaard, Matthew
6405 Hampshire Place
Golden Valley, MN 55427                               513     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Hang, Annie
4650 Cogswell Rd
El Monte, CA 91732                                    2483    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $77.49                                                                                   $77.49
Hanjin Intermodal America DBA: Hanjin Express
Attn: Sun Kim
1111 E. Watson Center Rd Unit A
Carson, CA 90745                                      592      3/2/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $15,325.15                                                                              $15,325.15
Hanjin Intermodal America Inc DBA: Hanjin Express
1111 E. Watson Center Rd Unit A
Carson, CA 90745                                       16     11/22/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
Haq, Sara
907 East Street
Carlisle , MA 01741                                   3371    10/31/2017   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                    $0.00
Harder, Megan
2495 Lombard St
San Francisco, CA 94123                               3228     5/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $56.55                                                                                   $56.55
Hardy, Kathryn
200 Ashington Circle
Lake Bluff, IL 60044                                  268     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $25.00                                                                                   $25.00
Hardy, Kathryn
200 Ashington Circle
Lake Bluff, IL 60044                                  1047    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $25.00                                                                                   $25.00
Hardy, Kathryn
200 Ashington Circle
Lake Bluff, IL 60044                                  1088    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $25.00           $25.00
Harford, Shania
593 Barbey St.
Brooklyn, NY 11203                                    3412    3/23/2018    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $58.00                                                                                   $58.00
Harouni, Jessica
356 22nd Street
Santa Monica, CA 90402                                594      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $15.26                                                                                   $15.26
Harris County, Et Al
John P. Dillman
Linebarger Goggan Blair & Sampson, LLP
PO Box 3064
Houston, TX 77253-3064                                 18     11/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                 $0.00                                                $0.00
Harris County, et al.
John P. Dillman
Tara L. Grundemeier
Linebarger Goggan Blair & Sampson LLP
PO Box 3064
Houston, TX 77253-3064                                382     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00


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                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Harris County, Et Al.
Linebarger Goggan Blair & Sampson, LLP
John P. Dillman
PO Box 3064
Houston, TX 77253-3064                        3379    11/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Harris, Randi Brookman
70 Washington Street #11A
Brooklyn, NY 11201                            839     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $38.20                                                                                   $38.20
Harsono, Michelle
5936 SE Francis St
Portland, OR 97206                            551     2/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $26.00                                                                                   $26.00
Harter, Stephanie
3140 N Sheffield Ave. #414
Chicago, IL 60657                             1320     4/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $59.00                                                                                   $59.00
Hartford Fire Insurance Company
Bankruptcy Unit, NP-3, Hartford Plaza
Hartford, CT 06115                            106     12/28/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Hartford Fire Insurance Company
Bankruptcy Unit, NP-3, Hartford Plaza
Hartford, CT 06115                            115     12/27/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Harwood, Joyce
3627 Buena Park Drive
Studio City, CA 91604                         3264    5/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $152.06          $152.06
Hauser, Charlotte
341 Hancock Street
Brooklyn, NY 11216                            644      3/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $112.80                                                                                  $112.80
Hawaiian Electric Company
PO Box 2750
Honolulu, HI 96840                            653      3/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $2,723.89                                                                               $2,723.89
HE, XIAOQIAN
16033 75TH AVE, 2FL
FRESH MEADOWS, NY 11366                       3349    8/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Healy, Toni
417 Beach 131st Street
Rockaway Park, NY 11694                       308      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.00                                                                                  $100.00
Heifetz, Ariana Shirin Abadian
20 Hilliard Street
Cambridge, MA 02138                           453     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $69.00                                                                                   $69.00
Heilman, David H.
611 Jersey Ave., Apt. 1
Jersey City, NJ 07302                         3413    3/21/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $60.00                                                                                   $60.00
Heinzen, Eva
326 Saint Johns Place
Apartment C4
Brooklyn, NY 11238                            1142    3/30/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $15.00                                                                                   $15.00
Hendizadeh, Azam
1626 South Holt Ave.
Los Angeles, CA 90035                         1436     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $36.99           $36.99
Hendizadeh, Azam
1626 South Holt Ave.
Los Angeles, CA 90035                         1450     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $74.31           $74.31
Henley, Kasey
327 FOREST GROVE DR
RICHARDSON, TX 75080-1937                     604      3/5/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $106.09                                                                                  $106.09
Herd, Kimberlee
423 Conestoga Road
St. Davids, PA 19087                          2975    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $52.00                                                                                   $52.00
Herenstein, Andrew
Monarch Alternative Capital LP
535 Madison Ave.
New York, NY 10022                            2328    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00


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                Creditor Name and Address   Claim No. Claim Date                            Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                               Amount
Herenstein, Andrew
Monarch Alternative Capital LP
535 Madison Ave.
New York, NY 10022                            2365    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                  $0.00            $0.00
Hernandez Padilla, Francisco
232 1/2 W. 59th Place
Los Angeles, CA 90003                         2375    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Hernandez Padilla, Francisco
232 1/2 W. 59th Place
Los Angeles, CA 90003                         2691    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
HERNANDEZ, ARNULFO
1029 E. 29TH ST.
LOS ANGELES, CA 90011                         796     3/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
HERNANDEZ, ARNULFO
1029 E. 29TH ST.
LOS ANGELES, CA 90011                         803     3/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Hernandez, Elsy
1000 S Central Ave
Compton, CA 90220                             1551     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Hernandez, Elsy
1000 S Central Ave
Compton, CA 90220                             1635     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Hernandez, Ivania
969 N Mariposa Ave.
Apt. #8
Los Angeles, CA 90029                         2638    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Hernandez, Ivania Alissett
1045 Browning Blvd
Los Angeles, CA 90037                         2896    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Hernandez, Ivania Alissett
1045 Browning Blvd.
Los Angeles, CA 90037                         2893    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Hernandez, Jesus Florentino Galvez
1037 E. 54th St.
Los Angeles, CA 90011                         1528     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Hernandez, Jesus Florentino Galvez
1037 E. 54th St.
Los Angeles, CA 90011                         1558     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Hernandez, Julio Ramos
3474 E. First St #150
Los Angeles, CA 90063                         3100    4/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Hernandez, Katherine Olivia
475 S.W. 18 Ter
Miami, FL 33129                               566     2/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $79.18                                                                                  $79.18
HERNANDEZ, MARIA G.
758 E 75TH ST
LOS ANGELES, CA 90001                         3066    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Hernandez, Maria Gloria
758 E 75
Los Angeles, CA 90001                         3067    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Hernandez, Nelly
838 E. 95th St
Los Angeles, CA 90002                         1746    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Hernandez, Nelly
838 E. 95th St
Los Angeles, CA 90002                         2196    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Hernandez, Rosa
9619 ARLETA AVE
ARLETA, CA 91331-4649                         1910    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Hernandez, Rosa
9619 ARLETA AVE
ARLETA, CA 91331-4649                         2097    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00

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                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
Hernandez, Rosa Margarita
726 N. St Andrews Pl
Los Angeles, CA 90038                          2775    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Hernandez, Rosa Marsarita
726 N. St Andrews Pl
Los Angeles, CA 90038                          2817    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Hernandez, Salvadora
1515 N San Fernando Rd #149
Los Angeles, CA 90065                          1470     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Hernandez, Salvadora
1515 N San Fernando Rd #149
Los Angeles, CA 90065                          1524     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Hernandez, Santos
1515 22nd St #4
Los Angeles, CA 90011                          1479     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Hernandez, Santos
1515 22nd St #4
Los Angeles, CA 90011                          1568     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Hernandez, Veronica Landa
723 E 105 St
Los Angeles, CA 90002                          2236    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Hernandez, Veronica Landa
723 E 105th St.
Los Angeles, CA 90002                          2230    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Hernandez, Yolanda
259 N. Union Ave #105
Los Angeles, CA 90026                          2753    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Hernandez, Yolanda
259 N. Union Ave #105
Los Angeles, CA 90026                          2788    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
High Performance Chemical Co.
14733 1/2 Garfield Ave
Paramount, CA 90723-3412                       903     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $6,104.00                                                                               $6,104.00
Hill, Katherine
1541 Jones Drive
Ann Arbor, MI 48105                            1123    3/30/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $33.37                                                                                   $33.37
Hinh, Dinh
142 E. Emerson Ave. #A
Monterey Park, CA 91755                        927     3/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Hinke, Chris
22 Godfrey Lane
Huntington, NY 11743                           600      3/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $60.00                                                                                   $60.00
Hinojosa, Maria De La Luz
14202 LAS VECINAS DR
LA PUENTE, CA 91746-2608                       3105    4/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Hisey, Brad
1210 N Gardner St
West Hollywood, CA 90046                       528     2/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $28.00                                                                                   $28.00
Hitex Dyeing & Finishing Inc.
355 Vineland Ave.
City of Industry , CA 91746-2321               728     3/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
HITEX Dyeing & Finishing, Inc.
Derrick Talerico
Bosley Till Neue & Talerico LLP
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025                          1947    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
HITEX Dyeing & Finishing, Inc.
Derrick Talerico
Bosley Till Neue & Talerico LLP
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025                          2249    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                       $156,666.31                                                 $0.00                       $156,666.31


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                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
Ho, Baoy
18B Elizabeth Street
New Brunswick, NJ 08901                      1373     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $80.00                                                                                   $80.00
Ho, Baoy
18B Elizabeth Street
New Brunswick, NJ 08901                      305      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $80.00                                                                                   $80.00
Ho, Johnson
39-40 Greenpoint Ave #2D
Queens, NY 11104                             479     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.00                                                                                   $40.00
Ho, Kin Nhoc
2106 North Indiana Ave.
Los Angeles, CA 90032                        1155    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Hodovsky, Devon
1702 Stewart Pl
Nashville, TN 37203                          185     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $85.41                                                                $85.41
Holaday, Allison
43B Church Street
Westborough, MA 01581                        3344    7/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $30.00                                                                                   $30.00
Holland, Chloe
4141 SW 40th Pl
Portland, OR 97221                           414     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $23.93                                                                                   $23.93
Hollowed, Madolyn
4728 89th Ave. SE
Mercer Island, WA 98040                      475     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $27.97                                                                                   $27.97
Holstad, James
3955 SE Madison St.
Apt. 1
Portland, OR 97214                           3172    4/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $43.00                                                                                   $43.00
Holt, Robert
55 Grattan St
San Francisco, CA 94117                      196     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $23.93                                                                                   $23.93
Hopkinson, Lauren
596 Washington Ave, Apartment 2B
Brooklyn, NY 11238                           1199     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.00                                                                                   $40.00
Hor, Selene
1659 Mohawk St. #11
Los Angeles, CA 90026                        3005    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
Hor, Selene
1659 Mohawk St. #11
Los Angeles, CA 90026                        3018    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Hosta, Donny
4344 West 211th St.
Fairview Park, OH 44126                      1711    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Hosta, Donny
4344 West 211th St.
Fairview Park, OH 44126                      1713    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Hosta, Donny
4344 West 211th St.
Fairview Park, OH 44126                      1715    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Hosta, Donny
4344 West 211th St.
Fairview Park, OH 44126                      1693    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Hosta, Donny
4344 West 211th St.
Fairview Park, OH 44126                      1697    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Hosta, Donny
4344 West 211th St.
Fairview Park, OH 44126                      1709    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Houston Press, LP
2603 La Branch
Houston, TX 77004                            1895    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $7,500.00                                                                  $0.00        $7,500.00


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                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                               Amount
Howe, Jennifer
642 SE 27th Ave
Portland, OR 97214                          628      3/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $25.00                                                                                  $25.00
Hu, Ting
80 Dekalb Ave, 11N
Brooklyn, NY 11201                          2928    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $38.00                                                                                  $38.00
Hu, Xiu Mei
832 S. 4th St. Apt# 11
Alhambra, CA 91801                          1243     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Huang, Dong Mei
1514 S. 7th St
Alhambra, CA 91803                          1484    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Huang, Dong Mei
1514 S. 7th St
Alhambra, CA 91803                          1531    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Huang, Rui Xian
1202 S 9th St
Alhambra, CA 91801                          3058    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Huang, Rui Xian
1202 S. 9th St
Alhambra, CA 91801                          3101    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Huang, Ruiai
3231 PROSPECT AVE
ROSEMEAD, CA 91770-2262                     2363    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Huang, Ruiai
3231 PROSPECT AVE
ROSEMEAD, CA 91770-2262                     2367    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Huang, Xiu Zhu
3033 N. Main St
Los Angeles, CA 90031                       1472     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Huang, Xu Zhu
3033 N Main St
Los Angeles, CA 90031                       1595     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Huang, Yanqian
978 Yale St # 3
Los Angeles, CA 90012                       2023    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Huang, Yanqian
978 Yale St # 3
Los Angeles, CA 90012                       2174    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Huang, Yin Run
3837 Clark Ave.
El Monte, CA 91731                          1311     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Huang, Yin Run
3837 Clark Ave.
El Monte, CA 91731                          1322     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Huang, Yu Xia
821 N Stoneman Ave # B
Alhambra, CA 91801                          1677    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Huang, Yu Xia
821 N Stoneman Ave # B
Alhambra, CA 91801                          2302    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Huang, Yu Xia
821 N Stoneman Ave # B
Alhambra, CA 91801                          2340    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Huangly, Wang Fang
410 Evanwood Ave
La Puente, CA 91744                         2742    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Huangly, Wang Fang
410 Evanwood Ave
La Puente, CA 91744                         2747    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00



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                                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                        Amount                                                Amount
Hudepohl, Vanessa Deborah
R Frei Caneca, 313
Sao Paulo, SP 01307-001
Brazil                                           194     1/23/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $400.00                                                                                  $400.00
Hudson 6922 Hollywood LLC
Brett D. Fallon
500 Delaware Ave., Suite 1500
P.O. Box 1347
Wilmington, DE 19801                             3298    5/30/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                         $477,859.09                                                                             $477,859.09
Hudson 6922 Hollywood LLC
Brett D. Fallon
500 Delaware Ave., Suite 1500
P.O. Box 1347
Wilmington, DE 19801                             3299    5/30/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $477,859.09                                                                             $477,859.09
Hudson 6922 Hollywood LLC
Brett D. Fallon
500 Delaware Ave., Suite 1500, P.O. Box 1347
Wilmington, DE 19801                             2493    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00                              $0.00                                                $0.00
Hudson 6922 Hollywood LLC
Morris James LLP
Brett D. Fallon
500 Delaware Avenue, Suite 1500
Wilmington, DE 19801                             2286    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                            $0.00            $0.00
Hudson, Madelyn
8017 N Wabash Ave
Portland, OR 97217                               3388    11/29/2017   APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                                                                                   $0.00
Huerth, Kimberly
2112 8TH ST NW Apt 801
Washington, DC 20001-8213                        525     2/27/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $61.97                                                                                   $61.97
Huffman Hosiery Mills, Inc.
PO Box 186
Granite Falls, NC 28630                          1767    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                          $64,665.26                                             $4,482.28                        $69,147.54
Huffman Hosiery Mills, Inc.
PO Box 186
Granite Falls, NC 28630                          1931    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                 $0.00                             $0.00
Huffman Hosiery Mills, Inc.
PO Box 186
Granite Falls, NC 28630                          2262    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                 $0.00                             $0.00
Hughes, George S
1725 Freeman Ave
Apt# 5
Long Beach, CA 90804                             1363     4/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
HULSE, RAMEY
625 OAKLEY DRIVE
NASHVILLE, TN 37220                              1181     4/2/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $45.00                                                                $45.00
Human Rights Campaign
Robert Falk, General Counsel
1640 Rhode Island Avenue NW
Washington, DC 20007                              91     12/22/2016         APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $18,000.00                                                                              $18,000.00
Hutchins, Jeni
315 N. 12th St
Apt. 818
Philadelphia, PA 19107                           1490     4/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $82.00                                                                                   $82.00
Hutchins, Theresa
1601 Acadia Harbor Place
Brandon, FL 33511                                143     1/13/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $121.37                                                                                  $121.37
Hutchins, Theresa
1601 Acadia Harbor Place
Brandon, FL 33511                                149     1/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                           $121.37                                              $121.37
Hutchins, Theresa E.
2821 Samara Dr
Tampa, FL 33618-4024                             144     1/13/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $121.37                                                                                  $121.37

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                Creditor Name and Address        Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                        Admin Priority
                                                                                                                                                                          Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                          Amount                                                Amount
Hutchins, Theresa E.
2821 Samara Dr
Tampa, FL 33618-4024                               1273     4/4/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $121.37          $121.37
Hutchins, Theresa E.
2821 Samara Dr
Tampa, FL 33618-4024                               1297     4/4/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $121.37                                                                                  $121.37
Huynh, An
324 E 6th Street #5
New York, NY 10003                                 1881    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $41.14                                                                                   $41.14
Huysman, Stephen
33 Baldwin Blvd.
Bayville, NY 11709                                 3411    3/15/2018               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                                   $50.00
Hwang, Suyeon
162 N State St., Room 1020
Chicago, IL 60601                                  774     3/13/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $97.02                                                                                   $97.02
Hy, Cindy S
3545 1/2 El Sereno Avenue
Los Angeles, CA 90032                              1687     4/8/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
HYDEN YOO, INC.
110 E 9TH ST STE B485
LOS ANGELES, CA 90079-3485                         1293     4/4/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $63,071.95                                                                  $0.00       $63,071.95
HYDEN YOO, INC.
110 E 9TH ST STE B485
LOS ANGELES, CA 90079-3485                         1298     4/4/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
I&L Weiss, LLC
c/o Jaspan Schlesinger LLP
300 Garden City Plaza
5th Floor
Garden City, NY 11530                              3255     5/8/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)             $1,010,074.40             $0.00                                           $15,895.18    $1,025,969.58
I&L Weiss, LLC
Jeff Schwartz
JJaspan Schlesinger LLP
300 Garden City Plaza
Garden City, NY 11530                              3222     5/4/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                            $0.00            $0.00
Ieong, Sio
5813 Rowland Ave
Temple City, CA 91780                              1480     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Ieong, Sio Peng
5813 Rowland Ave.
Temple City, CA 91780                              1567     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
IL Dept of Revenue
IL Dept of Revenue Bankruptcy Section
PO Box 19035
Springfield, IL 62794-9035                         3246     5/9/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00              $0.00                                                                 $0.00
IL Dept of Revenue Bankruptcy Section
PO Box 19035
Springfield, IL 62794-9035                         3420    11/13/2018        APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $23,903.82       $23,903.82
Illinois Department of Employment Security
33 South State Street - Bankruptcy Unit - 10th
Chicago, IL 60603                                  3418    8/21/2018         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00              $0.00                                                                 $0.00
IM, JIHYUN
777 E 31ST STREET APT 2D
BROOKLYN, NY 11210                                 1113    3/28/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $210.19                                                                                  $210.19
Indemnity Insurance Company of North America
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                             1565     4/7/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                               $0.00                               $0.00            $0.00




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                                                                                                                                                                 Current Priority Current Secured                      Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                  Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                  Amount                                                Amount
Indemnity Insurance Company of North America
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1574     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                               $0.00                               $0.00            $0.00
Indemnity Insurance Company of North America
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1594     4/7/2017      APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                     $0.00                               $0.00                               $0.00            $0.00
Indemnity Insurance Company of North America
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1596     4/7/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                         $0.00                               $0.00                               $0.00            $0.00
Indemnity Insurance Company of North America
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1612     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                               $0.00                               $0.00            $0.00
Indemnity Insurance Company of North America
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1640     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                               $0.00                               $0.00            $0.00
INGENICO INC.
3025 WINDWARD PLAZA, SUITE 600
ALPHARETTA, GA 30005                             1769    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                    $0.00
Ink Technology West Inc.
12238 Hawkins Street
Santa Fe Springs, CA 90670                       1098    3/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $33,034.34                                                                              $33,034.34
Innovative Computing Systems, Inc
Christie Franklin
3101 Bee Caves Rd, Ste 305
Austin, TX 78746                                 2040    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $28,105.50                                                                              $28,105.50
Inocencio, Lisandra
5108 Elderhall Avenue
Lakewood, CA 90712                               1122    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $88.29                                                                                   $88.29
Iraheta, Blanca
124 S. Berendo
Los Angeles, CA 90004                            3211     5/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Iraheta, Blanca
124 S. Berendo
Los Angeles, CA 90004                            3215     5/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Iraheta, Miriam Y.
6524 Mary Ellen Av.
Van Nuys, CA 91401                               1937    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Iraheta, Miriam Y.
6524 Mary Ellen Av.
Van Nuys, CA 91401                               1981    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Irvin, Karlene
75-25 153rd Street, Apt.351
Flushing, NY 11367                               3339    7/21/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $25.00           $25.00
ISAAC, SHANTELL
930 M ST. NW APT. 114
WASHINGTON, DC 20001                             248     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $27.50                                                                                   $27.50
Iscaya, Jose
427 E 82nd St Apt# 1
Los Angeles, CA 90003                            2796    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
Isidoro-Martinon, Nemesio
1029 E. 28 St. Apt E.
Los Angeles, CA 90011                            1969    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00

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                                                                                                                                                           Current Priority Current Secured                      Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                            Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                            Amount                                                Amount
Isidoro-Martinon, Nemesio
1029 E. 28 St. Apt E.
Los Angeles, CA 90011                        2002    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Islas, Aurora
5209 Glen Ellen Pl #7
Los Angeles, CA 90042                        1818    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Islas, Aurora
5209 Glen Ellen Pl #7
Los Angeles, CA 90042                        1826    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
ITALO LEATHER, INC.
146 W 21ST ST
LOS ANGELES, CA 90007-1402                   1101    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Itchop, German
932 Fraser Ave Apt. # 16
Los Angeles, CA 90022                        2813    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Itkis, Khana
503 Eastern Parkway Apt 2
Brooklyn, NY 11216                           225     1/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $72.00                                                                                   $72.00
Ixchop, German
932 Fraser Ave - Apt 16
Los Angeles, CA 90022                        2752    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Ixcoy De Morataya, Luisa E
1142 S. Ditman Ave
Los Angeles, CA 90023                        1500    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Ixcoy De Morataya, Luisa E
1142 S. Ditman Ave
Los Angeles, CA 90023                        1501    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
J Knits, Inc.
7300 Somerset Blvd.
Paramount, CA 90723                          280      2/2/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $10,434.59                                                                              $10,434.59
J&L SEWING MACHINES
4001 S BROADWAY PL
LOS ANGELES, CA 90037                        137     1/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
J&L SEWING MACHINES
4001 S BROADWAY PL
LOS ANGELES, CA 90037                        673      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $37,251.85                                            $15,552.88                        $52,804.73
J., Rosa Castillo
3269 Saturn Ave # B
Huntington Park, CA 90255                    2505    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
J., Rosa Castillo
3269 Saturn Ave # B
Huntington Park, CA 90255                    2873    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Jackson County Collector
Attn: Bankruptcy
415 E.12th St. Suite 100
Kansas City, MO 64106                        486     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                           $3,650.71                                                             $3,650.71
Jackson County Collector
Attn: Bankruptcy
415 E.12th St. Suite 100
Kansas City, MO 64106                        495     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Jackson County Collector
Attn: Bankruptcy
415 E.12th St. Suite 100
Kansas City, MO 64106                        580     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Jackson, Sarah L.
410 State St. #45
Brooklyn, NY 11217                           385     2/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $40.60                                                                                   $40.60
Jacob, Mackenzie Paige
Bayle Jacob
1050 Harrison Street
Hollywood, FL 33019-1625                     1534    3/31/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $55.00                                                                                   $55.00


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                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
Jacobs, Kerry
987 Estes Way
Louisville, CO 80027                           223     1/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $63.13                                                                                   $63.13
Jaimes, Sandra Villa
2513 W. Fulcrum Pl.
Anaheim, CA 92804                              3031    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                                                                                    $0.00
Jaimes, Sandra Villa
2513 W. Fulcrum Pl.
Anaheim, CA 92804                              3043    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Jalawan, Hanna
2395 Ternberry Ct
Tustin, CA 92782                               167     1/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $250.00              $0.00                                                               $250.00
Jalisco's Apparel Inc
Jeff Katofsky, Esq.
4558 Sherman Oaks Ave
Sherman Oaks, CA 91403                         134     1/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $27,174.82                                                                              $27,174.82
Jandres, Celida
1119 E. 61st St
Los Angeles, CA 90001                          1829    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Jandres, Celida
1119 E. 61st Street
Los Angeles, CA 90001                          1731    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Jandres, Celida
1119 East 61st Street
Los Angeles, CA 90001                          939     3/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Jandres, Celida
1119 East 61st Street
Los Angeles, CA 90001                          975     3/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Janosko, Michael
1738 Haight St Apt 402
San Francisco, CA 94117                        3384    11/27/2017   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                                                                                    $0.00
JARAMILLO, JOSE
1342 E 70TH ST APT C
LOS ANGELES, CA 90001                          2756    4/11/2017       APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                 $0.00            $0.00
JARAMILLO, JOSE
1342 E 70TH ST APT C
LOS ANGELES, CA 90001                          2819    4/11/2017       APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                            $0.00                                                                 $0.00
Javeri, Stuti
425 East 58th Street 18E
New York, NY 10022                             822     3/16/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $130.65                                                                                  $130.65
Javier, Chris
8490 Golden Fern Ave
Las Vegas, NV 89178                            916     3/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $11.35                                                                                   $11.35
Jenner, Sarah
832 Willow Ave, Apt 2E
Hoboken, NJ 07030                              1388     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $14.00                                                                                   $14.00
Jenner, Sarah
832 Willow Ave., Apt. 2E
Hoboken, NJ 07030                              438     2/16/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $178.00                                                                                  $178.00
Jeratheannard, Nicha
4106 W. Irving Park Apt 3A
Chicago, IL 60641                              746     3/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $85.33           $85.33
Jeratheannard, Nicha
4106 W. Irving Park, Apt. 3A
Chicago, IL 60641                              480     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $85.33                                                                                   $85.33
Jeratheannard, Nicha
4106 W. Irving Park, Apt. 3A
Chicago, IL 60641                              747     3/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $85.33                                                                                   $85.33
JIA, XIE PING
1743 GARLAND ST
POMONA, CA 91766                               957     3/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00


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                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Jiang, Liuchang
445 1/2 Solano Ave
Los Angeles , CA 90012                        1926    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Jiang, Liuchang
445 1/2 Solano Ave
Los Angeles, CA 90012                         1967    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Jiang, Qi Hong
431 Solano Ave. 2A
Los Angeles, CA 90012                         1222     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Jiang, Qi Hong
431 Solano Ave. 2A
Los Angeles, CA 90012                         1241     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Jiang, Yingui
1002 S Atlantic Blvd. Apt. 5
Alhambra, CA 91803                            1710    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Jimenez, Alonso
950 1/2 S. Catalina St
Los Angeles, CA 90006                         695      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Jimenez, Alonso
950 1/2 S. Catalina St
Los Angeles, CA 90006                         716      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Jimenez, Alonso
950 1/2 S. Catalina St
Los Angeles, CA 90006                         2066    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Jimenez, Alonso
950 1/2 S. Catalina St
Los Angeles, CA 90006                         2124    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Jimenez, Maria G
3914 Live Oak #102
Cudahy, CA 90201                              2043    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Jimenez, Maria G
3914 Live Oak #102
Cudahy, CA 90201                              2231    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Jimenez, Rogelio
248 N Chicago St # 2
Los Angeles, CA 90033                         1942    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Jimenez, Tomas
1633 E 84 ST
Los Angeles, CA 90001                         2004    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Jimenez, Tomas
1633 E 84 St
Los Angeles, CA 90001                         2135    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Jiminez, Rogelio
248 N Chicago St # 2
Los Angeles, CA 90033                         1944    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
JK BioScience, Inc.
Jina Kim
1926 E. Gladwick St.
Rancho Dominguez, CA 90220                     24     11/28/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $2,900.00                                                 $0.00                         $2,900.00
Johnson, Angela
PO Box 741244
Riverdale, GA 30274                           524     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $82.00                                                                                   $82.00
Johnson, Kelsey
3301 Kearney ST
Denver , CO 80207-2133                        2618    4/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $51.66                                                                                   $51.66
Johnson, Molly
229 Western Avenue
Covington, KY 41011                           329      2/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $25.00                                                                                   $25.00
Johnson, Samaria
c/o Avalon Management Inc.
9171 Wilshire Blvd #320
Beverly Hills, CA 90210                       1108    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00

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               Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
Johnson, Samaria
c/o Avalon Management Inc.
9171 Wilshire Blvd #320
Beverly Hills, CA 90210                      1109    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Jones Sign
Coface North America Insurance Company
50 Millstone Rd., Bldg. 100, Suite 360
East Windsor, NJ 08520                        82     12/19/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $4,766.34                                                                               $4,766.34
JOO, HYE RYONG
16187 FIRESTONE LN
CHINO HILLS, CA 91709                        3352    8/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $95.92                                                                                   $95.92
JOSHUA WITMYER
513 N. CROSSING DR
COLUMBIA, SC 29229                           606      3/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                   $0.00
JP Newbury LLC
PO Box 230090
Boston, MA 02123-0090                        981     3/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
JP Newbury LLC
PO Box 230090
Boston, MA 02123-0090                        1135    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $451,525.86                                                                             $451,525.86
JS Apparel, Inc.
1751 E. Del Amo Blvd.
Carson, CA 90746                             806     3/15/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $104,422.92                                             $5,274.60                       $109,697.52
Juan Gonzalez, Ricardo
226 Belmont Ave, #6
Los Angeles, CA 90026                        2999    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Juan Gonzalez, Ricardo
226 Belmont Ave, #6
Los Angeles, CA 90026                        3001    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Juan, Jesus
1328 East 27th Street
Los Angeles, CA 90011                        1005    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $17,220.00                                                                              $17,220.00
Juan, Jose
521 S Union Dr. #102
LA, CA 90017                                 703      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Juan, Jose
521 S. Union Drive Apt. # 102
Los Angeles, CA 90017                        700      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
JUAREZ, JUSTINO
11706 Coldbrook Ave
Apt 5
Downey, CA 90241                             874     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00             $0.00                                                                 $0.00
Juarez, Justino
6043 1/2 Malabar St.
Huntington Park, CA 90255                    908     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Juarez, Justino
6043 1/2 Malabar St.
Huntington Park, CA 90255                    2399    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Juarez, Justino
6043 1/2 Malabar St.
Huntington Park, CA 90255                    2658    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Juarez, Maria I
358 Douglas St
Los Angeles, CA 90026                        2210    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Juarez, Maria I
358 Douglas St
Los Angeles, CA 90026                        2626    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Juarez, Maximiliana
2833 Francis Ave A.P.T 303
Los Angeles, CA 90005                        2790    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00



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                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                    Amount                                                Amount
Juarez, Maximiliana
2833 Francis Ave Apt 303
Los Angeles, CA 90005                        2797    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Juong, Li hong
2516 Wetherhead Dr.
Alhambra, CA 91803                           3044    4/14/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
K & P COMPANY
(GOPAT- SAXENA)
4141 E. RIVERDALE AVE
ANAHEIM, CA 92807                             56     12/6/2016               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
K & P Company
4141 E. Riverdale Ave.
Anaheim, CA 92807                            1115    3/28/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $3,000.00                                                                  $0.00        $3,000.00
Kadoi, Hisaya
530 W 45th Street Apt 4Q
New York, NY 10036                           1105    3/28/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $69.00                                                                                   $69.00
Kagan Trim Center
3957 S. Hill St, 2nd Floor
Los Angeles, CA 90037                         89     12/20/2016              APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
Kagan Trim Center
3957 S. Hill St, 2nd Floor
Los Angeles, CA 90037                        637      3/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
Kagan Trim Center
3957 S. Hill St, 2nd Floor
Los Angeles, CA 90037                        639      3/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $836.00                                                                   $0.00          $836.00
Kahn, Deborah
2208 Fuchsia Ave
Upland, CA 91784                             429     2/15/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $80.44                                                                                   $80.44
Kahn, Deborah
2208 Fuchsia Avenue
Upland, CA 91784                             587      3/2/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $80.44                                                                                   $80.44
Kalinowski, Stephanie
Rushovich Mehtani LLP (Aanand Mehtani)
5900 Wilshire Boulevard, Suite 2600
Los Angeles, CA 90036                        123      1/6/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                                                                                    $0.00
Kalinowski, Stephanie
Rushovich Mehtani LLP (Aanand Mehtani)
5900 Wilshire Boulevard, Suite 2600
Los Angeles, CA 90036                        124      1/6/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                                                                                    $0.00
Kalinowski, Stephanie
Rushovich Mehtani LLP (Aanand Mehtani)
5900 Wilshire Boulevard, Suite 2600
Los Angeles, CA 90036                        125      1/6/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                                                                                    $0.00
Kalinowski, Stephanie
Rushovich Mehtani LLP (Aanand Mehtani)
5900 Wilshire Boulevard, Suite 2600
Los Angeles, CA 90036                        127      1/6/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
Kalinowski, Stephanie
Rushovich Mehtani LLP (Aanand Mehtani)
5900 Wilshire Boulevard, Suite 2600
Los Angeles, CA 90036                        128      1/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
Kalinowski, Stephanie
Rushovich Mehtani LLP (Aanand Mehtani)
5900 Wilshire Boulevard, Suite 2600
Los Angeles, CA 90036                        129      1/6/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                    $0.00
Kalinsky, Elizabeth
541 Howell Ave.
Cincinnati, OH 45220                         523     2/27/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                 $61.19                                               $61.19
Kantrowitz, Sharon
19 Tor Terrace
New City, NY 10956                           1154    3/31/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $17.00                                                                                   $17.00


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               Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
Kaptownwala, Nafisa
Unit B, Niagara Street
Toronto, ON M5V 1C2
Canada                                        46     12/5/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $929.22              $0.00            $0.00                                              $929.22
KARNIK, MEGHANA
2878 ABRAMS DR
TWINSBURG, OH 44087-3284                     736     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
KARNIK, MEGHANA
2878 ABRAMS DR
TWINSBURG, OH 44087-3284                     748     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Katz, Jackie
9540 Sawyer Street
Los Angeles, CA 90035                        920     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $25.37                                                                                   $25.37
Katz, Val
Guggenheim Commercial Real Estate Group
Michael Guggenheim
23215 Commerce Park Dr., Suite 214
Beachwood, OH 44122                          3297    5/30/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $41,238.00                                                                              $41,238.00
Kaufman, Ashley
100 West 94th Street
Apt 18B
New York, NY 10025                           1259     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $522.50                                                                                  $522.50
Kaufmann, Erika B.
441 Lagrange Street
West Lafayette, IN 47906                     3270    5/20/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $146.40                                                                                  $146.40
KC Photo Engraving
712 Arrow Grand Cir
Covina, CA 91722                             800     3/15/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $3,506.49                                               $638.74            $0.00        $4,145.23
KC Photo Engraving
712 Arrow Grand Circle
Covina, CA 91722                              21     11/25/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
KC Photo Engraving
712 Arrow Grand Circle
Covina, CA 91722                             801     3/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Ke, Lizhu
25 Del Perlatto
Irvine, CA 92614                             514     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $42.66                                                                                   $42.66
Kelly, Debra
P.O. Box 1176
League City, TX 77574                        203     1/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $200.00                                                                                  $200.00
Kemnitz Jr, Tom
475 St Marks Ave
Apt 7i
Brooklyn, NY 11238                           1007    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $37.22                                                                                   $37.22
Kenny, Gary
121 Lake Road
Valley Cottage, NY 10989                     3317    6/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $95.00                                                                                   $95.00
Keter Environmental Services
Attn: President or General Counsel
4 High Ridge Park #202
Stamford, CT 06905                           974     3/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $6,759.91                                                                               $6,759.91
Keter Environmental Services, Inc.
Attn: R.Breen, Esq
4 High Ridge Park, Suite 202
Stamford, CT 06905                           966     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Khoury, Nadia
2300 Pacific Ave #302
San Francisco, CA 94115                      631      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $84.83                                                                                   $84.83
Kiani, Sara
228 Park Street #5
New Haven, CT 06511                          769     3/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $71.00                                                                                   $71.00


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                                                                                                                                                                Current General                                       Current 503(b)(9)
                                                                                                                                                                                   Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address                       Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                    Amount                                                Amount
Killoch, Alaina
2340 Kenilworth Ave
Los Angeles, CA 90039                                              645      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $70.90                                                                                   $70.90
Kim, Eric
17231 Highland Ave Apt 2D
Jamaica, NY 11432                                                  1021    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $74.00                                                                                   $74.00
Kim, Eric
17231 Highland Ave Apt 2D
Jamaica, NY 11432                                                  1198    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $74.00                                                                                   $74.00
Kim, Hyejee
30 Engle St. APT 24-1
Tenafly, NJ 07670                                                  1252     4/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $72.00                                                                                   $72.00
Kim, Jennifer
3230 Maple Ave Apt 106
Dallas, TX 75201-1273                                              2486    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $27.56           $27.56
Kim, Jesse
165 Glenview Dr
San Francisco, CA 94131                                            1642    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $52.20                                                                                   $52.20
Kim, Jijeong
18546 Vallarta Drive
Huntington Beach, CA 92646                                         992     3/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $505.44                                                                                  $505.44
Kim, Niko
9361 Lubec St.
Downey, CA 90240                                                   247     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $10.46                                                                                   $10.46
Kim, Wonjoong
110 E. 9th St.#B784
Los Angeles, CA 90079                                               79     12/19/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $3,545.96                                               $236.30                         $3,782.26
Kim, Wonjoong
110 E. 9th St.#B784
Los Angeles, CA 90079                                              1064    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Kim, Yung
1511 Amarone Place
Lutz, FL 33548                                                     424     2/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Kim, Yung
1511 Amarone Place
Lutz, FL 33548                                                     764     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $216.87                                                                                  $216.87
Kimura-Heaney, Kimie
266 East Broadway Apt B2008
New York, NY 10002                                                 829     3/16/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $55.25                                                                                   $55.25
Kinahan, Kimberly
3517 Asbury Street
Dallas, TX 75205                                                   470     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $97.43                                                                                   $97.43
KING COUNTY TREASURY
500 4TH AVE # 600
SEATTLE, WA 98104                                                  861     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00        $4,307.89                                            $4,307.89

King of Prussia Associates, a Pennsylvania general partnership
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                             1698    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $97,138.46                                                                  $0.00       $97,138.46
KING, DELORES DENISE
ATTN: THOMAS W KIELTY
4640 ADMIRALTY WAY, STE 500
MARINA DEL REY, CA 90292-6636                                      1722     4/9/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                    $0.00
KING, DELORES DENISE
ATTN: THOMAS W KIETLY
4640 ADMIRALTY WAY, STE 500
MARINA DEL REY, CA 90292-6636                                      1779     4/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
Kipnis, Alina
50 Columbus ave
Staten Island, NY 10304                                            1662    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $52.00                                                                                   $52.00


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                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Kipnis, Alina
50 Columbus Ave
Staten Island, NY 10304                       1659    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $52.00                                                                                   $52.00
Kitakata, Kei
32A Tulare St
Brisbane, CA 94005                            284      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $30.45                                                                                   $30.45
Klauber, Katherine Taylor
1355 17TH ST NW APT 916
WASHINGTON, DC 20036-1941                     507     2/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $32.67                                                                                   $32.67
Klein Estate, Ltd.
Jackson Walker L.L.P.
Monica S. Blacker
2323 Ross Avenue, Suite 600
Dallas, TX 75201                              3296    5/30/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $155,311.44                                                                             $155,311.44
Kleinman, Jeanene
846 West 34th Street
Baltimore, MD 21211                           907     3/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $71.02                                                                                   $71.02
Kleinzweig, Lisa
1685 ROSE AVE
SANTA ROSA, CA 95407-7176                     555     2/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $22.41                                                                                   $22.41
Klinsky, Joseph
1558 East 29th St
Brooklyn, NY 11229                            892     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
KNITSOFT, INC.
DBA W&M TEXTILE
5801 S 2ND ST
VERNON, CA 90058-3403                         831     3/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $75,113.00                                                                              $75,113.00
Koehler, Cole
4430 PRICE ST APT 106
LOS ANGELES, CA 90027-2726                    530     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $30.00                                                                                   $30.00
Koerber, Caitlin
655 Maryland Ave
Apt 3
Pittsburgh, PA 15232                          1026    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $161.25                                                                                  $161.25
Komar Alliance LLC
PO Box 844437
Los Angeles, CA 90084                         2047    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $25,116.93                                             $2,400.00                        $27,516.93
Kotora, Dexton Sinclair
80 W Sierra Madre BLVD # 254
Sierra Madre, CA 91024-2434                    40     12/2/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $250.00              $0.00                                                               $250.00
Krasner, Ami
1309 Silver Beach Way
Raleigh, NC 27606                             584      3/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $33.84                                                                                   $33.84
Krok, Karli
3713 S. Paulina
Chicago, IL 60609                             2932    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $48.00                                                                                   $48.00
Kroner, Carla
15301 Manor Village Lane
Rockville, MD 20853                           519     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                $45.52             $45.52                            $91.04
Krueger, Philip
1340 North Dean Street Apt. 1
Chicago, IL 60622                             366     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $81.56                                                                                   $81.56
Kuan, Kimberly
8 Bettys Lane
Brick, NJ 08723                               1124    3/29/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $39.00                                                                                   $39.00
Kuan, Sandy
7648 Highcliff St.
Rosemead, CA 91770                            1904    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Kuan, Sandy
7648 Highcliff St.
Rosemead, CA 91770                            3055    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00


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              Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                                Amount
Kuang, Amy W
6051 Temple City Blvd. #B
Temple City, CA 91780                       1652     4/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Kumarasamy, Saravanan
1765 El Vista Circle
Arcadia, CA 91006                           254      2/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $400.00                                                                                  $400.00
Kung, Karen
2402 Virginia St.
Berkeley, CA 94709                          538     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $28.34                                                                                   $28.34
Kunitzky, Michael
914 James St
Austin, TX 78704                            3406    2/11/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $144.48                                                                                  $144.48
Kushner, Cody
78 HALSEY ST APT 1R
Brooklyn, NY 11216-1933                     165     1/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $75.00                                                                                   $75.00
L.U.F. Associates, LLC
c/o EastBanc, Inc.
3307 M Street NW, Suite 400
Washington, DC 20007                        1820    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $50,384.67                                                             $51,407.41      $101,792.08
L.U.F. Associates, LLC
Gregory T. DuMont
Law Office of Gregory DuMont
PO Box 1222
Annandale, VA 22003                         1661    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
La Cantera Retail Limited Partnership
c/o GGP Limited Partnership
110 North Wacker Drive
Chicago, IL 60606                           1167    3/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                         $100.00          $100.00
LA CANTERA RETAIL LIMITED PARTNERSHIP
C/O GGP LIMITED PARTNERSHIP
110 NORTH WACKER DRIVE
CHICAGO, IL 60606                           1185    3/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $210,689.47                                                                             $210,689.47
LA Supply Co.
13700 E. Rosecrans Ave.
Santa Fe Springs, CA 90670                  588      3/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $40,040.00                                                                              $40,040.00
Lacey, Kenneth
830 Madison St. Apt 332
Hoboken, NJ 07030                           602      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Laclair, Mya R.
2373 4Th Army Rd
Seaside, CA 93955-8325                      343      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Lai, Yim Ping
3316 Larga Ave
Los Angeles, CA 90039                       1075    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Lai, Yim Ping
3316 Larga Ave
Los Angeles, CA 90039                       2084    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Lai, Yim Ping
3316 Larga Ave
Los Angeles, CA 90039                       2281    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
LaJoie, Sally Ann
1838 SE Lavender Street
Portland, OR 97214                          469     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $17.00                                                                                   $17.00
Lakhani, Sandhya
46 Geraldine Rd
Englewd Clfs, NJ 07632-2305                 1275     4/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                          $22.00           $22.00
Lam, Shere Hwe
412 S. 6th St. Apt. A
Alhambra, CA 91801                          1369     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Lam, Shere Hwe
412 S. 6th St. Apt. A
Alhambra, CA 91801                          1406     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00

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                                                                                                                                                            Current Priority Current Secured                      Current Admin    Total Current
              Creditor Name and Address    Claim No. Claim Date                              Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                               Amount
LAMAR CENTRAL OUTDOOR LLC DBA
LAMAR ADVERTISING OF LOS ANGELES (VISTA)
ATTN CREDIT DEPT
PO BOX 66338
BATON ROUGE, LA 70896                        3115    4/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Lamb, Kevin
262 Taaffe Pl, Apt 414
Brooklyn, NY 11205                           492     2/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $230.00                                                                                 $230.00
Lamberg, Michelle
245 East 24th St. Apt 12A
New York , NY 10010                          198     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $56.00                                                                                  $56.00
Land, Cecilia
145 E. 16th Street 18K
New York, NY 10003                           326      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $32.00                                                                                  $32.00
Land, Cecilia
145 E. 16th Street 18K
New York, NY 10003                           686      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $32.00                                                                                  $32.00
Lane County Tax Collector
125 E. 8th Avenue
Eugene, OR 97401                             2508    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00            $0.00                                                $0.00
Lane County Tax Collector
125 E. 8th Avenue
Eugene, OR 97401                             2630    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                           $2,073.84        $2,073.84                                            $4,147.68
Lang, Katrisha
1472 Holcomb Place
Placentia, CA 92870                          3356     9/3/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $15.00                                                                                  $15.00
Langhorn, Brennyn Lark
5 White Birch Ct.
Norwalk, CT 06851                            596      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                  $35.74                            $35.74
Lao, Rui Zhu
2123 Gates St
Los Angeles, CA 90031                        2325    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Lao, Rui Zhu
2123 Gates St.
Los Angeles, CA 90031                        2120    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Lao, Rui Zhu
2123 Gates St.
Los Angeles, CA 90031                        2926    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Lao, Sao Leng
5470 Encinita Ave
Temple City, CA 91780                        1744    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Lao, Sao Leng
5470 Encinita Ave
Temple City, CA 91780                        1763    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
LAO, SAO NGAN
5470 ENCINITA AVE
TEMPLE CITY, CA 91780                        1930    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Lao, Sao Ngan
5470 Encinita Ave
Temple City, CA 91780                        2146    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Lara, Benjamin
5321 S. Broadway
Apt. C
Los Angeles, CA 90037                        2046    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Lara, Benjamin
5321 S. Broadway
Apt. C
Los Angeles, CA 90037                        2221    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Large, Daniel
609 E Shore Dr
Ithaca, NY 14850                             3402    1/27/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $7.57                                                                                   $7.57


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                                                                                                                                                                              Current Priority Current Secured                      Current Admin    Total Current
                  Creditor Name and Address                  Claim No. Claim Date                              Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                Amount                                               Amount
Las Vegas North Outlets, LLC, a Delaware limited liability
company
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                         1737    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                          $21,567.63                                                            $21,567.63
Lau, Duong
3819 Baldwin St
Los Angeles, CA 90031                                          2986    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                   $0.00
Lau, Duong
3819 Baldwin St
Los Angeles, CA 90031                                          2989    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Lau, Henry
2707 N Bourbon St.
Orange, CA 92865                                               3374    11/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $116.64                                                                                 $116.64
Lau, Louis
9310 Towne Centre Drive Unit 77
San Diego, CA 92121                                            3391    12/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $116.64                                              $116.64
Lau, Toey
16 West Woodruff Avenue
Arcadia, CA 91007                                              2390    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $43.60                                                                                  $43.60
LAURENTI & KRUPP INC
DBA GOODS & SERVICES
37 W 28TH ST 7TH FL
NEW YORK, NY 10001-4203                                        3324    6/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Lavi, Kian
1767 Page St.
APT 1
San Francisco, CA 94117                                        1891    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $40.00                                                                                  $40.00
Lawrence, Cassandra
1959 SW Morrison St. #301
Portland, OR 97205                                             739     3/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $13.00                                                                                  $13.00
Lazard, Beatrix
2625 Baker Street
San Francisco, CA 94123                                        1353     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                  $306.68          $306.68
Lazaro, Jose
1065 1/2 S. Rowan Ave
Los Angeles, CA 90023                                          1282     4/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Lazaro, Jose
1065 1/2 S. Rowan Ave
Los Angeles, CA 90023                                          1299     4/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Lazo, Lucila
8418 Omelveny Ave
Sun Valley, CA 91352                                           2061    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Lazo, Lucila
8418 Omelveny Ave
Sun Valley, CA 91352                                           2242    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Lazo, Lucila
8418 Omelveny Ave
Sun Valley, CA 91352                                           2267    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Lazo, Lucila
8418 Omelveny Ave
Sun Valley, CA 91352                                           2277    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
lBarra, Maria De La Luz
8920 Cypress Ave. Apt. L
South Gate, CA 90280                                           2235    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Le, Chi
3725 S Parton St
Santa Ana, CA 92707                                            375     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $53.24                                                                                  $53.24
LEAMAN, WEI
6700 ABBA LN
WRIGHTSVILLE, PA 17368                                         1089    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $769.95                                                                                 $769.95


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                                                                                                                                                 Current General                                       Current 503(b)(9)
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             Creditor Name and Address            Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                     Amount                                                Amount
LEANDRO BEVILACQUA MARCONDES BONIFACIO - Vendor
Account: 109231
RUA STA ISABEL, 296
AP. 401
SAO PAULO, SP 01221010
BRAZIL                                              193     1/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $400.00                                                                                  $400.00
Lebron, Ana Gladys
11120 S. Osage Ave #7
Inglewood, CA 90304                                 1833    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Lebron, Ana Gladys
11120 S. Osage Ave #7
Inglewood, CA 90304                                 1856    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Ledesma, Fabiola
1637 Broadway #3
Brooklyn, NY 11207                                  3262    5/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
LEE & KO
JAI HYUNG LEE
HANJIN BUILDING
63 NAMDAEMUN-RO, JUNG-GU
SEOUL 04532
SOUTH KOREA                                         3440     8/6/2019          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $17,000.00                                                                              $17,000.00
Lee Liu, Cui Hua
3005 W. Avenue 38
Los Angeles, CA 90065                               1973    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Lee Liu, Cui Hua
3005 W. Avenue 38
Los Angeles, CA 90065                               1999    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Lee, Jeffery
1970 Federal Avenue
Costa Mesa, CA 92627                                301      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $72.64                                                                                   $72.64
Lee, Jeffery
1970 Federal Avenue
Costa Mesa, CA 92627                                886     3/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $72.64                                                                                   $72.64
Lee, Jeffery M.
1970 Federal Ave
Costa Mesa, CA 92627                                871     3/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                          $72.64           $72.64
Lee, Joanne
151 Tremont Street Apt 9D
Boston, MA 02111                                    1797    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $40.00                                                                                   $40.00
Lee, Kerry-Ann
926 Montgomery Street
Brooklyn, NY 11213                                  586      3/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Lee, Kerry-Ann
926 Montgomery Street
Brooklyn, NY 11213                                  590      3/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $10.00                                                                $10.00
Lee, Maggie
479 16th Ave.
San Francisco, CA 94118                             1118    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $34.88                                                                                   $34.88
Lee, Miu Ngo
2705 W. Avenue 31
Los Angeles, CA 90065                               3036    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Lee, Miu Ngo
2705 W. Avenue 31
Los Angeles, CA 90065                               3050    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Lee, Peggy
345 W El Repitto Dr.
Monterey Park, CA 91754                             1543     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Lee, Peggy
345 W. El Repetto Dr.
Monterey Park, CA 91754                             1557     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00



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                Creditor Name and Address   Claim No. Claim Date                            Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                               Amount
Lee, Stephen
1418 Via Marguerita
Oceanside, CA 92056                           895     3/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $39.00                                                                $39.00
Legg, Jeanette
256 S Doheny Dr
Apt 2
Beverly Hills, CA 90211                       623      3/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $116.28                                                                                 $116.28
LEI, QIU CHAN
2069 SALEROSO DRIVE
ROWLAND HEIGHTS, CA 91748                     2074    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
LEI, QIU CHAN
2069 SALEROSO DRIVE
ROWLAND HEIGHTS, CA 91748                     2140    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Lei, Tommy
124 S Alhambra Ave
Monterey Park, CA 91755                       1499    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $475.00                                                                  $0.00          $475.00
Leon, Francisco
1159 3/4 E 64th St
Los Angeles, CA 90001                         2240    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Leon, Francisco
1159 3/4 E 64th St
Los Angeles, CA 90001                         2241    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Leon, Mauro
1454 1/2 E. 50th St., Apt B
Los Angeles, CA 90011                         2764    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Leon, Mauro
1454 1/2 E. 50th St., Apt B
Los Angeles, CA 90011                         2824    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Leon, Michelle Anne
1841 Winona Blvd. Apt 4
Los Angeles, CA 90027                         1267     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $124.26                                                                                 $124.26
Leonard, Kimetria
4256 Ensenada Dr.
Woodland Hills, CA 91364                      442     2/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $50.00                                                                                  $50.00
Leonick, Christopher
482 Joralemon St, Apt A4
Belleville, NJ 07109                          620      3/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $0.00                                                $0.00
Lesser, Alexandra
1475 E 2nd Ave
New York, NY 10077                            3343    7/26/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $125.00                                                                                 $125.00
LEVENTIS, MARIE
2070 PALMER LN
GREEN OAKS, IL 60048                          1292     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00            $0.00                                                $0.00
LEVENTIS, MARIE
2070 PALMER LN
GREEN OAKS, IL 60048                          1296     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
LEWIN, MATTHEW
39 SAINT ANDREWS RD
SEVERNA PARK, MD 21146                        1237     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00
Lewin, Matthew
39 St. Andrews Rd.
Severna Park, MD 21146                        1236     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Lewis, Alison T
589 Flatbush Ave., #2
Brooklyn, NY 11225                            402     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $58.00                                                                                  $58.00
Lewis, April C.
2553 W. Hirsch St
Chicago, IL 60622                             371     2/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $26.46                                                                                  $26.46
Lewis, Cherie S.
11870 Santa Monica Blvd., Suite 106-366
West Los Angeles, CA 90025                    634      3/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $30.00                                                                                  $30.00


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                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                                Amount
Lewis, Jessica
1208 S. Charles Street
Baltimore, MD 21230                           868     3/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $18.02                                                                                   $18.02
Leyden, Jacqueline
180 Broad St. Apt. 1424
Stamford, CT 06901                            797     3/15/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $80.00                                                                                   $80.00
Leyva, Cristina Miranda
4238 Van Horne Av
Los Angeles, CA 90032                         1859    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Leyva, Cristina Miranda
4238 Van Horne Av
Los Angeles, CA 90032                         2012    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Leyva, Karen
2819 23rd Ave, Apt 7
Astoria, NY 11105                             3322    6/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Leyva, Karen
2819 23rd Ave, Apt 7
Astoria, NY 11105                             3323    6/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
LFS Inc.
8204 Allport Ave.
Santa Fe Springs, CA 90670                    103     12/27/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $12,914.82                                                                              $12,914.82
Li Fu Luo
3132 Sullivan Ave
Rosemead, CA 91770                            873     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Li, Ally
160 Vermont Ave
Staten Island, NY 10305                       505     2/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $50.00                                                                                   $50.00
Li, Betty
1268 S Adams St
Glendale, CA 91205                            1254     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Li, Betty
1268 S Adams St
Glendale, CA 91205                            1313     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Li, Betty
1268 S Adams St
Glendale, CA 91205                            1314     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Li, Cecilia
58 Stone Hill Drive South
Manhasset, NY 11030                           511     2/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $110.00                                                                                  $110.00
Li, Gui Ying
16061 Sigman Street
Hacienda Heights, CA 91745                    1550     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Li, Gui Ying
16061 Sigman Street
Hacienda Heights, CA 91745                    1631     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Li, Guo Ming
3216 N Eastern Ave
Los Angeles, CA 90032                         1083    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Li, Guo Ming
3216 N Eastern Ave
Los Angeles, CA 90032                         1112    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Li, Guo Ming
3216 N Eastern Ave
Los Angeles, CA 90032                         1514     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                                                                                    $0.00
Li, Guo Ming
3216 N Eastern Ave
Los Angeles, CA 90032                         1518     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Li, Hui
143 Roselawn Pl
Los Angeles, CA 90042                         899     3/21/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00



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                                                                                                                                          Current General                                      Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                               Amount
Li, Mei Ling
719 North Hill Place Apt #A
Los Angeles, CA 90012                          2890    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Li, Mei Ling
719 North Hill Place, Apt. #A
Los Angeles, CA 90012                          2891    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Li, Mei Qiong
3118 Manitou Ave
Los Angeles, CA 90031                          2594    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Li, Mei Qiong
3118 Manitou Ave
Los Angeles, CA 90031                          2596    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Li, Mei Yue
1619 S. Palm Avenue
Alhambra, CA 91803                             1391     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Li, Oi Wah
2338 Dorris Pl
Los Angeles, CA 90031                          1338     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Li, Oi Wah
2338 Dorris Pl
Los Angeles, CA 90031                          1356     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Li, Qi Ai
11403 Elliott Ave #H
El Monte, CA 91732                             2937    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Li, Qi Ai
11403 Elliott Ave #H
El Monte, CA 91732                             2960    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Li, Shao
135 Roselawn Pl.
Los Angeles, CA 90042                          915     3/21/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Li, Shi Ru
3118 Manitou Ave
Los Angeles, CA 90031                          2616    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Li, Shi Ru
3118 Manitou Ave
Los Angeles, CA 90031                          2708    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Li, Su Ming
705 N. Grand Ave. Apt. #2
Los Angeles, CA 90012                          2298    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Li, Su Ming
705 N. Grand Ave. Apt. #2
Los Angeles, CA 90012                          2396    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Li, Xue Qin
2031 Pasadena Ave #5
Los Angeles, CA 90031                          2371    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Li, Xue Qin
2031 Pasadena Ave #5
Los Angeles, CA 90031                          2378    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Li, Xueping
2137 McPherson Ave
Los Angeles, CA 90032                          1276     4/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Li, Yan Xiao
2322 1/2 Eastlake Ave
Los Angeles, CA 90031                          2168    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Li, Yan Xiao
2322 1/2 Eastlake Ave
Los Angeles, CA 90031                          2452    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Li, Yanxia
115 W. Ave 44
Los Angeles, CA 90065                          964     3/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00



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                                                                                                                                                                Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                         Admin Priority
                                                                                                                                                                 Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                                 Amount
Liang, Chun Yan
760 N. Hill Pl #2
Los Angeles, CA 90012                          2045    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Liang, Chun Yan
760 N. Hill Pl #2
Los Angeles, CA 90012                          2072    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Liang, Chung Sau
9878 Rio Hondo Pkwy
El Monte, CA 91770                             1519     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Liang, Chung Sau
9878 Rio Hondo Pkwy
El Monte, CA 91770                             2108     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Liang, Wei Y
1424 Benito Ave, Apt. B
Alhambra, CA 91803                             1147    3/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Liao, Bi Hong
2100 Graylock Ave
Monterey Park, CA 91754                        2510    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Liao, Bi Hong
2100 Graylock Ave
Monterey Park, CA 91754                        2725    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Liao, Si Mei
3725 Main Ave
Baldwin Park, CA 91706                         1331     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Liberty Mutual Insurance
Attn: Heather Bollinger/Mail Stop 02S
PO Box 1525
Dover, NH 03821-1525                           2609    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
Liberty Property L.P.
c/o Blank Rome LLP
Attn: John Lucian, Esq.
130 N. 18 th St
Philadelphia, PA 19103                         1210    3/31/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $79,817.00                          $96,543.00                                          $176,360.00
Lieck, Hannah
334 Laramie Dr.
San Antonio, TX 78209                          575      3/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $20.98                                                                                   $20.98
Lieske, Chloe
532a Henry St. #3F
Brooklyn, NY 11231                             399     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $52.00                                                                                   $52.00
Lin, Jin Yun
1816 W. Commonwealth Ave.
Alhambra, CA 91803                             1982    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Lin, Mike
156 Tiffany Ave.
San Francisco, CA 94110                        3126    4/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                    $0.00
Linares, Alba M
338 W 84 St
Los Angeles, CA 90003                          2181    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Linares, Alba M
338 W 84th St
Los Angeles, CA 90003                          1913    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Lincoln Centurion Retail, LLC
c/o Rivkin Radler LLP
Attn.: Stuart I. Gordon, Matthew V. Spero
926 RXR Plaza
Uniondale, NY 11556-0926                       1104    3/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)             $1,113,932.35                                                                           $1,113,932.35
LINDA MORALES
13514 KEY RIDGE LN
CYPRESS, TX 77429                              2977    4/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                    $0.00




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                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                               Amount
Linden, Avie
c/o Hammer Galleries
32 East 67th Street
New York, NY 10065                            532     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $74.09                                                                                  $74.09
Liou, Heidi
95 Thayer St, Apt E
New York, NY 10040                            3138    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $54.05                                                                                  $54.05
List, Jordan
704 North Greenbrier Drive
Orange, CT 06477                              850     3/19/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $48.81                                                                                  $48.81
Lister, Joshua
7168 Linda Trace
Reynoldsburg, OH 43068                        3119    4/20/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $109.05          $109.05
Little Red Robot
200 West 10th Street, Floor 1
New York, NY 10014                            241     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $541.93                                                                                 $541.93
Liu, Bi Si
930 New Depot St Apt# 5
Los Angeles, CA 90012                         1244     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Liu, Jin Yun
1816 W. Commonwealth Ave.
Alhambra, CA 91803                            1909    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Liu, Li Yun
465 Solano Ave
Los Angeles, CA 90012                         2536    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Liu, Li Yun
465 Solano Ave
Los Angeles, CA 90012                         2706    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Liu, Li Yun
465 Solano Avenue
Los Angeles, CA 90012                         1431     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Liu, Lu Mei
2610 Manitou Ave
Los Angeles, CA 90031                         1724    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Liu, Lu Mei
2610 Manitou Ave
Los Angeles, CA 90031                         1725    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Liu, Youju
1013 N Citrus Ave #A2
Covina, CA 91722                              1990    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Liu, Yu Ai
3412 Manitou Ave.
Los Angeles, CA 90031                         2481    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Liu, Yu Ai
3412 Manitou Ave
Los Angeles, CA 90031                         2377    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Liu, Yuan
1900 South Eads Street, Apt 831
Arlington, VA 22202                           582      3/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $149.11                                                                                 $149.11
LIU, YUXIA
2436 Adelia Ave
S. El Monte, CA 91733                         854     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
LIU, YUXIA
2436 Adelia Ave
S. El Monte, CA 91733                         3176    4/26/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Liu, Yuxia
2436 Adelia Ave
S. El Monte, CA 91733                         3175    4/26/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Liwag, Nicholas
6271 San Ricardo Way
Buena Park, CA 90620                          1030    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                $0.00            $0.00


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               Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                        Admin Priority
                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                    Amount                                                Amount
Liz Cutting Service LLC
Jeff Katofsky, Esq.
4558 Sherman Oaks Ave
Sherman Oaks, CA 91403                       133     1/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $18,496.20                                                                              $18,496.20
LMA SPC
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                           2343    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                   $0.00            $0.00
LMA SPC
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                           2560    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Lo, Bing
2615 Kelburn Ave
Rosemead, CA 91770                           2704    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Lo, Bing
2615 Kelburn Ave.
Rosemead, CA 91770                           2810    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
LO, KIMBRA
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                           2126    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                                                                                    $0.00
LO, KIMBRA
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                           2169    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                    $0.00
LO, KIMBRA
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                           2347    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                                                                                    $0.00
LO, KIMBRA
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                           2349    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                                                                                    $0.00
LO, KIMBRA
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                           2350    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
LO, KIMBRA
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                           2354    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
Locke, Emily
206 Elm Street
Unit 204697
New Haven, CT 06520                          1019    3/27/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $60.23                                                                                   $60.23
Loewen, Debra
N319 Highview Rd
Ixonia, WI 53036                             725     3/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $147.28                                                                                  $147.28
Logility, Inc.
Contract Administration
470 East Paces Ferry Road
Atlanta, GA 30305                            1041    3/27/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $10,312.50                                                                              $10,312.50


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                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                                Amount
Lonergan, John Guthrie
270 Homewood Road
Los Angeles, CA 90049                         570      3/1/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                      Unliquidated                                                                  $0.00            $0.00
Lopez de Najarro, Maria Elena
4101 Oakwood Ave. Apt. 308
Los Angeles, CA 90004                         3011    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Lopez de Najarro, Maria Elena
4101 Oakwood Ave.
Apt. 308
Los Angeles, CA 90004                         3033    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Lopez Vasquez, Teresa D.
P.O. Box 15923
Los Angeles, CA 90015                         2151    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Lopez, Beira
1454 W. 3rd St #302
Los Angeles, CA 90017                         2867    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Lopez, Beira
1454 W. 3rd St #302
Los Angeles, CA 90017                         2901    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
LOPEZ, BERTILA
619 1/2 W 101 St
LOS ANGELES, CA 90044                         1919    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Lopez, Bertila
619 1/2 W. 101 St.
Los Angeles, CA 90044                         2201    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Lopez, Blanca
1101 W. 56St
Los Angeles, CA 90037                         1488     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Lopez, Blanca
1101 W. 56St
Los Angeles, CA 90037                         1629     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
LOPEZ, CAROLINE
730 DEL RIO WAY
KISSIMMEE, FL 34758                           910     3/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $20.23                                                                                   $20.23
Lopez, Estela
6229 Albany St.
Huntington Park, CA 90255                     2053    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Lopez, Estela
6229 Albany St.
Huntington Park, CA 90255                     2161    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Lopez, Heriberto
6229 Albany St.
Huntington Park, CA 90255                     2179    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Lopez, Heriberto
6229 Albany St.
Huntington Park, CA 90255                     2225    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Lopez, Julio Francisco
711 S. Rampart Blvd. #104
Los Angeles, CA 90057                         2052    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Lopez, Julio Francisco
711 S. Rampart Blvd. #104
Los Angeles, CA 90057                         2125    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Lopez, Margarita
11333 Sherman Way
Sun Valley, CA 91352                          2203    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Lopez, Margarita
11333 Shermanway Ave.
Sun Valley, CA 91352                          1905    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Lopez, Maria
141 S. Union Place Apt # 1
Los Angeles, CA 90026                         2526    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00


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                                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                              Amount                                                Amount
Lopez, Maria A
3836 S St Andrews Pl
Los Angeles, CA 90062                                        2204    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Lopez, Maria A
3836 S St Andrews Pl
Los Angeles, CA 90062                                        2198    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Lopez, Obdulia
440 E. 27 St
Apt #20
Los Angeles, CA 90011                                        2945    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Lopez, Obdulia
440 E. 27th St
Apt # 20
Los Angeles, CA 90011                                        2951    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Lopez, Omar
241 W 53rd St.
Los Angeles, CA 90037                                        1510     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Lopez, Omar
241 W 53rd St.
Los Angeles, CA 90037                                        1517     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Lopez, Sonia Marleny
7317 Beach St
Los Angeles, CA 90001                                        2273    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Lopez, Sonia Marleny
7317 Beach St
Los Angeles, CA 90001                                        2275    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Lopez, Teresa D.
P.O. Box 15923
Los Angeles, CA                                              2059    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00

Los Angeles County Metropolitan Transportation Authority
c/o Nossaman LLP
Attn: Allan H. Ickowitz, Esq.
777 South Figueroa Street, 34th Floor
Los Angeles, CA 90017                                        3422    11/19/2018   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $75,000.00                                                                              $75,000.00
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                                    9      11/21/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                   $6,699.90                                            $6,699.90
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                                    10     11/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $514.57                                              $514.57
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                                   3359    9/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                                   3360    9/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                                   3361    9/19/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Louisiana Department of Revenue
Bankruptcy Section
P O Box 66658
Baton Rouge, LA 70896                                        1341     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Louisiana Department of Revenue
Bankruptcy Section
P O Box 66658
Baton Rouge, LA 70896                                        3337    7/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                                    55     12/6/2016    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00              $0.00                                                                 $0.00


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                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                    69     12/13/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00              $0.00                                                                 $0.00
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                   464     2/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $1,901.48         $4,843.77                                                             $6,745.25
Louy, Zara
742 23rd Street
Santa Monica, CA 90402                       445     2/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $88.31                                                                $88.31
Love, Farah
233 W 83 Street, Apt 4B
New York, NY 10024                           750     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $29.20                                                                                   $29.20
Low, Grace
4 Beacon Way 812
Jersey City, NJ 07304                        290      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $28.00                                                                                   $28.00
Lowmarkup, Inc.
2640 Walnut Avenue, Unit F
Tustin, CA 92780                              64     12/13/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $3,394.37                                                                               $3,394.37
Lu, Jing
3251 Isabel Ave
Rosemead, CA 91770                           1027    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Lu, Sally Au
4417 Van Horne Ave
Los Angeles, CA 90032                        2272    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Lu, Sally Au
4417 Van Horne Ave
Los Angeles, CA 90032                        2324    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Lucas, Daniel
2720 San Marino St.
Apt # 9A
Los Angeles, CA 90006                        2096    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Lucas, Daniel
2720 San Marino St.
Apt # 9A
Los Angeles, CA 90006                        2420    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Lucero, Guadalupe
970 Menlo Ave Apt 23
Los Angeles, CA 90006                        1691     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Luchsinger, Skye
2917 Whalers Cove Circle
Las Vegas, NV 89117                          338      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $188.91                                                                                  $188.91
Luisjuan, Alicia
6016 1/2 Corona Ave
Huntington Park, CA 90255                    1812    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Luisjuan, Alicia
6016 1/2 Corona Ave
Huntington Park, CA 90255                    2042    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Lum, Katherine
7002 JFK Blvd. East #28I
Guttenberg, NJ 07093                         236     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $312.21                                                                                  $312.21
Luo, Bi Xiang
120 Sycamore Park Dr
Los Angeles, CA 90031                        1384     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Luo, Bi Xiang
120 Sycamore Park Dr
Los Angeles, CA 90031                        1403     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Luo, Bixiang
120 Sycamore Park Dr
Los Angeles, CA 90031                        877     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Luo, Liyun
1156 6th Ave, Suite 620
New York, NY 10036                           1063    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $69.00                                                                                   $69.00

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                                                                                                                                                           Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                            Amount                                               Amount
Luriano, Eustorgia
PO Box 50744
Los Angeles, CA 90050-0744                   940     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Luu, Linda
1173 Barrington Ct.
San Jose, CA 95121                           1208     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $28.18                                                                                  $28.18
LUU, MAY
7434 HELLMAN AVE
ROSEMEAD, CA 91770                           3120    4/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $52.32                                                                                  $52.32
LUVIANO, EUSTORGIA
PO BOX 50744
LOS ANGELES, CA 90050-0744                   878     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00
Ly, Dung Tran
2328 Griffin Avenue
Los Angeles, CA 90031                        2025    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Ly, Dung Tran
2328 Griffin Avenue
Los Angeles, CA 90031                        2129    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Ly, Sam A
573 Lynvue Pl
Pomona, CA 91768                             1474     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Ly, Sam A
573 Lynvue Pl
Pomona, CA 91768                             1614     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Ly, Sanh N
2328 Griffin Ave
Los Angeles, CA 90031                        1735    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Ly, Sanh N
2328 Griffin Ave
Los Angeles, CA 90031                        1851    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Lykes, Esther
53 Clay St. #S207
Brooklyn, NY 11222                           982     3/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $20.00                                                                                  $20.00
M. de Gonzalez, Micaela
7641 Saint Clair Ave.
N. Hollywood, CA 91605                       2234    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Ma, Li Juan
3458 Arroyo Seco Ave
Los Angeles, CA 90065                        1785    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Ma, Li Juan
3458 Arroyo Seco Ave
Los Angeles, CA 90065                        2147    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Ma, Queen
2520 Johnston Street
Los Angeles, CA 90031                        1781    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Ma, Queen
2520 Johnston Street
Los Angeles, CA 90031                        1928    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
MA, XING ZHEN
1830 DITMAN AVE
LOS ANGELES, CA 90032                        2947    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Ma, Yongxia
1705 S. 4th St. #B
Alhambra, CA 91803                           2109    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Ma, Yongxia
1705 S. 4th St. #B
Alhambra, CA 91803                           2312    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Mace, Katie
125 Dunnell Road, #203
Maplewood, NJ 07040                          1133    3/30/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00



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                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
MACH SPEED PROPERTIES, INC.
ATTN: THOMAS POPOV
702 PATTERSON AVE.
AUSTIN, TX 78703                              2288    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $200,000.00                                                                             $200,000.00
Machado, Amy
432 S. Norton Ave. #310
Los Angeles, CA 90020                         1381     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $20.28                                                                                   $20.28
Mach-lau, Paulina
4849 Templeton Street
Ventura, CA 93003                             1302     4/5/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $19.49                                                                                   $19.49
Macias, Maria
2819 Glenn Ave
Los Angeles, CA 90023                         2523    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Macias, Maria
2819 Glenn Ave
Los Angeles, CA 90023                         2646    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Maddox, Natalie
12503 Kenobi Ct.
Cerritos, CA 90703                            3423    11/23/2018   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $45.00                                                                                   $45.00
Made in the USA Foundation
Attn: Joel D. Joseph, Chairman
8677 Villa La Jolla Drive
Suite 320
La Jolla, CA 92037                            163     1/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Made in the USA Foundation
Attn: Joel D. Joseph, Chairman
8677 Villa La Jolla Drive
Suite 320
La Jolla, CA 92037                            164     1/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Made in the USA Foundation
Attn: Joel D. Joseph, Chairman
8677 Villa La Jolla Drive
Suite 320
La Jolla, CA 92037                            215     1/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Made in the USA Foundation
Attn: Joel D. Joseph, Chairman
8677 Villa La Jolla Drive
Suite 320
La Jolla, CA 92037                            690      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
MADISON GAS & ELECTRIC
PO BOX 1231
MADISON, WI 53701-1231                        851     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $318.93                                                                                  $318.93
MAGALLON, ANA M.
4854 WIOTA STREET
LOS ANGELES, CA 90041                         1281     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Magana, Grace
3022 N. California Ave.
Chicago, IL 60618-7010                        260     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $45.99                                                                                   $45.99
Mahdavi, Bahman
14 Windsor
Newport Beach, CA 92660                       348      2/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $28.08                                                                $28.08
Mai, Shirley
3467 1/2 Marmion Wy
Los Angeles, CA 90065                         2915    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Mai, Shirley
3467 1/2 Marmion Wy
Los Angeles, CA 90065                         2946    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Mancilla, Marta E.
1509 E. 33rd St
Los Angeles, CA 90011                         1399     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                   $0.00



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                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                     Amount                                                Amount
Mancilla, Marta E.
1509 E. 33rd St
Los Angeles, CA 90011                        1405     4/6/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Manhattan Associates Realty LLC
c/o Emor Management Inc.
Attn: Eytan Chissick, President
305A West 19th Street
New York, NY 10011                           3288    5/24/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $551,092.42                                                                             $551,092.42
Manzoni, Gloria
436A Marion St Apt #2
Brooklyn, NY 11233                           1204     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $15.00                                                                                   $15.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                           2295    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                            $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                           2297    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                        $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                           2316    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                  $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                           2317    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                           2379    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                      $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                           2518    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                         $0.00            $0.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                           2519    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                           $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                           2550    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                       $0.00            $0.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                           2564    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                               $0.00            $0.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                           2586    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00


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                                                                                                                                                                           Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                           Amount                                                Amount
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                                        2602    4/11/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                 $0.00            $0.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                                        2652    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Marcelo Elidio Esteves Alves - Vendor Account: 109230
Av Sao Luis 192, Apt 817
Sao Paulo, SP 01046-001
Brazil                                                    197     1/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $1,000.00                                                                               $1,000.00
Marcelo Stockler Llana - Vendor Account: 109229
Rua Capao Da Serra, 51
Sao Paulo, SP 04289-090
Brazil                                                    195     1/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $1,000.00                                                                               $1,000.00
Mariano, Yolanda
605 Orme Ave.
Los Angeles, CA 90023                                     1316     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Marietta, Anna
239 Elm Street
South Amboy, NJ 08879                                     3197    4/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $42.00                                                                                   $42.00
Marina Graphic Center, Inc.
12901 Cerise Ave.
Hawthorne, CA 90250                                        4      11/18/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,917.31                                                 $0.00                         $1,917.31
Mark & Grant Debease JT Tenants
11 Fieldstone Road
Rye, NY 10580                                             706      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Marquez, Julian
947 Lotus Circle
San Dimas, CA 91773                                       1303     4/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Marquez, Olga
10352 Weigand Ave
Los Angeles, CA 90002                                     2044    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Marquez, Olga
10352 Weigand Ave
Los Angeles, CA 90002                                     2090    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Marroquin, Aida Estela
1853 E. Poppy St.
Long Beach, CA 90805                                      1671     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00            $0.00                                                $0.00
Marroquin, Aida Estela
1853 E. Poppy St.
Long Beach, CA 90805-3105                                 1549     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Marsh USA Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                                        243     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $563.00                                                                                  $563.00
Marsh USA Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                                        266     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Marsh USA Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                                        269     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $205,775.00                                                                             $205,775.00
Marsh USA Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                                        720     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $990.28          $990.28


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                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                                Amount
Marsh USA Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                            721     3/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Marsh USA Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                            726     3/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Marsh USA Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                            733     3/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $86,210.72                                                                              $86,210.72
Marsh USA, Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                            3441    8/13/2019    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                                                                                    $0.00
Marshall, Jo-Ann
c/o Seymone Clarke
3402 Estonia Drive
Bowie, MD 20716                               1925    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $70.24                                                                                   $70.24
Martin, Eddilisa
1305 Grayhawk Drive
Mansfield, TX 76063                           819     3/16/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $84.44                                                                                   $84.44
Martin, Juan Calmo
3003 Leeward Ave, Apt 303
Los Angeles, CA 90005                         3013    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Martin, Juan Calmo
3003 Leeward Ave, Apt 303
Los Angeles, CA 90005                         3025    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Martinez de Delgado, Candelaria
965 E 46th St.
Los Angeles, CA 90011                         3027    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Martinez de Delgado, Candelaria
965 E 46th St.
Los Angeles, CA 90011                         3046    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Martinez Salazar, Gladis G.
637 E. 95th St
Los Angeles, CA 90002                         2398    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Martinez Salazar, Gladis G.
637 E. 95th St.
Los Angeles, CA 90002                         2407    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Martinez, Araceli
13915 Ruther Ave
Paramount, CA 90723                           2386    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Martinez, Araceli
13915 Ruther Ave
Paramount, CA 90723                           2614    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Martinez, Bonifacio Miranda
525 s lorena st
Los Angeles, CA 90063                         1807    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Martinez, Filiberto
21922 Arline Ave
Hawaiian Gardens, CA 90716                    2416    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Martinez, Filiberto
21922 Arline Ave
Hawaiian Gardens, CA 90716                    2531    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Martinez, Gabriella
6600 Warner Ave. #96
Huntington Beach, CA 92647                    624      3/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $50.00                                                                                   $50.00
Martinez, Gloria
1111 E 106th St
Los Angeles, CA 90002                         1428     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00

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                                                                                                                                            Amount                                               Amount
Martinez, Gloria
1111 E. 106th Street
Los Angeles, CA 90002                        1361     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
MARTINEZ, MARIA
559 W. Colden Ave
Los Angeles, CA 90044                        1477     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Martinez, Maria D.
559 W Colden Ave
Los Angeles, CA 90044                        1570     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Martinez, Maria M.
657 Belden Ave.
Los Angeles, CA 90022                        2875    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Martinez, Maria M.
657 Belden Ave.
Los Angeles, CA 90022                        2902    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Martinez, Mariana
559 W Colden Ave
Los Angeles, CA 90044                        1587     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
MARTINEZ, MARIANA
559 W COLDEN AVE
LOS ANGELES, CA 90044-5609                   1536     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Martinez, Marielena
12834 Rancho Drive
Norwalk, CA 90650                            1968    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Martinez, Marielena
12834 Rancho Drive
Norwalk, CA 90650                            2003    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Martinez, Rosa
609 W. Colden Ave.
Los Angeles, CA 90044                        2019    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Martinez, Santos
1024 W 66th Street
Los Angeles, CA 90044                        1460     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Martinez, Santos
1024 W 66th Street
Los Angeles, CA 90044                        1592     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
MARTINEZ, VICTOR
600 E 97TH ST APT 200
INGLEWOOD, CA 90301-4394                     650      3/8/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Martinez, Victoria
2580 N. Soto Street, #207
Los Angeles, CA 90032                        1512     4/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Martini, Jessica
23-22 30th Rd, 11G
Astoria, NY 11102                            1359     4/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $45.36                                                                                  $45.36
Martorana, Dana
521 Jefferson St, Apt 5
Hoboken, NJ 07030                            418     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $42.00                                                                                  $42.00
Massachusetts Department of Revenue
436 Dwight Street
Springfield, MA 01103                        1072    3/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Mateo A, Juan
430 S. Union Ave Apt #106
Los Angeles, CA 90017                        2894    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Mateo Pedro, Candelaria
144 W. Colden Ave
Los Angeles, CA 90003                        1943    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Mateo, Juan A
430 S. Union Ave #106
Los Angeles, CA 90017                        2401    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00



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                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
Mateo, Marcos Byron
144 W. Colden Ave
Los Angeles, CA 90003                        2700    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Mateo, Marcos Byron
144 W. Colden Ave
Los Angeles, CA 90003                        2886    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Mateo, Maria
1226 W. 98th St Apt 7
Los Angeles, CA 90044                        1354     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Mateo, Maria
1226 W. 98th St Apt. 7
Los Angeles, CA 90044                        1343     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
MATEO, PASCUAL
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                   1401     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                    $0.00
MATEO, PASCUAL
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                   1442     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
MATEO, PASCUAL
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                   1448     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Mateo, Tomas
618 S. Bonnie Brae Street #207
Los Angeles, CA 90057                        780     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Mateo, Tomas
618 S. Bonnie Brae Street #207
Los Angeles, CA 90057                        791     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Mateos, Benjamin
842 Laveta Ter.
Los Angeles, CA 90026                        2024    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Mateos, Benjamin
842 Laveta Ter.
Los Angeles, CA 90026                        2296    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Matlow, Jeff
12026 Goshen Avenue
Apt 1
Los Angeles, CA 90049                        3358    9/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.00                                                                                  $100.00
MATSON, WESLEY
1918 W. NEWPORT AVE.
CHICAGO, IL 60657-1026                       855     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $17.97                                                                                   $17.97
Mattia, Christa
447 East 9th Street
Apt 5
New York, NY 10009                           759     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $127.00                                                                                  $127.00
Maturu, Ameet
396 8th St, Apt 3L
Brooklyn, NY 11215                           474     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $48.50                                                                                   $48.50
MATUSOW, HARRY
497 S EL MOLINO AVE #101
PASADENA, CA 91101-3485                      130      1/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $5,269.23         $8,000.00                                                            $13,269.23
Mavumkal, Romy
1313 N. Hayworth Ave.
W. Hollywood, CA 90046                       3162    4/25/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.00                                                                                   $40.00
Mayer, Mia
132 N 155th Street
Shoreline, WA 98133                          440     2/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.37                                                                                   $50.37
Mayer, Mia
2467 East Ave
Columbus, OH 43202-2913                      3201     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.37                                                                                   $50.37

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                                                                                                                                                              Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Mayer, Mia
2467 East ave
Columbus, OH 43202-2913                       3202     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $50.37           $50.37
Mayor and City Council of Baltimore
200 Holiday Street Room #1 Bankruptcy
Baltimore, MD 21202                           3231     5/2/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                       $0.00                                                $0.00
Mayor and City Council of Baltimore
200 Holiday Street Room #1 Bankruptcy
Baltimore, MD 21202                           3331    6/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                 $0.00                                                $0.00
Mayor and City Council of Baltimore
200 Holiday Street Room #1 Bankruptcy
Baltimore, MD 21202                           3428    9/11/2018    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                   $2,805.77                                            $2,805.77
Mazariegos, Jackeline
1666 W 2nd St Apt #8
Los Angeles, CA 90026                         2762    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Mazariegos, Jackeline
1666 W 2nd St Apt #8
Los Angeles, CA 90026                         2889    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
McBirney, Blair
1419 25th Street
Apt A
Santa Monica, CA 90404                        1213     4/3/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $50.00                                                                                   $50.00
McCoy-Meshey, Jennifer
479 W 146th St Apt 21
New York, NY 10031                            1152    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.00                                                                                   $40.00
McCutcheon, Marin
27 Westminster Ave, Apt 206
Venice, CA 90291                              2925    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $70.85                                                                                   $70.85
McEown, Jessica
5930 County Road 21
Utopia, ON L0M 1T0
Canada                                        1634    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $1,010.00                                                                               $1,010.00
McKnight, Lucy
2/28 Blinco Street
Fremantle, Western Australia 6160
Australia                                     537     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $232.00                                                                                  $232.00
McLaughlin, Jonathan
1837 OXFORD ST
ERIE, PA 16505-4609                           389     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
McLeod, Ramona
119-46 238th Street
Cambria Heights, NY 11411                     3229    5/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $65.47                                                                                   $65.47
MCP Holdings Master LP
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2130    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
MCP Holdings Master LP
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2509    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                   $0.00            $0.00
McPherson, Lane
13921 Teagen Lane
Yukon, OK 73099                               374     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
McPherson, Lane
13921 Teagen Lane
Yukon, OK 73099                               1219     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
McPherson, Lane
13921 Teagen Lane
Yukon, OK 73099                               1238     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $50.00           $50.00


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                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                         Unsecured Claim                                        Admin Priority
                                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                      Amount                                                Amount
ME CHAR HANDBAGS
36 W 9TH ST.
APT. 2
NEW YORK, NY 10011-8979                       1437     4/6/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00                                                                                    $0.00
ME CHAR HANDBAGS
36 W 9TH ST.
APT. 2
NEW YORK, NY 10011-8979                       1447     4/6/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                                                                                    $0.00
ME CHAR HANDBAGS
36 W 9TH ST.
APT. 2
NEW YORK, NY 10011-8979                       1465     4/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                                    $0.00
ME CHAR HANDBAGS
36 W 9TH ST.
APT. 2
NEW YORK, NY 10011-8979                       2186    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                    $0.00
Mecklenburg County Tax Collector
PO Box 31637
Charlotte, NC 28231                           3056    4/17/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $371.75          $6,222.77                                                             $6,594.52
Mecoli, Maria
8712 Via Ancho Rd.
Boca Raton, FL 33433                          264     1/31/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                $66.48                            $66.48
Medel, Barbara
220 E 88th Pl
Los Angeles, CA 90003                         2644    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
MEDICINE CHEST SERVICES
3303 HARBOR BLVD STE J3
COSTA MESA, CA 92626-1524                     825     3/16/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                       $0.00            $0.00
MEDICINE CHEST SERVICES
3303 HARBOR BLVD STE J3
COSTA MESA, CA 92626-1524                     827     3/16/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $3,141.10                                             $1,174.80                         $4,315.90
Medina, Gloria L.
5635 Monte Vista St.
Apt 103
Los Angeles, CA 90042                         3158    4/24/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                               $0.00            $0.00
Medina, Gloria Laura
5635 Monte Vista St., Apt 103
Los Angeles, CA 90042                         3140    4/24/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                          $0.00                                                                 $0.00
Medina, Mario
3304 Morgan Ave
Los Angeles, CA 90011                         608      3/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                           $75,000.00                                                 $0.00                        $75,000.00
Medina, Yolanda
10860 Jackson Ave.
Lynwood, CA 90262                             1511     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Medina, Yolanda
10860 Jackson Ave.
Lynwood, CA 90262                             1532     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Medoza, Rosa
1300 N. Hicks Ave.
Los Angeles, CA 90063                         828     3/16/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                  $0.00                                                                 $0.00
Mei, Hu Xiu
832 S 4th St. #11
Alhambra, CA 91801                            1584     4/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                  $0.00                                                                 $0.00
Melendez, Marta
7214 1/2 Marbrisa Ave
Huntington Park, CA 90255                     2348    4/12/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Melendez, Marta
7214 1/2 Marbrisa Ave
Huntington Park, CA 90255                     2743    4/12/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Melendez, Rosa
3838 S. Harvard Boulevard
Los Angeles, CA 90062                         2970    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00

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                                                                                                                                                            Current Priority Current Secured                      Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                               Amount
Melendez, Rosa
3838 S. Harvard Boulevard
Los Angeles, CA 90062                        2972    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Melgar, Alicia
1301 W Court St.
Apt. 207
Los Angeles, CA 90026                        1861    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Melgar, Alicia
1301 W Court St.
Apt. 207
Los Angeles, CA 90026                        2107    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Memecan, Zeynep
555 W 23rd St. Apt N7N
New York, NY 10011                           2258    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $60.00                                                                                  $60.00
Memmo, Donna
5075 Donovan DR
Alexandria, VA 22304-7758                    478     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $30.68                                                                                  $30.68
MEMPHIS LIGHT, GAS & WATER
POB 430
MEMPHIS, TN 38101                            2494    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $764.83                                                                                 $764.83
Mendelsohn, Inga
3985 Sunswept Dr
Studio City, CA 91604                        255      2/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $25.00                                                                                  $25.00
Mendelsohn, Inga
3985 Sunswept Dr
Studio City, CA 91604                        909     3/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                         $20.00           $20.00
Mendelsohn, Inga
3985 Sunswept Dr.
Studio City, CA 91604                        905     3/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $20.00                                                                                  $20.00
Mendez, Diosis
4118 W. Rosewood Ave. Apt # 106
Los Angeles, CA 90004                        1894    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Mendez, Diosis
4118 W. Rosewood Ave. Apt # 106
Los Angeles, CA 90004                        1995    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Mendez, LaToya
1271 Sadler DR
San Marcos, TX 78666-7972                    3350    8/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $28.15                                                                                  $28.15
Mendez, Maria
PO Box 101
Maywood, CA 90270                            2163    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Mendez, Maria
PO Box 101
Maywood, CA 90270                            2219    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Mendoza , Rosa
1300 N Hicks Ave.
Los Angeles, CA 90063                        2143    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Mendoza, Rosa
1300 N Hicks Av.
Los Angeles, CA 90063                        1229     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Mendoza, Rosa
1300 N Hicks Av.
Los Angeles, CA 90063                        2132    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Menjivar, Roxana
639 S. Commonwealth Av.
Apt. 507
Los Angeles, CA 90005                        2903    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Menjivar, Roxana
639 S. Commonwealth Av.
Apt. 507
Los Angeles, CA 90005                        2906    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00


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                                                                                                                                                                                  Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address                      Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                   Amount                                                Amount
Menshouse, Leslye
139 Gregory Place
West Palm Beach, FL 33405                                         306      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $68.00                                                                                   $68.00
Mentado Negrete, Teresa
332 82nd St Apt 3
Los Angeles, CA 90003                                             1794    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Mentado Negrete, Teresa
332 82nd St Apt 3
Los Angeles, CA 90003                                             2089    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Merlos, Santos Isabel
374 Patton Street
Los Angeles, CA 90026                                             1979    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Merrill Corporation
One Merrill Circle
Saint Paul, MN 55108                                              948     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Metlox, LLC
c/o Tolkin Group
51 West Dayton Street, Suite 200
Pasadena, CA 91105                                                617      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $215,948.00                                                                             $215,948.00
Metropolitan Mechanical Contractors, Inc.
124 W 60th Street
New York, NY 10023                                                 3      11/18/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $51,106.52                                                                              $51,106.52
Metropolitan Mechanical Contractors, Inc.
124 W 60th Street
New York, NY 10023                                                 45     12/5/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,683.76                                                                               $2,683.76
Mezey, Gail
1516 Cardiff Rd
Columbus, OH 43221                                                2443    4/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $51.60                                                                                   $51.60
MIAMI DADE WATER AND SEWER DEPARTMENT
ATTN COLLECTION BRANCH/BANKRUPTCY UNIT
PO Box 330316
MIAMI , FL 33233-0316                                             844     3/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $628.75                                                                                  $628.75
MIAMI NEW TIMES LLC
PO BOX 011591
MIAMI, FL 33101-1591                                              1546     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                   $0.00
Miami New Times, LLC
PO Box 011591
Miami, FL 33101                                                   1255     4/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                   $0.00
MIAMI-DADE COUNTY TAX COLLECTOR
200 NW 2ND AVENUE
SUITE #430
MIAMI, FL 33128                                                   3048    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                 $0.00                                                $0.00
Miami-Dade County Tax Collector
200 NW 2nd Avenue
Suite #430
Miami, FL 33128                                                   3408    2/21/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                            $16,042.40                                           $16,042.40
MICELI, GRACE
94 CENTRAL AVE APT 2L
BROOKLYN, NY 11206-6305                                            50     12/6/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $1,189.36                                                                               $1,189.36
Michigan Department of Treasury
3030 W. Grand Blvd-Cadillac Place, Ste 10-200
Detroit, MI 48202                                                 397     2/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00             $0.00                                                                 $0.00

Microsoft Corporation and Microsoft Licensing, its subsidiary
c/o Joseph E. Shickich, Jr.
Riddell Williams P.S.
1001 4th Ave. Suite 4500
Seattle, WA 98154                                                 1660    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00




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                                                                                                                                                                            Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address               Claim No. Claim Date                              Debtor                                       Unsecured Claim                                         Admin Priority
                                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                            Amount                                                 Amount
Microsoft Corporation, Microsoft Online, and Microsoft
Licensing
Fox Rothschild LLP
Joseph E. Shickich, Jr.
1001 4th Ave, Suite 4500
Seattle, WA 98154                                          1743    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
Microsoft Corporation, Microsoft Online, and Microsoft
Licensing
Fox Rothschild LLP
Joseph E. Shickich, Jr.
1001 4th Ave, Suite 4500
Seattle, WA 98154                                          3348     8/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $1,224,229.74                                                                           $1,224,229.74
Migel, Edon M
5215 Union Dr. #102
Los Angeles, CA 90017                                      743      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Miguel, Edin M
521 S. Union Dr. #102
Los Angeles, CA 90017                                      697      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Miguel, Edin M
521 S. Union Dr. #102
Los Angeles, CA 90017                                      1585     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Miguel, Edin Marcus
521 S Union Dr #102
Los Angeles, CA 90017                                      1561     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Miguel, Maria
521 S. Union Dr. Apt. # 102
Los Angeles, CA 90017                                      698      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Miguel, Maria
521 S. Union Dr. Apt. # 102
Los Angeles, CA 90017                                      705      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Mikolajczyk, Albert
719 Reef Rd
Lockport, IL 60441                                         335      2/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $65.40                                                                                   $65.40
Millan, Maria
6053 Springvale Dr.
Los Angeles, CA 90042                                      883     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
Millan, Maria
6053 Springvale Dr.
Los Angeles, CA 90042                                      884     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Mills, Matthew
145 Park Place Ste. 6A
Brooklyn, NY 11217                                         3150    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $116.00                                                                                  $116.00
Mills, Sharolyne
2710 Clear Creek Road #207
Killeen, TX 76549                                          3195    4/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $98.00                                                                                   $98.00
Mills, Sharolyne
2710 Clear Creek Road #207
Killeen, TX 76549                                          3196    4/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $98.00                                                                                   $98.00
Miranda, Aurelia Medina
321 N Cummings St
Los Angeles, CA 90033                                      2607    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Miranda, Aurelia Medina
321 N Cummings St
Los Angeles, CA 90033                                      2887    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Miranda, Bonifacio
525 S Lorena St
Los Angeles, CA 90063                                      1841    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Miranda, Cantalicia
714 W Vernon Ave
Los Angeles, CA 90037                                      1745    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00



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                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Miranda, Cantalicia
714 W Vernon Ave
Los Angeles, CA 90037                         1872    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Miranda, Cantalicia
714 W Vernon Ave
Los Angeles, CA 90037                         2100    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Miranda, Cantalicia
714 W Vernon Ave
Los Angeles, CA 90037                         2185    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Miranda, Elva
3260 Hope St
Huntington Park, CA 90255                     3082    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Miranda, Elva
3260 Hope St
Huntington Park, CA 90255                     3083    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Mirek, Lori
8 Betty Lane
Atherton, CA 94027                            221     1/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $82.65                                                                $82.65
Missouri Department of Revenue
PO Box 475
Jefferson City, MO 65105                       80     12/15/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00             $0.00                                                                 $0.00
Missouri Department of Revenue
PO Box 475
Jefferson City, MO 65105                       81     12/15/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                   $7,113.80                                            $7,113.80
Missouri Department of Revenue
PO Box 475
Jefferson City, MO 65105                      463     2/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00             $0.00                                                                 $0.00
Mitchell Silberberg & Knupp, LLP
c/o Richard B. Sheldon, Esq.
11377 W. Olympic Blvd.
Los Angeles, CA 90064                          95     12/23/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Mitchell Silberberg & Knupp, LLP
c/o Richard B. Sheldon, Esq.
11377 W. Olympic Blvd.
Los Angeles, CA 90064                         120     12/29/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Mitchell, Anna
2409 Highway 85 South
Fayetteville, GA 30215                        333      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $36.72                                                                                   $36.72
Mitchell, Anna
2409 Hwy 85 South
Fayetteville, GA 30215                        833     3/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                          $36.72           $36.72
Mitchell, Anna
2409 Hwy 85 South
Fayetteville, GA 30215                        838     3/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $36.72                                                                                   $36.72
Mitchell, Dijon C
555 E27th Street, Apt 22
Paterson, NJ 07514                            1130    3/30/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $34.00                                                                                   $34.00
Moac Mall Holdings, LLC
Attn: Kathleen J. Allen
60 East Broadway
Bloomington, MN 55425                         3165    4/25/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $387,298.72                                                                             $387,298.72
Mode Public Relations LLC
547 Broadway, 2nd Fl
New York, NY 10002                            151     1/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                   $0.00
MODE PUBLIC RELATIONS LLC
547 BROADWAY, 2ND FL
NEW YORK, NY 10002                            154     1/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                   $0.00
Mode Public Relations LLC
547 Broadway, 2nd Fl
New York, NY 10002                            155     1/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00



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                Creditor Name and Address       Claim No. Claim Date                              Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                                  Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                   Amount                                               Amount
Moiso, Shelby L.
20 Via Palacio
San Clemente, CA 92673                            403     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                 $123.12                           $123.12
Mokhtarzadeh, Mathew
340 S ELM DR
APT 101
BEVERLY HILLS, CA 90212-4623                      3257    5/12/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $50.00                                                                                  $50.00
MOLINA RENDERO, ANA G
845 W 55TH ST APT #3
LOS ANGELES, CA 90037                             1870    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
MOLINA RENDERO, ANA G
845 W 55TH ST APT #3
LOS ANGELES, CA 90037                             1892    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Molina, Anita
2035 Echo Park Ave
Los Angeles, CA 90026                             3259    5/15/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Molina, Anita
2035 Echo Park Ave
Los Angeles, CA 90026                             3260    5/15/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Mollinedo, Maria Eugenia
1130 E 101 St.
Los Angeles, CA 90002                             1408     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Mollring, Brooke
15 Malicoat Court
Oakley, CA 94561                                  227     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $56.16                                                                                  $56.16
MON, SARA
10965 ROEBLING AVE
LOS ANGELES, CA 90024                             365     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $52.20                                                                                  $52.20
Monarch Alternative Solutions Master Fund Ltd
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                                2475    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Monarch Alternative Solutions Master Fund Ltd
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                                2795    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                  $0.00            $0.00
Monarch Capital Master Partners II LP
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                                2248    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Monarch Capital Master Partners II LP
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                                2662    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                  $0.00            $0.00
Monarch Capital Master Partners III LP
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                                2462    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Monarch Capital Master Partners III LP
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                                2702    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                  $0.00            $0.00




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                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                     Amount                                               Amount
Monarch Debt Recovery Master Fund Ltd
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                           2285    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Monarch Debt Recovery Master Fund Ltd
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                           2728    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                  $0.00            $0.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                           2271    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                       $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                           2290    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                           2310    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                           $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                           2333    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                           2337    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                           2341    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00                    $218,727,784.00                               $0.00 $218,727,784.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                           2376    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                              $0.00            $0.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                           2411    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                            $0.00            $0.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                           2436    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                  $0.00            $0.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                           2465    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                        $0.00            $0.00



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                                                                                                                                                                      Claim Amount     Claim Amount                        Priority Amount   Claim Amount
                                                                                                                                                       Amount                                                Amount
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                             2734    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                             2872    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
Mondragon, Lorena M
7118 Seville Ave #B
Huntington Park, CA 90255                      1852    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                  $0.00
Mondragon, Lorena M
7118 Seville Ave #B
Huntington Park, CA 90255                      2017    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Monjaras, Sandra
16122 Parkside Ln Apt # E
Huntington Beach, CA 92647                     1633    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                       $0.00            $0.00
Monjaras, Sandra
16122 Parkside Ln Apt # E
Huntington Beach, CA 92647                     1742    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                  $0.00
Monroy, Blanca E
2849 San Marino St Apt. 203
Los Angeles, CA 90006                          1326     4/5/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                  $0.00
Monroy, Blanca E
2849 San Marino St Apt. 203
Los Angeles, CA 90006                          1334     4/5/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                       $0.00            $0.00
Montalvo, Jian
917 W. Duarte Rd. #8.
Arcadia, CA 91007                              3212     5/2/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $87.20                                                                                   $87.20
Montaque, Natasha
135 Pitt St Apt-317
New York, NY 10002                             452     2/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $124.90                                                                                  $124.90
Montenegro, Carlos
6036 Fayette St. #6
Los Angeles, CA 90042                          2030    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                  $0.00
Montenegro, Carlos
6036 Fayette St. #6
Los Angeles, CA 90042                          2195    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Monterrubio, Teresa
915 S. Westlake Ave. # Apt 29
Los Angeles, CA 90006                          2154    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Monterrubio, Teresa
915 S. Westlake Ave. # Apt 29
Los Angeles, CA 90006                          2218    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                  $0.00
Montes de Oca, Dalila
4815 1/2 S. Vermont Ave #3
Los Angeles, CA 90037                          3047    4/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                  $0.00
Montes de Oca, Dalila
4815 1/2 S. Vermont Ave
Apt #3
Los Angeles, CA 90037                          3091    4/18/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                       $0.00            $0.00
Montes, Esperanza
3715 Wall St
Los Angeles, CA 90011                          1939    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                       $0.00            $0.00
Montes, Esperanza
3715 Wall St
Los Angeles, CA 90011                          2076    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00             $0.00                                                                  $0.00




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                                                                                                                                                                     Current Priority Current Secured                      Current Admin    Total Current
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                                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                      Amount                                                Amount
Montgomery County, MD
Office of County Attorney for Mont Co MD
(EOB) 101 Monroe Street, 3rd Flr
Rockville, MD 20850                            62     12/12/2016        APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $18,779.67        $20,692.54                                                            $39,472.21
Montgomery Mall Owner LLC
c/o LeClairRyan, PC
ATTN: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th floor
New Haven, CT 06511                           1686     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $173,800.96                                                                             $173,800.96
Montoni, Joseph
4140 7th Street, NW
Washington, DC 20011                          287      2/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $29.61                                                                                   $29.61
Moodie, Ellen
15 E Franklin Ave #420
Minneapolis, MN 55404                         1162     4/1/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $80.00                                                                                   $80.00
Mooney, Laura
508 Octavia St. Apt. 4
San Francisco, CA 94102                       792     3/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $200.00                                                                                  $200.00
Moore, Ishakia
86-84 208th street Apt. 3g
Queens Village, NY 11427                      1308     4/5/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $99.00                                                                                   $99.00
Morales, Dinora
6036 Fayette ST. #6
Los Angeles , CA 90042                        2062    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Morales, Dinora
6036 Fayette St. # 6
Los Angeles, CA 90042                         2101    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Morales, Edith
7800 S Figueroa St.
Apt. #104
Los Angeles, CA 90003                         2967    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Morales, Edith
7800 S Figueroa St.
Apt. #104
Los Angeles, CA 90003                         2984    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
MORALES, IRENE
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2172    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                  $0.00                                                                                   $0.00
MORALES, IRENE
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2344    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                        $0.00                                                                                   $0.00
MORALES, IRENE
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2345    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                $0.00                                                                                   $0.00
MORALES, IRENE
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2373    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                           $0.00                                                                                   $0.00
MORALES, IRENE
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2463    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                            $0.00                                                                                   $0.00



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                                                                                                                                                              Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                               Amount
MORALES, IRENE
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                             2464    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                   $0.00
Morales, Matilde
627 E Martin Luther King Jr. Blv
Los Angeles, CA 90011                          1752    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Morales, Matilde
627 E Martin Luther King Jr. Blv
Los Angeles, CA 90011                          1980    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Morales, Rocio
6043 1/2 Malabar St
Huntington Park, CA 90255                      3068    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Morales, Rocio
6043 1/2 Malabar St
Huntington Park, CA 90255                      3071    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Morales, Rodolfo
c/o Reisner & King LLP
14724 Ventura Blvd., Suite 1210
Sherman Oaks, CA 91403                         638      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Morales, Willy Sontay
c/o Keith A. Fink & Associates
1990 S BUNDY DR STE 620
Los Angeles, CA 90025-5690                     202     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Moran, Aurora
2319 Ocean View Ave. Apt # 5
Los Angeles, CA 90057                          2703    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Moran, Aurora
2319 Ocean View Ave. Apt # 5
Los Angeles, CA 90057                          2779    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Moran, Elsa
150 West Vernon Ave
Los Angeles, CA 90037                          1762    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Moran, Elsa
150 West Vernon Ave
Los Angeles, CA 90037                          2233    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Moreno, Ernesto
3815 Randolph St
Apt # A
Huntington Park, CA 90255                      1321     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Moreno, Ernesto
3815 Randolph St
Apt # A
Huntington Park, CA 90255                      1332     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Morenoff, Deana
4 Howland Avenue
Beacon, NY 12508                               931     3/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $96.00                                                                                  $96.00
Mori Kwong, Hang Lin
11915 Wild Flax Ln
Moreno Valley, CA 92557                        2383    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Mori Kwong, Hang Lin
11915 Wild Flax Ln
Moreno Valley, CA 92557                        2387    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Moriarty McLaughlin, Fiona
2200 Colorado Ave #721
Santa Monica, CA 90404                         456     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                  $50.00
MORTMAN, FREDERICK R
1580 E 29TH ST 3RD FL
BROOKLYN, NY 11229                             3200     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00



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                                                                                                                                                            Current Priority Current Secured                      Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                               Amount
Mortman, Frederick R
2079 Yarmouth D
Boca Raton, FL 33434                         3198     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Morvan, Marie-Yan
575 3rd Street Apt 5E
Brooklyn, NY 11215                           618      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $37.50                                                                                  $37.50
Moscosa, Linda
1355 W. Court St. Apt #606
Los Angeles, CA 90026                        1819    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Moscosa, Linda
1355 W. Court St. Apt #606
Los Angeles, CA 90026                        2068    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
MOSES, PAMELA
804 HOLLY ST
MEMPHIS, TN 38112                            3057    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Moses, Pamela
804 Holly St
Memphis, TN 38112                            3075    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Moses, Pamela
P.O. Box 80564
Memphis, TN 38108                            107     12/28/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Moses, Pamela
PO Box 80564
MEMPHIS, TN 38108                            3064    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Mostowski, Stephanie
918 N Larrabee St
Unit A
Chicago, IL 60610                            3221     5/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $18.00                                                                                  $18.00
Moyers, Hayley
48 Wakefield Drive
Atlanta, GA 30309                            3113    4/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $84.24           $84.24
Mr. Hose, Inc
5574 E. Washington Bl.
Commerce, CA 90040                           802     3/15/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                         $0.00                                                                                   $0.00
Mui, Coong
3821 Baldwin St.
Los Angeles, CA 90031                        1728    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Mui, Coong
3821 Baldwin St.
Los Angeles, CA 90031                        1754    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Mulhern, Whitney
85 John St
Apt 3N
New York, NY 10038                           3295    5/30/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $34.00                                                                                  $34.00
Multnomah County-DART
P.O. Box 2716
Portland, OR 97208                            76     12/12/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                  $9,723.01                                            $9,723.01
Munoz, Ana
727 Matthews St
Los Angeles, CA 90023                        2927    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Munoz, Ana
727 Matthews St
Los Angeles, CA 90023                        2930    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Muse Management, Inc.
150 Broadway, Suite 1101
New York, NY 10038                           985     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
NAF Global Logistics Limited
Room 1505-1506 Stelux House
698 Prince Edward Road East
San Po Kong, Kowloon
Hong Kong                                    757     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00


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                                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                Amount                                                Amount
NAF GLOBAL LOGISTICS LIMITED
ROOM 1505-1506, STELUX HOUSE
698 PRINCE EDWARD ROAD EAST
SAN PO KONG, KOWLOON
HONG KONG                                                        758     3/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $3,846.45                                                                               $3,846.45
Naftalis, Sarah
1125 Park Avenue, Apt. 7B
New York, NY 10128                                               640      3/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $82.00                                                                                   $82.00
NAGARAJAN KARPAGAM & R VASUDEVAN
1206 MEADOW GLEN DR.
FRANKFORT, KY 40601                                              3304     6/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                                                                                    $0.00
NAGARAJAN KARPAGAM & R VASUDEVAN
1206 MEADOW GLEN DR.
FRANKFORT, KY 40601                                              3305     6/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $9.99                                                                   $9.99           $19.98
NAGARAJAN KARPAGAM & R VASUDEVAN
1206 MEADOW GLEN DR.
FRANKFORT, KY 40601                                              3307     6/5/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Nakash, Claudia
1225 Club View Dr
Los Angeles, CA 90024                                            1998    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $80.00                                                                                   $80.00
NAPCO MEDIA
ATTN: CHERYL PATTERSON
1500 SPRING GARDEN STREET
SUITE 1200
PHILADELPHIA, PA 19130                                           2202    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
NAPCO MEDIA
ATTN: CHERYL PATTERSON
1500 SPRING GARDEN STREET
SUITE 1200
PHILADELPHIA, PA 19130                                           3394    12/15/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
NAPCO Media
Attn: Cheryl Patterson
1500 Spring Garden Street
Suite 1200
Philadelphia, PA 19130                                           3396    12/19/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Nassau, Natalie
1115 5th St #302
Santa Monica, CA 90403                                           1163    3/31/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $49.28                                                                                   $49.28
National Commercial Recovery, Inc., a California corporation
d/b/a Blair Smith and Associates
Glenn A. Besnyl, Esq.
750 N. Diamond Bar Blvd., Ste. 104
Diamond Bar, CA 91765                                             75     12/8/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                        $47,264.98                                                                              $47,264.98
Natural Energy Lab
4417 Bellingham Ave
Studio City, CA 91604                                            261     1/30/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $400.00                                                                                  $400.00
Naves, Blanca N
1616 W 36th Place
Los Angeles, CA 90018                                            1678    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Naves, Blanca Nicolasa
1616 W 36th Pl
Los Angeles, CA 90018                                            1666    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Nawn, Andrew
312 West 76th St. Apt 5F
New York, NY 10023                                               482     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $15.46                                                                                   $15.46
Neal, Ivy
12 Harness Lane
Levittown, NY 11756                                              3194    4/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                               $0.00                                                $0.00
NEEDLE, INC
14864 PONY EXPRESS ROAD
BLUFFDALE, UT 84065                                              237     1/30/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $22,293.00                                             $1,694.95                        $23,987.95


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                                                                                                                                                                      Current Priority Current Secured                      Current Admin    Total Current
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                                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                       Amount                                                Amount
Neiger, Roslyn
17 Manchester Drive
Spring Valley, NY 10977                               500     2/23/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $36.00                                                                                   $36.00
NEMAN BROTHERS & ASSOC., INC.
C/O LAW OFFICES OF NICO N. TABIBI, APC
9454 WILSHIRE BLVD., PH
BEVERLY HILLS, CA 90212                               2247    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
NEMAN BROTHERS & ASSOC., INC.
C/O LAW OFFICES OF NICO N. TABIBI, APC
9454 WILSHIRE BLVD., PH
BEVERLY HILLS, CA 90212                               3430    1/15/2019          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Nemanim, Tatiana
1138 Stanford st
Santa Monica, CA 90403                                1896    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $9.70                                                                                    $9.70
Neri, Philip
23035 Mehden Ave
Carson, CA 90745                                      384     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $106.82                                                                                  $106.82
Neugass, Shane
8265 Fountain Ave. #101
West Hollywood, CA 90046                              228     1/30/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $9.81                                                                                    $9.81
Neugass, Shane
8265 Fountain Ave. #101
West Hollywood, CA 90046                              898     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $9.81                                                                                    $9.81
Nevada Power Company dba NV Energy
P.O. Box 10100
Reno, NV 89520                                        295      2/3/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $2,501.08                                                                               $2,501.08
New Jersey Turnpike Authority
Mark Schneider, Esq.
581 Main Street, P.O. Box 5042
Woodbridge, NJ 07095                                  142      1/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $63.40                                                                                   $63.40
New Jersey Turnpike Authority
Mark Schneider, Esq.
581 Main Street, P.O. Box 5042
Woodbridge, NJ 07095                                  3256     5/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $63.40                                                                                   $63.40

NEW YORK STATE DEPARTMENT OF TAXATION & FINANCE
BANKRUPTCY SECTION
PO BOX 5300
ALBANY, NY 12205-0300                                 3128    4/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
New York State Department of Taxation and Finance
Bankruptcy Section
PO Box 5300
Albany, NY 12205-0300                                 213     1/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                      $0.00                                                                 $0.00
New York State Department of Taxation and Finance
Bankruptcy Section
PO Box 5300
Albany, NY 12205-0300                                 318      2/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                      $0.00                                                                 $0.00
New York State Department of Taxation and Finance
Bankruptcy Section
PO Box 5300
Albany, NY 12205-0300                                 3334    7/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00

NEW YORK STATE DEPARTMENT OF TAXATION AND FINANCE
BANKRUPTCY SECTION
PO BOX 5300
ALBANY, NY 12205-0300                                 3401    1/19/2018    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
NEWMAN, ALLISON
18 MCINTOSH DR
LOCKPORT, NY 14094-5013                               1240     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
NEWSOME, TOMMIE
PO BOX 71102
NEWNAN, GA 30271                                      131      1/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $17,000.00                                                                              $17,000.00

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                                                                                                                                                            Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                               Amount
Ng, Amy
208 Elizabeth Ave
Monterey Park, CA 91755                        1002    3/26/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00
Ng, Amy
208 Elizabeth Ave
Monterey Park, CA 91755                        1156    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00
Ng, Amy
208 Elizabeth Ave
Monterey Park, CA 91755                        1187    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Ng, Moon Chun Li
11255 Frankmont Ct.
El Monte, CA 91732                             2206    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Ng, Rui Xin
4914 Druid St
Los Angeles, CA 90032                          3069    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Ng, Rui Xin
4914 Druid St
Los Angeles, CA 90032                          3070    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Ng, Siu Chun
358 S. Willard Ave
San Gabriel, CA 91776                          2963    4/15/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Ng, Siu Chun
358 S. Willard Ave
San Gabriel, CA 91776                          2971    4/15/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Ng, Suk Fun
741 New Depot St.
Los Angeles, CA 90012-1609                     1457     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Ng, Suk Fun
741 New Depot St.
Los Angeles, CA 90012-1609                     1458     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Nguyen, Joyce
13781 Cherry St. #5
Westminster, CA 92683                          363     2/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $58.21                                                                                  $58.21
Nguyen, Joyce
13781 Cherry St. #5
Westminster, CA 92683                          633      3/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $58.21                                                                                  $58.21
Nguyen, Lanny
81 Christina Cir
Wheaton , IL 60189                             3345     8/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $68.36                                                                                  $68.36
Nguyen, Michele
3242 Prospect Ave
Rosemead, CA 91770                             643      3/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $111.18                                                                                 $111.18
Nguyen, Tam
8391 Beverly Blvd 258
Los Angeles, CA 90048                          3275    5/22/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $63.22                                                                                  $63.22
Nicklos, Katherine
Katie Sue Nicklos
100 Atlantic Ave # 2N
Brooklyn, NY 11201                             178     1/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $92.00                                                                                  $92.00
Nieto, Margarita A
555 W Cesar Chavez Av # 109
Los Angeles, CA 90012                          2056    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Nieto, Margarita A
555 W Cesar Chavez Av # 109
Los Angeles, CA 90012                          2212    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Nikkhoo, Tara
130 North Westgate Avenue
Los Angeles, CA 90049                          1251     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                  $36.46           $36.46
Nili, Ali
5225 Pooks Hill Rd, Apt 1701S
Bethesda, MD 20814                             240     1/30/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $25.00                                                                                  $25.00


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                                                                                                                                                                            Current Priority Current Secured                      Current Admin    Total Current
               Creditor Name and Address                  Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                             Amount                                                Amount
Nili, Ali
5225 Pooks Hill Rd, Apt 1701S
Bethesda, MD 20814                                          1362     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $25.00                                                                                   $25.00
Nobles, Rosemilia
911 W. 48th St
Los Angeles, CA 90037                                       2064    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Nobles, Rosemilia
911 W. 48th St
Los Angeles, CA 90037                                       1948    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Nonoal, Vitaliano
611 W 42nd Pl
Los Angeles, CA 90037                                       2395    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Nonoal, Vitaliano
611 W 42nd Pl
Los Angeles, CA 90037                                       2726    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Norlaine, Inc.
1449 West Industrial Park Street
Covina, CA 91722                                            2158    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $3,856.63                                                                               $3,856.63
North American Textile Company LLC
NATco
346 W. Cerritos Ave
Glendale, CA 91204                                           99     12/27/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $3,736.25                                               $493.00                         $4,229.25
Northeast Ohio Regional Sewer District
40 Severance Circle
Cleveland, OH 44118                                         3329    6/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $34.30                                                                                   $34.30
Northern States Power Company, A Minnesota Corporation,
d/b/a Xcel Energy
Attn: Bankruptcy Department
PO Box 9477
Minneapolis, MN 55484                                        12     11/22/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,423.44                                                                               $1,423.44
NorthPark Partners, LP
James Billingsley
2950 N. Harwood St., Ste. 2100
Dallas, TX 75201                                            2304    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $20,052.58                                                                              $20,052.58
Noyes, Victoria
204 Spencer Ave
Chelsea, MA 02150                                           3365    10/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Nozar, Nicole
5359 Aura Ave
Tarzana, CA 91356                                           454     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $41.42                                                                                   $41.42
NSTAR ELECTRIC COMPANY DBA EVERSOURCE ENERGY
HONOR HEATH, ESQ. EVERSOURCE ENERGY
107 SELDEN ST
BERLIN, CT 06037                                            141      1/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,012.94                                                                               $1,012.94
Nstar Gas Comapany dba Eversource Energy
Honor Heath, Esq.
107 Selden Street
Berlin, CT 06037                                            146      1/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $41.62                                                                                   $41.62
NUNEZ, AARON
1315 PROSPECT AVE APT 5B
BRONX, NY 10459                                             615      3/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $15,545.20                                                                              $15,545.20
Nuñez, Ofelia
9160 Sonrisa St Spc 25
Bellflower, CA 90706                                        3213     5/2/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Nuñez, Ofelia
9160 Sonrisa St Spc 25
Bellflower, CA 90706                                        3220     5/2/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Nungaray, Rosa
5420 Van Ness. Ave.
Los Angeles, CA 90062                                       2013    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00



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                                                                                                                                                         Current General                                        Current 503(b)(9)
                                                                                                                                                                            Current Priority Current Secured                       Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date                                   Debtor                                         Unsecured Claim                                         Admin Priority
                                                                                                                                                                             Claim Amount     Claim Amount                        Priority Amount   Claim Amount
                                                                                                                                                             Amount                                                 Amount
Nungaray, Rosa
5420 Van Ness. Ave.
Los Angeles, CA 90062                                3045    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                  $0.00
Nurenberg, Elizabeth
2260 West 20th
Los Angeles, CA 90018                                211     1/25/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $200.00                                                                                   $200.00
NW NATURAL
PO BOX 6017
PORTLAND, OR 97228-6017                              735     3/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $101.00                                                                                   $101.00
NYC Department of Finance
Catherine Leung
Supervisor
Bankruptcy & Assignment Unit
345 Adams Street, 10th Floor
Brooklyn, NY 11201                                   354      2/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                  $0.00                                                                  $0.00
NYC Department of Finance
Tax, Audit and Enforcement Division
Attn: Bankruptcy Unit
345 Adams Street, 10th Floor
Brooklyn, NY 11201                                   712      3/2/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $1,723.03                                                              $1,723.03
NYC Office of Administrative Trials and Hearings
Simone Salloum
66 John St., 10th Fl.
New York, NY 10038                                   122      1/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $6,359.17                              $0.00                                             $6,359.17
NYE, MADDY
3833 OAKLAND AVE
MINNEAPOLIS, MN 55407-2512                           1553     4/8/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $78.00                                                                                    $78.00
OAKLAND COUNTY TREASURER
1200 N. TELEGRAPH RD
DEPT 479
PONTIAC, MI 48341-0479                                38     11/28/2016              APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                   $0.00                                                 $0.00
O'Berry, Dan
PO Box 310573
Brooklyn, NY 11231                                   3199     5/1/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $100.00                                                                                   $100.00
Ocean Blue Environmental Services, Inc.
925 West Esther St.
Long Beach, CA 90813                                 1504     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                     $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                   2167    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                      $218,727,784.00                               $0.00 $218,727,784.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                   2315    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                        $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                   2397    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                        $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                   2433    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                    $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                   2446    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                           $0.00                      $218,727,784.00                               $0.00 $218,727,784.00

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                                                                                                                                                                 Current Priority Current Secured                       Current Admin    Total Current
             Creditor Name and Address   Claim No. Claim Date                                   Debtor                                         Unsecured Claim                                        Admin Priority
                                                                                                                                                                  Claim Amount     Claim Amount                        Priority Amount   Claim Amount
                                                                                                                                                   Amount                                                Amount
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                         2468    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                         2469    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                         2533    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                         $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                         2535    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                       $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                         2542    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                               $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                         2552    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                         2604    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                             $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                         2672    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                   $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                         2679    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
Ochoa, Luis F.
1564 E 51st St
Los Angeles, CA 90011                      2492    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Ochoa, Luis F.
1564 E 51st St
Los Angeles, CA 90011                      2701    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                  $0.00
Oganyan, Narine
300 E. Providencia Ave. #201
Burbank, CA 91502                          550     2/28/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $70.00                                                                                   $70.00
OHIO BUREAU OF WORKERS' COMPENSATION
PO Box 15567
COLUMBUS, OH 43215-0567                    984     3/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $32.70         $5,194.36                                                              $5,227.06
Ojeda, Renato
2624 Maple Ave. Apt #7
Los Angeles, CA 90011                      2415    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                  $0.00



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                 Creditor Name and Address                        Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                     Amount                                                Amount
Ojeda, Renato
2624 Maple Ave. Apt #7
Los Angeles, CA 90011                                               2417    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Olive, Kimberly
56 Harris Dr.
Oceanside, NY 11572                                                 573     2/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $18.43                                                                                   $18.43
Olivier, Kimberly
1407 Gough St.
Apt. 5
San Francisco, CA 94109                                             1140    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
OLYMPIC WIRE & EQUIPMENT CO., INC.
PO BOX 3227
NEWPORT BEACH, CA 92659-0859                                        1288     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
O'Neil Langan Architects
Daniel Metzger
15 W 37th Street, 15th Floor
New York, NY 10018                                                   47     12/5/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
O'Neil Langan Architects
Daniel Metzger
15 W 37th Street, 15th Floor
New York, NY 10018                                                  626      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,200.00                                                                               $1,200.00
Onesimo, Simon Zamora
635 E 89th St
Los Angeles, CA 90002                                               2800    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Ong, Tiffany
1131 20th St. Apt. 3
Santa Monica, CA 90403                                              477     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $89.79                                                                                   $89.79
Ontario Refrigeration Service Inc.
635 S. Mountain Avenue
Ontario, CA 91762                                                   1053    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,166.00                                                                               $2,166.00
Onyx Ventures, LLC
Christopher R. Kaup
Tiffany & Bosco, P.A.
2525 E. Camelback Road, Seventh Floor
Phoenix, AZ 85016                                                   1839    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $148,532.03                                                                             $148,532.03
Onyx Ventures, LLC
Christopher R. Kaup
Tiffany & Bosco, P.A.
2525 E. Camelback Road, Seventh Floor
Phoenix, AZ 85016                                                   1862    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $148,532.03                                                                             $148,532.03
Oppenheim, Emily
1073 Manhattan Ave
Apartment 2L
Brooklyn, NY 11222                                                  3137    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $53.07                                                                                   $53.07
Oppenheim, Victoria
4459 Arizona St Unit 5
San Diego, CA 92116                                                 3347     8/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $72.34                                                                                   $72.34
Oracle America, Inc., successor in interest to Maxymiser, Inc.
and its affiliate Oracle Credit Corpo
Shawn Christianson Esq.
Buchalter, A Professional Corporation
55 Second Street, 17th Floor
San Francisco, CA 94105                                             3355    8/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $158,000.00                                                                             $158,000.00
Oracle America, Inc., successor in interest to Maxymiser, Inc.,
Hyperion Solutions and ATG ("Oracle"
c/o Shawn M. Christianson
Buchalter, A Professional Corporation
55 2nd St., 17th Fl.
San Francisco, CA 94105                                             2496    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00




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                 Creditor Name and Address               Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                            Amount                                                Amount
Orange County Sanitation District
Attn: Angela Brandt
10844 Ellis Avenue
Fountain Valley, CA 92708                                  1114    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $82,092.22                                                                              $82,092.22
Orange County Tax Collector
PO Box 545100
Orlando, FL 32854-5100                                     776     3/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                   $7,285.46                                            $7,285.46
Orange County Tax Collector
PO Box 545100
Orlando, FL 32854-5100                                     784     3/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                   $5,766.41                                            $5,766.41
Orbuch, Iris
9600 Oakmore Road
Los Angeles, CA 90035                                      3129    4/22/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $76.00                                                                                   $76.00
Orellana-Farias, Mercedes
2155 W. Sunset Blvd. Apt 207
Los Angeles, CA 90026                                      2434    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $60.00                                                                                   $60.00
Orians, Miller
210 E 38th Street Apt 2C
New York, NY 10016                                         545     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $110.00                                                                                  $110.00
Orlando Outlet Owner LLC, a Delaware limited liability
company
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                     1701    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                  $0.00            $0.00
Orlando Outlet Owner LLC, a Delaware limited liability
company
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                     3232     5/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $194,050.82                                                              $1,586.50      $195,637.32
ORLANDO UTILITIES COMMISSION (OUC)
ATTN: BANKRUPTCY DEPT.
100 W. ANDERSON ST.
ORLANDO, FL 32801                                          3034    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $665.77                                                                                  $665.77
Ornelas Gomez, Ingrid G.
903 Conlon Ave.
La Puente, CA 91744                                        562     2/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $89.00                                                                                   $89.00
Orozco, Gloria
8815 Elm St
Los Angeles, CA 90002                                      2444    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Orozco, Gloria
8815 Elm St
Los Angeles, CA 90002                                      2713    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Orta Anadolu Ticaret ve Sanayi isletmesi T.A.S.
Cumhuriyet Cad. No. 155/ Harbiye
Istanbul 34373
Turkey                                                     1094    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Orta Anadolu Ticaret ve Sanayi Isletmesi T.A.S.
Cumhuriyet Cad. No: 155
Harbiye
Istanbul 34373
Turkey                                                     1087    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $19,622.69                                                                  $0.00       $19,622.69
Ortega, Jessica
2751 S Komensky
Chicago, IL 60623                                          1085    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $61.75                                                                                   $61.75
Ortega, Jose
2102 E 110th St
Los Angeles, CA 90059                                      1317     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Ortega, Jose
2102 E 110th St
Los Angeles, CA 90059                                      1324     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00



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                                                                                                                                                                   Current Priority Current Secured                      Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                                   Debtor                                         Unsecured Claim                                       Admin Priority
                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                     Amount                                               Amount
Ortiz, Johnny
720 E 78 ST.
Los Angeles, CA 90001                        1772    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Ortiz, Johnny
720 E 78 ST.
Los Angeles, CA 90001                        2127    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
OSTROVSKIY, GENNADIY YEFIMOVICH
9425 ASHLYN CIR
OWINGS MILLS, MD 21117                       714      3/9/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
OSTROVSKIY, GENNADIY YEFIMOVICH
9425 ASHLYN CIR
OWINGS MILLS, MD 21117                       715      3/9/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                                   $0.00
Ovalles, Elena L
13037 Carolyn St
Cerritos, CA 90703                           2009    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Ovalles, Elena
13037 Carolyn St
Cerritos, CA 90703                           2189    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
P Monarch Recovery Ltd
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                           2323    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                  $0.00            $0.00
P Monarch Recovery Ltd
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                           2384    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                           2677    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                  $0.00            $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                           2786    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                              $0.00                                                $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                           2792    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                        $0.00            $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                           2794    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                              $0.00                                                $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                           2807    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                              $0.00                                                $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                           2823    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00                              $0.00                                                $0.00




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                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                         Unsecured Claim                                       Admin Priority
                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                      Amount                                               Amount
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2842    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                       $0.00                              $0.00                                                $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2848    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                           $0.00                              $0.00                                                $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2854    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2880    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                            $0.00            $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2881    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                              $0.00            $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2883    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2667    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2692    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00                              $0.00                                                $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2798    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                           $0.00                              $0.00                                                $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2802    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                       $0.00                              $0.00                                                $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2816    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                        $0.00            $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2830    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                  $0.00            $0.00



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                 Creditor Name and Address   Claim No. Claim Date                                   Debtor                                         Unsecured Claim                                        Admin Priority
                                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                       Amount                                                Amount
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2839    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                               $0.00            $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2840    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                  $0.00                     $27,406,742.31                                       $27,406,742.31
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2845    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                             $0.00            $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2847    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                           $0.00                              $0.00                                                $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2849    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                $0.00                              $0.00                                                $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2882    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Pablo Sanchez, Julia
167 N Herbert Ave
Los Angeles, CA 90063                          1882    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Pablo Sanchez, Julia
167 N Herbert Ave
Los Angeles, CA 90063                          1887    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Pacheco, Cristina
2530 Grand Ave
Huntington Park, CA 90255                      2565    4/12/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Pacheco, Cristina
2530 Grand Ave
Huntington Park, CA 90255                      2745    4/12/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Pacific Bell Telephone Company
c/o AT&T Services, Inc. Karen A. Cavagnaro
One AT&T Way, Room 3a104
Bedminster, NJ 07921                           669      3/9/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                        $1,036.62                                                                               $1,036.62
Pacific Bell Telephone Company
c/o AT&T Services, Inc. Karen A. Cavagnaro
One AT&T Way, Room 3A104
Bedminster, NJ 07921                           670      3/9/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $3,902.83                                                                               $3,902.83
Pacific Continental Textiles, Inc.
18737 S Reyes Avenue
Rancho Dominguez, CA 90221                      66     12/13/2016              APP Winddown, LLC (f/k/a American Apparel, LLC)                          $154,304.26                                             $4,000.00                       $158,304.26
PACIFIC STEAM EQUIPMENT INC.
11748 SLAUSON AVE
SANTA FE SPRINGS, CA 90670-2227                958     3/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $1,920.00                                                                               $1,920.00
Pacificorp
PO Box 25308
Salt Lake City, UT 84125                       256     1/31/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $1,270.93                                                                               $1,270.93
Pack, Jessica
1234 Wilshire Blvd. #212
Los Angeles, CA 90017                          722     3/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                  $27.61                                               $27.61

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                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                               Amount
Padilha, Stephanie
1990 S BUNDY DR STE 620
LOS ANGELES
, CA 90025-5690                               1451     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
PADILHA, STEPHANIE
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1433     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                   $0.00
Padilha, Stephanie
c/o Keith A. Fink & Associates
1990 S BUNDY DR STE 620
Los Angeles, CA 90025-5690                    1446     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                   $0.00
Padilla, Juana
222 E. 59 Pl
Los Angeles, CA 90003                         2557    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Padilla, Juana
222 E. 59 Pl
Los Angeles, CA 90003                         2581    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Padilla, Juana
6101 Marbrisa Ave #C
Huntington Park, CA 90255                     1410     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Padilla, Juana
6101 Marbrisa Ave #C
Huntington Park, CA 90255                     1411     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
PALAD, GHOLAMHOSSEIN
801-8 SMITHE MEWS
VANCOUVER, BC V6B 0A5
CANADA                                        963     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Palermo, Swan
1402 3/4 Edgecliffe Dr.
Los Angeles, CA 90026                         3321    6/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                  $50.00
Palm Beach County Tax Collector
Attn.: Legal Services Department
PO Box 3715
West Palm Beach, FL 33402-3715                950     3/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                 $2,878.48                                                             $2,878.48
Palm Beach County Tax Collector
Attn.: Legal Services Department
PO Box 3715
West Palm Beach, FL 33402-3715                993     3/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                 $2,753.61                                                             $2,753.61
Pan, Yue Mei
855 Centennial St. #7
Los Angeles, CA 90012                         2711    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Pan, Yue Mei
855 Centennial St. #7
Los Angeles, CA 90012                         2744    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Panama, Francisca
5650 Cambridge Way #15
Culver City, CA 90230                         2811    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00             $0.00            $0.00              $0.00                             $0.00
Panama, Francisca
5650 Cambridge Way #15
Culver City, CA 90230                         2758    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Pando, Ana M
204 Cedar Ct
Montebello, CA 90640                          1577    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Pando, Ana M
204 Cedar Ct
Montebello, CA 90640                          1668    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Panullo, Christina
51 7th Avenue South, Apt 2A
New York, NY 10014                            3156    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $78.00                                                                                  $78.00



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                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Pardee, Marina
34 Desbrosses St
Apt 800
New York, NY 10013                            518     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.00                                                                                   $40.00
Parga, Amanda
37383 Fremont Blvd. Apt. #4
Fremont, CA 94536                             815     3/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $85.86                                                                                   $85.86
Park, Elle
18 Elm Street
Woodbury, NY 11797                            1126    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $98.00                                                                                   $98.00
Parker IV, Samuel
449 W. Knowlton Rd.
Media, PA 19063                               349      2/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $22.00                                                                                   $22.00
Parra, Priscila
430 AUTUMN AVE
BROOKLYN, NY 11208-2903                       407     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $26.00                                                                                   $26.00
Partipelo, Krista
1867 Madison St. Apt. 3L
Ridgewood, NY 11385                           1212     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $42.00                                                                                   $42.00
Patel, Priya
737 W. Washington Blvd., Unit 2301
Chicago, IL 60661                             3362    9/28/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $50.00                                                                                   $50.00
Patel, Tejal
2333 W SAINT PAUL AVE APT 314
CHICAGO, IL 60647-5394                        3177    4/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $45.89                                                                                   $45.89
Patino, Ana Castellanos
10430 Annetta Ave
South Gate, CA 90280                          2400    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Patino, Ana Castellanos
10430 Annetta Ave
South Gate, CA 90280                          2423    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
PAUL HASTINGS LLP
ATTN: MARC CARMEL
71 S WACKER DR. 45TH FLOOR
CHICAGO, IL 60606                             2008    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $21,377.76                                                                              $21,377.76
Paul Hastings LLP
Attn: Marc Carmel
71 S Wacker Dr. 45th Floor
Chicago, IL 60606                             2073    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $29,863.00       $29,863.00
Payami, Kimya
18872 Rockinghorse Lane
Huntington Beach, CA 92648                    3392    12/12/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.00                                                                                   $40.00
Peco Energy Company
2301 Market Street, S23-1
Philadelphia, PA 19103                        1082    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $405.63                                                                                  $405.63
Pedro, Candelaria Mateo
144 W. Colden Ave
Los Angeles, CA 90003                         1961    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Pedro, Maria Miguel
521 S Union Dr Apt 102
Los Angeles, CA 90017                         1547     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Pedro, Maria Miguel
521 S. Union Dr Apt 102
Los Angeles, CA 90017                         1459     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Pelland, Katherine
317 E Pointe Lane, Apt. #F5
East Lansing, MI 48823                        3320    6/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $59.36                                                                                   $59.36
Pemberton, Karen Marcia
1579 17th Avenue
San Francisco, CA 94122                       217     1/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $197.47                                                                                  $197.47



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                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                         Unsecured Claim                                        Admin Priority
                                                                                                                                                                     Claim Amount     Claim Amount                        Priority Amount   Claim Amount
                                                                                                                                                      Amount                                                Amount
Pena Aleman, Merty Gonzalez
11932 SW 134th Ct
Miami, FL 33186                               3170    4/26/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $50.00                                                                                   $50.00
Peng, Shuhuan
159 West 53rd Street Apt 26F
New York, NY 10019                            3265    5/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $144.11                                                                                  $144.11
Peng, Yuanyun
664 Beaver Ct.
Naperville, IL 60563                          184     1/24/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $230.27                                                                                  $230.27
Peng, Yuanyun
664 Beaver Ct.
Naperville, IL 60563                          1217     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                                    $0.00
Pennsylvania Department of Revenue
Bankruptcy Division
PO Box 280946
Harrisburg, PA 17128-0946                     3014    4/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00             $0.00                                                                  $0.00
Pennsylvania Department of Revenue
Bankruptcy Division
PO Box 280946
Harrisburg, PA 17128-0946                     3030    4/17/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00             $0.00                                                                  $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2228    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2303    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                               $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2476    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2477    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                       $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2478    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2515    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                   $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2540    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                             $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2544    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                       $0.00                     $218,727,784.00                               $0.00 $218,727,784.00



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                                                                                                                                                                     Current Priority Current Secured                       Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                         Unsecured Claim                                         Admin Priority
                                                                                                                                                                      Claim Amount     Claim Amount                        Priority Amount   Claim Amount
                                                                                                                                                      Amount                                                 Amount
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2546    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                        $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2554    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                      $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2608    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                           $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2654    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                          $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2676    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                $0.00                                                                   $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2684    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                            $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
Peoples Natural Gas Company LLC
S. James Wallace, P.C.
845 North Lincoln Avenue
Pittsburgh, PA 15233                          156     1/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $126.18                                                                                   $126.18
Pepperjam, LLC
7 South Main St. 3rd Floor
Wilkes-Barre, PA 18701                        621      3/6/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $149,887.35                                                                              $149,887.35
Perez, Clara Luz
1600 N. Bronson Ave #4
Los Angeles, CA 90028                         1365     4/6/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                  $0.00
Perez, Clara Luz
1600 N. Bronson Ave #4
Los Angeles, CA 90028                         1397     4/6/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                   $0.00            $0.00
Perez, Jorge
655 S. La Verne Ave.
Los Angeles, CA 90022                         3190    4/27/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                  $0.00
Perez, Jorge
655 S. La Verne Ave.
Los Angeles, CA 90022                         3193    4/27/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                   $0.00            $0.00
Perez, Julia
9817 S San Pedro St
Los Angeles, CA 90003                         2641    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                   $0.00            $0.00
Perez, Julia C.
9817 S. San Pedro St
Los Angeles, CA 90003                         2694    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                  $0.00
Perez, Lorena
2309 S Ridgeley Dr., Apt. 5
Los Angeles, CA 90016                         2050    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                  $0.00
Perez, Lorena
2309 S. Ridgeley Dr.
Apt 5
Los Angeles, CA 90016                         2342    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                   $0.00            $0.00

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                                                                                                                                                             Current Priority Current Secured                      Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
Perez, Maria
1197 E. 33rd St.
Los Angeles, CA 90011                        1497     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Perez, Maria
1197 E. 33rd St.
Los Angeles, CA 90011                        1563     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
PERFINO, ESPERANZA
8171 7TH ST.
BUENA PARK, CA 90621                         3205     5/1/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
PERFINO, ESPERANZA
8171 7TH ST.
BUENA PARK, CA 90621                         3206     5/1/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Perkins, Elizabeth
#303 Division St.
Chicago, IL 60610                            924     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $160.60                                                                                  $160.60
Perkins, Tiffany
77 N 46th Street
Philadelphia, PA 19139                       3326    6/29/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $54.90                                                                                   $54.90
Perry, Martin
9722 Clearbrook Dr.
Huntington Beach, CA 92646                   3154    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $140.40                                                                                  $140.40
Petermann, Kim
PO Box 2459
Edwards, CO 81632                            540     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $19.60                                                                                   $19.60
Pforzheimer, Jesse
PO Box 40010
Studio City, CA 91614                        258     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $112.86                                                                                  $112.86
Phimmasone, Janchira
12835 Farnell St
Baldwin Park, CA 91706                       2338    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Phimmasone, Janchira
12835 Farnell St
Balwin Park, CA 91706                        2153    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
PHOTO THROW
9 ELDORADO BLVD
PLAINVIEW, NY 11803-4608                     684      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,100.00                                                                               $2,100.00
PHOTO THROW, INC.
280 N MIDLAND AVE BLDG J1 STE 340
SADDLE BROOK, NJ 07663-5790                  713      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,000.00                                                                               $2,000.00
Phun, Kiu
20 North Fourth, #A
Alhambra, CA 91801                           2299    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Phun, Kiu A.
20 N 4th St Apt. A
Alhambra, CA 91801                           2308    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Phung, Sau Thi
2434 Stevens Ave.
Rosemead, CA 91770                           3094    4/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Pico Store Equipment Co.
200 West Pico Blvd.
Los Angeles, CA 90015                         72     12/15/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Pico Store Equipment Co., Inc.
4800 Oakwood Ave.
Los Angeles, CA 90004                        923     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,925.25                                                                               $2,925.25
Pilkington, Hannah
11748 Mayfield Ave
Apartment 1
Los Angeles, CA 90049                        1330     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $24.00                                                                                   $24.00
PIMENTEL, ARTEMIO
1865 E 51ST ST # 405
LOS ANGELES, CA 90058-1906                   954     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00              $0.00                                                                 $0.00


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                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                     Amount                                               Amount
Pimentel, Artemio
1865 E. 51st St. #405
Los Angeles, CA 90058                        918     3/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Pimentel, Norma
3711 Wall St
Los Angeles, CA 90011                        2895    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Pimentel, Norma
3711 Wall St.
Los Angeles, CA 90011                        2888    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Pimentel, Victor
10611 Croesus Ave
Los Angeles, CA 90002                        889     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Pimentel, Victor
10611 Croesus Ave
Los Angeles, CA 90002                        890     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Pimentel, Victor
2818 Michigan Ave
Los Angeles, CA 90033                        2187    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Pimentel, Victor
2818 Michigan Ave.
Los Angeles, CA 90033                        2038    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Pina, Sonia
5 Maybury St
Boston, MA 02121                             3063    4/18/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                   $116.00                           $116.00
Pinecone + Chickadee
6 Free Street
Portland, ME 04101                           485     2/22/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $71.34                                                 $0.00                            $71.34
Pineda, Gregorio
5661 Muller Street
Bell Gardens, CA 90201                       2750    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Pineda, Gregorio
5661 Muller Street
Bell Gardens, CA 90201                       2885    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Pineda, Sandra
160 W 47th St
Los Angeles, CA 90037                        3173    4/26/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Pineda, Sandra
160 W 47th St
Los Angeles, CA 90037                        3174    4/26/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Pinedo-Dongo, Walter A.
8 Gauguin Circle
Aliso Viejo, CA 92656                        2956    4/14/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Pinedo-Dongo, Walter A.
8 Gauguln Circle
Aliso Viejo, CA 92656-3858                   2962    4/14/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Pinilla, Vivian Camila
733 N. Adams Apt. A
Glendale, CA 91206                           554     2/28/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $85.02                                                                                  $85.02
Pizano, Veronica
9529 Melita St
Pico Rivera, CA 90660                        2976    4/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                     $0.00                             $0.00
Pizano, Veronica
9529 Melita St
Pico Rivera, CA 90660                        2981    4/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
PJ INTERNATIONAL
PO Box 10900
Westminster, CA 92685-0900                   656      3/8/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                        $0.00            $0.00
PJ INTERNATIONAL
PO Box 10900
Westminster, CA 92685-0900                   657      3/8/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                                                                                   $0.00



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                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                                Amount
PlusUp LLC
164 Park Avenue
Palo Alto, CA 94306                             83     12/20/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $23,400.72                                                                              $23,400.72
POLARTEX AMERICA, INC.
14910 GWENCHRIS CT.
PARAMOUNT, CA 90723                             41     12/2/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $25,977.05                                                                              $25,977.05
POLARTEX AMERICA, INC.
14910 GWENCHRIS CT.
PARAMOUNT, CA 90723                             42     12/2/2016         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                         $0.00                                                                                    $0.00
POLINSKY, LAUREN
5 BRANDYWINE DRIVE
WHITE PLAINS, NY 10605                         2007    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $22.00                                                                                   $22.00
POLLOCK, RICHARD
24744 GILMORE ST
WEST HILLS, CA 91307                           1093    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Pomerantz, Marcia
330 West 28th St #7D
New York, NY 10001                             708      3/9/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                          $58.00           $58.00
Pongkan, Patchara
397 Linden St.
Apt 1R
Brooklyn, NY 11237                             1014    3/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                    $0.00                             $0.00
Pontarelli, Mina
9907 Saint Andrews Drive
Marengo, IL 60152                              3121    4/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $20.00                                                                                   $20.00
Portillo, Maria Guadalupe
2754 Fairmount St.
Los Angeles, CA 90033                          1933    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Portillo, Maria Guadalupe
2754 Fairmount St.
Los Angeles, CA 90033                          1977    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Portland General Electric (PGE)
7895 SW Mohawk St. / ERC
Tualatin, OR 97062                             257     1/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $647.25                                                                                  $647.25
Portolano, Fabiana
225 East 57th Street
Apt 17H
New York, NY 10022                             3226     5/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $56.00                                                                                   $56.00
POSTERGIANT, INC.
1205 E PIKE STREET, STE BB
SEATTLE, WA 98122                              1946    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $10,000.00                                                                              $10,000.00
Postmates Inc.
Rob Rieders
425 Market Street, 8th Floor
San Francisco, CA 94015                        135     1/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,476.03                                                                               $1,476.03
Potenza, Carissa
1325 Fifth Avenue, 4D
New York, NY 10029                             1295     4/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $45.00                                                                                   $45.00
POULOPOULOS, PANOS
10937 WILKINS AVENUE
Apt 201
LOS ANGELES, CA 90024                          1513     4/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $32.00                                                                                   $32.00
Powers-Figueroa, Kelly
14255 Dickens St.
Apt #5
Sherman Oaks, CA 91423                         3300     6/1/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $38.00                                                                                   $38.00
Pownall, Pia
63 West 17th Street
Apt 4D
New York, NY 10011                             1141    3/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $171.40                                                                                  $171.40



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                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                                Amount
POZUELOS, ADAN DE JESUS
10624 STANFORD AVENUE
SOUTH GATE, CA 90280                        1695     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Pozuelos, Adan De Jesus
10624 Stanford Avenue
South Gate, CA 90280                        1696     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Pozuelos, Carlota
10624 Stanford Avenue
South Gate, CA 90280                        1471     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Pozuelos, Carlota
10624 Stanford Avenue
South Gate, CA 90280                        1485     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Pozuelos, Carlota
10624 Stanford Avenue
South Gate, CA 90280                        1486     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Pozuelos, Carlota
10624 Stanford Avenue
South Gate, CA 90280                        1487     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Pozuelos, Carlota
10624 Stanford Avenue
South Gate, CA 90280                        1489     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Pozuelos, Carlota
10624 Stanford Avenue
South Gate, CA 90280                        1491     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Pozuelos, Carlota
10624 Stanford Avenue
South Gate, CA 90280                        1509     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Praxair Distribution Inc.
c/o RMS (an iQor Company)
P.O. Box 361345
Columbus, OH 43236                          147     1/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $680.12                                                                                  $680.12
Precision Window Tinting, LLC
Bryan Yamakawa
125 S Kenilworth Ave
Mount Prospect, IL 60056                     25     11/28/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $3,176.00                                                                               $3,176.00
Premier Label & Zipper
Attn: Zeke Feigenbaum
1809 Harriman Lane #B
Redondo Beach, CA 90278                      54     12/7/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $4,577.20                                               $585.20                         $5,162.40
Price, Toni
2907 Piccadilly Circus
Pearland, TX 77581                          723     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $25.00                                                                                   $25.00
PRIETO, MARIA
2312 JULIET ST
LOS ANGELES, CA 90007-1517                  917     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $576.00                                                                                  $576.00
PRIETO, SALVADOR
2512 WABASH AVE
LOS ANGELES, CA 90033                       3016    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
PRIETO, SALVADOR
2512 WABASH AVE
LOS ANGELES, CA 90033                       3020    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Priindiville, Anne
1220 Sheridan Rd
Wilmette, IL 60091                          1712    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $88.49                                                                $88.49
Primary Color Systems Corp.
265 Briggs Ave.
Costa Mesa, CA 92626                        1023    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
PRIMARY COLOR SYSTEMS, CORP.
WALTER VOSS
265A BRIGGS AVE
COSTA MESA, CA 92626                        1044    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00


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                                                                                                                                                                               Current Priority Current Secured                       Current Admin    Total Current
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                                                                                                                                                                                Claim Amount     Claim Amount                        Priority Amount   Claim Amount
                                                                                                                                                                Amount                                                 Amount
Printfresh LLC
c/o Printfresh Studio
2930 JASPER ST UNIT 408
Philadelphia, PA 19134-3532                                    1151    3/30/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $1,600.00                                                                                $1,600.00
Printful, Inc.
Attn: Zane Levsa
11025 Westlake Dr.
Charlotte, NC 28273                                            521     2/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $12,170.69                                                                               $12,170.69
PROMOCorner
Attn: General Counsel
PO Box 505
Middleboro, MA 02346                                           1552     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $5,530.66                                                                                $5,530.66
Protex Inc
42 Siu-Ro Danwon-Gu
Ansan-Si, Gyeonggi-Do 15436
Korea                                                           17     11/22/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $50,402.00                                                                               $50,402.00
PSEGLI
Special Collections
15 Park Drive
Melville, NY 11747                                              96     12/27/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $2,849.95                                                                                $2,849.95
Puac, Romelia
421 S Bixel St Apt 103
Los Angeles, CA 90017                                          1319     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                  $0.00
Puac, Romelia
421 S Bixel St Apt 103
Los Angeles, CA 90017                                          1340     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Public Service of Colorado A Colorado Corporation dba Xcel
Energy
Xcel Energy att: Kimbra Seawright
PO Box 9477
Minneapolis, MN 55484                                           7      11/21/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $1,465.29                                                                                $1,465.29
PUGH, DANIEL A
1608 W 79TH ST
LOS ANGELES, CA 90047-2829                                     991     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                     $0.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                             2194    4/11/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                  $0.00            $0.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                             2294    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                      $218,727,784.00                               $0.00 $218,727,784.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                             2314    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                    $0.00            $0.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                             2460    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                            $0.00            $0.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                             2461    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00




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                                                                                                                                                                    Claim Amount     Claim Amount                        Priority Amount   Claim Amount
                                                                                                                                                     Amount                                                Amount
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                           2497    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                       $0.00            $0.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                           2527    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                           $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                           2587    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                           2605    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                               $0.00            $0.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                           2610    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                           2627    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                           2640    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                           2650    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                       $0.00                     $218,727,784.00                               $0.00 $218,727,784.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                           2682    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                         $0.00            $0.00
Quach, Kien Tu
2445 W Repetto Ave
Montebello, CA 90640-3015                    1357     4/5/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                  $0.00
QUALITY MEDICAL SERVICE
17124 S. WESTERN AVE. #4
GARDENA, CA 90247                            893     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                                    $0.00
Quandt, Karen
1516 Winchester Rd
Annapolis, MD 21409                          680      3/9/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $140.00                                                                                  $140.00
Quintana, Maria Blanca
1301 W Court St. #108
Los Angeles, CA 90026                        2917    4/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                       $0.00            $0.00
Quintanilla, Lorena
548 S 6th Street Apt C
Montebello, CA 90640                         2763    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                  $0.00



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                                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                   Amount                                                Amount
Quintanilla, Lorena
548 S 6th Street Apt C
Montebello, CA 90640                              2812    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Quintero, Jose
5701 Gifford Ave #D
Maywood, CA 90270                                 2968    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Quintero, Jose
5701 Gifford Ave #D
Maywood, CA 90270                                 2983    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Quiroz, Maria
1314 E. 27th Street
Los Angeles, CA 90011                             1578    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Quiroz, Maria
1314 E. 27th Street
Los Angeles, CA 90011                             1739    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Quon, Hong L
345 West Acacia Ave Apt 17
Glendale, CA 91204                                1049    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Quon, Hong L
345 West Acacia Ave Apt 17
Glendale, CA 91204                                1165    3/31/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Quon, Hong L
345 West Acacia Ave Apt 17
Glendale, CA 91204                                1175    3/31/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Qwest Corporation dba CenturyLink QC
Centurylink Communications, LLC. - Bankruptcy
931 14th St
Denver, CO 80202-2994                             110     12/28/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,085.04                                                                               $1,085.04
Qwest Corporation dba CenturyLink QC
Centurylink Communications, LLC. - Bankruptcy
931 14th St
Denver, CO 80202-2994                             3367    10/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $229.49          $229.49
R&R Textile
Hyuk Jung
13747 Capistrano Rd
La Mirada, CA 90638                                51     12/6/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
R&R Textile
Hyuk Jung
13747 Capistrano Rd
La Mirada, CA 90638                               812     3/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
R&R Textile (Hyuk Jung)
13747 Capistrano Rd
La Mirada, CA 90638                               813     3/15/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $7,978.86                                                                  $0.00        $7,978.86
Rabin, Selma
167 E. 61st St Apt 22AB
New York, NY 10065                                1285     4/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $77.63                                                                                   $77.63
Racquet & Jog Tyler's/ Tyler's
14250 FM Rd 344 West
Bullard, TX 75757                                 2426    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
RAD, ELNAZ
4121 24TH ST APT 7H
LONG ISLAND CITY, NY 11101-3960                   3263    5/16/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $50.00                                                                                   $50.00
Radoo, Danielle
600 S Spring St. Unit 902
Los Angeles, CA 90014                             432     2/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $350.37                              $350.37                           $700.74
Rajkovic, Adi
217 N Woodland Rd.
Pittsburgh, PA 15232                               70     12/15/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $1,742.92                                                                               $1,742.92
Ramales, Eva Robles
124 1/2 E. 24th Street
Los Angeles, CA 90011                             2765    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00


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                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                               Amount
Ramales, Eva Robles
124 1/2 E. 24th Street
Los Angeles, CA 90011                          2785    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Ramey, Anamaria
101 Belvedere Dr Apt 7
Mill Valley, CA 94941                          473     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $19.00                                                                                  $19.00
Ramirez Rangel, Victoria
1347 W 103rd St
Los Angeles, CA 90044                          1899    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Ramirez, Catarina
820 S. Grandview St # 306
Los Angeles, CA 90057                          1412     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Ramirez, Catarina
820 S. Grandview St # 306
Los Angeles, CA 90057                          1413     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Ramirez, Juliana
916 S. Georgia St. # 305
Los Angeles, CA 90015                          1918    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                                                                                   $0.00
Ramirez, Juliana
916 S. Georgia St. # 305
Los Angeles, CA 90015                          1923    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Ramirez, Juliana
916 S. Georgia St. # 305
Los Angeles, CA 90015                          2419    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Ramirez, Juliana
916 S. Georgia St. #305
Los Angeles, CA 90015                          2265    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Ramirez, Michelle
10604 Telfair ave
Pacoima, CA 91331                              3186    4/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $18.00                                                                                  $18.00
Ramos, Julio H.
3474 E. First St. #150
Los Angeles, CA 90063                          3098    4/19/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Ramos, Pablo Jeremias
c/o Keith A. FInk & Associates
1990 S Bundy Dr Ste 620
Los Angeles, CA 90064-5690                     183     1/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00
Ramos, Rene
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                     199     1/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00
Ramos, Vilma
11242 S New Hampshire Ave
Apt 6
Los Angeles, CA 90044                          1598     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Ramos, Vilma
11242 S New Hampshire Ave
Apt 6
Los Angeles, CA 90044                          1619     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Rangel, Juana
2719 LANFRANCO ST
Los Angeles, CA 90033-4426                     1970    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Rangel, Juana
2719 LANFRANCO ST
Los Angeles, CA 90033-4426                     2190    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Rangel, Manuel
913 W 82nd Street
Los Angeles, CA 90044                          1583    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Rangel, Manuel
913 W 82nd Street
Los Angeles, CA 90044                          1636    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00



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                Creditor Name and Address                     Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                                 Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                 Amount                                                Amount
Rangel, Maria Luisa
438 1/2 E 81st St
Los Angeles, CA 90003                                           2709    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Rangel, Maria Luisa
438 1/2 E 81st St
Los Angeles, CA 90003                                           2714    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Rangel, Victoria Ramirez
1347 W 103 Rd St
Los Angeles, CA 90044                                           1953    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Ray, Amberly
6003 Redding Rd.
Houston, TX 77036                                               250     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $67.12                                                                                   $67.12
Raya, Agga
175 N. Ada St # 308
Chicago, IL 60607                                               390     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $184.26                                                                                  $184.26
Raymond Handling Solutions, Inc.
9939 Norwalk Blvd.
Santa Fe Springs, CA 90670                                      616      3/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $48,834.71                                                                              $48,834.71
Raymundo, Alberto
2714 So. Cloverdale Ave.
Los Angeles, CA 90016                                           2966    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Rayon P., Maria
1141 E. 28th St # 3
Los Angeles, CA 90011                                           2085    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Rayon P., Maria
1141 E. 28th St # 3
Los Angeles, CA 90011                                           2292    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Reasor, Makenzi Lee
9684 Legare Street
Fishers, IN 46038                                               607      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $115.83                                                                                  $115.83
Refinery 29 Inc.
Attn: Accounting
225 Broadway
Floor 23
New York, NY 10007                                              795     3/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $25,000.00                                                                              $25,000.00
Refugio, Elvira
525 S Lorena St
Los Angeles, CA 90063                                           1684    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Refugio, Elvira
525 S Lorena St
Los Angeles, CA 90063                                           1845    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Regency Merdian, LLC (for premises known as 1504 6th Ave.,
Seattle, WA)
Leslie Heilman, Esq. c/o Ballard Spahr LLP
919 N. Market Street, 11th Floor
Wilmington, DE 19801                                            278     1/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $112,362.23                                                                             $112,362.23
Regency Meridian, LLC (for premises known as 1504 6th Ave.,
Seattle, WA)
c/o Leslie Heilman, Esq.
Ballard Spahr, LLP
919 N. Market Street, 11th Floor
Wilmington, DE 19801                                            288     1/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Rego Consulting
2115 N Main St
Centerville, UT 84014                                           599      3/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $10,330.00                                                                              $10,330.00
Reiss, Aaron
208 FORSYTH ST APT 9
NEW YORK, NY 10002-1379                                         564      3/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $65.12                                                                                   $65.12
Resnick, Elizabeth
24 West 127
Apt #1
New York, NY 10027                                              559     2/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00

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                                                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                   Amount                                                Amount
Resnick, Susan K.
4031 Terrace Lane
Minnetonka, MN 55305                                              405     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $33.60                                                                                   $33.60
Resource Logistics, Inc.
c/o Mark M. Billion
922 New Road
Wilmington, DE 19805                                               39     12/1/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $51,600.00                                                                              $51,600.00
Retail Next, Inc.
c/o DLA Piper LLP
Attn: Eric Goldberg
2000 Avenue of the Stars, Suite 400N
Los Angeles, CA 90067                                             1924    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                             $2,836.57        $2,836.57
Retail Next, Inc.
c/o DLA Piper LLP
Attn: Eric Goldberg
2000 Avenue of the Stars, Suite 400N
Los Angeles, CA 90067                                             1963    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $96,037.52                                                                              $96,037.52
Retana, Max
16328 Skywood Ct
Moreno Valley, CA 92551                                           3130    4/21/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Retana, Max
612 Howard Ave Apt 29
Montebello, CA 90640-3438                                         3131    4/21/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                   $0.00
Reyes, Cindy
6969 Collins Ave
904
Miami Beach, FL 33141                                             663      3/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $101.65                              $101.65                           $203.30
Reyes, Cindy
6969 Collins Ave, Apt 904
Miami Beach, FL 33141                                             297      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $101.65                              $101.65                           $203.30
Reyes, Rocio
651 E 38th St
Los Angeles, CA 90011                                             1935    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                   $0.00
Reyes, Rocio
651 E 38th St.
Los Angeles, CA 90011                                             1907    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Reynolds, Peter
1934 Port Locksleigh Place
Newport Beach, CA 92660                                           3332    7/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $25.00                                                                                   $25.00
Reynoso, Melesia
162 E 54th St.
Los Angeles, CA 90011                                             2924    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Reynoso, Melesia
162 E 54th St.
Los Angeles, CA 90011                                             2934    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
RH Management Resources
Robert Half / Attn: Karen Lima
PO Box 5024
San Ramon, CA 94583                                               430     2/15/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $27,093.84                                                                              $27,093.84
Richard L. and Marie P. Moresco, individually and as Trustees
of Revocable Trust of December
Monique Jewett-Brewster, Esq.
c/o Hopkins & Carley, A Law Corporation
70 S. First Street
San Jose, CA 95113                                                3289    5/25/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $270,850.00                                                                             $270,850.00
Richard L. Moresco and Marie P. Moresco, individually, and as
Trustees of a Revocable Trust of Decem
c/o Hopkins & Carley, A Law Corporation
Monique D. Jewett-Brewster, Esq.
70 S. First Street
San Jose, CA 95113                                                3291    5/25/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $270,850.00                                                                             $270,850.00


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                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Richardson, Herman
520 Wall St. Apt#312
Los Angeles, CA 90013                         1225     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $64.66                                                                                   $64.66
Richardson, William Mark
440 W. 21st Street
New York, NY 10011                            358      2/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $80.00                                                                                   $80.00
Richmond, Ellen
99 Auburn St.
Concord, NH 03301                             848     3/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                     $47.96           $47.96                                               $95.92
Ricoh USA Inc
3920 Arkwright Road Suite 400
Macon, GA 31210                                78     12/19/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $9,075.69                                                                               $9,075.69
Rimm, Harry
1633 Broadway
32nd Floor
New York, NY 10019                            3041    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $1.00                                                                                    $1.00
Riordan, Kimberly A.
448 East 84th Street Apt 5B
New York, NY 10028                            1613    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $16.42                                                                                   $16.42
Rios, Gilberta Gonzalez
229 1/2 W 54th St
Los Angeles, CA 90037                         2422    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Rios, Gilberta Gonzalez
229 1/2 W 54th St
Los Angeles, CA 90037                         2832    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Rios, Juan
8024 3rd St
Paramount, CA 90723                           1350     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Rios, Juan
8024 3rd St
Paramount, CA 90723                           1351     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Ripa, Rashelle
2019 Voorhies Ave
Brooklyn, NY 11235                            3400    1/18/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Ritchie, Emily
577 5TH ST
OAKLAND, CA 94607-3555                        1815    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $53.60                                                                                   $53.60
Rivas, Dinora
316 N Ave 57 # 6
Los Angeles, CA 90042                         1522     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Rivas, Dinora
316 N Ave 57 # 6
Los Angeles, CA 90042                         1564     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Rivas, Nelson W.
333 E. 81st
Los Angeles, CA 90003                         1914    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Rivas, Nelson W.
333 E. 81st St
Los Angeles, CA 90003                         1878    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Rivas, Raul
2888 Francis Av.
Los Angeles, CA 90005                         2437    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Rivas, Raul
2888 Francis Av.
Los Angeles, CA 90005                         2634    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Rivera Ochoa, Esperanza
4060 S. Hoover St #104
Los Angeles, CA 90037                         1966    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Rivera Ochoa, Esperanza
4060 S. Hoover St #104
Los Angeles, CA 90037                         2060    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00


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                                                                                                                                          Current General                                       Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                      Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
Rivera, Juana
669 S. Union Ave
Apt 208
Los Angeles, CA 90017                        1191    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                               $0.00                             $0.00
Rivera, Juana
669 S. Union Ave
Apt 208
Los Angeles, CA 90017                        1194    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Rivera, Olga
3533 9th Ave
Los Angeles, CA 90018                        1378     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Rivera, Olga
3533 9th Ave
Los Angeles, CA 90018                        1379     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
RL US Group Inc
3416 Garfield Ave
Commerce, CA 90040                            8      11/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $22,480.00                                                 $0.00                        $22,480.00
Roberts, Rynell
19004 Leapwood Ave
Carson, CA 90746                             180     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $25.00                                                                                   $25.00
Robey, Adam
450 W 42nd St
Apt 21B
New York, NY 10036                           1530     4/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $150.00                                                                                  $150.00
Robins, Avery
631 Southview Terrace
Santa Cruz, CA 95060                         293      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $400.00                                                                                  $400.00
Robinson, Cindy
7905 Parsons Pine Drive
Boynton Beach, FL 33437                      881     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Robinson, Savannah
808 85th Ave N
Brooklyn Park, MN 55444                      3410    3/12/2018    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                          $50.00           $50.00
Robles De Camarena, Maria
11515 Adonis Ave.
Norwalk, CA 90650                            2394    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Robles De Camarena, Maria
11515 Adonis Ave.
Norwalk, CA 90650                            2759    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Rodriguez, Carlos
1443 E. 23rd St
Los Angeles, CA 90011                        2482    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Rodriguez, Carlos
1443 E. 23rd St
Los Angeles, CA 90011                        2733    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Rodriguez, Jose
1300 Waterloo St.
Los Angeles, CA 90026                        2412    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Rodriguez, Jose
1300 Waterloo St.
Los Angeles, CA 90026                        2563    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Rodriguez, Oscar M
4073 6th St
Los Angeles, CA 90023                        2134    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
RODRIGUEZ, OSCAR M
4073 6th St.
Los Angeles, CA 90023                        744     3/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
RODRIGUEZ, OSCAR M
4073 6th St.
Los Angeles, CA 90023                        745     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00



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                                                                                                                                                            Current Priority Current Secured                      Current Admin    Total Current
              Creditor Name and Address     Claim No. Claim Date                            Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                                Amount
Rodriguez, Oscar Mauricio
4073 6th St
Los Angeles, CA 90023                         2274    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Rodriguez, Robert
1821 Berglund Dr
West Covina, CA 91792                         1223     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
RODRIGUEZ, YVONNE A
9539 BARKERVILLE AVE
WHITTIER, CA 90605-2915                       1218     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
RODRIGUEZ, YVONNE A
9539 BARKERVILLE AVE
WHITTIER, CA 90605-2915                       1220     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Rogenstein, Melissa
6611 Lakeridge road
Los Angeles, CA 90068                         2907    4/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                  $40.00                            $40.00
Rogers, Brittany N.
17445 Delaware Ave.
Redford, MI 48240                             794     3/15/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $45.00                                                                                   $45.00
Rojas, Moiria D.
1210 S. Gunlock Ave
Compton, CA 90220                             1245     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Romero Monterrosa, Berta
10928 Mansel Ave.
Inglewood, CA 90304                           1336     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
ROMERO, JANETT
303 W. LINDA VISTA AVE UNIT 20
ALHAMBRA, CA 91801                            674      3/9/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                  $50.00                            $50.00
RONALD E STASKY & DOROTHY A STASKY JTWROS
3809 KIMBERLY DR
PEARLAND, TX 77581-4752                       756     3/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $1,119.90                                                                               $1,119.90
Rong, Xing Yuan
2318 Eastlake Ave
Los Angeles, CA 90031                         1506     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Rong, Yong Ji
2613 Earle Ave.
Rosemead, CA 91770                            852     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Rong, Yong Ji
2613 Earle Ave.
Rosemead, CA 91770                            1688     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Rong, Yong Ji
2613 Earle Ave.
Rosemead, CA 91770                            1690     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Rosalva, Ramirez Ayala
469 Ezra St
Los Angeles, CA 90063                         2938    4/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Rosas, Basilisa
8033 S Figueroa St.
Los Angeles, CA 90003                         1414     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Rosas, Basilisa
8033 S Figueroa St.
Los Angeles, CA 90003                         1422     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Rosas, leonides
8033 S Figueroa St
Los Angeles, CA 90003                         1382     4/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Rosas, leonides
8033 S Figueroa St
Los Angeles, CA 90003                         1385     4/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Rosen, Eric
5555 Ocean, Unit 106
Hawthorne, CA 90250                           517     2/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $34.88                                                                                   $34.88



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                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                                Amount
Rosenblum, David
221 E 33 St - 1G
New York, NY 10016                             224     1/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $34.00                                                                                   $34.00
Rosenblum, David
221 E 33 St - 1G
New York, NY 10016                             3116    4/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $34.00                                                                                   $34.00
Rosenblum, David
221 E 33 St - 1G
New York, NY 10016                             3123    4/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $34.00           $34.00
Rositas, Pablo
4312 Rosemead Blvd.
Pico Rivera, CA 90660                          3240     5/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Rositas, Pablo E.
4312 Rosemead Blvd.
Pico Rivera, CA 90660                          3243     5/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Rossell, Evan
1503 South Coast Drive
Suite 321
Costa Mesa, CA 92626                           577      3/1/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $100.00                             $100.00                                              $200.00
Roy, Derek
P.O. Box 1112
Boulder Creek, CA 95006                        515     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $64.16                                                                                   $64.16
Royal Oak Properties LLC
c/o Slater Management Corp.
Attn: General Counsel
2950 W. Square Lake Rd.
Suite 110
Troy, MI 48098                                 2079    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $7,689.67          $656.41                                                              $8,346.08
Royal Oak Properties, LLC
c/o Slater Mgmt. Corp.
Box 99699
Troy, MI 48099                                  48     12/6/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00              $0.00                                                                 $0.00
Royal Park USA, Inc.
920 West Gate City Blvd.
Greensboro, NC 27403                           625      3/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $19,253.35                                                                              $19,253.35
Royal, Jill
101 N Carmelina Ave
Los Angeles, CA 90049                          840     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.00                                                                                  $100.00
Royce, Todd
464 Grant Ave.
Palo Alto, CA 94306                            238     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $34.80                                                                                   $34.80
R-Pac International Corp
132 W. 36th Street 7th Fl.
New York, NY 10018                             946     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
RS JZ Bedford – N 6th, LLC
Law Offices of Douglas T. Tabachnik, P.C.
63 West Main Street, Suite C
Freehold, NJ 07728                             1791    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                 $0.00                                                $0.00
RS JZ Bedford – N 6th, LLC
Law Offices of Douglas T. Tabachnik, P.C.
63 West Main Street, Suite C
Freehold, NJ 07728                             1802    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
RS JZ Bedford – N 6th, LLC
Law Offices of Douglas T. Tabachnik, P.C.
63 West Main Street, Suite C
Freehold, NJ 07728                             1810    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                       $0.00                                                $0.00
RS JZ Bedford – N 6th, LLC
Law Offices of Douglas T. Tabachnik, P.C.
63 West Main Street, Suite C
Freehold, NJ 07728                             3443    9/26/2019    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                          $69,599.00                                           $69,599.00



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                                                                                                                                                               Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                                Amount
RS JZ Bedford – N 6th, LLC
Law Offices of Douglas T. Tabachnik, P.C.
63 West Main Street, Suite C
Freehold, NJ 07728                             3444    9/25/2019    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                              $0.00                                                $0.00
RSGF Granada Building, LLC
c/o Jonathan Rose Companies
Attn: Millicent K. Cotto
551 Fifth Avenue, 23rd Floor
New York, NY 10176                             1404     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
RSGF Granada Building, LLC
Millicent K. Cotto
Jonathan Rose Companies
551 Fifth Avenue, 23rd Floor
New York, NY 10176                             1368     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                       $0.00              $0.00                             $0.00
RSGF Granada Building, LLC
Millicent K. Cotto
Jonathan Rose Companies
551 Fifth Avenue, 23rd Floor
New York, NY 10176                             3244     5/8/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                      $46,989.72       $46,989.72
RSGF Granada Building, LLC
Millicent K. Cotto
Jonathan Rose Companies
551 Fifth Avenue, 23rd Floor
New York, NY 10176                             3247     5/8/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $124,217.88                        $150,000.00                                          $274,217.88
Rubin, Danielle
270 West 17th Street
Apt 6F
New York, NY 10011                             755     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $59.00                                                                                   $59.00
Rubio, Bartolo
444 W. 66th St
Los Angeles, CA 90003                          2805    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Rubio, Bartolo
444 W. 66th St
Los Angeles, CA 90003                          2939    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Rubio, Isabel
855 111th Pl
Los Angeles, CA 90059                          3103    4/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Rubio, Isabel
855 111th Pl
Los Angeles, CA 90059                          3106    4/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Ruiz, Mario
1525 1/2 W. 59th Pl
Los Angeles, CA 90047                          1467     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Ruiz, Mario
1525 1/2 W. 59th Pl
Los Angeles, CA 90047                          1473     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Ruiz, Otilia
1525 1/2 West 59th Pl
Los Angeles, CA 90047                          1556     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Ruskey, David
1420 N Stanley Ave Unit 208
Los Angeles, CA 90046                          3319    6/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $21.83                                                                                   $21.83
RUSSELL, GARY
PO BOX 403
NEW YORK, NY 10113-0403                        683      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                 $0.00                                                $0.00
RUSSELL, GARY
PO BOX 403
NEW YORK, NY 10113-0403                        685      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
RUTH, CLARENCE
2399 PARKLAND DR NE
UNIT T030
ATLANTA, GA 30324-3552                         864     3/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                   $0.00

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               Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
RUTH, CLARENCE
349 DECATUR ST SE STE 326
ATLANTA, GA 30312-4022                       865     3/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Rutherford, Emily
938 White Knoll Drive #3
Los Angeles, CA 90012                        911     3/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $10.62                                                                                   $10.62
Ruvira, Jose
919 W. 65th St
Los Angeles, CA 90044                        1310     4/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Ruvira, Jose
919 W. 65th St
Los Angeles, CA 90044                        1315     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Ryan, Brigit
12223 Rockledge Circle
Boca Raton, FL 33428                         3087    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $13.50                                                                                   $13.50
S&S Supplies Corp.
17300 Railroad St.
City of Industry, CA 91748                   102     12/27/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $55,795.43                                            $38,520.03                        $94,315.46
Sabel, Jennifer
368 Eastern Parkway #3E
Brooklyn, NY 11225                           439     2/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $65.25                                                                                   $65.25
Sacher, Kirsten
1808 Hansaker St
Oceanside, CA 92054                          368     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $32.48                                                                                   $32.48
Safavi, Lillian M
60 Flint Drive
Lake Barrington, IL 60010                    315      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $87.20                                                                $87.20
Safety Facility Services
c/o Pryor & Mandelup, L.L.P.
Attn: Anthony F. Giuliano, Esq.
675 Old Country Road
Westbury, NY 11590                           1149    3/30/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $68,057.22                                                              $1,963.62       $70,020.84
Safety Facility Services
c/o Pryor & Mandelup, LLP
Attn: Anthony F. Giuliano
675 Old Country Road
Westbury, NY 11590                           1132    3/30/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $115,695.75                                                                             $115,695.75
Salas, Transito
508 W. Colden Av
Los Angeles, CA 90044                        2686    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Salas, Transito
508 W. Colden Av
Los Angeles, CA 90044                        2740    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Salazar, Anastacia
226 Belmont Ave. Apt # 6
Los Angeles, CA 90026                        2729    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Salazar, Anastacia
226 Belmont Ave. Apt # 6
Los Angeles, CA 90026                        2732    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Salazar, Jackie
C/O Pedersen Law APLC
Attn: McKenzee D. McCammack
17910 Skypark Cir. Suite 105
Irvine, CA 92614                             789     3/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Salesforce.com, Inc.
c/o Lawrence Schwab/Thomas Gaa
Bialson, Bergen & Schwab
633 Menlo Ave., Suite 100
Menlo Park, CA 94025                         1190     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $88,441.78                                                            $103,708.52      $192,150.30
Salguero De Ruiz, Vilma
2888 Francis Ave
Los Angeles, CA 90005                        2831    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00

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                                                                                                                                                              Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Salinas, Raul
1467 West 22nd St
Los Angeles, CA 90007                         1231     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Salinas, Raul
1467 West 22nd St
Los Angeles, CA 90007                         1232     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Salinas, Verona
1467 West 22nd St
Los Angeles, CA 90007                         1215     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Salinas, Verona
1467 West 22nd St
Los Angeles, CA 90007                         1216     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Salt Lake County Assessor
Personal Property Division
2001 S State St
PO Box 147421
Salt Lake City, UT 84114-7421                 3315    6/14/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Salzer, Athena
821 Pulley Dr.
Madison, WI 53714                             1864    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $67.52                                                                                   $67.52
Sampedro-Perez, Irma
7815 Potrero Avenue
El Cerrito, CA 94530                          372     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $58.92                                                                                   $58.92
San Francisco Media Company
835 Market St #550
San Francisco, CA 94103                       111     12/27/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $3,000.00                                                                               $3,000.00
Sanchez Ortiz, Lucero P.
347 E 59th Pl
Los Angeles, CA 90003                         2719    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Sanchez Ortiz, Lucero P.
347 E 59th Pl
Los Angeles, CA 90003                         2720    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Sanchez, Fortino
2315 S. Flower St.
Apt. 304
Los Angeles, CA 90007                         1051    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Sanchez, Fortino
762 E 45th St
Los Angeles, CA 90011                         1091    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Sanchez, Gabina
14929 Flamenco Pl
Victorville, CA 92394-3705                    2781    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Sanchez, Gabina
38300 30th St Apt 410
Palmdale, CA 93550                            2657    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Sanchez, Jorge
651 S Eastman Ave
Los Angeles, CA 90023                         1976    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Sanchez, Jorge
651 S. Eastman Ave
Los Angeles, CA 90023                         2069    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Sanchez, Jose Medina
9554 Defiance Ave
Los Angeles, CA 90002                         2155    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Sanchez, Jose Medina
9554 Defiance Ave
Los Angeles, CA 90002                         2346    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Sanchez, Jose Medina
9554 Defiance Ave
Los Ángeles, CA 90002                         662      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                               $0.00                             $0.00



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                                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                       Amount                                                Amount
Sanchez, Maria
249 E 46th Street
Los Angeles, CA 90011                          2665    4/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Sanchez, Maria
249 E 46th Street
Los Angeles, CA 90011                          2791    4/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Sanchez, Reina
134 1/2 W. 60th St
Los Angeles, CA 90003                          1306     4/5/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Sanchez, Rito
6163 Piedmont Ave
Los Angeles, CA 90042                          2018    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Sanchez, Rito
6163 Piedmont Ave
Los Angeles, CA 90042                          2028    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Sanders, Jatrean M.
901 Abernathy Road
Unit 4070
Sandy Springs, GA 30328-2610                   1358     4/6/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $45.36                                                                                   $45.36
SANDOVAL, PLACIDO
1662 E. 83RD ST.
LOS ANGELES, CA 90001                          977     3/22/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                         $0.00            $0.00
SANDOVAL, PLACIDO
1662 E. 83RD ST.
LOS ANGELES, CA 90001                          983     3/22/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                    $0.00                                                                 $0.00
Sandoval, Reyna
1662 E. 83rd St.
Los Angeles, CA 90001                          936     3/20/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                         $0.00            $0.00
Sandoval, Reyna
1662 E. 83rd St.
Los Angeles, CA 90001                          943     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                  $0.00                                                                 $0.00
Sandoval, Reyna
1662 E. 83rd St.
Los Angeles, CA 90001                          2582    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Sandoval, Reyna
1662 E. 83rd St.
Los Angeles, CA 90001                          2603    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Santa Anita Shoppingtown LP
c/o LeClairRyan, PC
545 Long Wharf Drive, 9th Floor
New Haven, CT 06511                            3088    4/18/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $273,734.88                                                                             $273,734.88
Santa Anita Shoppingtown LP
c/o LeClairRyan, PC
Attn: Niclas A. Ferland, Esq
545 Long Wharf Drive, 9th floor
New Haven, CT 06511                            1573     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                      $0.00                                                                                   $0.00
Santiago, Florida M.
37437 Gillett Road
Fremont, CA 94536                              539     2/27/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $46.76                                                                                   $46.76
Santiago, Silvia
1756 S. La Brea Ave
Los Angeles, CA 90019                          771     3/13/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                  $0.00                                                                 $0.00
Santiago, Silvia
1756 S. La Brea Ave
Los Angeles, CA 90019                          2439    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Santiago, Silvia
1756 S. La Brea Ave
Los Angeles, CA 90019                          2440    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Santibanez, Candelaria
5533 Morgan Ave
Los Angeles, CA 90011                          1463     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00


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                                                                                                                                                                  Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                  Amount                                                Amount
Santibanez, Candelaria
5533 Morgan Ave
Los Angeles, CA 90011                            1475     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Santos Merlos, Isabel
374 Patton Street
Los Angeles, CA 90026                            1984    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Santos, Maria I.
2022 N Dern Ave
Los Angeles, CA 90059                            3209     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Santos, Maria I.
2022 N Dern Ave
Los Angeles, CA 90059                            3216     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
SANTOS, MATEO
618 S BONNIE BRAE ST APT 207
LOS ANGELES, CA 90057-3755                       781     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Santos, Mateo
618 S. Barnie Brae St., # 207
Los Angeles, CA 90057                            778     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Santos, Nubia C
202 W 101th Street
Los Angeles, CA 90003                            2969    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Santos, Nubia C
202 W 101th Street
Los Angeles, CA 90003                            2979    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Santos, Sabrina Ortiz
5400 7th St NW Apt 205
Washington, DC 20011                             398     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $84.07                                                                                   $84.07
Sarigul-Klijn, Nesrin
PO Box 1386
Dixon, CA 95620                                  1278     4/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $50.00           $375.00           $325.00            $375.00                         $1,125.00
Sarkany, Jenny
1441 3rd Avenue Apt 15B
New York, NY 10028                               611      3/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $240.00                                                                                  $240.00
Sarmonpal, Art
6660 W Harts Rd
Niles, IL 60714                                  978     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $45.89                                                                                   $45.89
Sassoon, Dawn
936 Palms Blvd.
Venice , CA 90291                                310      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $45.00             $45.00                                                                $90.00
SATOU, NANCY
29105 QUAIL RUN DRIVE
AGOURA HILLS, CA 91301                           1180     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.00                                                                                  $100.00
Sauer Properties, Inc.
Wilcox Savage
Attn: Stephanie N. Gilbert
440 Monticello Ave. Ste. 2200
Norfolk, VA 23510                                3279    5/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $90,631.82                                                                              $90,631.82
Sauer Properties, Inc.
Willcox Savage, P.C. Attn: Stephanie Gilbert
440 Monticello Ave. Ste. 2200
Norfolk, VA 23510                                100     12/27/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                    $0.00
Sauer Properties, Inc.
Willcox Savage, P.C. Attn: Stephanie Gilbert
440 Monticello Ave. Ste. 2200
Norfolk, VA 23510                                104     12/27/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Sauer Properties, Inc.
Willcox Savage, P.C. Attn: Stephanie Gilbert
440 Monticello Ave. Ste. 2200
Norfolk, VA 23510                                3278    5/22/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $90,631.82                                                                              $90,631.82
Savage, Kendra
1510 N Talman Ave. Apt 2
Chicago, IL 60622                                332      2/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $100.00                                                                                  $100.00

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                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                            Amount                                                Amount
Saylor, Amy
1800 Knoxville Avenue
Long Beach, CA 90815                         458     2/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $75.00                                                                                   $75.00
SCG Church Street Plaza, LLC
Samuel R. Arden, Esq.
Hartman Simons & Wood
6400 Powers Ferry Road NW #400
Atlanta, GA 30339                            138     1/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                       $179,247.96                                                                             $179,247.96
Schelich, Jennifer
713 Classon Ave #102
Brooklyn, NY 11238                           466     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $50.00                                                                                   $50.00
Schemmel, Drew
126 Whitewood Lane
Madison, MS 39110                            3114    4/19/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $25.00                                                                                   $25.00
Scherr, Brian
77 Bleecker Street Apt 124
New York, NY 10012                           369     2/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $48.00                                                                                   $48.00
Schlecht, Ryan
2510 W 23rd Ave. Apt 306
Denver, CO 80221                             814     3/16/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $25.00                                                                                   $25.00
Schmidt, Aileen
420 Berwyn Bapstist Road
Berwyn, PA 19312                             171     1/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $30.50                                                                                   $30.50
Schneider, Linda Z.
2 Shaw Lane
Irvington, NY 10533                          289      2/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $133.00                                                                                  $133.00
Schoenfeld, Jill
322 East 39th St Apt 9B
New York, NY 10016                           3415    5/10/2018         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Scholz, Antonia-Sophia
10 West 121 Street
New York, NY 10021                           330      2/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $116.80                                                                                  $116.80
Schroeder, Lindsay
330 W Diversey Pkwy
Unit 1006
Chicago, IL 60657                            601      3/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $142.03                                                                                  $142.03
Schulze, Donna L and Bryan D
12716 E 77th Circle North
Owasso, OK 74055                             3330     7/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                $0.00                                                $0.00
Schumacher, Seth
970 North High St apt 201
Columbus, OH 43201                           1176     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $36.12                                                                                   $36.12
Sciarrillo, Nicole
220 25th St #405
Brooklyn, NY 11232                           1344     4/5/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $30.10                                                                                   $30.10
SDI INDUSTRIES, INC.
13000 PIERCE ST.
PACOIMA, CA 91331                            1205    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Seabaugh, Katherine B
30 Palatine #240
Irvine, CA 92612                             1498     4/9/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $83.70                                                                                   $83.70
Seav, My
2212 Johnston Street
Los Angeles, CA 90031                        2087    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Seav, My
2212 Johnston Street
Los Angeles, CA 90031                        2306    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Sedlack, Christine
614 Creek Lane
Flourtown, PA 19031                          987     3/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $74.00                                                                                   $74.00



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                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                               Amount
Seeto, Zhen Zhu
705 North Grand Ave Apt #1
Los Angeles, CA 90012                        1719    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Seeto, Zhen Zhu
705 North Grand Ave Apt #1
Los Angeles, CA 90012                        1934    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Segovia, Sonia Diaz
11535 Sylvan St Apt 3
N Hollywood , CA 91606-4037                  2712    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Segovia, Sonia Diaz
218 N. Ave. 55 Apt 7
Los Angeles, CA 90042                        2623    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Seguin, Romaine M.
7561 SW 56th Court
Miami, FL 33143                              312      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $110.64                                                                                 $110.64
Seguin, Romaine M.
7561 SW 56th Court
Miami, FL 33143                              1078    3/29/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $110.62                                                                                 $110.62
Seguin, Romaine M.
7561 SW 56th Court
Miami, FL 33143                              1080    3/29/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $110.62          $110.62
Segura, Maria
2203 Terrace Hgts
Los Angeles, CA 90023                        2593    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Segura, Maria
2203 Terrace Hgts
Los Angeles, CA 90023                        2649    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Sekhon, Manpreet
1543 Bay Drive
Yuba City, CA 95993                          2621    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $63.59                                                                                  $63.59
Sellner, Joelle
608 N La Jolla Avenue
Los Angeles, CA 90048                        467     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $63.75                                                                                  $63.75
Semis, Sasha
1980 Jefferson St #302
San Francisco, CA 94123                      476     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $71.78                                                                                  $71.78
Semis, Sasha
1980 Jefferson St #302
San Francisco, CA 94123                      816     3/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $71.78                                                                                  $71.78
Semis, Sasha
1980 Jefferson St #302
San Francisco, CA 94123                      826     3/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $71.78           $71.78
Semprun, Claudia
475 FDR Drive #L 1606
New York, NY 10002                           1873     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                 $150.00                           $150.00
Senitron Corp.
6911 Topanga Canyon Blvd.
#103 B
Canoga Park, CA 91303                        2183    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Serrano, Angelica
1990 S BUNDY DR STE 620
Los Angeles, CA 90025                        1445     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                   $0.00
SERRANO, ANGELICA
C/O KEITH A. FINK & ASSOCIATES
11500 OLYMPIC BLVD., SUITE 316
LOS ANGELES, CA 90064                        1441     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                   $0.00
Serrano, Angelica
c/o Keith A. Fink & Associates
1990 S BUNDY DR STE 620
Los Angeles, CA 90025-5690                   1444     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00



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                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                     Amount                                               Amount
Serrano, Delmy Judith
2406 Cole Pl
Huntington Park, CA 90255                    2425    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Serrano, Delmy Judith
2406 Cole Pl
Huntington Park, CA 90255                    2722    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Serrano, Jimmy
1708 S Lander St.
Seattle, WA 98144                            3399     1/2/2018               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $50.32                              $50.32                           $100.64
Serrano, Jose
9703 South Normandie Av Apt. C
Los Angeles, CA 90044                        1466     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Serrano, Maria C
3301 Tecumseh Ave Apt# E
Lynwood, CA 90262                            3284    5/23/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Serrano, Maria C.
3301 Tecumseh Ave
Apt O-E
Lynwood, CA 90262                            3285    5/23/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Servello, Michael
112 Trails Xing
Whitesboro, NY 13492                         435     2/16/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $259.20                                                                                 $259.20
Session, Latisha J
815 E Via Wanda Building 9
Long Beach, CA 90805                         3424     1/1/2019               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Seth, Daniel
PO Box 489
New York, NY 10101                           3286    5/24/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $30.60                                                                                  $30.60
Sevilla, Maria
3101 Wynwood Lane #2
Los Angeles, CA 90023                        1738    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                                   $0.00
Sevilla, Maria
3101 Wynwood Lane #2
Los Angeles, CA 90023                        2058    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Sewerage and Water Board of New Orleans
625 St. Joseph Street, Room 140
New Orleans, LA 70165                        346      2/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $325.92                                                                                 $325.92
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                           2619    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                  $0.00            $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                           2690    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                        $0.00            $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                           2698    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                           $0.00                              $0.00                                                $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                           2736    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                           2738    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                              $0.00                                                $0.00

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                                                                                                                                                               Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                                Amount
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2773    4/11/2017      APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                             $0.00            $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2776    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                               $0.00                                                $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2780    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2783    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                               $0.00                                                $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2793    4/11/2017      APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                     $0.00                               $0.00                                                $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2799    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                               $0.00                                                $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2806    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Shahriari, Pegah
2460 Delisle Ct.
Glendale, CA 91208                             3072    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $14.00                                                                                   $14.00
Shai-Tex, Inc.
11550 Wright Rd
Lynwood, CA 90262                              710      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $48,362.57                                                                              $48,362.57
Shapiro, Lauren
16 Fuller St, Apt 4
Brookline, MA 02446                            2511    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
Sharifi, Lauren
950 Viera Avenue
Coral Gables, FL 33146                         3026    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $73.95                                                                                   $73.95
Shavalian, Jessica
2328 Westridge Road
Los Angeles, CA 90049                          1601    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $91.35                                                                                   $91.35
Shaw, Amy
532 Lakeview Way
Redwood City, CA 94062                         457     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $19.58                                                                                   $19.58
Shelton, Jennifer
931 Indian Wells Avenue
Sunnyvale, CA 94085                            324      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $30.45                                                                                   $30.45
Sheng, Weng Sheng
P.O. Box 1093
Monterey Park, CA 91754                        2748    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Sheng, Weng Sheng
P.O. Box 1093
Monterey Park, CA 91754                        2751    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00

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                Creditor Name and Address                    Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                Amount                                                Amount
Shenoy, Sudhir
416 Ivy St
Apt 3
Glendale, CA 91204                                             3357     9/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $23.98                                                                                   $23.98
Sheppard, Mullin, Richter & Hampton LLP
Attn: Richard W. Brunette, Esq.
333 South Hope Street, 43rd Floor
Los Angeles, CA 90071                                          1766    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                   $0.00
Sheppard, Mullin, Richter & Hampton LLP
Attn: Richard W. Brunette, Esq.
333 South Hope Street, 43rd Floor
Los Angeles, CA 90071                                          2418    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $14,003.06                                                                              $14,003.06

Shopping Center Associates, a New York General Partnership
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                         1503    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $28,231.90                                                                  $0.00       $28,231.90
Shops Around Lenox, L.L.C.
c/o Ballard Spahr LLP
Attn: Dustin P. Branch, Esq.
2029 Century Park East, Suite 800
Los Angeles, CA 90067-2909                                     235     1/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                  $0.00            $0.00
Shops Around Lenox, L.L.C.
c/o Ballard Spahr LLP
Attn: Dustin P. Branch, Esq.
2029 Century Park East, Suite 800
Los Angeles, CA 90067-2909                                     1922    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Shops Around Lenox, L.L.C.
c/o Ballard Spahr LLP
Attn: Dustin P. Branch, Esq.
2029 Century Park East, Suite 800
Los Angeles, CA 90067-2909                                     2123    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $261,337.20                        $186,384.04                               $0.00      $447,721.24
Shore, Kelley
48 Valley View Court
El Sobrante, CA 94803                                          443     2/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.00                                                                                  $100.00
Shore, Kelley
48 Valley View Road
El Sobrante, CA 94803                                          926     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $100.00          $100.00
Shumaker, Edward
3636 Courville St.
Detroit, MI 48224                                              320      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $227.00                                              $227.00
Shumrick, Claire
7000 Convict Hill Road Apt 1304
Austin, TX 78749                                               1169    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $60.62                                                                                   $60.62
Siani, Nicole
429 W 46th St Apt 4e
New York, NY 10036                                             1116    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $24.53                                                                                   $24.53
Siani, Nicole M
429 W 46th St 4E
New York, NY 10036                                             394     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $24.56                                                                                   $24.56
Siani, Nicole M
429 W 46th St 4E
New York, NY 10036                                             1119    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                $24.53                                               $24.53
SIFERT, MONICA
5320 N 81ST PL
SCOTTSDALE, AZ 85250                                           770     3/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $34.25                                                                   $0.00           $34.25
Sigue, Jocelyn
926 French Street, NW
Washington, DC 20001                                           3188     5/1/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $40.19           $40.19
SIlk, Sarah
1146 Oak Grove Ave.
Pittsburgh, PA 15218                                           841     3/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $102.60                                                                                  $102.60

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                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                                Amount
Silva, Anthony
1933 Rodney Drive #101
Los Angeles, CA 90027                          818     3/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $51.96                                                                                   $51.96
Silva, Ismelda
1310 Rio Vista Ave #1302
Los Angeles, CA 90023                          2252    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Silva, Ismelda
1310 Rio Vista Ave #1302
Los Angeles, CA 90023                          2254    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Silva, Maria
4831 Santa Ana St
Cudahy, CA 90201                               1076    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00              $0.00                               $0.00                             $0.00
Silva, Maria
4831 Santa Ana St
Cudahy, CA 90201                               1097    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Silverstein, Scott
65 East 65th Street - 35th Floor
New York, NY 10022                             576      3/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $88.00                                                                                   $88.00
Silvert, Jessica
172 Parnassus Ave, Apt 1
San Francisco, CA 94117                        567      3/1/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $124.49                                                                                  $124.49
SIMPLEXGRINNELL
50 TECHNOLOGY DRIVE
WESTMINSTER, MA 01441                          1011    3/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $1,004.49                                                                               $1,004.49
Simpson, Robert
302 David Hollowell Drive
243 B Independence Hall West
Newark, DE 19717                               3405     2/6/2018    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $50.00                                                                                   $50.00
SiteHawk LLC
Flossie Holmes
709 Nissan Drive
Smyrna, TN 37167                               325      2/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $1,514.02                                                                               $1,514.02
Situ, Alice
3356 Earlswood Dr
Rosemead, CA 91770                             1079    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Situ, Alice
3356 Earlswood Dr
Rosemead, CA 91770                             1502    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Situ, Alice
3356 Earlswood Dr
Rosemead, CA 91770                             1723    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Situ, Mei Ying
2341 Altman St.
Los Angeles, CA 90031                          1521     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Situ, Yan
917 Marview Ave. # 1
Los Angeles, CA 90012                          2385    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Situ, Yan
917 Marview Ave. # 1
Los Angeles, CA 90012                          2389    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Sivalingam, Thulasi
c/o MSD
1204 Broadway, 4th fl
New York, NY 10001                             1018    3/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $20.42                                                                                   $20.42
SJ DESIGNCRAFT, INC.
ATTN: SNAG JIN BAE
#203-1 WEST HALL
152, JUKJEON-RO
YONGIN-SI, GYEONGGI-DO
SOUTH KOREA                                    3258    5/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00



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                 Creditor Name and Address                     Claim No. Claim Date                            Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                Amount                                                Amount
Skelley, Jennifer
120 Westlake Ave N, Apt 726
Seattle, WA 98109                                                219     1/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $40.00                                                                                   $40.00
Skinner, Jennifer
5008 N Idlewild Ave
Whitefish Bay, WI 53217                                          459     2/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $200.00                                                                                  $200.00
Sklov, Tyler
69 MAGNOLIA AVE
SAN ANSELMO, CA 94960-2607                                       450     2/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $77.76                                                                                   $77.76
Slater, Caitlinn
312 W. Republican St. #408
Seattle, WA 98119                                                1031    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $63.51                                                                                   $63.51
Slatter, Lauren
1000 Grand Concourse
Apt 8J
Bronx, NY 10451                                                  1455     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $58.00                                                                                   $58.00
Smark Skus, dba INTURN
Attn. General Counsel
33 West 17th Street
New York, NY 10011                                               1287     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                        $12,936.25                                                                              $12,936.25
Smartrac Technology Fletcher Inc
267 Cane Creek Road
Fletcher, NC 28732                                                61     12/13/2016        APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Smeltzer, David
1817 Essex Road
Minnetonka, MN 55305                                             233     1/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $100.00                                                                                  $100.00
SMITH STREET HOLDINGS LLC
93 NINTH STREET
GARDEN CITY, NY 11530                                            834     3/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
SMITH STREET HOLDINGS LLC
93 NINTH STREET
GARDEN CITY, NY 11530                                            845     3/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $6,089.68                                                                  $0.00        $6,089.68
Smith, Chaka
1354 Pearl Street Apt. B
Alameda, CA 94501                                                3133    4/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $75.00                                                                                   $75.00
Smith, Vanessa Joy
603 Isabel St.
Los Angeles, CA 90065                                            929     3/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
SML Intelligent Inventory Solutions LLC fdba Xterprise (USA)
L.L.C.
David A. Newby
1001 Warrenville Rd., Ste. 500
Lisle, IL 60532                                                  3414    3/26/2018         APP Winddown, LLC (f/k/a American Apparel, LLC)                        $45,000.00                                                                              $45,000.00
Snaif, Samira
940 Baker St. Apt 1
San Francisco, CA 94115                                          423     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $101.14                                                                                  $101.14
SO. CA. IMMEDIATE MEDICAL CENTER
7300 ALONDRA BLVD STE 101
PARAMOUNT, CA 90723-4000                                         3102    4/18/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Sobex, Inc.
614 East Main Street
Pilot Mountain, NC 27041                                         675      3/9/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Solis, Nicole
721 Flushing Ave, Unit 4A
Brooklyn, NY 11206                                               3182    4/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $40.49                                                                                   $40.49
Soliz, Domitila
1410 E 41 St #4
Los Angeles, CA 90011                                            2152    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Soliz, Domitila
1410 E 41 St #4
Los Angeles, CA 90011                                            2182    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00


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               Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
Sommer, Allison
790 Lemon Street
Menlo Park, CA 94025                         1575    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                   $36.98                            $36.98
Song, Jieun
43-60 Douglaston Parkway
Apt#113
Douglaston, NY 11363                         3346     8/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $48.63                                                                                   $48.63
Soodik, Lynn
409 Lincoln Blvd.
Santa Monica, CA 90402                       307      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.00                                                                                  $100.00
Soodik, Lynn
409 Lincoln Blvd.
Santa Monica, CA 90402                       1121    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.00                                                                                  $100.00
SooHoo, Nicole
1143 22nd St #4
Santa Monica, CA 90403                       970     3/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $26.00                                                                                   $26.00
SooHoo, Nicole
1143 22nd St #4
Santa Monica, CA 90403                       971     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $26.00                                                                                   $26.00
Sook, Brianna
2839 Colfax Ave. S.
Minneapolis, MN 55408                        322      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $32.00                                                                                   $32.00
Sook, Brianna
2839 Colfax Ave. S.
Minneapolis, MN 55408                        766     3/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $36.00                                                                                   $36.00
Sook, Brianna
2839 Colfax Ave. S.
Minneapolis, MN 55408                        783     3/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $36.00           $36.00
Soria, Ma Ysabel
608 E 21 St Apt 1
Los Angeles, CA 90011                        1842    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Soria, Ma Ysabel
608 E 21 St Apt 1
Los Angeles, CA 90011                        2115    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
SORIA, SALVADOR
608 E 21st Street #1
Los Angeles, CA 90011                        1883    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
SORIA, SALVADOR
608 E 21st Street #1
Los Angeles, CA 90011                        1889    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
SOSA, AIDA
1060 E. 41 Pl.
Los Angeles, CA 90011                        2909    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
SOSA, AIDA
1060 E. 41 Pl.
Los Angeles, CA 90011                        2912    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Sosa, Marta Clementina
319 North Mariposa Av Apartamento # A
Los Angeles, CA 90004                        2727    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Sosa, Marta Clementina
319 North Mariposa Apt #A
Los Angeles, CA 90004                        2768    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
SOTI INC.
5770 HURONTARIO STREET
SUITE 1100
MISSISSAUGA, ON L5R 3G5
Canada                                       1010    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $6,041.45                                                                               $6,041.45
SOTI INC.
5770 HURONTARIO STREET
SUITE 1100
MISSISSAUGA, ON L5R 3G5
Canada                                       1012    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00

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                                                                                                                                                                                      Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address                   Claim No. Claim Date                                   Debtor                                         Unsecured Claim                                        Admin Priority
                                                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                       Amount                                                Amount
Soto, Andrea
1033 S. Bluff Rd.
Apt. 3
Montebello, CA 90640                                           3168    4/26/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Soto, Andrea
1033 S. Bluff Rd.
Apt. 3
Montebello, CA 90640                                           3169    4/26/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
South Carolina Electric & Gas Company ("SCE&G")
220 Operation Way, Mail Code C222
Cayce, SC 29033                                                345      2/8/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $2,167.25                                                                               $2,167.25
South Dakota Department of Revenue
445 E Capital
Pierre, SD 57501                                               1045    3/27/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $40.00           $113.05                                                                $153.05
Southern California Edison
1551 W. San Bernardino Rd.
Covina, CA 91722                                                94     12/19/2016         APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $67,698.44                                                                              $67,698.44
Southgate Business & Industrial Park Developers
c/o Nossaman LLP
Attn: Jennifer L. Meeker, Esq.
777 South Figueroa Street, 34th Floor
Los Angeles, CA 90017                                          2136    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $8,096.89                                                                  $0.00        $8,096.89
Southgate Business & Industrial Park Developers
Jennifer L. Meeker, Esq.
Nossaman LLP
777 S. Figueroa Street, 34th Floor
Los Angeles, CA 90017                                          3187    4/28/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $607,260.00                                                                             $607,260.00
Southwest Airlines Co.
Amalgamated Financial Group C/O SWA Cargo
Mr. Jeffrey Lemberskie
105 White Oak Lane
PO Box 1006
Old Bridge, NJ 08857-1006                                      1264     4/4/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                $0.00                                                                                   $0.00
Southwestern Bell Telephone Company
c/o AT&T Service, Inc. Karen A. Cavagnaro
One AT&T Way, Room 3A104
Bedminster, NJ 07921                                           682      3/9/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $600.82                                                                                  $600.82
SP Display, Inc.
921 S. Crocker Street #C-1
Los Angeles, CA 90021                                           33     11/29/2016        APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $23,249.92                                                                              $23,249.92
Spaeth, Kristen
6 Sylvia Street
Glen Head, NY 11545                                            589      3/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $39.76                                                                                   $39.76
Spectrum Pacific West, LLC f/k/a Time Warner Cable Pacific
West LLC, a subsidiary of Charter Communi
c/o Charter Communications, Inc.
Serena M. Parker
400 Atlantic Street, Room 407
Stamford, CT 06901                                             3431    1/14/2019              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                   $0.00            $0.00
Spectrum Pacific West, LLC f/k/a Time Warner Cable Pacific
West LLC, a subsidiary of Charter Communi
c/o Charter Communications, Inc.
Serena M. Parker
400 Atlantic Street, Room 407
Stamford, CT 06901                                             3432    1/14/2019    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                         $0.00            $0.00
Spectrum Pacific West, LLC f/k/a Time Warner Cable Pacific
West LLC, a subsidiary of Charter Communi
c/o Charter Communications, Inc.
Serena M. Parker
400 Atlantic Street, Room 407
Stamford, CT 06901                                             3433    1/14/2019           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                               $0.00            $0.00


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                                                                                                                                                            Current General                                       Current 503(b)(9)
                                                                                                                                                                               Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address                   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                Amount                                                Amount
Spectrum Pacific West, LLC f/k/a Time Warner Cable Pacific
West LLC, a subsidiary of Charter Communi
c/o Charter Communications, Inc.
Serena M. Parker
400 Atlantic Street, Room 407
Stamford, CT 06901                                             3434    1/14/2019    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Spectrum Pacific West, LLC f/k/a Time Warner Cable Pacific
West LLC, a subsidiary of Charter Communi
c/o Charter Communications, Inc.
Serena M. Parker
400 Atlantic Street, Room 407
Stamford, CT 06901                                             3435    1/14/2019    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Spectrum Pacific West, LLC f/k/a Time Warner Cable Pacific
West LLC, a subsidiary of Charter Communi
c/o Charter Communications, Inc.
Serena M. Parker
400 Atlantic Street, Room 407
Stamford, CT 06901                                             3436    1/14/2019          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Spera, Marcella
2025 OFarrell St
Apt 4
San Francisco, CA 94115                                        1137    3/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $39.40                                                                                   $39.40
Sperry, Jason
1415 Lincoln Place
Brooklyn, NY 11213                                             1173     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $18.00                                                                                   $18.00
Spicer, Robert
1194 Perry St
Columbus, OH 43201-3344                                        2256    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Spitaleri, Aliaksandra
215 E 11th Ave Apt D3
Denver, CO 80203                                               558     2/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $20.00                                                                                   $20.00
Spreadshirt Inc
1572 Roseytown Rd
Greensburg, PA 15601                                           547     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,884.02                                                                               $2,884.02
Springwise Facility Management, Inc.
Thomas Lewis
1822 South Bend Ave
South Bend, IN 46637                                            15     11/22/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $12,263.16                                             $1,135.00                        $13,398.16
Sprinklr, Inc.
Attn: General Counsel
29 W 35th Street, 8th Floor
New York, NY 10001                                             2689    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $12,500.00                                                                              $12,500.00
Sprinklr, Inc.
Attn: Senior Counsel
29 W. 35th St., 8th Fl
New York, NY 10001                                             2825    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $388.25                                                                                  $388.25
Sprinklr, Inc.
Attn: Senior Counsel
29 W. 35th St., 8th Fl
New York, NY 10001                                             2833    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $107,462.00                                                                             $107,462.00
SPRINT CORP.
ATTN: BANKRUPTCY DEPT
PO BOX 7949
OVERLAND PARK, KS 66207-0949                                   416     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $3,833.83                                                                               $3,833.83
SPS Commerce, Inc.
333 South 7th St., Suite 1000
Minneapolis, MN 55402                                          145     1/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $4,816.57                                                                               $4,816.57
Stafford, Veronica
38086 Lantern Hill Ct.
Farmington Hills, MI 48331                                     544     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $25.44                                                                                   $25.44



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                                                                                                                                                   Current General                                       Current 503(b)(9)
                                                                                                                                                                      Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                                   Debtor                                         Unsecured Claim                                        Admin Priority
                                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                       Amount                                                Amount
Standard Clothing LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York , NY 10153                            2631    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                       $15,253,150.68                              $0.00                                       $15,253,150.68
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2643    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                           $0.00                               $0.00                                                $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2659    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                               $0.00                                                $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2696    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                       $0.00            $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2761    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                               $0.00                                                $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2809    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00                               $0.00                                                $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2846    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                   $0.00            $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2851    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                         $0.00            $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2852    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                               $0.00                                                $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2866    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                               $0.00            $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2868    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                       $0.00                               $0.00                                                $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2876    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00



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                                                                                                                                                  Current General                                       Current 503(b)(9)
                                                                                                                                                                     Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                         Unsecured Claim                                        Admin Priority
                                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                      Amount                                                Amount
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2878    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                             $0.00            $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2514    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                               $0.00            $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2625    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                               $0.00                                                $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2688    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                   $0.00            $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2821    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                       $0.00                               $0.00                                                $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2822    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                               $0.00                                                $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2827    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                               $0.00                                                $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2837    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00                               $0.00                                                $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2841    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                           $0.00                               $0.00                                                $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2843    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                       $0.00            $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2850    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2860    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                         $0.00            $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2871    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                             $0.00            $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2597    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                  $14,406,742.32                              $0.00                                       $14,406,742.32




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                                                                                                                                                  Current General                                      Current 503(b)(9)
                                                                                                                                                                    Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                         Unsecured Claim                                       Admin Priority
                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                      Amount                                               Amount
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2687    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                       $0.00                              $0.00                                                $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2746    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2804    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00                              $0.00                                                $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2814    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                              $0.00                                                $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2844    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                           $0.00                              $0.00                                                $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2858    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                        $0.00            $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2859    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                            $0.00            $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2861    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                  $0.00            $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2862    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                              $0.00            $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2864    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                              $0.00                                                $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2879    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Stanley, Daisy
1405 5th St.
La Verne, CA 91750                            1224     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $158.05                                                                                 $158.05
Stanley, Jasmin
40 East 21st Street, #8
New York, NY 10010                            1714    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $30.00                                                                                  $30.00


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                                                                                                                                                                           Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address               Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                            Amount                                                Amount
STATE BOARD OF EQUALIZATION
SPECIAL OPS, MIC: 55
PO BOX 942879
SACRAMENTO, CA 94279-0055                                  126      1/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
STATE BOARD OF EQUALIZATION
SPECIAL OPS, MIC: 55
PO BOX 942879
SACRAMENTO, CA 94279-0055                                  361     2/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                      $0.00                                                                 $0.00
STATE BOARD OF EQUALIZATION
SPECIAL OPS, MIC: 55
PO BOX 942879
SACRAMENTO, CA 94279-0055                                  2808    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
State of California
Bankruptcy Section MS A340
Franchise Tax Board
PO Box 2952
Sacramento, CA 95812-2952                                  3426     1/4/2019         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $1,881.46        $1,881.46
State of Connecticut / Department of Revenue Services
Collection & Enforcement Division / Bankruptcy Section
450 Columbus Boulevard
Suite 1
Hartford, CT 06103-1837                                    1787     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
STATE OF NEVADA DEPARTMENT OF TAXATION
555 E. WASHINGTON AVE STE #1300
LAS VEGAS, NV 89101                                         43     12/2/2016    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $8,514.47        $48,883.62                                                            $57,398.09
Steckler, Sharon
53 Winslow Road, Apt. A
Brookline, MA 02446                                        542     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                   $17.00                            $17.00
Stein, Karen
4174 Vanetta Dr
Studio City, CA 91604                                      642      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $39.24           $39.24
Steiner, Carley
1313 Valley View Rd #106
Glendale , CA 91202                                        441     2/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $32.70                                                                                   $32.70
Steiner, Carley
1313 Valley View Rd #106
Glendale, CA 91202                                         1001    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $32.70                                                                                   $32.70
Steiner, Carley
1313 Valley View Rd #106
Glendale, CA 91252                                         1016    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $32.70           $32.70
Steiner, Savannah
7124 Teesdale Ave.
North Hollywood, CA 91605                                  3125    4/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Steinman, Hallie
303. E. 83rd Street, Apt 3D
New York, NY 10028                                         1277     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $25.00                                                                                   $25.00
Steinmetz, Cindi
500 East 83rd St Apt 2K
New York, NY 10028                                         972     3/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $38.00                                                                                   $38.00
Steinmetz, Cindi
500 East 83rd Street Apt 2K
New York, NY 10028                                         386     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $38.00                                                                                   $38.00
Steketee, Hunter Elizabeth
2160 Outpost Drive
Los Angeles, CA 90068                                      1081    3/29/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $159.14                                                                                  $159.14
STEPHENS, THORYN
1101 OCEAN FRONT WALK #15
VENICE, CA 90291                                           1952    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $62,150.00        $12,850.00                                                            $75,000.00
Stern, Isabel
1800 Franklin St Apt 208
San Francisco, CA 94109                                    823     3/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $9.57                                                                                    $9.57


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                                                                                                                                            Current General                                       Current 503(b)(9)
                                                                                                                                                               Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                                Amount
Stickmen Properties Ltd
22 E Gay St, Suite 800
Columbus, OH 43215                              6      11/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $8,685.00                                                                               $8,685.00
Strautz, Deborah
36142 Roycroft
Livonia, MI 48154                              3281    5/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $72.08                                                                                   $72.08
Strickland, Savanna
22837 Ponderosa Drive
Boca Raton, FL 33428                           3127    4/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $108.12                                                                                  $108.12
Su, Moi
2428 N Ditman Ave
Los Angeles, CA 90032                          1268     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Sukhotski, Stanislau
127 16th Ave
Seattle, WA 98122                              3381    11/20/2017   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $140.00                                                                $140.00
Swendseid, Alaina
15889 W 62nd Pl
Golden, CO 80403                               444     2/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $65.00                                                                                   $65.00
Swift Delivery and Logistics, Inc.
10111 Martin Luther King, Jr. Hwy Ste 105
Bowie, MD 20720                                 93     12/16/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,748.00                                                                               $2,748.00
Swift, Lawrence
6530 Reflection Drive
#2270
San Diego, CA 92124                            546     2/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $100.00                                                                                  $100.00
Swift, Liam
1466 Belle Ave
Lakewood, OH 44107                             489     2/23/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $38.00                                                                                   $38.00
Szegedi, Juliet
438 North Gower Street
Los Angeles, CA 90004                          609      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $54.30                                                                                   $54.30
Szeneri, Krystal
7731 24th Street
Westminster, CA 92683                          3404     2/2/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $62.64                                                                                   $62.64
Szeneri, Krystal
7731 24th St.
Westminster, CA 92683                          3403     2/2/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $62.64           $62.64
Szwarc, Katherine
34 N 7th Street Apt 5T
Brooklyn, NY 11249                             496     2/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $18.00                                                                                   $18.00
Tabor Storage Solutions
121 W. Lexington Drive, Suite 630
Glendale, CA 91203                             362     2/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $981.44                                                                                  $981.44
Tageos, Inc.
185 Alewife Brook Parkway Ste 210
Cambridge, MA 02138                            526     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
TAGTIME USA, INC
4601 DISTRICT BLVD.
VERNON, CA 90058                                73     12/15/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $11,636.14                                                                              $11,636.14
TAGTIME USA, INC
4601 DISTRICT BLVD.
VERNON, CA 90058                                77     12/19/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
TAGTIME USA, INC.
4601 DISTRICT BLVD.
VERNON, CA 90058                               206     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Taing, Kim
120 N. Avenue 23 #2
Los Angeles, CA 90031                          2244    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
Taing, Kim
120 N. Avenue 23 #2
Los Angeles, CA 90031                          2246    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00


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                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                               Amount
Taitt, Brittiany
70 East 108th Street #3F
New York, NY 10029                            148     1/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $60.00                             $60.00                                              $120.00
Takahashi, Mary Ann
3375 Jordan Rd
Oakland, CA 94602                             234     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                  $50.00
Tam, Judy Yan
555 W. Cesar E Chavez Ave
Apt 409
Los Angeles, CA 90012                         849     3/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Tam, Judy Yan
555 W. Cesar E Chavez Ave
Apt 409
Los Angeles, CA 90012                         1846    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Tam, Judy Yan
555 W. Cesar E Chavez Ave
Apt 409
Los Angeles, CA 90012                         1950    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Tam, Siu Ling
6303 Aldama St.
Los Angeles, CA 90042                         1773    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Tam, Siu Ling
6303 Aldama St.
Los Angeles, CA 90042                         1844    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Tan, Miao
4929 Malta St
Los Angeles, CA 90042                         2048    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Tan, Miao
4929 Malta St
Los Angeles, CA 90042                         2166    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Tan, Putri
9 SAINT FELIX ST
Brooklyn, NY 11217-1205                       622      3/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $54.00                                                                                  $54.00
Tanabe, Yayoi
8618 Appian Way
Los Angeles, CA 90046                         1004    3/25/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $38.00                                                                                  $38.00
Tanabe, Yayoi
8618 Appian Way
Los Angeles, CA 90046                         1006    3/25/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $38.00                                                                                  $38.00
Tang, Hung
1535 S. Stevens Ave # C
San Gabriel, CA 91776                         988     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Tang, Hung
1535 S. Stevens Ave # C
San Gabriel, CA 91776                         990     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Tang, Jacky
2 Northside Piers #9J
Brooklyn, NY 11249                            641      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $37.75                                                                                  $37.75
Tashchyan, Tamara
12001 Burbank Blvd
Apt #2
Valley Village, CA 91607                      2088    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                  $185.30          $185.30
Tat, Sandy K
1405 Stevens Ave. Apt#2
San Gabriel, CA 91776                         847     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
TAYARA, ADNAN A.
1810 HIGHLANDER DR
ROWLETT, TX 75088                             3203     5/1/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                   $0.00
TAYARA, ADNAN A.
1810 HIGHLANDER DR
ROWLETT, TX 75088                             3208     5/1/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                          $0.00            $0.00


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             Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                            Amount                                                Amount
Taylor, Kimberly
4309 Eagle Trace Court
Waldorf, MD 20602                          1221     4/3/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                        $121.04                           $121.04
Tayun, Jorge
1104 S Ferris Ave
Los Angeles, CA 90022                      2032    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Tayun, Jorge
1104 S Ferris Ave
Los Angeles, CA 90022                      2034    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Tayun, Obispo Tzanax
1325 Fraser Ave
Los Angeles, CA 90022                      3090    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Tayun, Obispo Tzarax
1325 Fraser Ave
Los Angeles, CA 90022                      3104    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Teamkit Far East Ltd.
33 Canton Rd Tsim Sha Tsui
Ste. 1713-14 17/F Tower 3
Kowloon, Hongkong City
Hong Kong                                  1146    3/30/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
Teamkit Far East Ltd.
Suite 1713-14, 17/F., Tower 3
Hong Kong City, 33 Canton Road
Tsim Sha Tsui, Kowloon
Hong Kong                                  1182    3/30/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $45,783.26                                                                  $0.00       $45,783.26
Tebalan, Elsa
225 S. Burlington Ave
Apt #17
Los Angeles, CA 90057                      3051    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Tebalan, Elsa E
225 S Burlington Ave.
Apt. 17
Los Angeles, CA 90057                      3039    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Technical Connections, Inc.
6701 Center Dr. W, Suite 825
Los Angeles, CA 90045                       14     11/21/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $24,000.00                                                                              $24,000.00
TEKsystems, Inc.
Bruce Bragg
7437 Race Road
Hanover, MD 21076                          1253     4/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $23,000.00                                                                              $23,000.00
Tellez, Fernando
1505 W. 11th Pl.
Los Angeles, CA 90015                      1751    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Tellez, Fernando
1505 W. 11th Pl.
Los Angeles, CA 90015                      1987    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
Tellez, Francisco
3269 Saturn Ave # B
Huntington Park, CA 90255                  2391    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Tellez, Francisco
3269 Saturn Ave # B
Huntington Park, CA 90255                  2624    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
TENNESSEE DEPARTMENT OF REVENUE
TDOR C/O ATTORNEY GENERAL
PO Box 20207
NASHVILLE, TN 37202-0207                   2543    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                      $0.00                                                                 $0.00
TENNESSEE DEPARTMENT OF REVENUE
TDOR C/O ATTORNEY GENERAL
PO Box 20207
NASHVILLE, TN 37202-0207                   2567    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00              $0.00                                                                 $0.00



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                                                                                                                                                               Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                         Admin Priority
                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                 Amount
Terezakis, Evelyn
189 E 93rd Street
Apt. 3B
New York, NY 10128                            761     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $9.63                                                                                    $9.63
Terezakis, Evelyn
189 E 93rd Street
Apt. 3B
New York, NY 10128                            762     3/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $9.63                                                                                    $9.63
Terezakis, Evelyn
189 E 93rd Street
Apt. 3B
New York, NY 10128                            765     3/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $9.63                                                                                    $9.63
Tesfandrias, Senayit
1416 Caroline St Apt #C
Alameda, CA 94501                             309      2/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $146.00                                                                                  $146.00
The A.J.D. Building LLC
Belkin Burden Wenig & Goldman, LLP
S. Stewart Smith, Esq.
270 Madison Avenue
New York, NY 10016                            3292    5/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)             $1,368,640.46                                                                           $1,368,640.46
The Ally Coalition
63 Woodlawn
Boston, MA 02130                               20     11/25/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
The Ally Coalition
63 Woodlawn
Boston, MA 02130                              648      3/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $15,703.61                                                                               $15,703.61
THE BUTTON DEPOT
PO BOX 24949
LOS ANGELES, CA 90024-0949                    646      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
The City of Philadelphia
City of Philadelphia Law Tax & Revenue
c/o Megan N. Harper
1401 JFK Blvd., 5th Floor
Philadelphia, PA 19102                        3429    1/14/2019    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                            $0.00            $0.00
THE DISTILLATA COMPANY
1608 E 24TH ST
CLEVELAND, OH 44114-4212                      857     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $136.38                                                                                  $136.38
The Electric Company of Seattle, Inc.
PO Box 15269
Seattle, WA 98115                             116     12/30/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $5,323.67                                                                                $5,323.67
The Illuminating Company
5001 NASA Blvd
Fairmont, WV 26554                            317      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $466.28                                                                                  $466.28
The Irvine Company LLC
c/o Bewley, Lassleben & Miller, LLP
Attn: Ernie Zachary Park
13215 E. Penn St., Suite 510
Whittier, CA 90602                            494     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $168,180.10                                                                              $168,180.10
The Law Office of Scott A. Klion, PLLC
385 Burnt Meadow Road
Gardiner, NY 12525                             68     12/13/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
The Law Office of Scott A. Klion, PLLC
385 Burnt Meadow Road
Gardiner, NY 12525                            613      3/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $10,447.50                                                                               $10,447.50
THE MCKENZIE FAMILY TRUST
4550 E WILD COYOTE TRL
TUCSON, AZ 85739                              947     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
The Ohio Department of Taxation
Bankruptcy
P.O. Box 530
Columbus, OH 43216                            1148    3/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $83,932.00              $0.00                                                            $83,932.00


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                                                                                                                                                                                     Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address                        Claim No. Claim Date                              Debtor                                       Unsecured Claim                                         Admin Priority
                                                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                     Amount                                                 Amount

The Retail Property Trust, a Massachusetts Business Trust
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                              1533    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                   $0.00            $0.00

The Retail Property Trust, a Massachusetts Business Trust
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                              3233     5/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                       $1,081,859.76                                                             $80,690.76    $1,162,550.52
The Trustee of the University of Pennsylvania
David L. Pollack, Esq.
c/o Ballard Spahr LLP
1735 Market Street, 51st Floor
Philadelphia, PA 19103                                              2207    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                        $4,038.57        $4,038.57

The Trustee of the University of Pennsylvania, Philadelphia, PA
c/o Ballard Spahr LLP
Attn: David L. Pollack, Esq.
1735 Market Street, 51st Floor
Philadelphia, PA 19103                                              2472    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $4,579.76                                                                                $4,579.76
The United Illuminating Co.
100 Marsh Hill Rd.
Orange, CT 06477                                                    252     1/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $287.32              $0.00                                                               $287.32
The United Illuminating Co.
100 Marsh Hill Rd.
Orange, CT 06477                                                    253     1/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $1,011.69              $0.00                                                             $1,011.69
THERIAULT, MADELEINE
2741 TERESITA ST.
SAN DIEGO, CA 92104                                                 294      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $334.96                                                                                  $334.96
Thomas P Penland DBA Quality Medical Service
17124 So. Western Ave #4
Gardena, CA 90247                                                   904     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                      $0.00            $0.00
Thomas, Brandi
35 Overlook Ln
Richmond, VT 05477                                                  552     2/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $31.00                                                                                   $31.00
Thompson, Amy Lund
717 N POINSETTIA PL
LOS ANGELES, CA 90046-7621                                          1056    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $40.00                                                                                   $40.00
Thomson Reuters
Thomson Reuters-West
610 Opperman Drive
Eagan, MN 55123                                                     2532    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $3,084.99                                                                                $3,084.99
THONG, LINDA
3715 STRANG AVE
ROSEMEAD, CA 91770                                                  999     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                 $0.00                                                                 $0.00
Thong, Linda
3715 Strang Ave
Rosemead, CA 91770                                                  2175    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Thong, Linda
3715 Strang Ave.
Rosemead, CA 91770                                                  1908    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Tiedt, Gina
3835 Peregrin Cir
Corona, CA 92881                                                    501     2/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $391.00                                                                                  $391.00
TIME WARNER CABLE
7820 CRESENT EXECUTIVE DR
4TH FLOOR
CHARLOTTE, NC 28217                                                 1300     4/5/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $3,692.72                                                                                $3,692.72
TIN, PEARL
388 BEALE STREET #1510
SAN FRANCISCO, CA 94105                                             737     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $150.00                                                                                  $150.00

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                                                                                                                                                              Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Tint Studio
Gilmer Ake
14209 Burning Tree Dr.
Victorville, CA 92395                         101     12/27/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $8,645.00                                                                               $8,645.00
Tioseco, James
2009 San Pablo Ave.
Berkeley, CA 94702                            409     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $99.93                                                                                   $99.93
Tioseco, James
2009 San Pablo Ave.
Berkeley, CA 94702                            2491    4/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $99.93                                                                                   $99.93
Tlayoa, Mary
1000 S Grandview St Apt #106
Los Angeles, CA 90006                         1615     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Tlayoa, Mary
1000 S Grandview St Apt #106
Los Angeles, CA 90006                         1641     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
TM Wellington Green Mall LP
Ballard Spahr LLP
Dustin P. Branch, Esq.
2029 Century Park East, Suite 800
Los Angeles, CA 90067-2909                    1912    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $144,255.99                                                                $248.32      $144,504.31
TM Wellington Green Mall LP
c/o Ballard Spahr LLP
Attn: Dustin P. Branch, Esq.
2029 Century Park East, Suite 800
Los Angeles, CA 90067-2909                    1986    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
To Plus Alpha
13404 La Jolla Cir. #201H
La Mirada, CA 90638                            29     11/28/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $20,911.00                                                                              $20,911.00
Tobar, Evangelina Santos
838 East. 95th St
Los Angeles, CA 90002                         1776    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Tobar, Evangelina Santos
838 East. 95th St
Los Angeles, CA 90002                         1916    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Toledano, Anais
784 Columbus Ave, #40
New York, NY 10025                            336      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $46.00                                                                                   $46.00
Tolete, Patricia
32-13 53rd Place
Woodside, NY 11377                            231     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $48.00                                                                                   $48.00
Tolete, Patricia
32-13 53rd Place
Woodside, NY 11377                            672      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $48.00                                                                                   $48.00
Tolete, Patricia
32-13 53rd Place
Woodside, NY 11377                            687      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $48.00           $48.00
Tolete, Patricia
32-13 53rd Place
Woodside, NY 11377                            692      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $48.00                                                                                   $48.00
Tomas, Jose Juan
521 S Union Dr Apt #102
Los Angeles, CA 90017                         1589     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Tomas, Jose Juan
521 S Union Dr #102
Los Angeles, CA 90017                         1469     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Tomlinso Management Group, INC.
15760 Ventura Blvd - Suite # 1920
Encino, CA 91436                              395     2/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $2,880.00                                                                               $2,880.00




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                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                               Amount
TOMPKINS USA
ATTN MICHAEL M MOSHER
623 ONEIDA ST
SYRACUSE, NY 13202                            688      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Toro, Melissa
1420 Noble Ave Apt 4U
Bronx, NY 10472                               3398    12/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                $0.00             $50.00                            $50.00
Torres de Luna, Juana
1233 Elden Ave
Apt. 10
Los Angeles, CA 90006                         3312     6/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Torres de Luna, Juana
1233 Elden Ave
Apt. 10
Los Angeles, CA 90006                         3313     6/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                  $0.00            $0.00
Torres de Ruiz, Otilia
1525 1/2 W 59 Pl
Los Angeles, CA 90047                         1590     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Torres, Guadalupe
9207 S San Pedro St
Los Angeles, CA 90003                         2693    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Torres, Guadalupe
9207 S. San Pedro St
Los Angeles, CA 90003                         1202     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Torres, Guadalupe
9207 S. San Pedro St
Los Angeles, CA 90003                         1227     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                               $0.00                             $0.00
Torres, Guadalupe
9207 S. San Pedro St
Los Angeles, CA 90003                         2629    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Torres, Melanie
94-12 239th Street
Floral Park, NY 11001                         3163    4/25/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $81.61                                                                                  $81.61
Torres, Molly
1373 COOLIDGE AVE
PASADENA, CA 91104-2002                       364     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                  $50.00
Torres, Molly
1373 COOLIDGE AVE
PASADENA, CA 91104-2002                       1032    3/27/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $50.00                                                                                  $50.00
Torres, Monica
262 E 45 St.
Los Angeles, CA 90011                         1959    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Torres, Monica
262 E 45 St.
Los Angeles, CA 90011                         2180    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Torres, Nicolasa
2518 Cass Pl
Huntington Park, CA 90255                     2490    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Torres, Nicolasa
2518 Cass Pl
Huntington Park, CA 90255-6704                2782    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Torres, Nicolasa
2518 Cass Place
Walnut Park, CA 90255                         1957    4/10/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                                $0.00            $0.00
Torres, Nicolasa
2518 Cass Place
Walnut Park, CA 90255                         2071    4/10/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                           $0.00                                                                 $0.00
Torres, Norma
1925 Park Grove Ave
Los Angeles, CA 90007                         2485    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00



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                                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                       Amount                                                 Amount
Torres, Norma
1925 Park Grove Ave
Los Angeles, CA 90007                                 2633    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Torres, Philip
265 Armstrong Ave.
Jersey City, NJ 07305                                 1325     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $250.00                                                                                  $250.00
TORRES, PIEDAD
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                            1424     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                    $0.00
TORRES, PIEDAD
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                            1440     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                    $0.00
Torres, Piedad
c/o Keith A. Fink & Associates
1990 S BUNDY DR STE 620
Los Angeles, CA 90025-5690                            1452     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                    $0.00
Torres, Romela
6116 Broadway
Woodside, NY 11377                                    388     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                 $83.49                                               $83.49
Total Quality Logistics, LLC
Attn: Joseph B. Wells, Asst Corporate Counsel
4289 Ivy Pointe Blvd.
Cincinnati, OH 45245                                  267     1/30/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $17,793.90                                                                               $17,793.90
Toth, Laura
204 Livingston St Apt 3
Brooklyn, NY 11201                                    1197     4/3/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $28.92                                                                                   $28.92
Tovar de Espinoza, Rita
12028 Nava Street
Norwalk, CA 90650                                     1355     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Town Center at Boca Raton Trust, a New York Trust
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                1505    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                   $0.00            $0.00
Town Center at Boca Raton Trust, a New York Trust
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                3224     5/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                       $1,542,540.25                                                            $123,319.21    $1,665,859.46
Trace
Tracey Liriano
2738 Bouck Avenue
Bronx, NY 10469                                       2243    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $42.60                                                                                   $42.60
Tran, Jenny
8528 Jumilla Ave
Winnetka, CA 91306                                    922     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $250.00                                                $250.00                           $500.00
Tran, Jenny
8528 Jumilla Ave
Winnetka, CA 91306                                    383     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $250.00                                                                                  $250.00
Tran, Jenny
8528 Jumilla Ave
Winnetka, CA 91306                                    913     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $250.00          $250.00
Tran, Jimmy
4807 Marionwood Dr. #403
Culver City, CA 90230                                 2826    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                  $0.00            $0.00
Tran, Jimmy
4807 Marionwood Dr. #403
Culver City, CA 90230                                 2828    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                             $0.00                                                                 $0.00
Tran, Joanne
11 Victorian Way
West Deptford, NJ 08096                               465     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $60.00                                                                                   $60.00


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                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
Tran, Madeline
632 Via Vista
Newbury Park, CA 91320                       785     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $46.32                                                                                   $46.32
Tran, Maggie
2054 S. Sprague Ln. Apt. #4
Anaheim, CA 92802                            752     3/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.58                                                                                   $50.58
Tran, Maple
2012 McGraw Ave
Bronx, NY 10462                              373     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $70.00                                                                                   $70.00
Tran, Phuong Khanh
1031 Bilton Way
San Gabriel, CA 91776                        1234     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Tran, Phuong Khanh
1031 Bilton Way
San Gabriel, CA 91776                        1235     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Transform, Inc.
Randa E. Minkarah
999 Third Avenue, Suite 700
Seattle, WA 98104                            311      2/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $115,711.00                                                                             $115,711.00
Trejo Santos, Blanca L
6848 1/2 Laurel Cyn Blvd
N. Hollywood, CA 91605                       1309     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Trejo, Blanca
6848 1/2 Laurel Canyon Blvd
North Hollywood, CA 91605                    1312     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Trejo, Dalila
C/O Pedersen Law APLC
Attn: McKenzee D. McCammack
17910 Skypark Cir. Suite 105
Irvine, CA 92614                             788     3/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Trujillo, Ana V
3924 Langford St
Los Angeles, CA 90063                        1569    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Trujillo, Ana V
3924 Langford St
Los Angeles, CA 90063                        1667    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
TRUJILLO, DELFINO
1438 E 56TH STREET
LOS ANGELES, CA 90011-4924                   635      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00             $0.00                                                                 $0.00
Trujillo, Nuyla
847 1/2 E. 78th St
Los Angeles, CA 90001                        2403    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Trujillo, Nuyla
847 1/2 E. 78th St
Los Angeles, CA 90001                        2453    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Trump Plaza LLC
Attn: Alex W. Cannon, Esq.
725 Fifth Avenue, 26th Floor
New York, NY 10022                           3191    4/27/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Trump Plaza LLC
c/o The Trump Organization
Attn: Alex W. Cannon, Esq.
725 Fifth Avenue, 26th Floor
New York, NY 10022                           3192    4/27/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $466,727.68                        $184,000.00                               $0.00      $650,727.68
TSAI, SUE
1052 S HUDSON AVE
LOS ANGELES, CA 90019-1815                   699      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
TSAI, SUE
1052 S HUDSON AVE
LOS ANGELES, CA 90019-1815                   702      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00



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                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
Tsan, Linda
763 Treat Ave
San Francisco, CA 94110                       572     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $38.05                                                                                   $38.05
Tuohy, Stephen Mark
101 S Kilkea Dr
Los Angeles, CA 90048                         471     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $112.76                                                                                  $112.76
Tuohy, Stephen Mark
101 S Kilkea Dr
Los Angeles, CA 90048                         2020    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $112.76                                                                                  $112.76
Twin Dragon Marketing, Inc.
Law Offices of James S. Yan
James S. Yan, Esq.
980 S. Arroyo Parkway, Suite 250
Pasadena, CA 91105                            3419    10/22/2018         APP Winddown, LLC (f/k/a American Apparel, LLC)                        $100,000.00                                                                             $100,000.00
Twins Pleating & Stitching, Inc.
3659 Whittier Blvd.
Los Angeles, CA 90023                          2      11/18/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $22,242.60                                                                              $22,242.60
Tyco Integrated Security, LLC
10405 Crosspoint Boulevard
Indianapolis, IN 46256                        214     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $11,322.35                                                                              $11,322.35
Tyco Integrated Security, LLC
10405 Crosspoint Boulevard
Indianapolis, IN 46256                        216     1/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $4,775.70                                                                               $4,775.70
Tyco Integrated Security, LLC
10405 Crosspoint Boulevard
Indianapolis, IN 46256                        433     2/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $6,693.54                                                                               $6,693.54
U.S. Customs and Border Protection
Attn: Revenue Division, Bankruptcy Team
6650 Telecom Dr., Suite 100
Indianapolis, IN 46278                        1423     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
U.S. TelePacific Corp.
Office of General Counsel
515 S. Flower Street, 47th Floor
Los Angeles, CA 90071-2201                    2766    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $27,626.98                                                                              $27,626.98
Ueng, Jocelyn
450 Massachusetts Ave NW #912
Washington, DC 20001                          411     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $29.70                                                                                   $29.70
Ueng, Jocelyn
450 Massachusetts Ave NW #912
Washington, DC 20001                          1328     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $29.70                                                                                   $29.70
Ugarte, Mireya
25325 Frampton Ave
#5
Harbor City, CA 90710                         1329     4/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                                                                 $0.00
Uhr, Tamara J.
151 Maono Place
Honolulu, HI 96821                            462     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $136.13                                                                                  $136.13
Uhr, Tamara J.
151 Maono Place
Honolulu, HI 96821                            1230     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $136.13                                                                                  $136.13
Uhr, Tamara J.
151 Maono Place
Honolulu, HI 96821                            1233     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $136.13          $136.13
Ulker, Meltem
101 Collins Ave #10
Miami Beach, FL 33139                         422     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                $94.00             $94.00                           $188.00
Ulwick, Cassandra
1132 Dekalb Ave #3
Brooklyn, NY 11221                            932     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $204.45                                                                                  $204.45
Ulwick, Cassandra
1132 Dekalb Ave
Brooklyn, NY 11221                            201     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00

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                                                                                                                                                              Current Priority Current Secured                      Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                                Amount
UNiDAYS Inc
Myunidays Limited
2 Castle Boulevard
Nottingham NG7 1FB
United Kingdom                                162     1/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $47,769.66                                                                              $47,769.66
UNITED FABRICARE SUPPLY, INC.
1237 W. WALNUT STREET
COMPTON, CA 90220                             565     2/28/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $247,508.50                                                 $0.00                       $247,508.50
UNITED FABRICARE SUPPLY, INC.
1237 W. WALNUT STREET
COMPTON, CA 90220                             3442    8/15/2019    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                   $0.00
United Parcel Service, Inc.
Lawrence Schwab/Kenneth Law
Bialson, Bergen & Schwab
633 Menlo Ave., Suite 100
Menlo Park, CA 94025                          1699    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $97,348.36                                                                  $0.00       $97,348.36
Universal Elastic and Garment Supply
2200 S. Alameda Street
Los Angeles, CA 90058                          31     11/28/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $10,983.50                                                                              $10,983.50
UTAH STATE TAX COMMISSION
ATTN: BANKRUPTCY UNIT
210 N 1950 W
SALT LAKE CITY, UT 84134-9000                 649      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00             $0.00                                                                 $0.00
UTAH STATE TAX COMMISSION
ATTN: BANKRUPTCY UNIT
210 N 1950 W
SALT LAKE CITY, UT 84134-9000                 887     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00             $0.00                                                                 $0.00
UTAH STATE TAX COMMISSION
ATTN: BANKRUPTCY UNIT
210 N 1950 W
SALT LAKE CITY, UT 84134-9000                 894     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00             $0.00                                                                 $0.00
V F MALL LLC
C/O LECLAIRRYAN, PC
ATTN: NICLAS A. FERLAND, ESQ.
545 LONG WHARF DRIVE, 9TH FLOOR
NEW HAVEN, CT 06511                           1630     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $216,575.11                                                                             $216,575.11
Vaccaro, Leanne
9706 161st Ave.
Howard Beach, NY 11414                        516     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Vaco Los Angeles, LLC
Attn: Leigh Caylor
5410 Maryland Way Ste 460
Brentwood, TN 37027                           3416    6/18/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $27,950.00                                                                              $27,950.00
Vaisnoraite, Giedre
49 Ludlow St, 5b
New York, NY 10002                            3147    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $58.00                                                                                   $58.00
Valderrama, Maria B.
3125 Josephine St.
Lynwood, CA 90262                             1954    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Valderrama, Maria B.
3125 Josephine St.
Lynwood, CA 90262                             2128    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Valencia, Mariana
6329 Casitas Ave
Bell Gardens, CA 90201                        2263    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Valencia, Mariana
6329 Casitas Ave
Bell Gardens, CA 90201                        2264    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Valente, Guillermo
1150 Hicks Avenue
Los Angeles, CA 90023                         2222    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00


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                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                               Amount
Valente, Guillermo
1150 S Hicks Ave
Los Angeles, CA 90023                          2177    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Valles, Cecilia
2819 Independence Ave
South Gate, CA 90280                           1932    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Valles, Cecilia
2819 Independence Ave
South Gate, CA 90280                           1997    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Valles, Cecilia
2819 Independence Ave
South Gate, CA 90280                           2027    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Valles, Cecilia
2819 Independence Ave
South Gate, CA 90280                           2214    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Vandeman, Barbara
1266 Calle de Sevilla
Pacific Palisades, CA 90272                    535     2/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $61.04                                                                                  $61.04
Vaquero, Alicia
719 E 45th St
Los Angeles, CA 90011                          1200     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Vaquero, Alicia
719 E 45th St
Los Angeles, CA 90011                          1206     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Vargas, Blanca
2429 Sale Pl
Huntington Park, CA 90255                      1127    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00
Vargas, Blanca
2429 Sale Pl
Huntington Park, CA 90255                      1136    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Vargas, Blanca
2429 Sale Pl
Huntington Park, CA 90255                      1370     4/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Vargas, Blanca
2429 Sale Pl
Huntington Park, CA 90255                      1371     4/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Vargas, Cira
743 E. 32nd St
Los Angeles, CA 90011                          2157    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                                                                                   $0.00
Vargas, Cira
743 E. 32nd St
Los Angeles, CA 90011                          2502    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Vargas, Gabriela
7318 N. Lowell
Lincolnwood, IL 60712                          568      3/1/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $35.00                                                                                  $35.00
Vargas, Graciela
3006 9th Avenue
Los Angeles, CA 90018                          1703    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Vargas, Graciela
3006 9th Avenue
Los Angeles, CA 90018                          1880    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Vasquez Gonzalez, Anna
2842 Leeward Ave
Los Angeles, CA 90005                          2920    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Vasquez, Jose A.
807 Fedora St. #207
Los Angeles, CA 90005                          689      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Vasquez, Jose A.
807 Fedora St. #207
Los Angeles, CA 90005                          707      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00



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                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                               Amount
Vasquez, Luisa
3102 E 5th St.
Los Angeles, CA 90063                          1849    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Vasquez, Luisa
3102 E 5th St.
Los Angeles, CA 90063                          1897    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Vasquez, Rebecca
404 E. 158th St. Apt 7A
Bronx, NY 10451                                619      3/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $107.60                                                                                 $107.60
Vasquez, Ronald
50 Biscayne Blvd., Apt 2907
Miami, FL 33138                                541     2/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $40.02                                                                                  $40.02
Vega, Rogelio
4544 Amber Pl.
Los Angeles, CA 90032                          1911    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Vega, Rogelio
4544 Amber Pl.
Los Angeles, CA 90032                          2197    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Velasco, Sonia
3762 E. Hammel St.
Los Angeles, CA 90063                          3093    4/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Velasco, Sonia
3762 E. Hammel St.
Los Angeles, CA 90063                          3097    4/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Velasquez, Ana
1515 Wilshire Blvd. #522
Los Angeles, CA 90017                          2777    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00
Velasquez, Higinia
1114 W 60th Pl
Los Angeles, CA 90044                          1799    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Velasquez, Higinia
1114 W 60th Pl
Los Angeles, CA 90044                          1876    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
VELASQUEZ, RICARDA
1112 W 60TH PL
LOS ANGELES, CA 90044                          928     3/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
VELASQUEZ, RICARDA
1112 W 60TH PL
LOS ANGELES, CA 90044                          1765    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
VELASQUEZ, RICARDA
1112 W 60TH PL
LOS ANGELES, CA 90044                          2041    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Velasquez, Socorro
1740 N. Rose Ave.
Compton, CA 90221                              2029    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Velasquez, Socorro
1740 N. Rose Ave.
Compton, CA 90221                              2036    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Velazquez, Olivia
10329 San Gabriel Ave
South Gate, CA 90280                           3238     5/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Velazquez, Olivia
10329 San Gabriel Ave
South Gate, CA 90280                           3239     5/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Veliz, Clara
517 West 113th St
Los Angeles, CA 90044                          1991    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Venegas, Altagracia
616 W 53rd St
Los Angeles, CA 90037                          1389     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00



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                                                                                                                                                                                  Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                  Amount                                                Amount
Venegas, Altagracia
616 W 53rd St
Los Angeles, CA 90037                                            1395     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Ventura, Catalina G.
10971 S. Main St
Los Angeles, CA 90061                                            1481     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Vera, Elena
1950 Leighton Ave
Los Angeles, CA 90062                                            1516     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Vera, Guillermina
3526 E 2nd. St.
Los Angeles, CA 90063                                            1588     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Vergara, Emily
19 Marion Ave.
Cold Spring, NY 10516                                            3252    5/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $35.12                                                                                   $35.12
Verish, Angela
17275 Bard Lane
Brookfield, WI 53045                                             836     3/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                               $10.14                            $10.14
Verizon Business Global LLC, on behalf of its affiliates and
subsidiaries
William Vermette
22001 Loudoun County Pkwy
Ashburn, VA 20147                                                647      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $10,174.64                                                                              $10,174.64
Verizon Media fka Yahoo! Inc.
Stinson LLP
c/o Tracey Ohm
1775 Pennsylvania Ave NW
Suite 800
Washington, DC 20006                                             1211     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,358.99                                                                               $1,358.99
Verlagshaus Gruber GmbH
Attn: General Counsel
Max-Planck-St. 2
Eppertshausen 64855
Germany                                                          941     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Verlagshaus Gruber GmbH
Attn: General Counsel
Max-Planck-St. 2
Eppertshausen 64855
Germany                                                          951     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
VERMONT DEPARTMENT OF TAXES
133 STATE ST
PO BOX 429
MONTPELIER, VT 05633                                             2964    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00              $0.00                                                                 $0.00
Vermont Gas Systems, Inc.
85 Swift St
South Burlington, VT 05403                                       1345     4/5/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $51.57                                                                                   $51.57
VERTICALSCOPE INC.
111 PETER STREET, SUITE 700
TORONTO, ON M5V 2H1
CANADA                                                           153     1/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $3,533.17                                                                               $3,533.17
VICE MAGAZINE PUBLISHING INC.
97 N 10TH ST APT 202
BROOKLYN, NY 11249-1825                                          1188    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $31,600.00                                                                              $31,600.00
Vice Media LLC
Attn: Jonathan Lutzky
49 South 2nd Street
Brooklyn, NY 11249                                               1189    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00

VICTOR AUGUSTO APOLINARIO - Vendor Account: 109234
AVENIDA IPIRANGA, 1138
SAO PAULO, SP 01040-00
BRAZIL                                                           192     1/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $400.00                                                                                  $400.00

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                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
VILCHIS, CIPRIANO
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                   1383     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
VILCHIS, CIPRIANO
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                   1420     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                    $0.00
VILCHIS, CIPRIANO
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                   1425     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $0.00                                                                                    $0.00
Villamar, Maria I
131 E 78th St
Los Angeles, CA 90003                        3023    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Villamar, Maria I
131 E 78th St
Los Angeles, CA 90003                        3035    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Villasana, Pascual
6327 Arlington Ave
Los Angeles, CA 90043                        2569    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Villasana, Pascual
6327 Arlington Ave
Los Angeles, CA 90043                        2716    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
VILLASENOR, JACOB S
12722 STANHILL DR
LA MIRADA, CA 90638-1936                     666      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                $0.00                               $0.00                             $0.00
Villatoro, Irene
1720 W 43rd Pl.
Los Angeles, CA 90062                        1890    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Villatoro, Irene
1720 W 43rd Pl.
Los Angeles, CA 90062                        2049    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Villero, Roselia
23946 Welby Way
West Hills, CA 91307                         520     2/27/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $175.00                                                                                  $175.00
Villero, Roselia
23946 Welby Way
West Hills, CA 91307                         536     2/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $175.00          $175.00
Violeta, Maria Elena Garcia
930 S. Bonnie Brae #232
Los Angeles, CA 90006                        1608     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
VITUCCI, JESSICA
2456 WOODLAND AVE
WANTAGH, NY 11793-4422                       677      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Vivar, Luisa
2728 Wyglen Ln
Los Angeles, CA 90023                        1415     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Vivar, Luisa
2728 Wynglen Ln
Los Angeles, CA 90023                        1418     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Vivas, Arturo D
1742 W Lincoln Ave
Apt C3
Anaheim, CA 92801                            1593     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
VK Cutting Inc
Jeff Katofsky, Esq.
4558 Sherman Oaks Ave
Sherman Oaks, CA 91403                       136     1/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $18,452.54                                                                              $18,452.54
Vora, Sajni
58 Stratford Rd
Dumont, NJ 07268                             3353    8/15/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $20.00                                                                                   $20.00

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                                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                      Amount                                                Amount
Vuong, Hung
617 N. Bunker Hill #A
Los Angeles, CA 90012                                2404    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Vuong, Hung
617 N. Bunker Hill #A
Los Angeles, CA 90012                                2428    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Vuong, Li Hong
2516 Wetherhead Dr
Alhambra, CA 91803                                   1062    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                     $0.00            $0.00
Vuong, Li Hong
2516 Wetherhead Dr
Alhambra, CA 91803                                   2940    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Vuong, Li Hong
2516 Wetherhead Dr.
Alhambra, CA 91803                                   1106    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Waddell Ltd.
3rd Floor, 2 Arundel Street
London WC2R 3DA
United Kingdom                                       529     2/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $12,708.65                                                 $0.00                        $12,708.65
Wallace, Dylan
13069 Loire Valley Dr.
Rancho Cucamonga, CA 91739                           321      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $100.00                                              $100.00
Walnut Capital Partners - Shadyside Retail, L.P.
Cohen & Grigsby, P.C.
Attn: William E. Kelleher, Jr.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                            1727    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                              $0.00                                                $0.00
Walnut Capital Partners - Shadyside Retail, L.P.
Cohen & Grigsby, P.C.
Attn: William E. Kelleher, Jr.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                            3290    5/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $178,482.85                         $14,787.00                                          $193,269.85
Walnut Capital Partners-Shadyside Retail
c/o Cohen & Grigsby, P.C.
Attn: William E. Kelleher, Jr.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                            1983    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $741.60                                                               $2,078.29        $2,819.89
Walsh, Caroline
47 Woodbine Ave
Larchmont, NY 10538                                  357      2/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $87.67                                                                                   $87.67
Wang, Huiya
1417 N. Broadway Apt 6
Los Angeles, CA 90012-1444                           2091    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Wang, Huiya
1417 N. Broadway Apt 6
Los Angeles, CA 90012-1444                           2094    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Wang, Xiaohua
225 W Santa Clara, Ste 600
San Jose, CA 95113                                   1257     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.00                                                                                   $40.00
Wang, Xuan
9203 Whitney Ct
College Station, TX 77845                            360     2/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $99.59                                                                                   $99.59
Wang, Xutong
2501 Lake Austin Blvd
Apt E204
Austin, TX 78703                                     724     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $22.74                                                                                   $22.74
Wang, Yu-Hsuan
1747 Seville Way
San Jose, CA 95131                                   391     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $101.84                                                                                  $101.84
Warpas, Wiktoria
25 Boerum Street Apt. #16L
Brooklyn, NY 11206                                   379     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $148.24                                                                                  $148.24

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                                                                                                                                                             Current Priority Current Secured                      Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
WASHINGTON COUNTY OREGON
155 N 1ST AVE #130
HILLSBORO, OR 97124                          768     3/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                   $2,975.61                                            $2,975.61
WASTE MANAGEMENT
BANKRUPTCY DEPARTMENT
2625 W. GRANDVIEW RD. STE. 150
PHOENIX, AZ 85023                            1095    3/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $3,540.79                                                                               $3,540.79
Watanabe, Kyoko
1717 Green St.
San Francisco, CA 94123                      571      3/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $56.55                                                                                   $56.55
WE Energies
Attn Bankruptcy
333 W Everett St
Milwaukee, WI 53203                          701      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $855.13                                                                                  $855.13
WEAVER, JOHN
4301 JACKSON AVE
CULVER CITY, CA 90232-3237                   651      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Weber, Samuel
1401 Havenhurst Drive Apt 12
West Hollywood, CA 90046                     3427     1/7/2019          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                    $0.00
Weinhouse, Lori
821 3rd St. #202
Santa Monica, CA 90403                       1203    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $24.15           $24.15
WEINHOUSE, LORI
821 3RD STREET, #202
SANTA MONICA, CA 90403                       344      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $24.15                                                                                   $24.15
WEINHOUSE, LORI
821 3RD STREET, #202
SANTA MONICA, CA 90403                       1195    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $24.15                                                                                   $24.15
Weiss, Vicki
2348 Bronson Hill Dr
Los Angeles, CA 90068                        168     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $226.98                                                                                  $226.98
Weissman, Cara
29-12 Newtown Avenue
Apartment A1
Astoria, NY 11102                            3249    5/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $64.00             $64.00                                                               $128.00
Wen, Jin-Xiu
591 Wagon Hill Ln
Sugar Hill, GA 30518                         1673    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Wen, Jin-Xiu
591 Wagon Hill Ln
Sugar Hill, GA 30518                         1888    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Weng, Xing Zhen
867 Centennial St
Apt 8
Los Angeles, CA 90012                        3273    5/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Weng, Xing Zhen
867 Centennial St
Apt 8
Los Angeles, CA 90012                        3274    5/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
Weng, Yan
4117 SHIRLEY AVE
EL MONTE, CA 91731-1715                      719     3/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00
Weng, Yan Er
4117 SHIRLEY AVE
EL MONTE, CA 91731-1715                      718      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
WENG, YICI
3211 N MAIN ST
LOS ANGELES, CA 90031-3426                   711      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                 $0.00            $0.00
WENG, YICI
3211 N MAIN ST
LOS ANGELES, CA 90031-3426                   717      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                            $0.00                                                                 $0.00

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                                                                                                                                                                    Current General                                       Current 503(b)(9)
                                                                                                                                                                                       Current Priority Current Secured                      Current Admin    Total Current
                 Creditor Name and Address                    Claim No. Claim Date                                   Debtor                                         Unsecured Claim                                        Admin Priority
                                                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                                        Amount                                                Amount
Westchester Fire Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                          1515     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00                               $0.00                               $0.00            $0.00
Westchester Fire Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                          1603     4/7/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                       $0.00                               $0.00                               $0.00            $0.00
Westchester Fire Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                          1605     4/7/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                               $0.00                               $0.00            $0.00
Westchester Fire Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                          1638     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                               $0.00                               $0.00            $0.00
Westchester Fire Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                          1643     4/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                               $0.00                               $0.00            $0.00
Westchester Fire Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                          1645     4/7/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                           $0.00                               $0.00                               $0.00            $0.00

Westchester Mall, LLC, a Delaware limited liability company
Simon Property Group, Inc.
225 West Washington Street
Indianapolis, IN 46204                                          773     3/13/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                   $0.00            $0.00

Westchester Mall, LLC, a Delaware limited liability company
Simon Property Group, Inc.
225 West washington Street
Indianapolis, IN 46204                                          860     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $7,265.44                                                             $20,974.13       $28,239.57
Westco Spectra Color Inc.
12238 Hawkins St.
Santa Fe Springs, CA 90670                                       67     12/13/2016              APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                                    $0.00
Western Disposal Services Inc.
5880 Butte Mill Rd
Boulder, CO 80301                                               1009    3/24/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $821.43                                                                   $0.00          $821.43
Western Disposal Services, Inc.
Attn: General Counsel
PO Box 9100
Boulder, CO 80301                                               1017    3/24/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $821.43                                                                                  $821.43
WESTERN NEON
2902 4TH AVE S
SEATTLE, WA 98134                                               434     2/16/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $1,906.93                                                                               $1,906.93
WESTFIELD TOPANGA OWNER LLC
C/O LECLAIRRYAN, PC
ATTN: NICLAS A FERLAND, ESQ.
545 LONG WHARF DRIVE, 9TH FLOOR
NEW HAVEN, CT 06511                                             1607     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00                                                                                    $0.00




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              Creditor Name and Address           Claim No. Claim Date                              Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                     Amount                                                Amount
WESTFIELD TOPANGA OWNER LLC
C/O LECLAIRRYAN, PC
ATTN: NICLAS A FERLAND, ESQ.
545 LONG WHARF DRIVE, 9TH FLOOR
NEW HAVEN, CT 06511                                 2000    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Westfield Topanga Owner LLC
c/o LeClairRyan, PC
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor
New Haven, CT 06511                                 3092    4/18/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $225,020.85                                                                             $225,020.85
WESTLAND GARDEN STATE PLAZA LIMITED PARTNERSHIP
c/o LECLAIRRYAN, PC
ATTN: NICLAS A. FERLAND, ESQ.
545 LONG WHARF DRIVE, 9TH FLOOR
NEW HAVEN, CT 06511                                 1647     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $464,798.16                                                                             $464,798.16
WESTLAND GARDEN STATE PLAZA LIMITED PARTNERSHIP
c/o LECLAIRRYAN, PC
ATTN: NICLAS A. FERLAND, ESQ.
545 LONG WHARF DRIVE, 9TH FLOOR
NEW HAVEN, CT 06511                                 1748    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                           $0.00            $0.00
Westside Properties 1, LLC
Attn: J. Condos
1244 Sixth St.
Santa Monica, CA 90401                              3314    6/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                   $0.00
Wheaton, Asia
4627 Franklin Ave
Los Angeles, CA 90027                               2269    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $84.00                                                                                   $84.00
Whitaker, Sarah
1222 N. Olive Dr. Unit 202
West Hollywood, CA 90069                            533     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                                   $50.00
Whitman, Colleen
156 Susan Drive
Westfield, MA 01085                                 504     2/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $78.00                                                                                   $78.00
WIDEPOINT SOLUTIONS CORP.
7926 JONES BRANCH DR STE 520
MC LEAN, VA 22102-3371                               34     11/29/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $3,000.00                                                                                $3,000.00
WIGMORE, WILLIAM J
6 KNOLL RD
HINGHAM, MA 02043                                   832     3/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                   $0.00
Wijaya, Miranda
244 West 64th St Apt 4D
New York, NY 10023                                  319      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $42.00                                                                                   $42.00
WILENSKY, DOVI
9329 KINCARDINE AVE
LOS ANGELES, CA 90034                               799     3/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,074.95                                                                                $1,074.95
Wilkinson, Jesse
267 West 146th Street #7
New York, NY 10039                                  3309     6/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $145.20                                                                                  $145.20
Willey, Ian
234 NE 3rd St Apt. 2002
Miami, FL 33132                                     493     2/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $90.00                                                                                   $90.00
Williams, Aaron Michael
12871 LORETTA DR
SANTA ANA, CA 92705-1114                            1170    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                  $251.79                           $251.79
Williams, Keta
455 Claxton Glen Ct
Dayton, OH 45429                                    1143    3/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $78.00                                                                                   $78.00
Wilmington Trust, National Association
Attn: Meghan H. McCauley
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                               2104    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                    $216,982,801.00                                       $216,982,801.00


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                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                         Unsecured Claim                                       Admin Priority
                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                      Amount                                               Amount
WILSON, MARISA
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2170    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                       $0.00                                                                                   $0.00
Wilson, Marisa
c/o Eisenberg & Baum LLP
Attn: Eric Baum, Esq.
24 Union Sq E 4th Fl
New York, NY 10003-3201                       2173    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                           $0.00                                                                                   $0.00
Wilson, Marisa
c/o Eisenberg & Baum LLP
Attn: Eric Baum, Esq.
24 Union Sq E 4th Fl
New York, NY 10003-3201                       2188    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                                   $0.00
Wilson, Marisa
c/o Eisenberg & Baum LLP
Attn: Eric Baum, Esq.
24 Union Sq E 4th Fl
New York, NY 10003-3201                       2192    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00                                                                                   $0.00
Wilson, Marisa
c/o Eisenberg & Baum LLP
Attn: Eric Baum, Esq.
24 Union Sq E 4th Fl
New York, NY 10003-3201                       2356    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                 $0.00                                                                                   $0.00
Wilson, Marisa
c/o Eisenberg & Baum LLP
Attn: Eric Baum, Esq.
24 Union Sq E 4th Fl
New York, NY 10003-3201                       2358    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                          $0.00                                                                                   $0.00
Winkel, Suzanne M.
1715 Linner Road
Wayzata, MN 55391                             1061    3/28/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $25.00                                                                                  $25.00
Winslow, Andia
PO Box 30137
New York, NY 10011                            1158     4/2/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $53.75                                                                                  $53.75
Winslow, Andia
PO Box 30137
New York, NY 10011                            2985    4/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $53.75                                                                                  $53.75
Wisconsin Bell, Inc.
c/o AT&T Services, Inc Karen A. Cavagnaro
One AT&T Way, Room 3A104
Bedminster, NJ 07921                          665      3/9/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $198.09                                                                                 $198.09
Wisconsin Department of Revenue
Special Procedures Unit
PO Box 8901
Madison, WI 53708-8901                        779     3/13/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $986.89                                                                                 $986.89
Wisconsin Department of Revenue
Special Procedures Unit
PO Box 8901
Madison, WI 53708-0833                        790     3/13/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                     $0.00             $0.00                                                                 $0.00
Wojack-West, Eleanor
2325 NE Halsey
Portland, OR 97232                            1718    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                               $0.00                                                                                   $0.00
Wojtys, Jennifer
24 Van Dyke Street
Wallington, NJ 07057                          548     2/28/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $35.70                                                                                  $35.70
Wolvek, Robin
11822 KIOWA AVE APT 2
LOS ANGELES, CA 90049-6022                    1318     4/5/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $150.00                                                                                 $150.00



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                                                                                                                                                           Current Priority Current Secured                      Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                            Debtor                                       Unsecured Claim                                        Admin Priority
                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                            Amount                                                Amount
Wong, Jackson
6463 229th Street
Oakland Gardens, NY 11364                    436     2/16/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $18.70                                                                                   $18.70
Wong, Julie
1837 La Loma Road
Pasadena, CA 91105                           377     2/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $37.96                                                                                   $37.96
Wong, Karen
4310 CRESCENT ST
APT 2112
LONG ISLAND CITY, NY 11101-4268              654      3/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $48.00                                                                                   $48.00
Wong, Lucy
621 NE Sumner St.
Portland, OR 97211                           331      2/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $28.00                                                                                   $28.00
Wong, Lucy
621 NE Sumner St.
Portland, OR 97211                           3095    4/19/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $28.00                                                                                   $28.00
Wong, Lucy
621 NE Sumner St.
Portland, OR 97211                           3096    4/19/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $28.00           $28.00
Woo, Mei Ling Guan
412 Elmgate St.
Monterey Park, CA 91754                      1335     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Woo, Mei Ling Guan
412 Elmgate St.
Monterey Park, CA 91754                      1339     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Wood, Monica Anne
239 Pacific St. Unit L
Santa Monica, CA 90405                       561     2/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $100.00                                                                                  $100.00
Woot Services LLC
4121 International Parkway
Carrollton, TX 75007                         1736    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $0.00                               $0.00                                                $0.00
Workiva LLC
2900 University Blvd.
Ames, IA 50010                               1307     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $8,852.90                                                                               $8,852.90
Woyshner, Caroline Diane
11353 Wembley Road
Los Alamitos, CA 90720                       437     2/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $34.56                                                                                   $34.56
Wright, Geraldine
6 Pan Ct.
Hungtington, NY 11746                        291      2/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $27.20                                                                                   $27.20
Wright, Laura
1708 Sanborn Ave
Los Angeles, CA 90027                        1125    3/29/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $20.71                                                                                   $20.71
Wu, Aiyao
149 N. Ave 25 Apt # 202
Los Angeles, CA 90031                        2445    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Wu, Aiyao
149 N. Ave 25 Apt # 202
Los Angeles, CA 90031                        2724    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Wu, Li-Jun
6400 Trelawney Ave
Temple City, CA 91780                        1468     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Wu, Li-Jun
6400 Trelawney Ave
Temple City, CA 91780                        1572     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Wu, Mary Qu
110 Dewey Ave
San Gabriel, CA 91776                        1560     4/8/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Wu, Mary Qu
110 Dewey Ave
San Gabriel, CA 91776                        1771     4/8/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00


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                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                             Amount                                               Amount
Wu, Ruo Ling
467 Solano Ave
Los Angeles, CA 90012                         1692     4/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Wu, Tianshu
163 Flournoy St.
Daly City, CA 94014                           3407    2/12/2018         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $40.00                                                                                  $40.00
Wu, Xiao
462 E. 28 Ave.
Los Angeles, CA 90031                         937     3/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Wu, Xiao Lin
462 E Ave 28
Los Angeles, CA 90031                         3164    4/25/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Wu, Xiao Lin
462 E Ave 28
Los Angeles, CA 90031                         3178    4/25/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Wu, Xin Yun
8083 Minstead Ave
Hesperia, CA 92345                            1179    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Wu, Xinyun
918 W. College St. #414
Los Angeles, CA 90012                         1177    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Wu, Xinyun
918 W. College St. #414
Los Angeles, CA 90012                         1482     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Wu, Xinyun
918 West College Street
Unit 414
Los Angeles, CA 90012                         1542     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Wu, Xuena
1424 1/2 Portia St
Los Angeles, CA 90026                         1261     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00
Wu, Xuena
1424 1/2 Portia St
Los Angeles, CA 90026                         1272     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
WU, YUYANG
2370 VANCOUVER AVE
MONTEREY PARK, CA 91754                       1270     4/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Wyand, Tatiana
3600 SW Beaverton Hillsdale Hwy
Apt 9
Portland, OR 97221                            1186    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $36.39                                                                $36.39
Wycoff, Tori
1885 Pacific Ave.
 #303
San Francisco, CA 94109                       1070    3/28/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $89.08                                                                                  $89.08
Xiao, Ang
200 Laird Ave Apt 203
Cliffside Park, NJ 07010                      425     2/15/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $553.00                                                                                 $553.00
Xiao, Ang
200 Laird Ave Apt 203
Cliffside Park, NJ 07010                      1650    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $553.00          $553.00
Xiao, Ang
200 Laird Ave Apt 203
Cliffside Park, NJ 07010                      1675    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $188.00                                                                                 $188.00
Xiao, Jin Mei
3801 Winston Dr
El Monte, CA 91731                            2551    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Xiao, Jin Mei
3801 Winston Dr
El Monte, CA 91731                            2721    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00



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                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                               Amount
Xiao, Yu Mei
2338 Dorris Pl
Los Angeles, CA 90031                          1938    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Xie, Feng Zhu
740 Yale Street # 7
Los Angeles, CA 90012                          1526     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Xie, Feng Zhu
740 Yale Street # 7
Los Angeles, CA 90012                          1559     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Xie, Jinzhu
719 North Yale Street
Apt #408
Los Angeles, CA 90012                          1674    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Xie, Jinzhu
719 North Yale Street
Apt #408
Los Angeles, CA 90012                          1809    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Xu, Bing
5924 Loma Avenue
Temple City, CA 91780                          1055    3/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $50.00                                                                                  $50.00
Xu, Feng Yi
3821 Gilman Rd. Unit C
El Monte, CA 91732                             691      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Xu, Feng Yi
3821 Gilman Rd. Unit C
El Monte, CA 91732                             696      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Xu, Feng Yi
3821 Gilman Rd. Unit C
El Monte, CA 91732                             1867    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Xu, Feng Yi
3821 Gilman Rd. Unit C
El Monte, CA 91732                             2318    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Xu, Feng Yi
3821 Gilman Road Unit C
El Monte, CA 91732                             1821    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Xu, Hui Yan
3307 Burton Ave
Rosemead, CA 91770                             1875    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                   $0.00
Xu, Hui Yan
3307 Burton Ave
Rosemead, CA 91770                             1884    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
Xu, Mengdie
27 Foster Dr
Willimantic, CT 06226                          3223     5/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $54.45                                                                                  $54.45
XU, MING
2301 Humboldt St Apt# 214
Los Angeles, CA 90031                          1028    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
XU, SU MEI
703 N. Bunker Hill Ave. Apt #6
Los Angeles, CA 90012                          1037    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Yakovleva, Lidia
7521 Hampton Ave #304
West Hollywood, CA 90046                       509     2/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $65.00                                                                                  $65.00
Yang, Cindy
107 Manor Ave
Wellesley, MA 02482                            1249     4/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $150.00                                                                                 $150.00
Yang, Jihye
526 Fano St Unit C
Monrovia, CA 91016                             1758    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                             $85.00           $85.00
Yang, Suzy
107 University Place
New York, NY 10003                             3241     5/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                             $32.00           $32.00

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                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                                Amount
Yang, Victoria
250-20 41st DR
Little Neck, NY 11363                          808     3/16/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $33.54                                                                                   $33.54
Yang, Xiuyan
1533 W Montana St, Unit 3
Chicago, IL 60614                              413     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $2,461.28                                                                               $2,461.28
Yarrington Mills Corporation
James R. Yarrington
412 S. Warminster Road
Hatboro, PA 19040                              3409     3/8/2018         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $0.00                                                                                    $0.00
Yee, Brian
22610 22nd Place West
Brier, WA 98036                                2010    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $95.27                                                                                   $95.27
Yee, Janet Peng
13945 Cagliero St.
La Puente, CA 91746                            859     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
YEE, JANET PENG
13945 CAGLIERO ST.
LA PUENTE, CA 91746                            1279     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Yee, Janet Peng
13945 Cagliero St.
La Puente, CA 91746                            1283     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Yee, Michelle
1115 W Remington Dr
Sunnyvale, CA 94087                            499     2/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $25.71                                                                                   $25.71
Yeung, Anna
2821 Estara Avenue
Los Angeles, CA 90065                          1024    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Yeung, Anna
2821 Estara Avenue
Los Angeles, CA 90065                          1048    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Yeung, Anna
2821 Estara Avenue
Los Angeles, CA 90065                          1523     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Yip, Mimi
501 E 4th Street
Los Angeles, CA 90013                          410     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $87.48                                                                                   $87.48
You, Stephanie
352 E 76th St
Apt #2RW
New York, NY 10021                             754     3/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $217.46                                                                                  $217.46
Younes, Sarah
1924 Kilbirnie Drive
Germantown, TN 38139                           468     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $68.00                                                                                   $68.00
Young, David
400 East 71st Street, Apt. 15D
New York, NY 10021                             676      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $44.88                                                                                   $44.88
Yousif, Daniel
10 E Ontario St
Apt 2408
Chicago, IL 60611                              1507    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $18.00                                                                                   $18.00
Yu, Cuiqiong
761 Yale St
Los Angeles, CA 90012                          1753    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00
Yu, Cuiqiong
761 Yale St
Los Angeles, CA 90012                          1755    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                               $0.00            $0.00
Yu, Flora
845 Centennial St
Los Angeles, CA 90012                          1323     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                          $0.00                                                                 $0.00



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                                                                                                                                                          Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                           Amount                                               Amount
Yu, Flora Wai Fong
845 Centennial St
Los Angeles, CA 90012                       1346     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Yu, Flora Wai Fong
845 Centennial St
Los Angeles, CA 90012                       1347     4/5/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Yu, Flora WaiFong
845 Centennial St
Los Angeles, CA 90012                       1342     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Yu, Hui Ci
2245 Shoredale Ave
Los Angeles, CA 90031                       1537     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Yu, Hui Ci
2245 Shoredale Ave
Los Angeles, CA 90031                       1582     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
YU, JIE NONG
227 E. AVE 40
LOS ANGELES, CA 90031                       1376     4/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $0.00            $0.00
YU, JIE NONG
227 E. AVE 40
LOS ANGELES, CA 90031                       1400     4/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Yu, Jing
4709 Parsons Blvd.
Flushing, NY 11355                          188     1/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                           $100.00                                                                $100.00
Yu, Jing
4709 Parsons Blvd.
Flushing, NY 11355                          1069    3/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                           $100.00                                                                $100.00
YU, JING
722 CIPRIANO PL.
MONTEREY PARK, CA 91754                     244     1/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $20.00                                                                                  $20.00
YU, JING
722 CIPRIANO PL.
MONTEREY PARK, CA 91754                     1092    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $20.00                                                                                  $20.00
YU, JING
722 CIPRIANO PL.
MONTEREY PARK, CA 91754                     1110    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                  $20.00           $20.00
Yu, Lauren
269 Ashdale Place
Los Angeles, CA 90049                       3214     5/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $45.78                                                                                  $45.78
Yu, Xiu Ping
2212 Larch St
Apt A
Alahambra, CA 91801                         2974    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Yu, Xiuping
2212 Larch St
Apt A
Alhambra, CA 91801                          979     3/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                                 $0.00
Yu, Xiuping
2212 Larch St
Apt A
Alhambra, CA 91801                          2973    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00
Yu, Yin Xing
2722 Manitou Ave
Los Angeles, CA 90031                       1174     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Yuan, Huanming
805 Cleveland St #2
Los Angeles, CA 90012                       2499    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                                 $0.00
Yuan, Huanming
805 Cleveland St #2
Los Angeles, CA 90012                       2585    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                              $0.00            $0.00



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               Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                              Amount                                               Amount
Zabell, Parker
25201 Chagrin Blvd.
Suite 130
Beachwood, OH 44122                          3108    4/19/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                    $45.26                                                                $45.26
Zacho, Sharon
9814 Easton Dr
Beverly Hills, CA 90210                      603      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $60.00                                               $60.00
Zadik, Christine
3 Woodside Dr
Greenwich, CT 06830                          1008    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $54.00                                                                                  $54.00
Zadik, Christine
3 Woodside Drive
Greenwich, CT 06830                          208     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $60.54                                                                                  $60.54
Zadik, Christine
3 Woodside Drive
Greenwich, CT 06830                          1003    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                   $54.00           $54.00
Zafiris, Alexandra
460 Prospect Ave Apartment 4R
Brooklyn, NY 11215                           1869    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $73.61                                                                                  $73.61
Zale, Madalene
200 W. Elm St. #1403
Conshohocken, PA 19428                       415     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $18.00                                                                                  $18.00
Zambrano, Aurora
3704 1/2 Ruthelen Street
Los Angeles, CA 90018                        1949    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Zambrano, Aurora
3704 1/2 Ruthelen Street
Los Angeles, CA 90018                        2021    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Zamora Onesimo, Simon
635 E. 89th St.
Los Angeles, CA 90002                        2874    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Zaragoza, Martina
4033 Adair St
Los Angeles, CA 90011                        1682    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Zaragoza, Martina
4033 Adair St
Los Angeles, CA 90011                        2217    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Zarate, Maria
429 Sur Loma Dr.
Los Angeles, CA 90017                        2001    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Zarate, Maria
429 Sur Loma Dr.
Los Angeles, CA 90017                        2145    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
ZARRABIAN, KAMRON
C/O WEISSMAN LAW FIRM
ATTN DONALD WEISSMAN
5567 RESEDA BLVD STE 118
TARZANA, CA 91356-2682                       1988    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Zazueta, Luis
520 West Knoll Drive Apt I
West Hollywood, CA 90048                     1492     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $45.36                                                                                  $45.36
ZELTZER, LINDSAY
623 NE 61ST ST #2
MIAMI, FL 33137                              274     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $180.00                                                                                 $180.00
Zeltzer, Lindsay
623 NE 61st St #2
Miami, FL 33137                              277     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                           $200.00                                                                                 $200.00
Zhang, Lin Ping
11715 Ramona Blvd
El Monte, CA 91732                           1022    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00



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              Creditor Name and Address      Claim No. Claim Date                              Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                                Amount                                               Amount
Zhang, Lin Ping
11715 Ramona Blvd
El Monte, CA 91732                             3002    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Zhang, Lin Ping
11715 Ramona Blvd
El Monte, CA 91732                             3003    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Zhang, Shuzhen
122 W Ave 30
Apt # C
Los Angeles, CA 90031                          1377     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                               $0.00                                                                 $0.00
Zhao, Yanbing
82 Passage
Irvine, CA 92603                               3370    10/25/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
ZHEJIANG YASHILIN NECKTIE & GARMENT CO LTD
BROWN & JOSEPH LTD
1 PIERCE PL STE 1225W
ITASCA, IL 60143-1218                          1290     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Zhen Ma, Xing
1830 N Ditman Ave
Los Angeles, CA 90032                          2961    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Zheng, Hui Xia
870 N. Bunker Hill Ave # 1
Los Angeles, CA 90012                          1837    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Zheng, Hui Xia
870 N. Bunker Hill Ave # 1
Los Angeles, CA 90012                          1929    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Zhong, Anne
1765 Mozart Street
Los Angeles, CA 90031                          2268    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Zhong, Anne
1765 Mozart Street
Los Angeles, CA 90031                          2270    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
ZHOU, JINGYI
2514 JACQUELINE DR
APT C18
WILMINGTON, DE 19810                           1655    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $101.00                                              $101.00
Zhou, Julia
150 East 77th Street, Apt # 12A
New York, NY 10075                             498     2/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $22.00                                                                                  $22.00
Zhu Lao, Rui
2123 Gates St.
Los Angeles, CA 90031                          2933    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Zhu, Xu Ming
2301 Humbold St Apt 214
Los Angeles, CA 90031                          1073    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                    $0.00            $0.00
Zhu, Xu Ming
2301 Humbold St Apt 214
Los Angeles, CA 90031                          1628     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Zhu, Xu Ming
2301 Humboldt St Apt 214
Los Angeles, CA 90031                          1461     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Zhu, Yan
946 Yale St #29
Los Angeles, CA 90012                          2057    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Zhu, Yan
946 Yale St #29
Los Angeles, CA 90012                          2305    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00
Zimmerman, Sarah
1837 S. Gilpin St.
Denver, CO 80210                               1065    3/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                 $249.00                                                                                 $249.00



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                Creditor Name and Address   Claim No. Claim Date                              Debtor                                       Unsecured Claim                                       Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount   Claim Amount
                                                                                                                                               Amount                                               Amount
Zimmerman, Sarah
1837 S. Gilpin St.
Denver, CO 80210                              1066    3/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                        $249.00          $249.00
Zimmerman, Sarah
1837 S. Gilpin St.
Denver, CO 80210                              461     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                                   $0.00
Zuniga, Margarita L.
851 1/2 E. 32 St.
Los Angeles, CA 90011                         2223    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                           $0.00                                                                 $0.00
Zuniga, Margarita L.
851 1/2 E. 32 St.
Los Angeles, CA 90011                         2224    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                                $0.00            $0.00




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